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                                             UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF MASSACHUSETTS
                                                    (CENTRAL DIVISION)



In re:


SOUTHERN SKY AIR & TOURS, LLC
d/b/a DIRECT AIR,                                                   Chapter 7
                                                                    Case No. 12-40944-CJP
                             Debtor.



                                FIRST AND FINAL REQUEST FOR ALLOWANCE AND
                                             PAYMENT OF TRUSTEE COMPENSATION


              To the Honorable Christopher J. Panos, United States Bankruptcy Judge:


              NOW COMES Joseph H. Baldiga, the duly appointed Chapter 7 trustee (the "Trustee")


of the bankruptcy estate (the "Estate") of Southern Sky Air & Tours, LLC d/b/a Direct Air (the


"Debtor"), and hereby makes his First and Final Request for Allowance and Payment of Trustee


Compensation (the "Trustee Fee Application") for the period from April 1 1, 2012 through and


including December 7, 2018 (the "Compensation Period") pursuant to 1 1 U.S.C. § 326 and 330.


The Trustee seeks allowance of fees in the amount of $71,994.20, for a total award


of $71,994.20. Chapter 7 administrative claimants will receive only approximately 84% of


their total Chapter 7 administrative claims.1 Therefore, the Trustee is requesting the sum

of $71,994.20 be allowed as the Trustee's First and Final Compensation, but is seeking


payment of only $60,331.53. In support of the Trustee Fee Application, the Trustee states as


follows:




       As set forth in the Second and Final Application for Allowance of Compensation and Reimbursement of
       Expenses by Mirick, O'Connell, DeMallie & Lougee, LLP, Counsel to the Chapter 7 Trustee, filed
       simultaneously herewith, in order for the United States Trustee to be paid in full and for Additional Charter
       Participant Claimants to be paid the amounts necessary to bring their interim distribution up from the 14.83%
       already received to the approximately 26% received by all other allowed Charter Participant Claimants, MODL
       is further reducing its requested fees to make $530.73 available for distribution to the United States Trustee and
       the Additional Charter Participant Claimants.




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              1.            On March 15, 2012, the Debtor filed a petition for relief under Chapter 1 1 of the


United States Bankruptcy Code, 1 1 U.S.C. §§ 101-1532 (the "Bankruptcy Code").


              2.            On April 1 1, 2012 (the "Conversion Date"), this Court converted the Debtor's


Chapter 1 1 case to one under Chapter 7 of the Bankruptcy Code.


              3.            On the Conversion Date, the United States Trustee appointed the Trustee as


Chapter 7 trustee of the Debtor's bankruptcy case. A copy of the Chapter 7 Trustee's


appointment is attached as Exhibit A.


              4.           Under Bankruptcy Code § 330, the Trustee is entitled to "reasonable


compensation for actual, necessary services" and "reimbursement for actual, necessary


expenses." Bankruptcy Code § 330(a)(7) indicates that "[I]n determining the amount of

reasonable compensation to be awarded to a trustee, the Court shall treat such compensation as a


commission, based on section 326."


              5.           During the Compensation Period, the Trustee, and/or his agents, have performed


services in the capacity of Trustee requiring 150.80 hours.


              6.           Pursuant to Bankruptcy Code § 326(a), the maximum commission allowable to


the Trustee is $71,994.20 (see Exhibit B) based on qualified disbursements of, at least,


$1,624.806. 69.2 Copies of the Trustee's Form 1 and Form 2 are attached hereto as Exhibit C.

                                                              NARRATIVE


              7.           During the Compensation Period, the Trustee rendered services to the Estate


totaling $53,295.00. Attached hereto as Exhibit D is a detailed itemization of the services


rendered as Trustee. The Trustee's services included:


                           a.               Responding to creditor inquiries and provide case information requested
                                            by creditors throughout the proceeding;


2     The final qualified disbursements may increase due to the accrual of interest prior to approval.




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                           b.             Reviewing and analyzing all claims to determine the extent to which
                                          objections were necessary;

                           c.             Overseeing and directing counsel in investigative efforts, significantly, in
                                          investigating the circumstances surrounding the Debtor's demise and the
                                          approximately $30,389,363.79 Shortfall3, for the benefit of the Estate,
                                          almost 2,000 consumer claimants, and government agencies who relied on
                                          the Trustee's investigative report in their own investigation to obtain
                                          guilty pleas and verdicts against certain of the Debtor's founders and
                                          members of management, and recovery efforts including:


                                                 (i)       settlement of preference actions in the amount of
                                                           $853,374.40;


                                                 (ii)      recovery of the Bond Amount in the amount of
                                                           $200,000.00 to be used by the Trustee pursuant to the terms
                                                           of the Bond Stipulation4;

                                                 (iii)     recovery of the Debtor's bank account balances and petty
                                                           cash in the amount of $3,735.89;

                                                 (iv)      recovery of the Escrow Proceeds in the amount of
                                                           $250,000.00 to be used by the Trustee pursuant to the terms
                                                           of the VNB Agreement5;

                                                 (v)       recovery of the supersedeas bond in connection with the
                                                           Arrow Garnishment Action in the amount of
                                                           $42,000.00 (less fees and expenses paid to Florida Special
                                                           Counsel in the aggregate amount of $15,739.92, for a net
                                                           amount to the Estate of $26,260.08); and


                                                 (vi)      recovery of settlement proceeds in connection with the
                                                           VNB Litigation in the amount of $275,502.40.




3     Unless otherwise defined herein, initially capitalized terms shall have the meanings ascribed to them in the
       Second and Final Application for Allowance of Compensation and Reimbursement of Expenses by Mirick,
      O'Connell, DeMallie & Lougee, LLP, Counsel to the Chapter 7 Trustee, filed concurrently herewith.

4     Pursuant to the Bond Stipulation, the Bond Amount ($200,000.00) was to be paid to the Estate, and if the Bond
      Claims totaled at least $175,000.00 (which they did), then $175,000.00 of the Bond Amount would be payable
      only to those allowed Bond Claims, while the balance of the Bond Amount (i.e., $25,000.00) would become
      general property of the Estate to be administered by the Trustee in the normal course of his administration of the
      Debtor's Estate.

5     Pursuant to the VNB Agreement, the first $100,000.00 of the Escrow Proceeds would be distributed to the
      Estate to compensate the Trustee and his professionals for allowed administrative expenses incurred in
      connection with the Investigation; the next $75,000.00 of Escrow Proceeds would be distributed to the Estate to
      pay claims (including administrative claims) in accordance with normal bankruptcy priorities; and the next
      $75,000.00 of Escrow Proceeds would be distributed to the Estate exclusively to partially or fully pay Charter
      Participants who did not receive a full refund or chargeback.



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                                                     As noted on the Trustee's current Form 1, MODL has assisted
                                                     the Trustee with the collection of $1,624,806.69 for the benefit
                                                     of the Estate;


                             d.              Employing an accountant and discussing estate tax issues with the
                                             accountant;


                             e.              Administering bank accounts, reconciling bank statements and monitoring
                                             the assets of the Estate;

                             f.              Preparing 1 80 Day Reports and complying with other reporting
                                             requirements for the United States Trustee's Office; and


                             g-              Attending to issues related to closing this proceeding, proposing a final
                                             distribution to creditors, preparing all documents in connection with the
                                             Trustee's Final Report, and preparing the within Fee Application.

               8.            In addition to the $53,295.00 in fees which the Trustee incurred during the


Compensation Period, the Trustee anticipates that he will incur additional fees of at least $885.00


in order to close this case.6

               9.            Based on the foregoing, the Trustee requests that he be allowed fees in the total


amount of $71,994.20, which is the maximum commission allowed by statute. See Exhibit B.


               10.           Chapter 7 administrative claimants will receive approximately 84% of their


total Chapter 7 administrative claims. Therefore, the Trustee is requesting the sum of


$71,994.20 be allowed as the Trustee's First and Final Compensation, but is seeking


payment in the amount of only $60,331.53.


               11.          Upon allowance of the compensation requested herein, the Trustee seeks authority


to make immediate payment of such compensation as requested herein.


               12.          Based on the foregoing, the Trustee submits that allowance and payment of the


First and Final Compensation requested herein is reasonable and appropriate.


              The expected additional services include finalizing the Trustee's Final Report, attending a hearing on the
              Trustee's Final Report and Fee Applications, making an accounting for the approved distributions, and
              submitting the Trustee's Distribution Report at the completion of the case. The Trustee will invest
              approximately 1.0 hour of his time (1.0 x $455.00 = $455.00) and his paralegal 2.0 hours (2.0 x $215.00 =
              $430.00) for a total of at least $885.00 in additional services.



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                WHEREFORE, the Trustee respectfully requests that this Court enter an Order:


                              a.              Allowing the First and Final Compensation requested herein in the amount
                                              of$71, 994.20;

                              b.              Authorizing immediate payment of the Trustee compensation in the total
                                              amount of $60,33 1 .53 as set forth herein in connection with the Trustee's
                                              Final Report; and


                              c.              Ordering such other and further relief as is just.


                                                                       Respectfully submitted,


                                                                       JOSEPH H. BALDIGA,
                                                                       CHAPTER 7 TRUSTEE




                                                                       Joseph H. Bjs!kigay&BO #549963
                                                                       Mirick, O' Connell, DeMallie & Lougee, LLP
                                                                       1800 West Park Drive, Suite 400
                                                                       Westborough, MA 01581
                                                                       Phone:    508.898.1501
                                                                       Fax:      508.898.1502
Dated: December 18, 2018                                               Email:    bankrupt@mirickoconnell.com




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                                                 UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF MASSACHUSETTS
                                                        (CENTRAL DIVISION)


In re:


 SOUTHERN SKY AIR & TOURS, LLC
d/b/a DIRECT AIR,                                                      Chapter 7
                                                                       Case No. 12-40944-CJP
                               Debtor.



               ORDER APPROVING FIRST AND FINAL REQUEST FOR ALLOWANCE
                                           AND PAYMENT OF TRUSTEE COMPENSATION


                Upon the First and Final Request for Allowance and Payment of Trustee Compensation


by Joseph H. Baldiga, the duly appointed Chapter 7 trustee in this case (the "Trustee"), dated


December 18, 2018 (the "Trustee Fee Application"); and the Court finding that notice thereof


was sufficient; and no objection to the Trustee Fee Application having been filed or any such


objection having been overruled after a hearing as appropriate under the circumstances;


               NOW THEREFORE, IT IS HEREBY ORDERED THAT:


                1.             The Trustee's First and Final Request for Allowance of Compensation is allowed
in the amount of $                                          ; and


               2.              The Trustee is authorized to make immediate payment of the Trustee
compensation awarded herein in the amount of $                                         .




Dated:
                                                                      Honorable Christopher J. Panos
                                                                      United States Bankruptcy Judge




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                 EXHIBIT A
    Case 12-40944           Doc 732       Filed 03/27/19       Entered 03/27/19 11:55:32             Desc Main
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                                    UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MASSACHUSETTS



In Re:    Southern Sky Air & Tours, LLC d/b/a Direct Air             Chapter: 7
          Debtor,                                                    Case No: 12-40944
                                                                     Judge Melvin S. Hoffman




                        CERTIFICATE OF APPOINTMENT OF INTERIM TRUSTEE
                                      AND FIXING OF BOND

Pursuant to 11 U.S.C. § 701(a)(1)

Joseph H. Baldiga
Mirick, O'Connell, DeMallie & Lougee
1800 West Park Drive
Suite 400
Westborough, MA 01581-3926

is hereby appointed as Interim Trustee in the above-referenced proceeding and is designated to preside at the
meeting of creditors. The Trustee's bond is fixed under the general blanket bond heretofore approved. The Trustee
shall notify the United States Trustee immediately in the event that the liquid assets exceed $1,000,000.

Pursuant to FRBP 2008 the Trustee will be deemed to have accepted this appointment unless it is rejected within
five (5) days of receipt of this notice. Unless another trustee is elected the Interim Trustee appointed herein shall
serve as Trustee without further appointment as provided by 1 1 U.S.C. § 702(d).

Date:4/1 1/12                                                       William K. Harrington
                                                                    U.S. Trustee
                                                                    (617)788-0400
Original filed with Bankruptcy Court
Copy to trustee


REJECTION




I, Joseph H. Baldiga , hereby REJECT appointment as Trustee.
Dated: This day of                               .

                                                                                          Joseph H. Baldiga
Original filed with Bankruptcy Court
Copy to United States Trustee




                                                                                                                        85
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                 EXHIBIT B
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Case No.:                  12-40944-CJP
Debtor:                    Southern Sky Air Tours, LLC d/b/a Direct Air




Total compensable disbursements are:
Pursuant to 11 U.S.C. § 326, compensation is computed as follows:



NET ESTATE                                                         $1,624,806.69
(Net deposits less any payments
To Debtor or deposits received and
refunded)


25% of $0 through $5,000
 ($5,000.00 x .25)                                                     $1,250.00


10% of next $45,000.00
 ($45, 000.00 x. 10)                                                   $4,500.00


5% of next $950,000.00
 ($950,000.0 x .05)                                                   $47,500.00


3% of next $624,806.69
($624,806.69 x .03)                                                   $18,744.20



MAXIMUM COMMISSION:                                                                        $71,994.20




TOTAL COMMISSION REQUESTED:                                                                $71,994.20




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                EXHIBIT C
                                      Case 12-40944                  Doc 732               Filed 03/27/19 Entered 03/27/19 11:55:32                                      Desc Main                               Page:           1
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                                                                                                    FORM 1
                                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                 ASSET CASES

Case No:             12-40944                         CJP                       Judge:         Christopher J. Panos                        Trustee Name:                      Joseph H. Baldiga, Trustee

Case Name:           SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                    Date Filed (f) or Converted (c):   04/11/2012 (c)

                                                                                                                                           341(a) Meeting Date:               06/13/2012
For Period Ending:   12/14/2018                                                                                                            Claims Bar Date:                   11/14/2013



                                  1                                                            2                          3                             4                          5                             6

                        Asset Description                                                  Petition/                 Est Net Value              Property Formally             Sale/Funds                    Asset Fully
             (Scheduled and Unscheduled (u) Property)                                    Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                           Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                                      Exemptions,                                                                              Assets
                                                                                                                   and Other Costs)

  1. TD BANK ACCOUNT                            (u)                                                      0.00                   3,028.44                                                 3,028.44                             FA

  2.   HORRY COUNTY STATE BANK                          (u)                                %             0.00                      22.33                                                     22.33                            FA

  3. Post-Petition Interest Deposits          (u)                                                        0.00                       N/A                                                        0.12                           FA

  4. CASH FROM MYRTLE BEACH SAFE                              (u)                                        0.00                    204.00                                                     204.00                            FA

  5.   INSURANCE POLICIES - PLATTE RIVER COMPANY                                                   151,000.00                 200,000.00                                               200,000.00                             FA

  6. ACCOUNTS RECEIVABLE-UPON INFORMATION AND                                                       33,030.10                       0.00               OA                                      0.00                           FA
       BELIEF, ACCOUNTS

  7. SUSPENDED DOT LICENSE; SEE LIST IN SCHEDULE G                                                       0.00                       0.00               OA                                      0.00                           FA

  8. CUSTOMER LISTS - SEE SCHEDULE F; NO SUFFICIENT                                                      0.00                       0.00               OA                                      0.00                           FA
       INFORMATION

  9.   CONTINGENT CLAIMS-AVONDALE DOES NOT HAVE                                                          0.00                       0.00               OA                                      0.00                           FA
       SUFFICIENT ACCESS

 10. OFFICE EQUIPMENT                                                                               45,000.00                       0.00               OA                                      0.00                           FA

 11. PREFERENCE SETTLEMENTS/COLLECTIONS                                   (u)                            0.00                 205,735.95                                               205,735.95                             FA

 12. VOID (ASSET ENTERED IN ERROR)                                  (u)                             Unknown                         0.00                                                       0.00                           FA

 13. CASH ON HAND                                                                                        0.00                       0.00                                                       0.00                           FA

 14.   FINANCIAL ACCOUNTS                                                                                0.00                       0.00                                                       0.00                           FA

 15. SECURITY DEPOSITS                                                                                   0.00                       0.00                                                       0.00                           FA

 16.   BOOKS/COLLECTIBLES                                                                                0.00                       0.00                                                       0.00                           FA

 17. ANNUITIES                                                                                           0.00                       0.00                                                       0.00                           FA

 18. LIQUIDATED CLAIMS                                                                                   0.00                       0.00                                                       0.00                           FA

 19. VOID (ASSET ENTERED IN ERROR)                                    (u)                           Unknown                         0.00                                                       0.00                           FA

 20. INTELLECTUAL PROPERTY                                                                               0.00                       0.00                                                       0.00                           FA

 21.   MACHINERY AND SUPPLIES                                                                            0.00                       0.00               OA                                      0.00                           FA

 22.   OTHER PERSONAL PROPERTY                                                                           0.00                       0.00               OA                                      0.00                           FA
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                                                                                              FORM 1
                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                    ASSET CASES

Case No:               12-40944                     CJP                   Judge:        Christopher J. Panos                         Trustee Name:                      Joseph H. Baldiga, Trustee
Case Name:             SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                            Date Filed (f) or Converted (c):   04/11/2012 (c)

                                                                                                                                     341(a) Meeting Date:               06/13/2012
For Period Ending:     12/14/2018                                                                                                    Claims Bar Date:                   11/14/2013



                                    1                                                  2                            3                             4                          5                             6

                        Asset Description                                            Petition/                 Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                              Unscheduled          (Value Determined by                 Abandoned                  Received by                Administered (FA)/
                                                                                     Values              Trustee, Less Liens,                OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                            Exemptions,                                                                                  Assets
                                                                                                          and Other Costs)

 23. CASH MONEY FOUND IN DEBTOR BOX                           (u)                                0.00                      481.00                                                     481.00                         FA

 24. CHARGE FOR PHOTOCOPIES                             (u)                                      0.00                       194.00                                                    194.00                         FA

 25. ARROW ENERGY LITIGATION - BOND REFUND                                                       0.00                    42,000.00                                                42,000.00                          FA
       (u)
 26. AGREEMENT WITH VALLEY NATIONAL BANK                            (u)                          0.00                   250,000.00                                               250,000.00                          FA

 27. SETTLEMENT WITH TEM ENTERPRISES D/B/A XTRA AIR                                              0.00                    65,000.00                                                 1,432.00                          FA
       (u)
 28. SETTLEMENT - QUICKFLIGHT, INC. (ADV PROC 13-04082)                                          0.00                    31,596.74                                                31,596.74                          FA
       (u)
 29.   SETTLEMENT - PROGRESSIVE FUNDING SOLUTIONS                                                0.00                     6,000.00               OA                                1,800.00                          FA
       LLC (ADV PROC 13- (u)

 30. SETTLEMENT - AVONDALE AVIATION I, LLC (ADV PROC                                             0.00                     7,500.00                                                 7,500.00                          FA
       14-04025) (u)

 31.   ED WARNECK SC BANKRUPTCY CLAIM (ADV. PROC. NO.                                            0.00              30,942,155.16                                                   1,021.77                          FA
       14-04026) (u)

 32. SETTLEMENT - ARROW ENERGY, INC. (ADV. PROC. 14-                                             0.00                    18,000.00               OA                                      0.00                        FA
     04022) (u)

 33. SETTLEMENT - MERRICK BANK (MERRICK V. VALLEY                                                0.00                    50,000.00                                               275,502.40                          FA
       NATIONAL BANK) (u)

 34. JUDGMENT VS. FAIRFIELD INN BY MARIOTT, LP A/K/A                                             0.00                    27,245.49               OA                                      0.00                        FA
       FAIRFIELD IN (u)

 35. SETTLEMENT - THE STATION, INC. (ADV. PROC. 13-                                              0.00                     4,000.00                                                 4,000.00                          FA
       04086) (u)

 36. SETTLEMENT - ALLEGHENY COUNTY AIRPORT (ADV.                                                 0.00                   60,000.00                                                 60,000.00                          FA
       PROC. 13-04093) (u)

 37. SETTLEMENT - NIAGARA FALLS AVIATION, LLC (ADV.                                              0.00                   32,500.00                                                 32,500.00                          FA
       PROC. 13-04096) (u)

 38. SETTLEMENT - MIAMI AIR INTERNATIONAL, INC. (ADV.                                            0.00                   83,537.94                                                 83,537.94                          FA
     PROC. 13-04100) (u)

 39. SETTLEMENT - ORLANDO SANFORD INTERNATIONAL,                                                 0.00                     7,500.00                                                 7,500.00                          FA
     INC. (ADV. PROC. 14-04020) (u)
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                                                                                            FORM 1
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES

Case No:              12-40944                         CJP             Judge:        Christopher J. Panos                         Trustee Name:                      Joseph H. Baldiga, Trustee

Case Name:            SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                          Date Filed (f) or Converted (c):   04/11/2012 (c)

                                                                                                                                  341(a) Meeting Date:               06/13/2012
For Period Ending:    12/14/2018                                                                                                  Claims Bar Date:                   11/14/2013



                                   1                                                 2                           3                             4                          5                             6

                        Asset Description                                         Petition/                 Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                           Unscheduled            (Value Determined by                Abandoned                 Received by                Administered (FA)/
                                                                                  Values                Trustee, Less Liens,               OA=554(a)                  the Estate             Gross Value of Remaining
                                                                                                            Exemptions,                                                                               Assets
                                                                                                          and Other Costs)

 40. SETTLEMENT - BEECHWOOD LAKELAND HOTEL (ADV.                                                0.00                  14,000.00                                                14,000.00                            FA
     PROC. 14-04021) (u)

 41. SETTLEMENT - KEILMAN (ADV. PROC. 14-04023) (u)                                             0.00                 250,000.00                                               250,000.00                            FA

 42. SETTLEMENT - JUDY TULL (ADV. PROC. 14-04024) (u)                                           0.00                  10,000.00                                                10,000.00                            FA

 43. SETTLEMENT - EIN MANAGEMENT, LLC (ADV. PROC. 14-                                           0.00                   5,750.00                                                 5,750.00                            FA
     04027) (u)

 44. SETTLEMENT - AVIATION ADVANTAGE, INC. (ADV. PROC.                                          0.00                  15,000.00                                                15,000.00                            FA
     14-04028) (u)

 45. SETTLEMENT - AVFUEL CORPORATION (ADV. PROC. 14-                                            0.00                  30,000.00                                                30,000.00                            FA
     04085) (u)

 46. SETTLEMENT - ELLISON (ADV. PROC. 14-04026 and 14-                                          0.00                  92,000.00                                                92,000.00                            FA
     04024) (u)

 47. TRUSTEE'S PROOF OF CLAIM FILED IN SKY KING CA                                              0.00             2,702,405.01                 OA                                      0.00                          FA
     BANKRUPTCY 12-35905 (u)



                                                                                                                                                                                   Gross Value of Remaining Assets

  TOTALS (Excluding Unknown Values)                                                      $229,030.10           $35,155,856.06                                            $1,624,806.69                            $0.00

                                                                                                                                                                                   (Total Dollar Amount in Column 6)



  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
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- Laura Keeler 7/1 1/2018 - STATUS REVIEW OF CASE BY TRUSTEE; WAITING FOR TAXES.
- Laura Keeler 5/9/2018 - RECEIVED ESTATES INTEREST IN THE MERRICK BANK V. VALLEY NATIONAL BANK SUIT. NO MORE OUTSTANDING ASSETS - TAXES TO
BE ORDERED.
- Laura Keeler 3/22/2018 - STATUS REVIEW OF CASE BY TRUSTEE - MERRICK BANK TRIAL STARTS IN 2 WEEKS (ON OR ABOUT 4/9/18).
-Laura Keeler 1/3/2018
CASE REVIEW BY TRUSTEE - THE TRUSTEE WILL BE WRAPPING UP THE 2 REMAINING COLLECTION MATTERS (PROGRESSIVE AND FAIRFIELD). THE MERRICK V.
VALLEY NATIONAL BANK LITIGATION IS ONGOING.
-Laura Keeler 10/3/2017
CASE REVIEW BY TRUSTEE; MERRICK v VALLEY NATIONAL BANK MATTER ONGOING.
-Laura Keeler 8/25/2017
STATUS REPORT FILED.
-Laura Keeler 6/20/2017
CASE REVIEW BY TRUSTEE.
-Laura Keeler 3/30/2017
STATUS REVIEW OF CASE BY TRUSTEE.
- Laura Keeler 1/24/2017
TRUSTEE CONTINUES TO PURSUE AVOIDANCE ACTION DEFAULT JUDGMENTS AND OTHER RECOVERY LITIGATION, AND TO MONITOR MERRICK BANK'S SUIT
AGAINST VALLEY NATIONAL BANK (IN WHICH THE ESTATE HAS RETAINED AN INTEREST).


ALTHOUGH THIS CASE CONVERTED TO CHAPTER 7 FROM CHAPTER 1 1 , THE DEBTOR'S SCHEDULES WERE FILED AFTER THE CONVERSION TO A CHAPTER 7,
PRIOR TO THE CHAPTER 7 341 MEETING.

FYI: CHECK #200003 WAS VOIDED AND USED AS A SAMPLE FOR SIGNATURE PRINTING CHECKS - SEE FORM 2.




RE PROP #         4      RECEIVED CASH THEN CONVERTED TO CASHIER'S CHECK TO DEPOSIT

RE PROP #         5     AVONDALE DOES NOT HAVE SUFFICIENT ACCESS TO THE DEBTOR'S
                        FINANCIAL INFORMATION TO PROVIDE A DEFINITIVE RESPONSE. HOWEVER,
                        OTHER THAN THE DEBTOR'S GENERAL LIABILITY INSURANCE, SEE ATTACHED
                        SURETY BOND INFORMATION FROM PLATTE RIVER INSURANCE COMPANY

RE PROP#          6     RECEIVABLE WAS ON THE BALANCE SHEET AS OF THE CLOSE IN OCTOBER
                        AND WAS CARRIED FORWARD

RE PROP #         8     AS TO VALUE

RE PROP #         9     TO THE DEBTOR'S FINANCIAL INFORMATION TO PROVIDE A DEFINITIVE
                        RESPONSE. HOWEVER, SEE SCHEDULE 4 OF STATEMENT OF FINANCIAL
                        AFFAIRS

RE PROP #        10     AVONDALE DOES NOT HAVE SUFFICIENT ACCESS TO THE DEBTOR'S
                        FINANCIAL INFORMATION TO PROVIDE A DEFINITIVE RESPONSE.
                        SEE ATTACHED LIST OF STATION ASSETS.
                        OFFICE FURNITURE, FIXTURES AND EQUIPMENT IN CORPORATE OFFICES IN
                        MYRTLE BEACH (1600 OAK STREET, MYRTLE BEACH, SC 29577) - DETAILED
                        LISTING IS NOT AVAILABLE (ESTIMATED AT $15K)
                        OFFICE FURNITURE, FIXTURES AND EQUIPMENT IN LEASED RESERVATION
                        CENTER IN WEST VIRGINIA (1334 RITTER AVENUE, GLEN DANIELS, WV 25832) -
                        DETAILED LISTING IS NOT AVAILABLE (ESTIMATED AT $30K)

RE PROP #        13     SEE SCHEDULE 1 1 OF STATEMENT OF FINANCIAL AFFAIRS

RE PROP #        14     SEE SCHEDULE 11 OF STATEMENT OF FINANCIAL AFFAIRS

RE PROP #        15     AVONDALE DOES NOT HAVE SUFFICIENT ACCESS TO THE DEBTOR'S
                        FINANCIAL INFORMATION TO PROVIDE A DEFINITIVE RESPONSE

RE PROP #        16     SEE ANSWER TO #28

RE PROP#         17     AVONDALE DOES NOT HAVE SUFFICIENT ACCESS TO THE DEBTOR'S
                        FINANCIAL INFORMATION TO PROVIDE A DEFINITIVE RESPONSE
                                   Case 12-40944            Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32         Desc Main   Page:   5
                                                                           Document     Page 16 of 233
RE PROP #             18         AVONDALE DOES NOT HAVE SUFFICIENT ACCESS TO THE DEBTOR'S
                                 FINANCIAL INFORMATION TO PROVIDE A DEFINITIVE RESPONSE

RE PROP #            20          AVONDALE DOES NOT HAVE SUFFICIENT ACCESS TO THE DEBTOR'S
                                 FINANCIAL INFORMATION TO PROVIDE A DEFINITIVE RESPONSE
RE PROP #            21          SEE ANSWER TO #28

RE PROP#             22          AVONDALE DOES NOT HAVE SUFFICIENT ACCESS TO THE DEBTOR'S
                                 FINANCIAL INFORMATION TO PROVIDE A DEFINITIVE RESPONSE

RE PROP #            24          MADE FOR BRESSLER, AMERY & ROSS, P.C.

RE PROP #            27          TEM ENTERPRISES D/B/A XTRA AIR FILED BANKRUPTCY IN NEVADA ON 6/4/14;
                                 SETTLEMENT DISCUSSIONS BEFORE THAT HAPPENED RESULTED IN A
                                 SETTLEMENT AGREEMENT FOR $65,000 THAT WAS APPPROVED BY ORDER
                                 609. A POC WAS FILED IN THE NEVADA BANKRUPTCY CASE NO. 14-13955 FOR
                                 $65,000 FROM WHICH THIS BANKRUPTCY ESTATE RECEIVED TWO
                                 DISTRIBUTIONS TOTALLING $1,432.00.
RE PROP #            28          SEE ORDER NO. 665

RE PROP #            29          SETTLEMENT APPROVED BY ORDER 686. LATER ABANDONED BY THE
                                 TRUSTEE, SEE DOC 697.

RE PROP #            30          ALLOWED BY ORDER 646

RE PROP #            31          ED WARNECK SUBSEQUENTLY FILED BANKRUPTCY IN SOUTH CAROLINA
                                 BANKRUPTCY CASE NO. 14-01611. THE TRUSTEE FILED A PROOF OF CLAIM IN
                                 MR. WARNECK'S SC BANKRUPTCY CASE AND ON 7/27/17 RECEIVED A PRO
                                 RATA DISTRIBUTION IN MR. WARNECK'S CASE OF $1,021.77.
RE PROP #            32          SETTLEMENT ALLOWED PER ORDER 578. LATER ABANDONED BY THE
                                 TRUSTEE BY 691 ABANDONMENT ALLOWED PER ORDER 696

RE PROP #            33          SETTLEMENT AGREEMENT NO. 483 BETWEEN THE TRUSTEE AND MERRICK
                                 BANK ALLOWED BY ORDER 529.


RE PROP #            34          ADVERSARY PROCEEDING NO. 13-04079. ABANDONED BY THE TRUSTEE BY
                                 DOC 704.

RE PROP #            35          ALLOWED BY ORDER 415

RE PROP #            36          ALLOWED BY ORDER 422

RE PROP #            37          ALLOWED BY ORDER 499

RE PROP #            38          ALLOWED BY ORDER 608

RE PROP #            39          ALLOWED BY ORDER 573

RE PROP #            40         ALLOWED BY ORDER 595

RE PROP #            41         ALLOWED BY ORDER 625

RE PROP #            42         ALLOWED BY ORDER 549

RE PROP #            43         ALLOWED BY ORDER 546

RE PROP #            44         ALLOWED BY ORDER 548

RE PROP #            45         ALLOWED BY ORDER 637

RE PROP #            46         ALLOWED BY ORDER 584


Initial Projected Date of Final Report (TFR): 12/31/2014         Current Projected Date of Final Report (TFR): 12/31/2018

Trustee Signature:         Is/ Joseph H. Baldiga. Trustee   Date: 12/14/2018
       Case 12-40944              Doc 732   Filed 03/27/19 Entered 03/27/19 11:55:32   Desc Main   Page:   6
                                            Document     Page 17 of 233
Joseph H. Baldiga, Trustee
Mirick, O'Connell
1800 West Park Drive, Suite 400
Westborough, MA 01581-3926
(508) 791-8500
jbaldiga@mirickoconneII.com
                                 Case 12-40944                Doc 732      Filed 03/27/19 Entered 03/27/19 11:55:32                                      Desc Main                             Page:           1
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                     Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                            Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                             4                                                     5                   6                     7

T ransaction Date    Check or             Paid To / Received From                     Description of T ransaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                           ($)
                                                                          Balance Forward                                                                                                               $0.00

   04/12/13                      Transfer from Acct # XXXXXX0378          Bank Funds Transfer                                   9999-000               $269,409.08                              $269,409.08


   04/26/13             25       NGM INSURANCE COMPANY                    ARROW ENERGY                                          1249-000                $42,000.00                              $311,409.08
                                 PO BOX 2300KEENE, NH 03431               LITIGATION BOND REFUND

   05/28/13                      UNION BANK                               BANK SERVICE FEE                                      2600-000                                        $249.45         $311,159.63


   06/25/13                      UNION BANK                               BANK SERVICE FEE                                      2600-000                                        $462.80         $310,696.83


   06/28/13             26       VALLEY NATIONAL BANK                     AGREEMENT WITH VALLEY                                 1290-000               $250,000.00                              $560,696.83
                                 ATTORNEY IOLTA ACCOUNT100                NATIONAL BANK
                                 FRONT STREETWORCESTER, MA
                                 01608

   07/25/13                      UNION BANK                               BANK SERVICE FEE                                      2600-000                                        $447.43         $560,249.40


   08/21/13          200001      RADIXX INTERNATIONAL                     CS72288                                               2990-000                                     $3,882.00          $556,367.40
                                 6310 HAZELTINE NATIONAL                  RECORDS PRODUCTION
                                 DRIVEORLANDO, FL 32822

   08/23/13          200002      INTERNATIONAL SURETIES, LTD              BOND #016027601 (8/1/13 -                             2300-000                                        $669.85         $555,697.55
                                 SUITE 420701 POYDRAS ST.NEW              8/1/14)
                                 ORLEANS, LA 70139

   08/26/13                      UNION BANK                               BANK SERVICE FEE                                      2600-000                                        $833.21         $554,864.34


   09/25/13                      UNION BANK                               BANK SERVICE FEE                                      2600-000                                        $831.65         $554,032.69


   09/26/13             11       MCNAIR LAW FIRM, P.A.                    PREFERENCE SETTLEMENT                                 1241-000                 $9,500.00                              $563,532.69
                                 PO BOX 11390COLUMBIA, SC 29211

   10/25/13                      UNION BANK                               BANK SERVICE FEE                                      2600-000                                        $799.67         $562,733.02


   11/06/13             35       THE STATION INC - DBA COMPANY            PREFERENCE SETTLEMENT                                 1241-000                 $4,000.00                              $566,733.02
                                 TWO
                                 283 FOSTER ROADVARNVILLE, SC
                                 29944




                                                                                Page Subtotals:                                                        $574,909.08           $8,176.06
                                  Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                             Page:           2
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                                                                                         FORM 2
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

            Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



        1                2                           3                                              4                                                    5                   6                     7

T ransaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                           ($)
   11/19/13             36       ALLEGHENY COUNTY AIRPORT                  PREFERENCE SETTLEMENT                                 1241-000                $60,000.00                              $626,733.02
                                 AUTHORITY
                                 DISBURSEMENT ACCOUNTPUBLIC
                                 FINANCE - 817LANDSIDE TERMINAL,
                                 4TH FLOOR, MEZZANINEPO BOX
                                 1 2370PITTSBURGH, PA 15231-0370

   11/25/13                      UNION BANK                                BANK SERVICE FEE                                      2600-000                                        $837.31         $625,895.71


   12/17/13           200004     ROBERT M. DEES                            SPECIAL COUNSEL FEES                                  3210-000                                    $12,600.00          $613,295.71
                                 MILAM HOWARD NICANDRI DEES &
                                 GILLAM, P.A.14 EAST BAY
                                 STREETJACKSONVILLE, FL 32202

   12/17/13           200005     ROBERT M. DEES                            SPECIAL COUNSEL                                       3220-000                                     $3,139.92          $610,155.79
                                 MILAM HOWARD NICANDRI DEES &              EXPENSES
                                 GILLAM, P.A.14 EAST BAY
                                 STREETJACKSONVILLE, FL 32202
   12/26/13                      UNION BANK                                BANK SERVICE FEE                                      2600-000                                        $845.42         $609,310.37


   01/15/14           200006     GALESBURG-AUGUSTA HIGH SCHOOL Deposits - 507(a)(6)                                              5600-000                                     $2,297.64          $607,012.73
                                 1076 N. 37th StreetAttn: Patti ,
                                 GroetsemaGalesburg Ml 49053    ,,,,,,,,,,,,,,,,,,,,,


   01/15/14           200007     SHERYL (SNYDER) APPLE                     Deposits - 507(a)(6)                                  5600-000                                        $139.65         $606,873.08
                                 2775 Sweetbriar CtToldeoOH43615




   01/15/14           200008     DIANE AABY                                Deposits - 507(a)(6)                                  5600-000                                         $23.90         $606,849.18
                                 1022 Comfortcove DrMachesney
                                 ParklL611 15



   01/15/14           200009     JOANNE AARON                              Deposits - 507(a)(6)                                  5600-004                                         $60.31         $606,788.87
                                 231 W. Woodland
                                 DriveAliquippaPAl 5001

   01/15/14           200010     JENNIFER L. ABBONDANZIO                   Deposits - 507(a)(6)                                  5600-000                                         $89.57         $606,699.30
                                 30 Klondike StreetNorth
                                 GrosvenordaleCT6255



                                                                                  Page Subtotals:                                                        $60,000.00          $20,033.72
                                  Case 12-40944                 Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                      Desc Main                              Page:           3
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

            Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                   Account Number/CD#: XXXXXX3464

                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                               Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                              Separate Bond (if applicable):



        1                2                             3                                             4                                                     5                    6                     7

T ransaction Date     Check or              Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                      Reference                                                                                                       Code                                                            ($)
   01/15/14           200011      JOHN D. ABBOTT                            Deposits - 507(a)(6)                                   5600-000                                          $89.57         $606,609.73
                                  425 Via VenetoVeniceFL34285


   01/15/14           200012      JOHN ACARDO                               Deposits - 507(a)(6)                                   5600-000                                         $107.48         $606,502.25
                                  3284 Cavendish DriveRockfordlL61109


   01/15/14           200013      FRANK ACCOMANDO                           Deposits - 507(a)(6)                                   5600-000                                         $179.14         $606,323.11
                                  25 Embassy DriveHamiltonOntario
                                  CanadaL8T 4Z8

   01/15/14           200014      PETER ACETO                               Deposits - 507(a)(6)                                   5600-000                                         $249.10         $606,074.01
                                  921 1 Loch Glen DrVillage
                                  ofLlakewoodlL60014

   01/15/14           200015      MARILYN ACKER                             Deposits - 507(a)(6)                                   5600-000                                          $31.60         $606,042.41
                                  34 Flynn Ave Apt
                                  1 Q9PlattsburghNY 1 2901

   01/15/14           200016      GLENDA ADAMS                              Deposits - 507(a)(6)                                   5600-000                                          $99.64         $605,942.77
                                  201 Date Palm Ct.Winter HavenFL33880


   01/15/14           200017      CRYSTAL M. ADAMS (BIRCHLER)               Deposits - 507(a)(6)                                   5600-000                                          $80.99         $605,861.78
                                  1513 Brenda CourtSpringfieldlL62704


   01/15/14           200018      LOUIS & JOAN AERTS                        Deposits - 507(a)(6)                                   5600-000                                          $44.78         $605,817.00
                                  3453 Verna AvenueMuskegonMI49442


   01/15/14           200019      JOYCE W. AGLE                             Deposits - 507(a)(6)                                   5600-000                                          $89.57         $605,727.43
                                  4613 Six Mile Pond
                                  RoadZephyrhillsFL33541

   01/15/14           200020      THOMAS C. AIKMAN                          Deposits - 507(a)(6)                                   5600-000                                         $152.37         $605,575.06
                                  1260 Ficus DriveMyrtle BeachSC29579


   01/15/14           200021      RONALD ALEXANDER                          Deposits - 507(a)(6)                                   5600-000                                          $98.80         $605,476.26
                                  1 1 7 Alder AveRockfordlL61 1 07


   01/15/14           200022      STEVE ALEXANDRE                           Deposits - 507(a)(6)                                   5600-000                                          $65.98         $605,410.28
                                  373A 7th Ave.LaSalleQuebec
                                  CanadaH8P 2M3




                                                                                   Page Subtotals:                                                               $0.00           $1,289.02
                                Case 12-40944                 Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                             Page:           4
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                   6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   01/15/14          200023     ISMAEL & HAYDEE ALICEA                    Deposits - 507(a)(6)                                  5600-000                                        $233.46         $605,176.82
                                44 Noble StreetDudleyMA1571


   01/15/14          200024     CLAUDIA & DONALD ALLAIN                   Deposits - 507(a)(6)                                  5600-000                                         $83.74         $605,093.08
                                3 Sylvia StreetThree RiversMA1080


   01/15/14          200025     ROGER ALLEGRO                             Deposits - 507(a)(6)                                  5600-000                                        $179.14         $604,913.94
                                93 Broad Meadow StreetApt.
                                9MarlboroughMA1 752

   01/15/14          200026     MARCIA D. ALLEN                           Deposits - 507(a)(6)                                  5600-000                                         $20.94         $604,893.00
                                3149 S. 3rd StreetSpringfieldlL62703


   01/15/14          200027     CHARITO M. ALVARADO                       Deposits - 507(a)(6)                                  5600-000                                         $45.84         $604,847.16
                                10500 Mary Lou DrOrlandoFL32825


   01/15/14          200028     LAURA ANNE AMICHETTI                      Deposits - 507(a)(6)                                  5600-000                                         $89.57         $604,757.59
                                9 Hale RoadStowMA1775


   01/15/14          200029     BARBARA ANDRESON                          Deposits - 507(a)(6)                                  5600-000                                        $139.46         $604,618.13
                                5107 Meadowland DrCardinalOntarioKOE
                                1E0

   01/15/14          200030     CATHY ANDERSON                            Deposits - 507(a)(6)                                  5600-000                                         $31.85         $604,586.28
                                216 Joan DriveDivernonlL62530


   01/15/14          200031     KIMBERLY ANDERSON                         Deposits - 507(a)(6)                                  5600-000                                         $83.37         $604,502.91
                                115 Park View DriveGrantsvilleMD21536


   01/15/14          200032     WAYNE ANDERSON                            Deposits - 507(a)(6)                                  5600-000                                        $313.50         $604,189.41
                                1935 Delaney
                                DriveMississaugaONL5J3L2
   01/15/14          200033     CHRISTIAN ANDRADE                         Deposits - 507(a)(6)                                  5600-000                                         $89.57         $604,099.84
                                46 Courtland StWorcesterMAI 602


   01/15/14          200034     JODI L. ANDREI                            Deposits - 507(a)(6)                                  5600-000                                        $122.96         $603,976.88
                                5205 Wilkes RoadAtwaterOH44201




                                                                                 Page Subtotals:                                                             $0.00           $1,433.40
                                 Case 12-40944                Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32                                    Desc Main                              Page:           5
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                                                                                         FORM 2
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                   6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                           ($)
   01/15/14          200035      KATHLEEN ANDRESS                          Deposits - 507(a)(6)                                  5600-000                                         $89.57         $603,887.31
                                 1711 Hwy 17 S, Unit 504Surfside
                                 BeachSC29575
   01/15/14          200036      SHIRLEY L. ANDREWS                        Deposits - 507(a)(6)                                  5600-000                                         $48.76         $603,838.55
                                 8504 Third AvenueNiagara FallsNY14304


   01/15/14          200037      TRACY ANGELMEYER-MANDELL                  Deposits - 507(a)(6)                                  5600-000                                        $409.11         $603,429.44
                                 67596 SR 1 3MiIlersburglN46543


   01/15/14          200038      SUNSHINE ANKROM                           Deposits - 507(a)(6)                                  5600-000                                         $89.57         $603,339.87
                                 3199 Kane RdAliquippaPA15001


   01/15/14          200039      ANGELO ANTONUCCI                          Deposits - 507(a)(6)                                  5600-000                                        $210.67         $603,129.20
                                 1243 Links RoadMyrtle BeachSC29575


   01/15/14          200040      JOHN ARCHAMBAULT                          Deposits - 507(a)(6)                                  5600-000                                        $125.61         $603,003.59
                                 35 Evergreen AveNew LondonCT6320


   01/15/14          200041      MARTHA J. ARCHER                          Deposits - 507(a)(6)                                  5600-000                                         $94.87         $602,908.72
                                 1468 Fox Hollow WayN. Myrtle
                                 BeachSC29582

   01/15/14          200042      JOHN D. ARENSTAM                          Deposits - 507(a)(6)                                  5600-000                                        $179.14         $602,729.58
                                 28 Red Maple CircleOrmond
                                 BeachFL32174

   01/15/14          200043      SUSAN ARGY-HUGHES                         Deposits - 507(a)(6)                                  5600-000                                        $166.95         $602,562.63
                                 5693 East River RoadGrand
                                 lslandNY14072

   01/15/14          200044      NORMA D. ARMSTRONG                        Deposits - 507(a)(6)                                  5600-000                                         $42.13         $602,520.50
                                 318 Finley StreetJacksonvillelL62650


   01/15/14          200045      GERARD M. ARROYO                          Deposits - 507(a)(6)                                  5600-000                                        $132.39         $602,388.11
                                 97 East Elm AveQuincyMA2170


   01/15/14          200046      KRISTIN ARSLAN                            Deposits - 507(a)(6)                                  5600-000                                        $108.97         $602,279.14
                                 161 Whitman AvenueWest
                                 HartfordCT6107




                                                                                  Page Subtotals:                                                             $0.00           $1,697.74
                                Case 12-40944                 Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                             Page:           6
                                                                            Document     Page 23 of 233
                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                   6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   01/15/14          200047     MARY ELLEN ARTIOLI                        Deposits - 507(a)(6)                                  5600-000                                        $102.82         $602,176.32
                                589 White Tail PlaceMyrtle
                                BeachSC29588-41 37

   01/15/14          200048     GOPERAJAH ARULANANTHAN                    Deposits - 507(a)(6)                                  5600-000                                         $44.78         $602,131.54
                                314-88 Corporate
                                DriveScarboroughOntarioMI H3G6

   01/15/14          200049     REBECCA J. ASH                            Deposits - 507(a)(6)                                  5600-000                                         $49.82         $602,081.72
                                RT1 Box 52-OLost CreekWV26385


   01/15/14          200050     JEFFERY ASHLINE                           Deposits - 507(a)(6)                                  5600-000                                         $89.57         $601,992.15
                                944 Reynolds Rd., Lot
                                27 1 LakelandFL33801

   01/15/14          200051     NORMAN ASHWORTH                           Deposits - 507(a)(6)                                  5600-000                                         $55.73         $601,936.42
                                507 Port Bendres DrivePunta
                                GordaFL33950-7809

   01/15/14          200052     JOHN W. ASMA                              Deposits - 507(a)(6)                                  5600-000                                         $62.99         $601,873.43
                                156 Round Hill RoadKalamazooMI49009


   01/15/14          200053     KATHLEEN ASSMANN                          Deposits - 507(a)(6)                                  5600-000                                         $44.79         $601 ,828.64
                                10244 N Crosset Hill
                                DrPickeringtonOH43147
   01/15/14          200054     KAREN ASTYK                               Deposits - 507(a)(6)                                  5600-000                                         $44.78         $601,783.86
                                1301 Girdle Rd.ElmaNY14059


   01/15/14          200055     JANA ATWELL                               Deposits - 507(a)(6)                                  5600-000                                         $89.57         $601,694.29
                                863 Stevenson RoadWestportNY12993


   01/15/14          200056     SANDRA AUGER                              Deposits - 507(a)(6)                                  5600-000                                        $179.14         $601,515.15
                                2066 AylwinMontrealQuebecHI W 3C5


   01/15/14          200057     DANNY L. AND DEBRA M.                     Deposits - 507(a)(6)                                  5600-000                                        $215.63         $601,299.52
                                AUGHENBAUGH
                                1141 W. Chelsea WayDecaturlL62526

   01/15/14          200058     RICHARD L. AULTMAN                        Deposits - 507(a)(6)                                  5600-004                                         $84.96         $601,214.56
                                104 Charles St.CarmichaelsPA15320




                                                                                 Page Subtotals:                                                             $0.00           $1,064.58
                                 Case 12-40944                Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32                                    Desc Main                              Page:           7
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                                                                                                  FORM 2
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

            Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



        1                2                           3                                              4                                                    5                   6                     7

Transactiori Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code
                                                                                                                                                                                                   ($)
   01/15/14           200059     JEREMIAH AVERY                            Deposits - 507(a)(6)                                  5600-000                                        $159.00         $601,055.56
                                 904 Bird Bay WayVeniceFL34285


   01/15/14           200060     SUSAN AVERY                               Deposits - 507(a)(6)                                  5600-000                                         $89.57         $600,965.99
                                 1 288 Crossfield
                                 BendMississaugaOntarioL5G 3P4
   01/15/14           200061     TASHA AYERS COY                           Deposits - 507(a)(6)                                  5600-000                                        $159.00         $600,806.99
                                 99 Geiger AvenueBattleereekMI49037


   01/15/14           200062     NANCY K. BACKS                            Deposits - 507(a)(6)                                  5600-000                                         $99.64         $600,707.35
                                 P.O. Box 1 305RivertonlL62561


   01/15/14           200063     DEBRA BAEHRE                              Deposits - 507(a)(6)                                  5600-000                                         $79.50         $600,627.85
                                 684 Ridgefield DriveCoopersvilleMI49404


   01/15/14           200064     WILBUR BAGENT                             Deposits - 507(a)(6)                                  5600-000                                        $189.74         $600,438.11
                                 137 Williams DrBattle CreekMI49015


   01/15/14           200065     GAIL P. BAGGOT                            Deposits - 507(a)(6)                                  5600-000                                         $53.00         $600,385.11
                                 31 1 Caldera Ct.Murrells lnletSC29576


   01/15/14           200066     DAN AND ANGELA BAGWELL                    Deposits - 507(a)(6)                                  5600-000                                        $159.00         $600,226.11
                                 16298 Oak LaneThree RiversMI49093


   01/15/14           200067     STEPHANIE BAHLING                     Deposits - 507(a)(6)                                      5600-000                                         $94.87         $600,131.24
                                 10311 Cotton Grass CourtRoscoelL61073


   01/15/14           200068     BARTON E. BAILEY                          Deposits - 507(a)(6)                                  5600-000                                        $134.35         $599,996.89
                                 24 May Lane PO Box 450akfordlL62673


   01/15/14           200069     CLAUDIA C. BAILEY                         Deposits - 507(a)(6)                                  5600-000                                         $84.27         $599,912.62
                                 613-P 36th Ave NorthMyrtle
                                 BeachSC29577

   01/15/14           200070     GERALD BAILEY                             Deposits - 507(a)(6)                                  5600-000                                         $97.78         $599,814.84
                                 c/o Dawn Gibbs1872 Coconut Palm
                                 CircleNorth PortFL34288




                                                                                  Page Subtotals:                                                             $0.00           $1,399.72
                                 Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:           8
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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T ransaction Date    Check or             Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                           ($)
   01/15/14          200071      PAIGE ANN BAIN                           Deposits - 507(a)(6)                                   5600-000                                        $221.01         $599,593.83
                                 8421 52 WayPinellas ParkFL33781


   01/15/14          200072      COLLEEN BAKER                            Deposits - 507(a)(6)                                   5600-000                                         $83.74         $599,510.09
                                 32562 E CR 580 N.Mason CitylL62664


   01/15/14          200073      ERNEST AND SARA BAKER                    Deposits - 507(a)(6)                                   5600-000                                        $100.09         $599,410.00
                                 1 16 W State StreetColonMI49040


   01/15/14          200074      HAROLD L. BAKER                          Deposits - 507(a)(6)                                   5600-000                                         $35.72         $599,374.28
                                 4069 Santa Barbara Dr.SebringFL33875


   01/15/14          200075      JANICE BAKER                             Deposits - 507(a)(6)                                   5600-000                                         $29.02         $599,345.26
                                 8557 Mikko DriveHoltonMI49425


   01/15/14          200076      JERRY M. BAKER                           Deposits - 507(a)(6)                                   5600-000                                        $179.14         $599,166.12
                                 1096 Mille AveCalabashNC28467


   01/15/14          200077      JOHN W. BAKER                            Deposits - 507(a)(6)                                   5600-000                                        $313.49         $598,852.63
                                 1360 Summerwood Dr.South
                                 HavenMI49090

   01/15/14          200078      MARLIN BAKER                             Deposits - 507(a)(6)                                   5600-000                                         $75.76         $598,776.87
                                 443 Carpenter NWGrand RapidsMI49504


   01/15/14          200079      JOANNE BALFOUR                           Deposits - 507(a)(6)                                   5600-000                                         $89.57         $598,687.30
                                 285 Beechfield Rd.OakvilleOntarioL6J
                                 5H9

   01/15/14          200080      TAMAR BALL                               Deposits - 507(a)(6)                                   5600-000                                         $89.57         $598,597.73
                                 508 E State StreetTraverse CityMI49686


   01/15/14          200081      MICHAEL & LYN BALLA                      Deposits - 507(a)(6)                                   5600-000                                        $151.21         $598,446.52
                                 4777 Seneca StreetWest
                                 SenecaNY14224

   01/15/14          200082      TOM & BARBARA BALTZ                      Deposits - 507(a)(6)                                   5600-000                                         $44.78         $598,401.74
                                 89 Bush Hill RoadLebanonCT6249




                                                                                 Page Subtotals:                                                              $0.00           $1,413.10
                                 Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                    Desc Main                              Page:           9
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                          ($)
   01/15/14          200083      JOHN J. BANACH                           Deposits - 507(a)(6)                                  5600-000                                         $89.57         $598,312.17
                                 75 Huntoon Memorial HighwayUnit 3-
                                 1 LeicesterMAI 524

   01/15/14          200084      SHELLI BANES                             Deposits - 507(a)(6)                                  5600-000                                         $89.57         $598,222.60
                                 6991 Daggert RoadMt. CarrolllL61053


   01/15/14          200085      GREGORY BANNISTER                        Deposits - 507(a)(6)                                  5600-000                                        $179.14         $598,043.46
                                 5789 Reidenbach RoadSouth
                                 BeloitlL61 080

   01/15/14          200086      EDWARD ANDREW BARD                       Deposits - 507(a)(6)                                  5600-000                                        $180.20         $597,863.26
                                 194 Macrae RdColcherterVT5446


   01/15/14          200087      CYNTHIA BARFIELD                         Deposits - 507(a)(6)                                  5600-000                                         $13.24         $597,850.02
                                 4150 Spring Garden RdPGHPA15212


   01/15/14          200088      GRACE BARIL                              Deposits - 507(a)(6)                                  5600-000                                        $132.50         $597,717.52
                                 78 Crooked TrailWoodstockCT6281


   01/15/14          200089      TIMOTHY & TERRI BARNABY                  Deposits - 507(a)(6)                                  5600-004                                         $98.79         $597,618.73
                                 44 Wabaso StreetPittsfieldMA1201


   01/15/14          200090      CALEB BARNETT                            Deposits - 507(a)(6)                                  5600-000                                         $41.87         $597,576.86
                                 P.O. Box 44WaverlylL62692


   01/15/14          200091      RENEE L. BARR                            Deposits - 507(a)(6)                                  5600-000                                        $218.54         $597,358.32
                                 5050 Arbutus RoadRockfordlL61107


   01/15/14          200092      WILLIAM R. BARR                          Deposits - 507(a)(6)                                  5600-000                                         $31.96         $597,326.36
                                 980 East Gull Lake Dr.AugustaMI49012


   01/15/14          200093      TERRENCE BARRETT                         Deposits - 507(a)(6)                                  5600-000                                        $148.93         $597,177.43
                                 11328 Camden Loop
                                 WayWindermereFL34786

   01/15/14          200094      BRUCE BARETTE                            Deposits - 507(a)(6)                                  5600-000                                        $142.30         $597,035.13
                                 746 Worecester
                                 StreetSouthbridgeMAI 550




                                                                                 Page Subtotals:                                                             $0.00           $1,366.61
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 1 2/14/201 8                                                                          Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                   6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                           ($)
   01/15/14          200095       JON BARRETTE                             Deposits - 507(a)(6)                                  5600-000                                        $358.28         $596,676.85
                                  138 Campbells Bay RoadSwantonVT5488


   01/15/14          200096       GABRIELLE                                Deposits - 507(a)(6)                                  5600-000                                         $79.50         $596,597.35
                                  1112 Harbour Dr Apt.
                                  1 01 WilmingtonNC28401

   01/15/14          200097       MARCIA AND TIMOTHY BARRY                 Deposits - 507(a)(6)                                  5600-000                                        $128.26         $596,469.09
                                  1090 Cunningham DriveVictorNY14564


   01/15/14          200098       VANESSA BARRY                            Deposits - 507(a)(6)                                  5600-000                                        $179.14         $596,289.95
                                  420 2400th StreetEmdenlL62635


   01/15/14          200099       DAVID BARTLETT                           Deposits - 507(a)(6)                                  5600-000                                         $89.57         $596,200.38
                                  28 Cherryfield AveSacoME4072


   01/15/14          200100       LAURA J. BATCHO                          Deposits - 507(a)(6)                                  5600-000                                        $294.94         $595,905.44
                                  2787 Christ RoadAtticaNY14569


   01/15/14          200101       JOHN R. BATTLE                           Deposits - 507(a)(6)                                  5600-000                                        $116.07         $595,789.37
                                  3743 Trails End LaneNorth
                                  TonawandaNY14120
   01/15/14          200102       ROSE BATTLE                              Deposits - 507(a)(6)                                  5600-000                                        $134.35         $595,655.02
                                  4501 Compass Oaks Dr.ValricoFL33596


   01/15/14          200103       DAVID G. BAUER                           Deposits - 507(a)(6)                                  5600-000                                         $89.57         $595,565.45
                                  1065 N. Canyon DriveFreeportlL61032


   01/15/14          200104       HELEN BAUER                              Deposits - 507(a)(6)                                  5600-000                                         $44.79         $595,520.66
                                  8854 Seaman RdGasportNY14067


   01/15/14          200105       DONNA BAUMAN                             Deposits - 507(a)(6)                                  5600-000                                         $53.32         $595,467.34
                                  400 Robin CourtSt. JosephMI49085


   01/15/14          200106       RYAN BAUMBACH                            Deposits - 507(a)(6)                                  5600-000                                        $220.70         $595,246.64
                                  8696 Carlisle Dr SWByron
                                  CenterMI49315




                                                                                  Page Subtotals:                                                             $0.00           $1,788.49
                                 Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       11
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                   6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                           ($)
   01/15/14          200107      SHERON BAUMGARTNER                       Deposits - 507(a)(6)                                  5600-000                                        $100.17         $595,146.47
                                 9329 Corduroy RdCurticeOH43412


   01/15/14          200108      BEVERLY N. BEAN                          Deposits - 507(a)(6)                                  5600-000                                         $44.78         $595,101.69
                                 48 Westmorland DriveWorcesterMA1602


   01/15/14          200109      DENNIS C. BEAN                           Deposits - 507(a)(6)                                  5600-000                                        $212.00         $594,889.69
                                 407 Langen RoadPO Box
                                 294LancasterMA1 523

   01/15/14          200110      DEBORAH J. BEASOCK                       Deposits - 507(a)(6)                                  5600-000                                        $125.71         $594,763.98
                                 10 Beagle CourtJefferson HillsPA15025


   01/15/14          200111      BRENDA BEAUCAGE                          Deposits - 507(a)(6)                                  5600-000                                         $89.57         $594,674.41
                                 18 Knollwood CircleMillburyMA1527


   01/15/14          200112      DIANE BEAUCHEMIN                         Deposits - 507(a)(6)                                  5600-000                                        $107.32         $594,567.09
                                 446 Forest AvenueBrocktonMA2301


   01/15/14          200113      CARLOS BEAULIEU                          Deposits - 507(a)(6)                                  5600-000                                        $283.90         $594,283.19
                                 246 Allard Ave.Dorval, QuebecH9S 3B9


   01/15/14          200114      JENNIFER M. BEAULIEU                     Deposits - 507(a)(6)                                  5600-000                                         $47.44         $594,235.75
                                 1 1 Irish Settlement
                                 Road HeuveltonNYl 3654

   01/15/14          200115      ROLAND J. BEAUREGARD                     Deposits - 507(a)(6)                                  5600-000                                         $80.03         $594,155.72
                                 13 Treadwell DriveSpencerMA1562


   01/15/14          200116      KATHERINE S. BECKMAN                     Deposits - 507(a)(6)                                  5600-000                                         $89.57         $594,066.15
                                 19104 S. Three Oaks Rd.Three
                                 OaksMI49128

   01/15/14          200117      EDWARD BEDORE                            Deposits - 507(a)(6)                                  5600-000                                         $44.78         $594,021.37
                                 1475 N Hidden Creek Dr.SalineMI48176


   01/15/14          200118      MICHAEL BEHAN                            Deposits - 507(a)(6)                                  5600-000                                         $89.57         $593,931.80
                                 508 Red Hill RdMiddletownNJ7748




                                                                                 Page Subtotals:                                                             $0.00           $1,314.84
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   01/15/14          200119     NANCY BEK                                 Deposits - 507(a)(6)                                  5600-004                                        $268.71         $593,663.09
                                255 Park Ave., Suite
                                902WorcesterMA1 609

   01/15/14          200120     DONNA BELFIORE                            Deposits - 507(a)(6)                                  5600-000                                         $45.97         $593,617.12
                                19-7500 HWY
                                27WoodbridgeOntarioL4HQJ2

   01/15/14          200121     TERESA BELIN                              Deposits - 507(a)(6)                                  5600-000                                         $33.92         $593,583.20
                                7502 Stephenson AvenueNiagara
                                Falls NY1 4304

   01/15/14          200122     CATHY & RICHARD BELISLE                   Deposits - 507(a)(6)                                  5600-000                                         $88.17         $593,495.03
                                359 Stark LaneManchesterNY3102


   01/15/14          200123     BEN E. BENACK, JR.                        Deposits - 507(a)(6)                                  5600-000                                         $50.08         $593,444.95
                                2465 Ridge Rd.South ParkPA15129


   01/15/14          200124     JOHN C. AND DEBRA BENANTI                 Deposits - 507(a)(6)                                  5600-000                                         $89.57         $593,355.38
                                1425 East Lake Shore
                                Dr.SpringfieldlL62712

   01/15/14          200125     JOHN R. BENDER, JRS.                      Deposits - 507(a)(6)                                  5600-000                                        $174.42         $593,180.96
                                105 Bush Hill Rd.LebanonCT6249


   01/15/14          200126     NICHOLAS BENJAMIN                         Deposits - 507(a)(6)                                  5600-000                                        $313.49         $592,867.47
                                1 00 Sweet Alyssum
                                DriveLadsonSC29460
   01/15/14          200127     DEBORAH BENNINGER                         Deposits - 507(a)(6)                                  5600-000                                         $89.57         $592,777.90
                                808 Juniper StQuakertownPA18951


   01/15/14          200128     JEFFREY BENOIT                            Deposits - 507(a)(6)                                  5600-000                                        $209.35         $592,568.55
                                44 Colonial AveAgawamMA1001


   01/15/14          200129     MARK E. BENTLEY                           Deposits - 507(a)(6)                                  5600-000                                        $102.82         $592,465.73
                                58 West Meadow RoadWest
                                TownsendMA1474

   01/15/14          200130     MARY CELINE BENTLEY                       Deposits - 507(a)(6)                                  5600-000                                         $89.57         $592,376.16
                                226 Kilmer CourtSpringfieldlL6271 1




                                                                                 Page Subtotals:                                                             $0.00           $1,555.64
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

            Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                  Account Number/CD#: XXXXXX3464

                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                               Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                             Separate Bond (if applicable):



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T ransaction Date     Check or             Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                      Reference                                                                                                       Code                                                           ($)
   01/15/14           200131      DEBORAH BENWAY                            Deposits - 507(a)(6)                                  5600-000                                          $41.87         $592,334.29
                                  1116 State Route 196Hudson
                                  FallsNY12839

   01/15/14           200132      CHERYL BENZ                               Deposits - 507(a)(6)                                  5600-000                                          $96.99         $592,237.30
                                  910 Bibbs StreetJacksonvillelL62650


   01/15/14           200133      RAYMONDE BERGERON                         Deposits - 507(a)(6)                                  5600-000                                         $108.27         $592,129.03
                                  9 West AveSpencerMA1562


   01/15/14           200134      JILAYNE BERNTSEN                          Deposits - 507(a)(6)                                  5600-000                                          $85.12         $592,043.91
                                  5109 Hermitage TrailRockfordlL61114


   01/15/14           200135      GERALD BERRY                              Deposits - 507(a)(6)                                  5600-000                                          $89.57         $591,954.34
                                  789 Warner RdP.O. Box 27St.
                                  DavidsOntarioLOS 1 P0

   01/15/14           200136      RAYMOND BERTHIAUME                        Deposits - 507(a)(6)                                  5600-000                                         $131.44         $591,822.90
                                  2956 Eagles Nest WayPort St.
                                  LucieFL34952

   01/15/14           200137      CANDACE L. BERUBE                         Deposits - 507(a)(6)                                  5600-000                                         $106.00         $591,716.90
                                  1983 Scarlett Avenue North PortFL342898


   01/15/14           200138      MICHAEL BETTENHAUSEN                      Deposits - 507(a)(6)                                  5600-000                                         $134.23         $591,582.67
                                  1121 Latigo LnSpringfieldlL62712


   01/15/14           200139      SANDRA BETTS                              Deposits - 507(a)(6)                                  5600-000                                          $89.29         $591,493.38
                                  3400 Rowland DrivePort
                                  CharlotteFL33980

   01/15/14           200140      THOM BETZ                                 Deposits - 507(a)(6)                                  5600-000                                         $274.01         $591,219.37
                                  3347 Channelside DriveSupplyNC28462


   01/15/14           200141      LOUISE BEUME                              Deposits - 507(a)(6)                                  5600-000                                         $104.14         $591,115.23
                                  4120 Lorene Dr, Unit 106EsteroFL33928


   01/15/14           200142      CYNTHIA S. BIANCAMANO                     Deposits - 507(a)(6)                                  5600-000                                         $129.05         $590,986.18
                                  73 Lake Shore DriveColchesterCT6415




                                                                                   Page Subtotals:                                                              $0.00           $1,389.98
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                  Account Number/CD#: XXXXXX3464

                                                                                                                                           Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                             Separate Bond (if applicable):



       1                2                            3                                              4                                                     5                    6                       7

T ransaction Date    Check or              Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                        Code                                                             ($)
   01/15/14          200143      KATHLEEN BIANCUZZO                        Deposits - 507(a)(6)                                   5600-000                                           $44.52          $590,941.66
                                 3300 Loveland Blvd, Unit 2802Port
                                 CharlotteFL33980

   01/15/14          200144      JENNIFER L. BIBBEE                        Deposits - 507(a)(6)                                   5600-000                                           $89.57          $590,852.09
                                 1485 Sedgefield DriveMurrells
                                 lnletSC29576

   01/15/14          200145      CARL BICE                                 Deposits - 507(a)(6)                                   5600-000                                          $268.71          $590,583.38
                                 14300 Hickory Links Ct., Unit 1811 Fort
                                 MyersFL33912

   01/15/14          200146      DONNALEE BIERALS                          Deposits - 507(a)(6)                                   5600-000                                           $68.90          $590,514.48
                                 7 Stone Row LaneOak RidgeNJ7438


   01/15/14          200147      MARSHALL AND SUSAN E. BILLIAM             Deposits - 507(a)(6)                                   5600-000                                          $268.71          $590,245.77
                                 151 Palm Blvd.ParrishFL3421 9


   01/15/14          200148      KIMBERLY BILLICK                       Deposits - 507(a)(6)                                      5600-000                                          $157.41          $590,088.36
                                 134 Walker Manor CircleColliersWV26035


   01/15/14          200149      RUSSELL A. BILOW                          Deposits - 507(a)(6)                                   5600-000                                           $89.57          $589,998.79
                                 2035 Plank RoadEllenburg
                                 DepotNY12935

   01/15/14          200150      SANDRA BIRDSELL                           Deposits - 507(a)(6)                                   5600-000                                           $13.24          $589,985.55
                                 7309 Wentworh DriveSpringfieldlL6271 1


   01/15/14          200151      LYNN BISBANO                              Deposits - 507(a)(6)                                   5600-000                                          $109.44          $589,876.11
                                 3405 57th Avenue Drive
                                 WestBradentonFL3421 0

   01/15/14          200152      STEVE & CHRSTINE BISHOP                   Deposits - 507(a)(6)                                   5600-000                                          $119.20          $589,756.91
                                 5378 Torgue RoadLoues ParklL61 111


   01/15/14          200153      THERESA BITTNER                           Deposits - 507(a)(6)                                   5600-000                                           $71.02          $589,685.89
                                 1922 West Creek RoadBurtNY14028


   01/15/14          200154      JOHN R. BLACK, JR.                        Deposits - 507(a)(6)                                   5600-000                                          $132.50          $589,553.39
                                 P.O. Box 1923Little RiverSC29566




                                                                                  Page Subtotals:                                                               $0.00              $1,432.79
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                     Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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T ransaction Date   Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   01/15/14          200155     JEAN BLACKER                              Deposits - 507(a)(6)                                  5600-000                                        $210.41         $589,342.98
                                11 Belvoir Ave.DouglasMA516


   01/15/14          200156     DANA BLACKMAN                             Deposits - 507(a)(6)                                  5600-000                                        $241.43         $589,101.55
                                50 Cedar StreetParisOntarioN3L 0A1


   01/15/14          200157     LYNN BLACKMORE                            Deposits - 507(a)(6)                                  5600-000                                        $108.12         $588,993.43
                                17 Garnish GreenMarkhamOntarioL3P
                                4P4

   01/15/14          2001 58    JESSE MAY BLAKE                           Deposits - 507(a)(6)                                  5600-000                                         $99.64         $588,893.79
                                5 Pleasant StreetChazyNYl 2921


   01/15/14          200159     JACQUELINE L. BLAKEY                      Deposits - 507(a)(6)                                  5600-000                                        $179.14         $588,714.65
                                102 Cricket CourtConwaySC29526


   01/15/14          200160     DEBRA BLANDING                            Deposits - 507(a)(6)                                  5600-000                                        $179.14         $588,535.51
                                860 Taylor RiseVictorNY14564


   01/15/14          200161     PAMELA BLANKENBAKER                       Deposits - 507(a)(6)                                  5600-000                                         $35.82         $588,499.69
                                23080 Spring Mill DrElkhartlN46514


   01/15/14          200162     MARGARET BLAUVELT                         Deposits - 507(a)(6)                                  5600-000                                        $198.64         $588,301.05
                                12890 9 Mile RdShelbyvilleMI49344


   01/15/14          200163     CAROL L. BLEIGH                           Deposits - 507(a)(6)                                  5600-000                                         $44.78         $588,256.27
                                817 Meadland RoadBridgeportVW26330


   01/15/14          200164     RITA C. BLEVINS                           Deposits - 507(a)(6)                                  5600-000                                         $61.35         $588,194.92
                                1 Missouri AvePotsdamNYl 3676


   01/15/14          200165     SHEILA P. BLEYL                           Deposits - 507(a)(6)                                  5600-000                                         $44.78         $588,150.14
                                26 Broad StreetBroadalbinNY12025


   01/15/14          200166     CINDY BLONDE                              Deposits - 507(a)(6)                                  5600-000                                         $89.57         $588,060.57
                                8300 Mosherville Rd. Litchfield MI49252




                                                                                 Page Subtotals:                                                             $0.00           $1,492.82
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                           ($)
   01/15/14          200167      SHARON A. BOCKUS                         Deposits - 507(a)(6)                                  5600-000                                         $53.24         $588,007.33
                                 110 Hawk's NestApt. 102St.
                                 AlbansVT05478-4288

   01/15/14          200168      DONNA M. BODETTE                         Deposits - 507(a)(6)                                  5600-000                                        $115.54         $587,891.79
                                 144 Bradford Road PlattsburghNYl 2901


   01/15/14          200169      MARGARET GAY BOEHME                      Deposits - 507(a)(6)                                  5600-000                                        $223.92         $587,667.87
                                 1600 Shady LaneGrand lslandFL32735-
                                 9742

   01/15/14          200170      ANN MARIE BOER                           Deposits - 507(a)(6)                                  5600-000                                         $44.79         $587,623.08
                                 3308 Lobell DriveSpringfieldlL62712


   01/15/14          200171      DEBRA BOHNER                             Deposits - 507(a)(6)                                  5600-000                                        $164.56         $587,458.52
                                 9369 County Road I
                                 50MontpelierOH43543

   01/15/14          200172      MARGARET BOISMENU                        Deposits- 507(a)(6)                                   5600-000                                        $116.87         $587,341.65
                                 71 Queens DriveWest SenecaNY14224


   01/15/14          200173      KIM BOISVERT                             Deposits - 507(a)(6)                                  5600-000                                         $94.87         $587,246.78
                                 624, Chemin Val-des-LacsSainte-
                                 SophieJSJ 2S7
   01/15/14          200174      CHERYL BOLTON                            Deposits - 507(a)(6)                                  5600-000                                        $209.88         $587,036.90
                                 PO Box 426Bolton LandingNY12814


   01/15/14          200175      FRANCES BOMBARD                          Deposits - 507(a)(6)                                  5600-000                                         $94.87         $586,942.03
                                 217 Sturbridge Rd #47CharltonMA1507


   01/15/14          200176      FRANK BONACORSI                          Deposits - 507(a)(6)                                  5600-000                                        $104.83         $586,837.20
                                 608 7th AveHoughtonMI49931


   01/15/14          20.0177     GRETA A. BONIDIE                         Deposits - 507(a)(6)                                  5600-000                                         $41.68         $586,795.52
                                 221 Davis AvenuePittsburghPAl 5223


   01/15/14          200178      MELISSA BONNEY                           Deposits - 507(a)(6)                                  5600-000                                         $96.99         $586,698.53
                                 1205 Mark LaneTaylorvillelL62568




                                                                                 Page Subtotals:                                                             $0.00           $1,362.04
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           Case No: 12-40944                                                                                                  Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                             Bank Name: Union Bank

                                                                                                                       Account Number/CD#: XXXXXX3464

                                                                                                                                                Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                                    Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                                  Separate Bond (if applicable):



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Transaction Date    Check or              Paid To / Received From                             Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                             Code                                                           ($)
   01/15/14          200179     LINDA BOOKER                              Deposits - 507(a)(6)                                         5600-000                                         $51.15         $586,647.38
                                512 S Lincoln StTremontlL61568


   01/15/14          200180     WAYNE E. BOOR                             Deposits - 507(a)(6)                                         5600-000                                        $371.00         $586,276.38
                                1 1 1 Oakview DriveCranberry
                                Twp,PA16066
   01/15/14          200181     KELLEY BOOSKA                             Deposits - 507(a)(6)                                         5600-000                                         $47.43         $586,228.95
                                1310 Rio Falls Dr., Apt.
                                205RaleighNC27614

   01/15/14          200182     JOHN AND ANNMARIE BOPP                    Deposits - 507(a)(6)                                         5600-000                                        $166.15         $586,062.80
                                2 Beechwood RoadBellinghamMA2019


   01/15/14          200183     PRISCELLA B. BORCI                       Deposits - 507(a)(6)                                          5600-000                                        $217.99         $585,844.81
                                8380 Burwell CirclePort CharlotteFL33981


   01/15/14          200184     CINDY M. BORDEN                           Deposits - 507(a)(6)                                         5600-000                                         $83.74         $585,761.07
                                364 Main StreetLeominsterMA1453


   01/15/14          200185     LILIAN BORISOV                            Deposits - 507(a)(6)                                         5600-000                                         $99.64         $585,661.43
                                81 Bryn Mawr AveAuburnMA1501


   01/15/14          200186     BRIANNA BORK                              Deposits - 507(a)(6)                                         5600-000                                        $265.00         $585,396.43
                                340 Main StWest SenecaNY14224


   01/15/14          200187     NORMA BOROWSKI                            Deposits - 507(a)(6)                                         5600-000                                         $89.57         $585,306.86
                                550 Wallum Lake RoadPascoagRI2859


   01/15/14          200188     JUDY W. BOSSUAT-GALLIC                    Deposits - 507(a)(6)                                         5600-000                                         $44.78         $585,262.08
                                9230 Flickering Shadow
                                Dr.DallasTX75243                               rMJ M MMIIJ!



   01/15/14          200189     JANE BOTTING                              Deposits - 507(a)(6)                                         5600-000                                         $83.74         $585,178.34
                                2635 Fiddlestick CircleLutzFL33559


   01/15/14          200190     ANNE D. BOUCHARD                          Deposits - 507(a)(6)                                         5600-000                                         $89.57         $585,088.77
                                3524 E. Palmetto St.Lot
                                1 9FlorenceSC29506




                                                                                  Page Subtotals:                                                                   $0.00           $1,609.76
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            Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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T rarisaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                      Reference                                                                                                     Code                                                           ($)
   01/15/14           200191      DANNY BOUCHARD                           Deposits - 507(a)(6)                                  5600-000                                        $250.74         $584,838.03
                                  111 Urbaine
                                  StreetLachuteQuebecJ8H4H9

   01/15/14           200192      DONALD AND CHANNON M.                    Deposits - 507(a)(6)                                  5600-000                                        $250.43         $584,587.60
                                  BOULANGER, JR
                                  239 Dustin Tavern RoadWeareNH3281

   01/15/14           200193      JEAN E. BOURASSA                         Deposits - 507(a)(6)                                  5600-000                                         $81.73         $584,505.87
                                  9693 SW 45 Ave.OcalaFL34476


   01/15/14           200194      DONALD V. BOURCIER                       Deposits - 507(a)(6)                                  5600-000                                         $76.37         $584,429.50
                                  241 Belmont AvenueWest
                                  SpringfieldMA1089
   01/15/14           200195      CHARLES BOURDON                          Deposits - 507(a)(6)                                  5600-000                                         $29.33         $584,400.17
                                  5385 Lakewood Rd.WhitehallMI49461


   01/15/14           200196      RACQUEL L. BOURNE                        Deposits - 507(a)(6)                                  5600-000                                        $134.35         $584,265.82
                                  441 Genius Dr. Winter ParkFL32789


   01/15/14           200197      NANCY BOUSQUET                           Deposits - 507(a)(6)                                  5600-000                                         $89.57         $584,176.25
                                  933 Yacht Club WayMoore
                                  HavenFL33471

   01/15/14           200198      JOSEPH BOUTHET                           Deposits - 507(a)(6)                                  5600-000                                        $223.92         $583,952.33
                                  2780 Coopers CourtMyrtle
                                  BeachSC29579

   01/15/14           200199      LUCINDA A. BOVEN                         Deposits - 507(a)(6)                                  5600-000                                         $54.65         $583,897.68
                                  48749 Meadow Oak
                                  TrailMattawanMI49071

   01/15/14           200200      RAYMOND BOWMAN                           Deposits - 507(a)(6)                                  5600-000                                         $73.19         $583,824.49
                                  225 North Lake Shore Dr.Lake
                                  WalesFL33859-8701
   01/15/14           200201      NANCY BOYD                               Deposits - 507(a)(6)                                  5600-000                                         $80.40         $583,744.09
                                  5115 Genesee PkwyBokeeliaFL33922


   01/15/14           200202      ROBERT W. BOYD                           Deposits - 507(a)(6)                                  5600-000                                         $89.57         $583,654.52
                                  50-A Tyndall StreetOttawaONKI Y3J8




                                                                                  Page Subtotals:                                                             $0.00           $1,434.25
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                           ($)
   01/15/14          200203      KIRK BOYENGA                             Deposits - 507(a)(6)                                   5600-000                                         $99.90         $583,554.62
                                 1300 Community DriveSpringfieldlL62703


   01/15/14          200204      SUSAN BRACCO                             Deposits - 507(a)(6)                                   5600-000                                         $44.79         $583,509.83
                                 1640 West MonroeSpringfieldlL62704


   01/15/14          200205      DANIEL L. BRACE                          Deposits - 507(a)(6)                                   5600-000                                         $84.64         $583,425.19
                                 717 Mandrake DriveBatavialL60510


   01/15/14          200206      JACKIE H. BRACE                          Deposits - 507(a)(6)                                   5600-000                                        $347.41         $583,077.78
                                 42 Drakes LandingHamptonNH3842


   01/15/14          200207      HOLLY BRADY                              Deposits - 507(a)(6)                                   5600-000                                        $223.92         $582,853.86
                                 3275 W White Canyon RdQueen
                                 CreekAZ85142

   01/15/14          200208      DOREEN BRANDENBERG                       Deposits - 507(a)(6)                                   5600-000                                        $139.42         $582,714.44
                                 10381 N. Grove RoadSycamorelL60178


   01/15/14          200209      SERGE BRAULT                             Deposits - 507(a)(6)                                   5600-000                                         $42.45         $582,671.99
                                 510 4th StreetSt-Jean-Sur-
                                 RichelieuQuebec CityJ2X 3M6

   01/15/14          200210      BARBARA BRECHTING                        Deposits - 507(a)(6)                                   5600-000                                        $208.82         $582,463.17
                                 7908 Alpine Ave.SpartaMI49345


   01/15/14          200211      KEVIN BREEN                              Deposits - 507(a)(6)                                   5600-000                                        $281.54         $582,181.63
                                 30 Union StNorth AndoverMA1845


   01/15/14          200212      KATHLEEN M. BRENNAN                      Deposits - 507(a)(6)                                   5600-000                                         $41.87         $582,139.76
                                 3626 Charlotte StreetEriePA16508


   01/15/14          200213      KATRINA BRENNAN                          Deposits - 507(a)(6)                                   5600-000                                        $191.33         $581,948.43
                                 11660 Glenwood RoadEast
                                 ConcordNY14055

   01/15/14          200214      MARGARET BRENNAN                         Deposits - 507(a)(6)                                   5600-000                                         $88.19         $581,860.24
                                 3107 Carmie DriveEdgewaterFL32132




                                                                                 Page Subtotals:                                                              $0.00           $1,794.28
                                 Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       20
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          200215      MARTIN BRENNAN                           Deposits - 507(a)(6)                                  5600-000                                          $89.57         $581,770.67
                                 13 Brookview Dr.PlattsburghNY12901


   01/15/14          200216      ROSEMARY BRENNAN-MITRANO                 Deposits - 507(a)(6)                                  5600-000                                         $212.00         $581,558.67
                                 9 Dewey AveWoburnMA1801


   01/15/14          200217      DEBORAH BRESNAHAN                        Deposits - 507(a)(6)                                  5600-000                                          $89.57         $581,469.10
                                 5 Canterbury LaneAmherstMA1002


   01/15/14          200218      JOANNE BRETON                            Deposits - 507(a)(6)                                  5600-000                                          $26.47         $581,442.63
                                 1030 Windmill Grove
                                 CircleOrlandoFL32828

   01/15/14          200219      CHRISTINE P. BREWER                      Deposits - 507(a)(6)                                  5600-000                                          $53.00         $581,389.63
                                 1455 Chelmsford Square
                                 SColumbusOH43229

   01/15/14          200220      MEGAN BREWER                             Deposits - 507(a)(6)                                  5600-000                                         $116.92         $581,272.71
                                 335 Continental DriveLockportNY14094


   01/15/14          200221      SUSAN OR WINTHROP BRIGGS                 Deposits - 507(a)(6)                                  5600-000                                          $44.78         $581,227.93
                                 25551 Banff LanePunta GordaFL33983


   01/15/14          200222      KATHLEEN (KATHY) BROCKMILLER             Deposits - 507(a)(6)                                  5600-000                                          $89.57         $581,138.36
                                 4795 Columbia Road
                                 EastWebbervilleMI48892

   01/15/14          200223      JOANNE BROGIS                            Deposits - 507(a)(6)                                  5600-000                                          $96.73         $581,041.63
                                 51 Devaux RoadTorringtonCT6790


   01/15/14          200224      JANAE BROOKENS                           Deposits - 507(a)(6)                                  5600-000                                         $134.96         $580,906.67
                                 308 E. Michigan Ave.Three
                                 RiversMI49093                            ifumnimimiMiifmiin




   01/15/14          200225      CHARLES BROOKS                           Deposits - 507(a)(6)                                  5600-000                                          $89.57         $580,817.10
                                 1783 Foxdale
                                 PlaceGlenburnieOntarioKOHl SO

   01/15/14          200226      JAMES BROOKS                             Deposits - 507(a)(6)                                  5600-000                                         $291.23         $580,525.87
                                 72 Saddleback WayLake PlacidNY12946




                                                                                 Page Subtotals:                                                              $0.00           $1,334.37
                                 Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                         Desc Main                                Page:       21
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                              Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                          Bank Name: Union Bank

                                                                                                                    Account Number/CD#: XXXXXX3464

                                                                                                                                             Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                                Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                               Separate Bond (if applicable):



       1                2                           3                                                 4                                                     5                    6                       7

Transaction Date     Check or             Paid To / Received From                         Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                         Code                                                              ($)
   01/15/14          200227      JOEL I. BROOKS                           Deposits - 507(a)(6)                                      5600-000                                          $209.35          $580,316.52
                                 28 Ivywood DriveJacksonvillelL62650


   01/15/14          200228      TIMOTHY BROOKS                           Deposits - 507(a)(6)                                      5600-000                                          $179.14          $580,137.38
                                 1631 Cedardale DrBelviderelL61008


   01/15/14          200229      THOMAS & PATRICIA BROSIUS                Deposits - 507(a)(6)                                      5600-000                                          $129.53          $580,007.85
                                 1 1 08 Marcia DriveNorth
                                 TonawandaNYl 41 20                               JWJJl




   01/15/14          200230      CHARLENE BROWN                           Deposits - 507(a)(6)                                      5600-000                                          $149.46          $579,858.39
                                 510 N 7th StreetAuburnlL62615


   01/15/14          200231      ELAINE BROWN                             Deposits - 507(a)(6)                                      5600-000                                           $89.57          $579,768.82
                                 985 Eastwood RdBeaver FallsPA15010


   01/15/14          200232      ERIK BROWN                               Deposits - 507(a)(6)                                      5600-000                                          $272.84          $579,495.98
                                 44 Catherine StreetBurlingtonVT5401


   01/15/14          200233      ITEKA BROWN                           Deposits - 507(a)(6)                                         5600-000                                          $189.74          $579,306.24
                                 944 Crimson StreetMyrtle BeachSC29577


   01/15/14          200234      JACQUELINE BROWN                         Deposits - 507(a)(6)                                       5600-000                                         $134.35          $579,171.89
                                 P.O. Box 514Saint Albans BayVT5481


   01/15/14          200235      JOYCE S. AND EUGENE C. BROWN             Deposits - 507(a)(6)                                       5600-000                                         $246.83          $578,925.06
                                 PO Box 71BarreMA1005


   01/15/14          200236      KAREN A. BROWN                           Deposits - 507(a)(6)                                       5600-000                                         $479.56          $578,445.50
                                 8391 US Rt 9ElizabethtownNY12932


   01/15/14          200237      KELLY BROWN                              Deposits - 507(a)(6)                                       5600-000                                          $31.80          $578,413.70
                                 18 Bairn WayP.O. Box 131 Ray
                                 BrookNY12977

   01/15/14          200238      LISA BROWN                               Deposits - 507(a)(6)                                       5600-000                                          $41.87          $578,371.83
                                 222 Meehan RdMaloneNY12953




                                                                                 Page Subtotals:                                                                  $0.00              $2,154.04
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            Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee
       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                   Account Number/CD#: XXXXXX3464

                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                               Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                              Separate Bond (if applicable):



        1                2                            3                                              4                                                     5                   6                     7

T ransaction Date     Check or              Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                      Reference                                                                                                       Code                                                           ($)
   01/15/14           200239      LUCIE BROWN                               Deposits - 507(a)(6)                                   5600-000                                         $49.82         $578,322.01
                                  4 Sullivan Ave.SalemNH3079


   01/15/14           200240      SHARON BROWN                              Deposits - 507(a)(6)                                   5600-000                                         $44.78         $578,277.23
                                  299 N. Elm StreetEnglewoodFL34223


   01/15/14           200241      SUSAN BROWN                               Deposits - 507(a)(6)                                   5600-000                                         $43.72         $578,233.51
                                  P.O. Box 103, 125 Cudworth
                                  RoadWorthingtonMAI 098

   01/15/14           200242      TRAVIS BROWN                              Deposits - 507(a)(6)                                   5600-000                                         $94.87         $578,138.64
                                  193 Oak Hampton DriveMurrells
                                  lnletSC29576

   01/15/14           200243      JEFFREY S. BROWNE                         Deposits - 507(a)(6)                                   5600-000                                        $179.94         $577,958.70
                                  PO Box 1 61 7EnglewoodFL34295


   01/15/14           200244      BRIAN T. BRUMLEY                          Deposits - 507(a)(6)                                   5600-000                                         $44.78         $577,913.92
                                  3599 Northcreek RunWheatfieldNY14120      ..


   01/15/14           200245      MARGARET BRUMLEY                          Deposits - 507(a)(6)                                   5600-000                                        $125.61         $577,788.31
                                  74 Mill StreetWestfieldMAI 085


   01/15/14           200246      BRIAN BRUNELL                             Deposits - 507(a)(6)                                   5600-000                                         $89.57         $577,698.74
                                  53 West Main StreetWestminsterMA1473


   01/15/14           200247      EUGENE J. BRYDA                           Deposits - 507(a)(6)                                   5600-000                                         $89.57         $577,609.17
                                  7343 Bent Grass Dr. Winter
                                  HavenFL33884
   01/15/14           200248      ALAN BUCHANAN                             Deposits - 507(a)(6)                                   5600-000                                         $44.79         $577,564.38
                                  28 Stanford RoadUnionvilleOntarioL3R
                                  6M2
   01/15/14           200249      TRACY BUCKLEY                             Deposits - 507(a)(6)                                   5600-000                                        $125.61         $577,438.77
                                  1800 Gregory CourtSpringfieldlL62703


   01/15/14           200250      JESSICA BUCZKOWSKI                        Deposits - 507(a)(6)                                   5600-000                                         $94.87         $577,343.90
                                  6726 East Webster RdOrchard
                                  ParkNY14127




                                                                                   Page Subtotals:                                                              $0.00           $1,027.93
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                   6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                           ($)
   01/15/14          200251      MIKE BUJAN                               Deposits - 507(a)(6)                                  5600-000                                        $179.14         $577,164.76
                                 424 Parott PlaceWoodstockONN4T IV4


   01/15/14          200252      BRIAN L. BUNDY                           Deposits - 507(a)(6)                                  5600-000                                         $70.65         $577,094.11
                                 340 Sherman DriveBattle CreekMI49015


   01/15/14          200253      DONNA BURCZYNSKI                         Deposits - 507(a)(6)                                  5600-000                                        $167.48         $576,926.63
                                 5032 Old Goodrich RdClarenceNY14031


   01/15/14          200254      KRISTI BURKE                             Deposits - 507(a)(6)                                  5600-000                                         $49.82         $576,876.81
                                 5225 Fern Hill RdBelvedierelL61008


   01/15/14          200255      ROBERT S. BURNETT                        Deposits - 507(a)(6)                                  5600-000                                        $134.35         $576,742.46
                                 1 Ionic AvenueWorcesterMAI 608


   01/15/14          200256      ROBERT BURNETTI                          Deposits - 507(a)(6)                                  5600-000                                        $137.00         $576,605.46
                                 620 Stony LaneNorth KingstownRI2852


   01/15/14          200257      JOHN AND LAURIE BURNS                    Deposits - 507(a)(6)                                  5600-000                                        $243.80         $576,361.66
                                 60 Longkill RoadBallston LakeNY12019


   01/15/14          200258      MICHELE BURNS                            Deposits - 507(a)(6)                                  5600-000                                         $89.57         $576,272.09
                                 452 Tiburon Dr.Myrtle BeachSC29588


   01/15/14          200259      DEREK & KERRY BURRILL                    Deposits - 507(a)(6)                                  5600-000                                         $99.64         $576,172.45
                                 379 White Tail CircleSouthbridgeMA1550


   01/15/14          200260      STEPHANIE BURSELL                        Deposits - 507(a)(6)                                  5600-000                                        $179.14         $575,993.31
                                 34 Burdickville RoadBradfordRJ2808


   01/15/14          200261      CHRISTOPHER K. BUSH                      Deposits - 507(a)(6)                                  5600-000                                        $149.46         $575,843.85
                                 219 Warren RoadWarrendalePA15086


   01/15/14          200262      BRIAN C. BUSIER                          Deposits - 507(a)(6)                                  5600-000                                        $358.28         $575,485.57
                                 10549 Rt. 1 16HinesburgVT5461




                                                                                 Page Subtotals:                                                             $0.00           $1,858.33
                                 Case 12-40944                Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                                Page:       24
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                           3                                               4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          200263      FRANCES BUSTIN                            Deposits - 507(a)(6)                                  5600-000                                          $104.93          $575,380.64
                                 PO Box 1024SterlingMA1564


   01/15/14          200264      KAREN J. BUTCHER                          Deposits - 507(a)(6)                                  5600-000                                           $81.96          $575,298.68
                                 3067 Big Neck Road NWAshNC28420


   01/15/14          200265      ELAINE & RICHARD CABRAL                   Deposits - 507(a)(6)                                  5600-000                                          $121.37          $575,177.31
                                 32 Wolf Hollow LaneKillingsworthCT641 9


   01/15/14          200266      CYNTHIA CACCESE                           Deposits - 507(a)(6)                                  5600-000                                           $76.79          $575,100.52
                                 1 Willow Street #17LockportNY14094


   01/15/14          200267      BRENDA CAFORIA-WEEBER                     Deposits - 507(a)(6)                                  5600-000                                          $205.64          $574,894.88
                                 PO Box 163Waterbury CenterVT5677


   01/15/14          200268      KIM ELLEN CAIN                            Deposits - 507(a)(6)                                  5600-000                                          $149.46          $574,745.42
                                 1927 W. Madison StreetKokomolN46901


   01/15/14          200269      JEAN CALABRESE                            Deposits - 507(a)(6)                                  5600-000                                          $166.95          $574,578.47
                                 PO Box 461, 421 -26th StreetNiagara
                                 FallsNY14304

   01/15/14          200270      THERESA CALABRESE-GRAY                    Deposits - 507(a)(6)                                  5600-000                                          $102.82          $574,475.65
                                 1241 Jersey Swamp
                                 RoadMorrisonvilleNY12962

   01/15/14          200271      KARIN G. CALDWELL                         Deposits - 507(a)(6)                                  5600-000                                           $89.57          $574,386.08
                                 671 McMahon Dr.N. HuntingtonPA15642


   01/15/14          200272      DONALD D. CAMERON                         Deposits - 507(a)(6)                                  5600-000                                          $113.42          $574,272.66
                                 746 Roseheath DriveMiltonONL9T 4R4


   01/15/14          200273      ELLIS KELLY CAMERON                       Deposits - 507(a)(6)                                  5600-000                                          $118.72          $574,153.94
                                 2159 Tanglewood RoadSumterSC29154


   01/15/14          200274      JOAN CAMP                                 Deposits - 507(a)(6)                                  5600-000                                          $364.79          $573,789.15
                                 661 Landon Hill RdChestertownNY12817




                                                                                  Page Subtotals:                                                              $0.00              $1,696.42
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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T ransaction Date    Check or             Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)     Account/CD Balance
                     Reference                                                                                                      Code                                                             ($)
   01/15/14          200275      GRACE CAMPBELL                            Deposits - 507(a)(6)                                  5600-000                                          $55.11          $573,734.04
                                 421 Pompano TerracePunta
                                 GordaFL33950

   01/15/14          200276      NICHOLE CAMPBELL                          Deposits - 507(a)(6)                                  5600-000                                         $107.48          $573,626.56
                                 202 West Dane StreetMount
                                 AuburnlL62547

   01/15/14          200277      SUSAN CAMPBELL                            Deposits - 507(a)(6)                                  5600-000                                          $45.79          $573,580.77
                                 5105 Ebner CtBethlehemPA18020


   01/15/14          200278      MICHAEL B. CANNON                         Deposits - 507(a)(6)                                  5600-000                                         $270.14          $573,310.63
                                 78 Idalla RoadWorcesterMA1606


   01/15/14          200279      LISA CANTARA                              Deposits - 507(a)(6)                                  5600-000                                          $79.66          $573,230.97
                                 447 Leicester StAuburnMA1501


   01/15/14          200280      JUSTUS J. CANTO                           Deposits - 507(a)(6)                                  5600-000                                          $23.98          $573,206.99
                                 23 Mabel Canto WayHarwichMA2645


   01/15/14          200281      MICHELLE C. CANTO                         Deposits - 507(a)(6)                                  5600-000                                         $143.63          $573,063.36
                                 23 Mabel Canto WayHarwidhMA2645


   01/15/14          200282      PAUL CANUEL                               Deposits - 507(a)(6)                                  5600-000                                         $102.80          $572,960.56
                                 375 Elsbree St, Apt 214Fall RiverMA2720


   01/15/14          200283      BRIAN CAPAN                               Deposits - 507(a)(6)                                  5600-000                                          $91.69          $572,868.87
                                 2163 15th St SWAkronOH44314


   01/15/14          200284      MICHAEL CARAMICO                          Deposits - 507(a)(6)                                  5600-000                                          $89.57          $572,779.30
                                 2 Balfour LaneScotch PlainsNJ7076


   01/15/14          200285      JOHN CAREY                                Deposits - 507(a)(6)                                  5600-000                                         $398.03          $572,381.27
                                 14 lsabelleAuburnlL62615


   01/15/14          200286      JUDYANN CARIBO                            Deposits - 507(a)(6)                                  5600-000                                          $89.56          $572,291.71
                                 4552 SE Murray Cove
                                 QircleStuartFL34997




                                                                                  Page Subtotals:                                                              $0.00            $1 ,497.44
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                     Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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T ransaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                           ($)
   01/15/14          200287      SHEMARIAH CARLISLE                       Deposits - 507(a)(6)                                  5600-000                                         $47.43         $572,244.28
                                 12 Gibson AveHudson FallsNY12839


   01/15/14          200288      DANIEL AND JOAN CARLSON                  Deposits - 507(a)(6)                                  5600-000                                        $256.78         $571,987.50
                                 38 Bridle Cross RdFitchburgMA1420


   01/15/14          200289      JACOB CARLSON                            Deposits - 507(a)(6)                                  5600-000                                        $125.61         $571,861.89
                                 714 Broadway BlvdSteubenvilleOH43952


   01/15/14          200290      JANICE CARLSON                           Deposits - 507(a)(6)                                  5600-000                                         $53.00         $571,808.89
                                 860 Remington DriveNorth
                                 TonawandaNYl 41 20

   01/15/14          200291      KAREN C. CARLSON                         Deposits - 507(a)(6)                                  5600-000                                         $44.79         $571,764.10
                                 3415 Bridgefield DriveLakelandFL33803-
                                 5914

   01/15/14          200292      MICHAEL CARLSON                          Deposits - 507(a)(6)                                  5600-000                                        $142.30         $571,621.80
                                 2340 Tall Oak CourtSarasotaFL34232


   01/15/14          200293      RICHARD CARLSON                          Deposits - 507(a)(6)                                  5600-000                                        $208.29         $571,413.51
                                 409 Lowden Point RdRochesterNY14612


   01/15/14          200294      JANICE E. CARNRIGHT                      Deposits - 507(a)(6)                                  5600-000                                        $168.30         $571,245.21
                                 27 Seneca DrivePlattsburghNY12901


   01/15/14          200295      DAN CARON                                Deposits - 507(a)(6)                                  5600-000                                         $30.21         $571,215.00
                                 5831 Genoa Farms
                                 BlvdWestervilleOH43082

   01/15/14          200296      PATRICIA CARON                           Deposits - 507(a)(6)                                  5600-000                                        $134.35         $571,080.65
                                 1142 Field StreetNew Smyra
                                 BeachFL32168

   01/15/14          200297      JESSICA CARPENTER                        Deposits - 507(a)(6)                                  5600-000                                         $47.44         $571,033.21
                                 575 Barry RoadFairfieldVT5455


   01/15/14          200298      STAR M. CARPENTER                        Deposits - 507(a)(6)                                  5600-000                                        $131.70         $570,901.51
                                 6279 Leskard RdOronoOntarioLOB 1 M0




                                                                                 Page Subtotals:                                                             $0.00           $1,390.20
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code
                                                                                                                                                                                                  ($)
   01/15/14          200299     THOMAS CARR                               Deposits - 507(a)(6)                                  5600-000                                        $223.93         $570,677.58
                                1691 West D AvenueKalamazooMI49009


   01/15/14          200300     PATRICIA CARROLL                          Deposits - 507(a)(6)                                  5600-000                                        $179.14         $570,498.44
                                709 Mapledale Ave. UticaNYl 3502


   01/15/14          200301     TARA CARRUTHERS                           Deposits - 507(a)(6)                                  5600-000                                        $146.41         $570,352.03
                                2357 Emerson DriveBurlingtonONL7L7E7


   01/15/14          200302     BETHANY CARTER                            Deposits - 507(a)(6)                                  5600-000                                         $89.57         $570,262.46
                                3815 18th St WLehigh AcresFL33971


   01/15/14          200303     MARGARET CARTER                           Deposits - 507(a)(6)                                  5600-000                                        $598.12         $569,664.34
                                322 County Route
                                35ChateaugayNY12920

   01/15/14          200304     PAMELA CARTER                             Deposits - 507(a)(6)                                  5600-000                                         $94.87         $569,569.47
                                123 Mathews Ave.AshlandOH44805


   01/15/14          200305     MICHELLE C. CARUSO                        Deposits - 507(a)(6)                                  5600-000                                        $108.60         $569,460.87
                                18 Coburn AvenueWorcesterMAI 604


   01/15/14          200306     PATRICIA S. CARVILL                       Deposits - 507(a)(6)                                  5600-000                                         $12.98         $569,447.89
                                430 County Route 40MassenaNY13662


   01/15/14          200307     ABBY CASE                                 Deposits - 507(a)(6)                                  5600-000                                         $83.45         $569,364.44
                                7 Joseph StreetSaratoga
                                SpringsNY12866
   01/15/14          200308     STANLEY CASE                              Deposits - 507(a)(6)                                  5600-000                                         $50.32         $569,314.12
                                209 Pine AvenuePlattsburghNY12901


   01/15/14          200309     SUSAN CASEY                               Deposits - 507(a)(6)                                  5600-000                                        $128.60         $569,185.52
                                5 Brigham Hill Rd., Apt 5P.O. Box
                                16GraftonMA1519

   01/15/14          200310     CHARLENE CASSAVANT                        Deposits - 507(a)(6)                                  5600-000                                         $74.73         $569,110.79
                                12 Council GroveW BrookfieldMA1585




                                                                                 Page Subtotals:                                                             $0.00           $1,790.72
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                     7

T ransaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          200311      ALFRED AND JOANNE CASTAGNA                Deposits - 507(a)(6)                                  5600-000                                         $358.28         $568,752.51
                                 96 Ryerson RoadWarwickNY10990


   01/15/14          200312      KENNETH CASTLE                            Deposits - 507(a)(6)                                  5600-000                                         $106.00         $568,646.51
                                 74258 Homestead Heights
                                 DriveZurichONNOM2TO

   01/15/14          200313      TERESA CASWELL                            Deposits - 507(a)(6)                                  5600-000                                          $44.78         $568,601.73
                                 434 Coolidge AveKalamazooMI49006


   01/15/14          200314      GAIL M. CAUGER                          Deposits - 507(a)(6)                                    5600-000                                         $138.01         $568,463.72
                                 60 Pleasant StreetNorth AttleboroMA2760


   01/15/14          200315      ROBERT E. CAVANAUGH                       Deposits - 507(a)(6)                                  5600-000                                          $80.56         $568,383.16
                                 641-1 Military Turnpike
                                 Ext.PlattsburghNY12901

   01/15/14          200316      DAVID CAWLEY                              Deposits - 507(a)(6)                                  5600-000                                          $89.57         $568,293.59
                                 6 Hazel DellSpringfieldlL62712


   01/15/14          200317      EVAN W. CEBULA                            Deposits - 507(a)(6)                                  5600-000                                          $89.57         $568,204.02
                                 910 Sultana DriveLittle RiverSC29566


   01/15/14          200318      JAMES P. CECCHINI                         Deposits - 507(a)(6)                                  5600-000                                          $89.57         $568,114.45
                                 3868 Darlene RoadMiddleburgFL32068


   01/15/14          200319      DELORES A. CEKOLA                         Deposits - 507(a)(6)                                  5600-000                                         $134.35         $567,980.10
                                 2900 Callender Ct.KalamazooMI49008-
                                 2326

   01/15/14          200320      FRANCIS A. CEPLENSKI                      Deposits - 507(a)(6)                                  5600-000                                         $262.35         $567,717.75
                                 47 Ainsworth Hill RoadWalesMA1081
                                                                                        'IMJJ



   01/15/14          200321      REV. GERALD CERANK                        Deposits - 507(a)(6)                                  5600-000                                          $57.22         $567,660.53
                                 PO BOX 272MooersNY 1 2958


   01/15/14          200322      ALICE T. CHAKUROFF                        Deposits - 507(a)(6)                                  5600-000                                         $106.00         $567,554.53
                                 6 Church StreetGreenvilleRI2828




                                                                                  Page Subtotals:                                                              $0.00           $1,556.26
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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T ransaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          200323      DEBORAH CHALLANS                          Deposits - 507(a)(6)                                  5600-000                                         $179.26         $567,375.27
                                 1364 Spitler Park Dr.Mt. ZionlL62549


   01/15/14          200324      JENNIFER CHAMBERLAIN                      Deposits - 507(a)(6)                                  5600-000                                         $212.00         $567,163.27
                                 4339 Huntinghorne
                                 DriveJanesvilleWI53546

   01/15/14          200325      TINA CHAMBERS                             Deposits - 507(a)(6)                                  5600-004                                         $102.82         $567,060.45
                                 71470 Shannon DriveMartins
                                 FerryOH43935

   01/15/14          200326      HELEN CHANDLER                            Deposits - 507(a)(6)                                  5600-000                                          $89.57         $566,970.88
                                 19 Pistachio Loop #EMurrells
                                 ln!etSC29576

   01/15/14          200327      MICHAEL CHAPMAN                           Deposits - 507(a)(6)                                  5600-000                                          $64.86         $566,906.02
                                 2284 Ashley River Road, Apt. 1019-
                                 DCharlestonSC2941 4

   01/15/14          200328      AMY CHARRON                               Deposits - 507(a)(6)                                  5600-000                                          $44.52         $566,861.50
                                 1756 Emerald Cove CircleCape
                                 CoralFL33991

   01/15/14          200329      LILLIAN CHARTIER                          Deposits - 507(a)(6)                                  5600-000                                          $42.13         $566,819.37
                                 19C Howe VillageSpencerMA1562


   01/15/14          200330      PENNY CHRUSCIEL                           Deposits - 507(a)(6)                                  5600-000                                         $146.11         $566,673.26
                                 PO Box 434TempletonMA1468


   01/15/14          200331      GLADYS AND PETER CHUNG                    Deposits - 507(a)(6)                                  5600-000                                         $179.14         $566,494.12
                                 30 Johnson
                                 CrescentGeorgetownOntarioL7G 6C9
   01/15/14          200332      STEPHEN AND CHARLENE CHURCH               Deposits - 507(a)(6)                                  5600-000                                          $89.57         $566,404.55
                                 19 Hilltop Farm RoadAuburnMA1501


   01/15/14          200333      THERESA CHURCHILL                         Deposits - 507(a)(6)                                  5600-000                                          $91.69         $566,312.86
                                 416 Bice StreetRivertonlL62561


   01/15/14          200334      CHRISTIAN J. CIESLUK                      Deposits - 507(a)(6)                                  5600-000                                         $139.12         $566,173.74
                                 34 First StreetBrimfieldMA1010




                                                                                  Page Subtotals:                                                              $0.00           $1,380.79
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)   ;   Account/CD Balance
                     Reference                                                                                                     Code                                                               ($)
   01/15/14          200335      ROBERTA. CILLO                           Deposits - 507(a)(6)                                  5600-000                                         $129.61            $566,044.13
                                 1213 Harris AvenuePittsburghPA1505


   01/15/14          200336      ANGELA CIOLINO                           Deposits - 507(a)(6)                                  5600-000                                         $189.74            $565,854.39
                                 9 Morton PlaceGloucesterMA1930


   01/15/14          200337      CRAIG CIRBUS                             Deposits - 507(a)(6)                                  5600-000                                          $89.57            $565,764.82
                                 102 Woodshire SouthGetzvilleNY14068


   01/15/14          200338      M. KATHLEEN CIRINA                       Deposits - 507(a)(6)                                  5600-000                                          $26.50            $565,738.32
                                 PO Box 108Gleenwood LandingNY11547


   01/15/14          200339      JANIS CLAPPER                            Deposits - 507(a)(6)                                  5600-000                                         $291.61            $565,446.71
                                 PO Box 4282CopleyOH44231


   01/15/14          200340      LETTA CLARK                              Deposits - 507(a)(6)                                  5600-000                                          $89.57            $565,357.14
                                 RR1 (Route 1) Box 224PKeyserWV26726


   01/15/14          200341      TIMOTHY CLARKE                           Deposits - 507(a)(6)                                  5600-000                                          $41.87            $565,315.27
                                 333 N. Orange AvenueSarasotaFL34236


   01/15/14          200342      TIMOTHY CLAUSS                           Deposits - 507(a)(6)                                  5600-000                                         $156.55            $565,158.72
                                 16766 BridlepathSpring LakeMI49456


   01/15/14          200343      DARRELL FRANKLIN CLAY                    Deposits - 507(a)(6)                                  5600-000                                         $339.99            $564,818.73
                                 7774 St. Andrews CirclePortageMI49024


   01/15/14          200344      ESTHER CAROL CLEMENS                 Deposits - 507(a)(6)                                      5600-000                                          $83.74            $564,734.99
                                 405 Chestnut St.New BethlehemPA16242


   01/15/14          200345      BOBBY CLEVELAND                          Deposits - 507(a)(6)                                  5600-000                                          $56.03            $564,678.96
                                 2121 Hwy 2DonnellsonlA52625


   01/15/14          200346      DIANE CLIM                               Deposits - 507(a)(6)                                  5600-000                                          $73.21            $564,605.75
                                 17328 Young AvePort CharlotteFL33948




                                                                                 Page Subtotals:                                                              $0.00           $1,567.99
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                       7

T ransaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          200347      SHARON AND SHAWN CLOW                     Deposits - 507(a)(6)                                  5600-000                                           $80.98          $564,524.77
                                 305 Browns River Road Essex
                                 JunctionVT5452

   01/15/14          200348      RACHEL D. COFFIN                          Deposits - 507(a)(6)                                  5600-000                                          $100.14          $564,424.63
                                 8 Westcott RoadHarvardMA1451


   01/15/14          200349      RHODA COKEE                               Deposits - 507(a)(6)                                  5600-000                                           $89.57          $564,335.06
                                 16 Loma VerdeLakelandFL33813


   01/15/14          200350      AARON COLLINS                             Deposits - 507(a)(6)                                  5600-000                                          $115.54          $564,219.52
                                 45 Providence Rd #3GraftonMA1519


   01/15/14          200351      ANNE H. COLLINS                           Deposits - 507(a)(6)                                  5600-000                                          $147.60          $564,071.92
                                 402 Cardiff RoadVeniceFL34293


   01/15/14          200352      CAROLYN COLLINS                           Deposits - 507(a)(6)                                  5600-000                                          $125.05          $563,946.87
                                 52060 Timmer LaneMattawanMI49071


   01/15/14          200353      MELISSA COMEAU                            Deposits - 507(a)(6)                                  5600-000                                          $146.44          $563,800.43
                                 0 Benson RdHopkintonMA1748


   01/15/14          200354      CAROL COMFORT                             Deposits - 507(a)(6)                                  5600-000                                           $75.63          $563,724.80
                                 25 Lakewood Vlg.MedinaNY14103


   01/15/14          200355      JOHN M. CONKLIN                           Deposits - 507(a)(6)                                  5600-000                                          $199.02          $563,525.78
                                 Robins Kaplan Miller & Ciresi, LLP711
                                 Fifth Avenue South, Ste
                                 201 NaplesFL341 02

   01/15/14          200356      PAULA CONLOGUE                            Deposits - 507(a)(6)                                  5600-000                                          $277.45          $563,248.33
                                 1189 Hickman Rd NWCalabashNC28467


   01/15/14          200357      DEBRA CONNOLLY                            Deposits - 507(a)(6)                                  5600-000                                           $50.35          $563,197.98
                                 2133 Ashland RoadMcBeeSC29101


   01/15/14          200358      JANET E. CONNORS                          Deposits - 507(a)(6)                                  5600-000                                           $89.57          $563,108.41
                                 8942 East O AveKalamazooMI49048




                                                                                  Page Subtotals:                                                              $0.00              $1,497.34
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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T ransaction Date    Check or             Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          200359      DONALD J. CONRAD                          Deposits - 507(a)(6)                                  5600-000                                          $134.35          $562,974.06
                                 22 Pine StreetWaylandNY14572


   01/15/14          200360      DONNA CONWAY                              Deposits - 507(a)(6)                                  5600-000                                           $89.57          $562,884.49
                                 4949 Hellert RoadMedinaNY14103


   01/15/14          200361      REBECCA COOK                              Deposits - 507(a)(6)                                  5600-000                                           $26.50          $562,857.99
                                 PO BOX 453Saranac LakeNY12983


   01/15/14          200362      CHRISTINE R. & JAMES A. COOPER            Deposits - 507(a)(6)                                  5600-000                                          $132.66          $562,725.33
                                 2180 Shadyside RoadP.O. Box
                                 203Findley LakeNY14736

   01/15/14          200363      CHRISTOPHER T. COOPER                     Deposits - 507(a)(6)                                  5600-000                                           $70.11          $562,655.22
                                 5838 Shawnee RoadSanbornNY14132


   01/15/14          200364      RONALD COOPER                             Deposits - 507(a)(6)                                  5600-000                                           $89.57          $562,565.65
                                 3955 Marsh Hen Dr.
                                 SWShallotteNC28470

   01/15/14          200365      SONYA K. COOVER                           Deposits - 507(a)(6)                                  5600-000                                          $119.09          $562,446.56
                                 1315 S. Main St.FindlayOH45840


   01/15/14          200366      MAJORIE COPE                              Deposits - 507(a)(6)                                  5600-000                                           $83.42          $562,363.14
                                 143 Village CourtColumbianaOH44408


   01/15/14          200367      LINDA COPEN                               Deposits - 507(a)(6)                                  5600-000                                          $142.30          $562,220.84
                                 11451 Holshoe RdHomervilleOH44235


   01/15/14          200368      PHILIP COPPERNOLL                         Deposits - 507(a)(6)                                  5600-000                                          $138.86          $562,081.98
                                 3311 Terrace View CourtMillstadtlL62260


   01/15/14          200369      GREG CORBIN                               Deposits - 507(a)(6)                                  5600-000                                          $151.68          $561,930.30
                                 6329 Sedgeford Dr.LakelandFL33811


   01/15/14          200370      PAUL S. CORDES                            Deposits - 507(a)(6)                                  5600-000                                           $13.25          $561,917.05
                                 2610 Chesire Dr.AuroralL6p504




                                                                                  Page Subtotals:                                                              $0.00              $1,191.36
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200371      RYAN CORNMAN                             Deposits - 507(a)(6)                                  5600-000                                          $251.42          $561,665.63
                                 4107 Wildcat Rd.Lower BurrellPA15068


   01/15/14          200372      MICHELLE CORRELL                         Deposits - 507(a)(6)                                  5600-000                                          $263.67          $561,401.96
                                 PO Box 161 GlenfordOH43739


   01/15/14          200373      DAVE CORSI                               Deposits - 507(a)(6)                                  5600-000                                           $89.57          $561,312.39
                                 45 Hampstead DriveWebsterNYl 4580


   01/15/14          200374      TAMMY L. COSTELLO                        Deposits - 507(a)(6)                                  5600-000                                          $112.39          $561,200.00
                                 532 Cottage Oaks CircleMyrtle
                                 BeachSC29579

   01/15/14          200375      DENISE COTE                              Deposits - 507(a)(6)                                  5600-000                                          $220.27          $560,979.73
                                 Po Box 1212ChesterVT5143


   01/15/14          200376      NATALIE COTTAGE                          Deposits - 507(a)(6)                                  5600-000                                          $125.61          $560,854.12
                                 101 Unionville RdFreedomPA15042


   01/15/14          200377      DAWN A. COTTONE                          Deposits - 507(a)(6)                                  5600-000                                          $184.44          $560,669.68
                                 319 Fairlawn DriveTorringtonCT6790


   01/15/14          200378      ELLEN E. COULTER                         Deposits - 507(a)(6)                                  5600-000                                          $223.92          $560,445.76
                                 1336 NE 1st TerraceCape CoralFL33909


   01/15/14          200379      LEAH J. COULTES                          Deposits - 507(a)(6)                                  5600-000                                          $106.00          $560,339.76
                                 1104 Fort RoadBenton HarborMI49022


   01/15/14          200380      LUCIE COURSHESNE                         Deposits - 507(a)(6)                                  5600-000                                          $144.52          $560,195.24
                                 2264 Ave GirouardMontreal,
                                 QuebecH4A3C3

   01/15/14          200381      RONALD J. COURNOYER                      Deposits - 507(a)(6)                                  5600-000                                           $89.57          $560,105.67
                                 24 Ridgewood Road WorcesterMA 1606


   01/15/14          200382      DEBORAH COURTENAY                        Deposits - 507(a)(6)                                  5600-000                                          $136.21          $559,969.46
                                 1265 Allard St.MontrealQuebecH4H 2C9




                                                                                 Page Subtotals:                                                              $0.00              $1,947.59
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          200383      PATRICE COUSINEAU                        Deposits - 507(a)(6)                                  5600-000                                         $561.37         $559,408.09
                                 1796 Ste-Anne RoadL'originalONKOBIKO


   01/15/14          200384      BRADLEY COX                              Deposits - 507(a)(6)                                  5600-000                                         $134.35         $559,273.74
                                 1113 West 2nd St.ByronlL61 01 0


   01/15/14          200385      CAROL COX                                Deposits - 507(a)(6)                                  5600-000                                          $22.40         $559,251.34
                                 2803 Bridgeside Dr.
                                 SECaledoniaMI4931 6

   01/15/14          200386      CHERYL M. COX                            Deposits - 507(a)(6)                                  5600-000                                          $53.00         $559,198.34
                                 2110 E Lake RoadSkaneatelesNY13152


   01/15/14          200387      SUSAN CRANDALL                           Deposits - 507(a)(6)                                  5600-000                                         $192.39         $559,005.95
                                 6837 Pin Oak DriveBostonNY14025


   01/15/14          200388      STEPHEN AND CHARLENE CRAVEN              Deposits - 507(a)(6)                                  5600-000                                         $212.42         $558,793.53
                                 2319 Barre Rd.PO Box
                                 224WheelwrightMA1 094

   01/15/14          200389      KATHRYN CREMONE                          Deposits - 507(a)(6)                                  5600-000                                          $43.72         $558,749.81
                                 10 Rafferty RoadStonehamMA2180


   01/15/14          200390      NICOLE CREVIER                           Deposits - 507(a)(6)                                  5600-000                                          $39.75         $558,710.06
                                 7085 Dunn StreetNiagara
                                 FallsOntarioL2G 2R6

   01/15/14          200391      MARY BETH CRICHTON                       Deposits - 507(a)(6)                                  5600-000                                         $105.25         $558,604.81
                                 701 Jones RoadRaylandOH43943


   01/15/14          200392      DEBRA A. CRIDDLE                         Deposits - 507(a)(6)                                  5600-000                                          $41.87         $558,562.94
                                 PO Box 889BlufftonSC2991 0


   01/15/14          200393      JOSEPH M. CRISHAM                        Deposits - 507(a)(6)                                  5600-000                                         $442.55         $558,120.39
                                 223 East Boyd StreetDixonlL61021


   01/15/14          200394      LINDSEY CRISS                            Deposits - 507(a)(6)                                  5600-000                                          $50.69         $558,069.70
                                 805 Peoria StreetPerulL61354




                                                                                 Page Subtotals:                                                              $0.00           $1,899.76
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                           3                                               4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          200395      SUSAN CRNIC                               Deposits - 507(a)(6)                                  5600-000                                          $242.74          $557,826.96
                                 28 Bywood CrescentStoney
                                 CreekOntarioL8J 168

   01/15/14          200396      JOAN CRONEN                               Deposits - 507(a)(6)                                  5600-000                                          $254.40          $557,572.56
                                 344 Lincoln AveRosetoPA18013


   01/15/14          200397      MARILYN D. CROSBY                         Deposits - 507(a)(6)                                  5600-000                                           $89.57          $557,482.99
                                 4504 Sweetwater Blvd.Murrells
                                 lnletSC29576

   01/15/14          200398      DONALD CROTEAU                            Deposits - 507(a)(6)                                  5600-000                                          $140.99          $557,342.00
                                 67 Flaxfield RdDudleyMA1571


   01/15/14          200399      MARY CROTEAU                              Deposits - 507(a)(6)                                  5600-000                                           $89.57          $557,252.43
                                 181 Smith StreetGardnerMAI 440


   01/15/14          200400      MARY JO CRUTHERS                          Deposits - 507(a)(6)                                  5600-000                                           $78.60          $557,173.83
                                 P.O. Box 403228 Lake
                                 RoadAshburnhamMA1430

   01/15/14          200401      PAMELA CUFFLE                             Deposits - 507(a)(6)                                  5600-000                                           $41.87          $557,131.96
                                 416 Dogwood CourtRivertonlL62561


   01/15/14          200402      EDWARD CUNNIFF                            Deposits - 507(a)(6)                                  5600-000                                          $485.69          $556,646.27
                                 190 East Squantum St.QuincyMA2171


   01/15/14          200403      WALTER CUNNINGHAM                         Deposits - 507(a)(6)                                  5600-000                                          $223.92          $556,422.35
                                 74 Nicholas Drive
                                 NorthTonawandaNY 14150

   01/15/14          200404      TIFFANY & WAYNE CURRIE                    Deposits - 507(a)(6)                                  5600-000                                          $179.35          $556,243.00
                                 14 Eastern AveHaverhillMA1830


   01/15/14          200405      MARY CURTIS                               Deposits - 507(a)(6)                                  5600-000                                           $44.78          $556,198.22
                                 742 Pirates Rest Rd.N. Ft. MyersFL33917


   01/15/14          200406      NANCY-LEE CUSTARD                         Deposits - 507(a)(6)                                  5600-000                                          $575.36          $555,622.86
                                 5852 Flamingo RoadConwaySC29526




                                                                                  Page Subtotals:                                                              $0.00              $2,446.84
                                  Case 12-40944                  Doc 732     Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                             Page:       36
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                   6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                           ($)
   01/15/14          200407      MARY M. CUTLER                            Deposits - 507(a)(6)                                  5600-000                                         $84.80         $555,538.06
                                 1837 Knights Bridge TrailPort
                                 CharlotteFL33980

   01/15/14          200408      NICHOLAS CUTRIGHT                         Deposits - 507(a)(6)                                  5600-000                                         $89.57         $555,448.49
                                 940 Route 20 South
                                 RoadBuckhannonWV26201
   01/15/14          200409      MIKE CUTRONI                              Deposits- 507(a)(6)                                   5600-000                                        $120.36         $555,328.13
                                 10 Greenville St.SpencerMA1562


   01/15/14          200410      CARRIE CZUNAS                             Deposits - 507(a)(6)                                  5600-000                                        $161.70         $555,166.43
                                 148 N Highland Ave.Winter
                                 GardenFL34787

   01/15/14          200411      MARGARET DA COSTA                         Deposits - 507(a)(6)                                  5600-000                                        $167.48         $554,998.95
                                 84 Ferncroft DriveKeswickOntarioL4P
                                 4G7

   01/15/14          200412      CRYSTAL DAIGE                             Deposits - 507(a)(6)                                  5600-000                                        $104.68         $554,894.27
                                 7 Pine Ave.Cherry ValleyMA161 1


   01/15/14          200413      JAMES S. DALY                             Deposits - 507(a)(6)                                  5600-000                                        $134.35         $554,759.92
                                 471 Overlook DriveWintersvilleOH43953


   01/15/14          200414      HEATHER DANIEL                            Deposits - 507(a)(6)                                  5600-004                                         $99.64         $554,660.28
                                 1215 E. Oak StreetSpringfieldlL62703


   01/15/14          200415      LEONARDO DASILVA                          Deposits - 507(a)(6)                                  5600-000                                        $134.35         $554,525.93
                                 8 Hapgood RoadWorcesterMA1605


   01/15/14          200416      PATRICIA DAUMIT                           Deposits - 507(a)(6)                                  5600-000                                         $83.37         $554,442.56
                                 109 German StreetWest NewtonPA15089


   01/15/14          200417      ISABELLE DAUPHIN                          Deposits - 507(a)(6)                                  5600-000                                        $162.90         $554,279.66
                                 7856 Avenue de GaspeMontreal
                                 (Quebec)CANADAH2R 2A4

   01/15/14          200418      GARY DAVID                                Deposits - 507(a)(6)                                  5600-000                                        $109.97         $554,169.69
                                 122 Pheasant Run DriveMurrells
                                 lnletSC29576




                                                                                  Page Subtotals:                                                             $0.00           $1,453.17
                                  Case 12-40944                 Doc 732      Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       37
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          200419      NICHOLAS S. DAVIES                        Deposits - 507(a)(6)                                  5600-000                                         $141.78         $554,027.91
                                 PO Box 485MorrisonvilleNY12962


   01/15/14          200420      JANET DAVIS                               Deposits - 507(a)(6)                                  5600-000                                         $155.97         $553,871.94
                                 2608 Arlington DriveSpringfieldlL62704


   01/15/14          200421      JERRIE L. DAVIS                           Deposits - 507(a)(6)                                  5600-000                                          $13.24         $553,858.70
                                 248 South 21 st StreetBattle
                                 CreekMI49015

   01/15/14          200422      WANDA DAVIS                               Deposits - 507(a)(6)                                  5600-000                                          $89.57         $553,769.13
                                 615 Sierra MadreNorth Fort
                                 MyersFL33903

   01/15/14          200423      CHRISTINE AND MICHAEL DE JOHG             Deposits - 507(a)(6)                                  5600-000                                         $179.15         $553,589.98
                                 1317 Hazelton BlvdBurlington,
                                 OntarioL7P4V5

   01/15/14          200424      CHERYL A. DEBOER                          Deposits - 507(a)(6)                                  5600-004                                          $53.00         $553,536.98
                                 1870 S. 8th StreetKalamazooMI49009


   01/15/14          200425      ROBERT P. DECARO                          Deposits - 507(a)(6)                                  5600-000                                         $180.19         $553,356.79
                                 4 Pinehurst CircleMillburyMA1527


   01/15/14          200426      ANTHONY J. DECILLIS                       Deposits - 507(a)(6)                                  5600-000                                         $134.35         $553,222.44
                                 47 Shelby StreetWorcesterMA1605


   01/15/14          200427      DEBRA A. DEDOMING                         Deposits - 507(a)(6)                                  5600-000                                          $47.70         $553,174.74
                                 99 Cross St.BoylstonMA1505


   01/15/14          200428      JOEL AND LINDA DEFRATES                   Deposits - 507(a)(6)                                  5600-000                                         $170.54         $553,004.20
                                 7308 Spruce StreetManitolL61546


   01/15/14          200429      DANIEL DEGRAW                             Deposits - 507(a)(6)                                 ,5600-000                                          $44.79         $552,959.41
                                 830 Parchmount Ave.ParchmentMI49004


   01/15/14          200430      CAROL DEHAAN-GEROULD                      Deposits - 507(a)(6)                                  5600-000                                          $89.57         $552,869.84
                                 24066 Red Robin DriveBonita
                                 SpringsFL34135




                                                                                  Page Subtotals:                                                              $0.00            $1,299.85
                                  Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       38
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          200431      ANGLIQUE DEHOYOS                         Deposits - 507(a)(6)                                  5600-000                                         $251.22         $552,618.62
                                 238 Maplest, Apt. F6AgawamMA1001


   01/15/14          200432      HELEN L. DEIKE                           Deposits - 507(a)(6)                                  5600-000                                          $30.40         $552,588.22
                                 459 Harrington RoadDeltonMI49046


   01/15/14          200433      WILLIAM DEIL                             Deposits - 507(a)(6)                                  5600-000                                          $44.78         $552,543.44
                                 119 Bonisee CircleLakelandFL33801


   01/15/14          200434      MICHAEL DEL GAIZO                        Deposits - 507(a)(6)                                  5600-000                                          $79.50         $552,463.94
                                 2137 Heritage LoopMyrtle
                                 BeachSC29577

   01/15/14          200435      JEFFREY M. DELISIO                       Deposits - 507(a)(6)                                  5600-000                                          $41.87         $552,422.07
                                 148 Olde Towne Way, Unit 6Myrtle
                                 BeachSC29588

   01/15/14          200436      ASHLEY DELVAL                            Deposits - 507(a)(6)                                  5600-000                                          $89.57         $552,332.50
                                 350 Misty Breeze LaneMurrells
                                 lnletSC29576

   01/15/14          200437      STEVEN DEMBRO                            Deposits - 507(a)(6)                                  5600-000                                          $21.07         $552,311.43
                                 7 Pinewood DriveWest BoylstonMAI 583


   01/15/14          200438      STEPHEN DEMEULE                          Deposits - 507(a)(6)                                  5600-000                                          $89.57         $552,221.86
                                 30064 Oak RdPunta GordaFL33982


   01/15/14          200439      LINDA DEMKOSKI                        Deposits - 507(a)(6)                                     5600-000                                          $89.57         $552,132.29
                                 724 Old Union TurnpikeLancasterMA1523


   01/15/14          200440      KIM DERIAZ                               Deposits - 507(a)(6)                                  5600-000                                         $243.72         $551,888.57
                                 301 1 S. Browns Lake
                                 Dr.BurlingtonWI531 05
   01/15/14          200441      SONDRA DEROSIER                          Deposits - 507(a)(6)                                  5600-000                                         $272.25         $551,616.32
                                 56 Worcester RoadCharltonMAI 507


   01/15/14          200442      JAMES DESANTIS                           Deposits - 507(a)(6)                                  5600-000                                          $44.78         $551,571.54
                                 7375 Schefflera StPunta GordaFL33955




                                                                                 Page Subtotals:                                                              $0.00            $1,298.30
                                 Case 12-40944                  Doc 732      Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                             Page:       39
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                   6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                           ($)
   01/15/14          200443      RAYMONDE DESAULNIERS                      Deposits - 507(a)(6)                                  5600-000                                        $210.02         $551,361.52
                                 29 Des TilleulsSt-Jean-Sur-
                                 RichelieuQuebecJ2W1 B4

   01/15/14          200444      DIANE DESBIENS                            Deposits - 507(a)(6)                                  5600-000                                         $53.00         $551,308.52
                                 1 075 Jeary StreetGreenfield
                                 ParkQuebecJ4V 3B5

   01/15/14          200445      ELIZABETH DESBIENS                        Deposits - 507(a)(6)                                  5600-000                                        $150.63         $551,157.89
                                 32 Valencia LaneClifton ParkNY12065


   01/15/14          200446      MARY DESMOND                              Deposits - 507(a)(6)                                  5600-000                                         $58.03         $551,099.86
                                 2100 Kings Hwy - Lot 562Punta
                                 GordaFL33980

   01/15/14          200447      TRACEY DESMOND                            Deposits - 507(a)(6)                                  5600-000                                         $98.16         $551,001.70
                                 25 Columbus Rd.MarshfieldMA2050


   01/15/14          200448      DAVID DESORCIE                            Deposits - 507(a)(6)                                  5600-000                                         $89.57         $550,912.13
                                 PO Box 97HighgateVT5459


   01/15/14          200449      DARRELEN J. DETWILER                      Deposits - 507(a)(6)                                  5600-000                                        $140.98         $550,771.15
                                 11433 South 32nd
                                 StreetVicksburgMI49097

   01/15/14          200450      NICOLE DEVANTIER                          Deposits - 507(a)(6)                                  5600-000                                         $54.25         $550,716.90
                                 357 Falconer StNorth
                                 TonawandaNY14120

   01/15/14          200451      LINDA DEVENS                              Deposits - 507(a)(6)                                  5600-000                                        $179.14         $550,537.76
                                 1 Center DrPaxtonMA1612


   01/15/14          200452      GARY DEVOE                                Deposits - 507(a)(6)                                  5600-000                                         $65.98         $550,471.78
                                 1226 Twitchell Hill Rd.New HavenVT5472


   01/15/14          200453      JOHN & ELIZABETH DEVRIES                  Deposits - 507(a)(6)                                  5600-000                                        $233.20         $550,238.58
                                 12248 Rae Ann Rd.RoscoelL61073


   01/15/14          200454      NAOMI DIAZ                                Deposits - 507(a)(6)                                  5600-000                                         $83.74         $550,154.84
                                 274 Highland Parkway #4BuffaloNY14223




                                                                                  Page Subtotals:                                                             $0.00           $1,416.70
                                  Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                             Page:       40
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                   6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                           ($)
   01/15/14          200455      DOROTHY DEBARTOLOMEO                     Deposits - 507(a)(6)                                  5600-000                                         $89.57         $550,065.27
                                 1 0986 Rt 235Beaver SpringsPAl 781 2


   01/15/14          200456      DEAN M. DIBLEY                           Deposits - 507(a)(6)                                  5600-000                                        $113.73         $549,951.54
                                 4045 Culver RoadAlbionNY14411


   01/15/14          200457      PATRICIA A. DICKEY                       Deposits - 507(a)(6)                                  5600-000                                         $15.90         $549,935.64
                                 2748 Bainbridge
                                 AveYoungstownOH4451 1

   01/15/14          200458      JEFFREY DIEGELMAN                        Deposits - 507(a)(6)                                  5600-004                                         $89.57         $549,846.07
                                 PO Box 184BowmansvilleNY14026


   01/15/14          200459      WILLIAM C. & SHERRILL D. DIEHL           Deposits - 507(a)(6)                                  5600-000                                         $72.98         $549,773.09
                                 25189 Aqua Dr.ElkhartlN46514


   01/15/14          200460      BETSY V. DIETZ                           Deposits - 507(a)(6)                                  5600-000                                         $44.78         $549,728.31
                                 3710 Fairway PlaceRockfordlL61107


   01/15/14          200461      JOE DIFRANCISCO                          Deposits - 507(a)(6)                                  5600-000                                         $89.57         $549,638.74
                                 81 Oakhill DriveHamburgNY14075


   01/15/14          200462      ALICE DILLMAN                            Deposits - 507(a)(6)                                  5600-000                                        $169.12         $549,469.62
                                 404 Roland CourtCottage GroveWI53527


   01/15/14          200463      SYLVIA DILLON                            Deposits - 507(a)(6)                                  5600-000                                         $89.57         $549,380.05
                                 108 Millwater LaneGoose CreekSC29445


   01/15/14          200464      LORI DIMILLO                             Deposits - 507(a)(6)                                  5600-000                                         $93.87         $549,286.18
                                 8 Old Post RoadOrchard ParkNY14127


   01/15/14          200465      RAYMOND DION                             Deposits - 507(a)(6)                                  5600-000                                        $128.25         $549,157.93
                                 3 Katie LaneEnfieldCT6082


   01/15/14          200466      CINDA DIRLAM                             Deposits - 507(a)(6)                                  5600-000                                         $47.43         $549,110.50
                                 24 Dirlam Blvd. HonesdalePAl 8431




                                                                                 Page Subtotals:                                                             $0.00           $1,044.34
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

T ransaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200467      CELESTE DISTEFANO                        Deposits - 507(a)(6)                                  5600-000                                           $89.49          $549,021.01
                                 79 Wood Acres Drive East
                                 AmherstNY14051

   01/15/14          200468      NICHOLAS M. DOE                          Deposits - 507(a)(6)                                  5600-000                                           $94.87          $548,926.14
                                 11 County Route 280gdensburgNY1 3669


   01/15/14          200469      CHERYL DOEPP                             Deposits - 507(a)(6)                                  5600-000                                           $89.57          $548,836.57
                                 144 Sunrise TerraceWest
                                 SenecaNY14224

   01/15/14          200470      CHRISTINE Z. DOLLINGER                   Deposits - 507(a)(6)                                  5600-000                                           $94.87          $548,741.70
                                 27263 Adams St.Punta GordaFL33983


   01/15/14          200471      ELAINE & ROBERT DOMINGUEZ                Deposits - 507(a)(6)                                  5600-000                                          $134.36          $548,607.34
                                 1342 95th StNiagara FallsNY14304


   01/15/14          200472      DONALD AND VIRGINIA TOY                  Deposits - 507(a)(6)                                  5600-000                                           $89.57          $548,517.77
                                 317 E Blackbeard RdWilmingtonNC28409     ,,,,,,,,,


   01/15/14          200473      ELIZABETH DONLAN                         Deposits - 507(a)(6)                                  5600-000                                           $50.08          $548,467.69
                                 8 Wentworth RdCantonMA2021


   01/15/14          200474      MARY ELLEN DONNELLY                      Deposits - 507(a)(6)                                  5600-000                                           $53.00          $548,414.69
                                 75 Huntleigh CircleAmherstNY14226


   01/15/14          200475      BONNIE L. DONOHUE                        Deposits - 507(a)(6)                                  5600-000                                           $58.02          $548,356.67
                                 139 Suburban CourtWest
                                 SenecaNY14224

   01/15/14          200476      DON DOOLEY                               Deposits - 507(a)(6)                                  5600-000                                          $132.34          $548,224.33
                                 535 Grand AvenuePawtucketRI2861


   01/15/14          200477      LORI DOPPMAN                             Deposits - 507(a)(6)                                  5600-000                                          $189.74          $548,034.59
                                 377 Ryan RoadFlorenceMA1062


   01/15/14          200478      BARBARA DORMAN                           Deposits - 507(a)(6)                                  5600-000                                           $79.50          $547,955.09
                                 1413 Havens DriveNorth Myrtle
                                 BeachSC29582




                                                                                 Page Subtotals:                                                              $0.00              $1,155.41
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           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                  Account Number/CD#: XXXXXX3464

                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                             Separate Bond (if applicable):



       1                2                             3                                             4                                                     5                   6                     7

Transaction Date     Check or              Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                       Code                                                           ($)
   01/15/14          200479      JAMES H. DOTSON                           Deposits - 507(a)(6)                                   5600-000                                         $41.87         $547,913.22
                                 301 Union Dr.LakelandFL33805


   01/15/14          200480      KIMBERLY DOTY                             Deposits - 507(a)(6)                                   5600-000                                        $105.47         $547,807.75
                                 100 N. Griffin, #4P.O. Box 453Grant
                                 ParklL60940
   01/15/14          200481      DONALD DOUBLEDAY                          Deposits - 507(a)(6)                                   5600-000                                        $230.60         $547,577.15
                                 185 Heineberg Dr.ColchesterVT5446


   01/15/14          200482      KATHLEEN DOWD                             Deposits - 507(a)(6)                                   5600-004                                        $134.36         $547,442.79
                                 2 Hefferon RdWilbrahamMA1095


   01/15/14          200483      DIANA DOWDALL                             Deposits - 507(a)(6)                                   5600-000                                         $89.57         $547,353.22
                                 1411 Eggert RdAmherstNY14226


   01/15/14          200484      LINDA DOWLING                             Deposits - 507(a)(6)                                   5600-000                                         $83.74         $547,269.48
                                 137 Capri DrivePalmettoFL34221


   01/15/14          200485      THERESA A. DRAKE                          Deposits - 507(a)(6)                                   5600-000                                        $138.17         $547,131.31
                                 1 Hiland RoadCharltonMA1507


   01/15/14          200486      NYSHA DRENNAN                             Deposits - 507(a)(6)                                   5600-000                                        $179.14         $546,952.17
                                 1312 W. Lake Shore
                                 DriveSpringfieldlL62712

   01/15/14          200487      CHARLES DRESSEL                           Deposits - 507(a)(6)                                   5600-000                                         $89.57         $546,862.60
                                 224 NW 12th LaneCape CoralFL33993


   01/15/14          200488      VALERIE JONES DREW                        Deposits - 507(a)(6)                                   5600-000                                        $213.03         $546,649.57
                                 11 Bronte Road #904OakvilleONL6L0E1


   01/15/14          200489      CAROL & TIM DRUMMER                       Deposits - 507(a)(6)                                   5600-000                                        $108.54         $546,541.03
                                 213 Andrew DriveMcCombOH45858


   01/15/14          200490      ROSEMARY DUBAJ                            Deposits - 507(a)(6)                                   5600-000                                        $179.14         $546,361.89
                                 1920 Sequoya Dr.YoungstownOH44514




                                                                                  Page Subtotals:                                                              $0.00           $1,593.20
                                  Case 12-40944                Doc 732      Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       43
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          200491      MATTHEW DUDEK                            Deposits - 507(a)(6)                                  5600-000                                         $231.08         $546,130.81
                                 P.O. Box 130520 Springfield
                                 Rd.BelchertownMAI 007

   01/15/14          200492      NANCY DUDEK                              Deposits - 507(a)(6)                                  5600-000                                          $75.84         $546,054.97
                                 3958 Grant Ave.HamburgNYl 4075-2923


   01/15/14          200493      DONNA DUFFIELD                           Deposits - 507(a)(6)                                  5600-000                                          $37.89         $546,017.08
                                 7210 Little Paw Paw Lake
                                 RdColomaMI49038

   01/15/14          200494      RICHARD B. DUFFY                         Deposits - 507(a)(6)                                  5600-000                                          $89.57         $545,927.51
                                 68 Anderson AvenueWorcesterMA1604


   01/15/14          200495      DAVID DUGAN                              Deposits - 507(a)(6)                                  5600-000                                         $179.14         $545,748.37
                                 6286-4 Old Lakeshore
                                 Rd.LakeviewNY14085

   01/15/14          200496      MR. & MRS. WILLIAM DUGAN JR.             Deposits - 507(a)(6)                                  5600-000                                          $89.57         $545,658.80
                                 10 Leia CircleSuttonMA1590


   01/15/14          200497      GARY A. DUMAS                            Deposits - 507(a)(6)                                  5600-000                                          $72.85         $545,585.95
                                 461 Peasleevile RoadSchuyler
                                 Falls NY12985

   01/15/14          200498      JAMES DUMPHY                             Deposits - 507(a)(6)                                  5600-000                                          $60.79         $545,525.16
                                 PO Box 121 South BarreMA1074


   01/15/14          200499      JOHN DUNCAN                              Deposits - 507(a)(6)                                  5600-000                                         $139.10         $545,386.06
                                 16600 A Timerlakes DrFort
                                 MyersFL33908

   01/15/14          200500      TINA A. DUNCAN                           Deposits - 507(a)(6)                                  5600-000                                          $25.97         $545,360.09
                                 1804 Tremont Dr.SpringfieldlL62711


   01/15/14          200501      THE DUONG                                Deposits - 507(a)(6)                                  5600-000                                         $154.38         $545,205.71
                                 2 Water StreetAuburnMA1501


   01/15/14          200502      MARIA DUPLESSIE                          Deposits - 507(a)(6)                                  5600-000                                         $123.70         $545,082.01
                                 3533 Raintree CircleLakelandFL33803




                                                                                 Page Subtotals:                                                              $0.00           $1,279.88
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200503      MARY ANN DURANTE                         Deposits - 507(a)(6)                                  5600-000                                           $47.43          $545,034.58
                                 127 Park AvenueKanePAl 6735


   01/15/14          200504      MARGARET DURGIN                          Deposits - 507(a)(6)                                  5600-000                                           $41.04          $544,993.54
                                 11 Richard AveWebsterMAI 570


   01/15/14          200505      SIDNEY DURHAM                            Deposits - 507(a)(6)                                  5600-000                                           $44.78          $544,948.76
                                 6820 N. 37th StreetRichlandMI49083


   01/15/14          200506      MARGARET DURM-HIATT                      Deposits - 507(a)(6)                                  5600-000                                           $33.39          $544,915.37
                                 123 Durm StreetNilesMI49120


   01/15/14          200507      KAREN DURR                               Deposits - 507(a)(6)                                  5600-000                                          $200.60          $544,714.77
                                 50 Oak Ridge DriveMeridenCT6450


   01/15/14          200508      JANICEDUTKIEWICZ                         Deposits - 507(a)(6)                                  5600-000                                           $79.50          $544,635.27
                                 3261 MillardMuskegonMI49441


   01/15/14          200509      JOANNE DUVALL                            Deposits - 507(a)(6)                                  5600-000                                          $134.36          $544,500.91
                                 4161 Center RoadGeorgetownSC29440


   01/15/14          200510      BRIAN C. & SUSAN D. DWYER                Deposits - 507(a)(6)                                  5600-000                                          $184.44          $544,316.47
                                 2782 Sanctuary Blvd.ConwaySC29526


   01/15/14          200511      DR. KAREN & DR. JOHN DWYER               Deposits - 507(a)(6)                                  5600-000                                           $47.43          $544,269.04
                                 15937 Delasol LaneNaplesFL34110


   01/15/14          200512      LISA DWYER                               Deposits - 507(a)(6)                                  5600-000                                          $212.58          $544,056.46
                                 1115 Oliver St Apt 4DNorth
                                 TonawandaNYl 41 20

   01/15/14          200513      STEVEN DYCHA                             Deposits - 507(a)(6)                                  5600-000                                           $92.14          $543,964.32
                                 256 Villaire AveWindsorOntarioN8s-2j2


   01/15/14          200514      CARRIE DYE                               Deposits - 507(a)(6)                                  5600-000                                           $99.64          $543,864.68
                                 8011 S. County Road 600
                                 ESelmalN47383




                                                                                 Page Subtotals:                                                              $0.00              $1,217.33
                                  Case 12-40944                 Doc 732      Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       45
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                       Code                                                           ($)
   01/15/14          200515      TEREEN DYER                               Deposits - 507(a)(6)                                  5600-000                                         $139.07         $543,725.61
                                 P.O. Box 222Williamsvil!elL62693


   01/15/14          200516      MARILYN EAGAN                             Deposits - 507(a)(6)                                  5600-000                                          $70.75         $543,654.86
                                 27 Couch StreetPlattsburghNY12901


   01/15/14          200517      NICOLE EARL                               Deposits - 507(a)(6)                                  5600-000                                         $179.14         $543,475.72
                                 6941 Vintage LanePort OrangeFL32128


   01/15/14          200518      SHIRLEY EDEN                              Deposits - 507(a)(6)                                  5600-000                                          $30.35         $543,445.37
                                 2474 Pellam BlvdPort CharlotteFL33948


   01/15/14          200519      GLENN EDINGER                             Deposits - 507(a)(6)                                  5600-000                                         $104.44         $543,340.93
                                 1068 Foxtown Hill Road, Suite
                                 1 01 StroudsburgPAl 8360

   01/15/14          200520      GUY F. EDWARDS                            Deposits - 507(a)(6)                                  5600-000                                         $381.76         $542,959.17
                                 121 Main Rd.PlattsburghNY12903


   01/15/14          200521      DARLENE EELLS                             Deposits - 507(a)(6)                                  5600-000                                          $19.87         $542,939.30
                                 5A8 White Buffalo DriveApple
                                 RiverlL61001

   01/15/14          200522      CAROL EGGERS                              Deposits - 507(a)(6)                                  5600-004                                          $89.57         $542,849.73
                                 28 Ramsgate RidgeNashuaNH3063


   01/15/14          200523      SANDRA EHRENREICH                         Deposits - 507(a)(6)                                  5600-000                                          $93.91         $542,755.82
                                 1757 Springbrook
                                 RoadSpringBrookOntarioKOK 3C0
   01/15/14          200524      DEBBRA EICHLER                            Deposits - 507(a)(6)                                  5600-000                                          $44.78         $542,711.04
                                 220 W. St Joe StLitchfield MI49252


   01/15/14          200525      BILLIE ELLIS                          Deposits - 507(a)(6)                                      5600-000                                          $41.87         $542,669.17
                                 2010 Kewannee TrailCasselberryFL32767


   01/15/14          200526      JOYCE ELLIS                               Deposits - 507(a)(6)                                  5600-000                                         $443.93         $542,225.24
                                 101 Blood Rd.CharltonMAI 507




                                                                                  Page Subtotals:                                                              $0.00           $1,639.44
                                  Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       46
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                             3                                             4                                                    5                    6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          200527      MICHAEL D. ELLISON                        Deposits - 507(a)(6)                                  5600-000                                          $83.74         $542,141.50
                                 4528 Duval StreetAustinTX78751


   01/15/14          200528      JAMES & BEVERLY ELLS                      Deposits - 507(a)(6)                                  5600-000                                         $237.17         $541,904.33
                                 PO BOX 3SpoffordNH3462


   01/15/14          200529      WILLIAM ELMES                             Deposits - 507(a)(6)                                  5600-000                                         $132.50         $541,771.83
                                 12 Glendale St.WorcesterMA1602


   01/15/14          200530      THERA S. EMERSON                          Deposits - 507(a)(6)                                  5600-000                                          $89.57         $541,682.26
                                 PO Box 495DannemoraNY12929


   01/15/14          200531      JEAN M. ENRIGHT                           Deposits - 507(a)(6)                                  5600-000                                          $62.09         $541,620.17
                                 230 Brookfield RoadCharltonMA1507


   01/15/14          200532      PENNIE J. ENTERLINE                       Deposits - 507(a)(6)                                  5600-000                                         $329.21         $541,290.96
                                 P.O. Box 237Rural ValleyPA16249


   01/15/14          200533      RONALD ENZINNA                            Deposits - 507(a)(6)                                  5600-000                                          $44.78         $541,246.18
                                 454 South Street, Apt.
                                 ALockportNY 1 4094

   01/15/14          200534      DENNIS & ESTHER ERDMAN               Deposits - 507(a)(6)                                       5600-000                                          $89.57         $541,156.61
                                 323 Nw 24th AvenueCape CoralFL33993-
                                 7588

   01/15/14          200535      SHERYL A. ESSENBURG                       Deposits - 507(a)(6)                                  5600-000                                          $18.02         $541,138.59
                                 1950 SW Palm City Rd.,
                                 #5304StuartFL34994

   01/15/14          200536      KELLY ESTES                               Deposits - 507(a)(6)                                  5600-000                                         $118.06         $541,020.53
                                 24 Winterberry LaneHollis CenterME4042


   01/15/14          200537      JEANNINE M. ETHIER                        Deposits - 507(a)(6)                                  5600-000                                          $26.50         $540,994.03
                                 10 Loring Ave.West DennisMA2670


   01/15/14          200538      ALLISON EVANS                             Deposits - 507(a)(6)                                  5600-000                                          $83.74         $540,910.29
                                 1003 Anglers Cove K3Q7Marco
                                 lslandFL34145




                                                                                  Page Subtotals:                                                              $0.00            $1,314.95
                                  Case 12-40944               Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       47
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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T ransaction Date    Check or             Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          200539      KAREN A. EVANS                            Deposits - 507(a)(6)                                  5600-000                                         $106.00         $540,804.29
                                 992 Morley-Potsdam
                                 Road PotsdamNYl 3676

   01/15/14          200540      MARIE EVANS                               Deposits - 507(a)(6)                                  5600-000                                          $89.57         $540,714.72
                                 287 Whitchurch St.Murrells lnletSC29576


   01/15/14          200541      ANETTE M. EVEN                            Deposits - 507(a)(6)                                  5600-000                                         $179.14         $540,535.58
                                 4630 Nestrom RoadWhitehallMI49461


   01/15/14          200542      PRESTON FADNESS                           Deposits - 507(a)(6)                                  5600-000                                         $107.59         $540,427.99
                                 11204 Ventura BlvdMachesney
                                 ParklL61115

   01/15/14          200543      PATRICIA FAHEY                            Deposits - 507(a)(6)                                  5600-000                                         $154.91         $540,273.08
                                 2746 2nd NH TpkDeeringNH3244


   01/15/14          200544      JOENE Y. FAIR                             Deposits - 507(a)(6)                                  5600-000                                         $268.71         $540,004.37
                                 2880 Tuscarawas Rd.BeaverPA15009


   01/15/14          200545      MARC FALK                                 Deposits - 507(a)(6)                                  5600-000                                         $231.07         $539,773.30
                                 43 W. 055 Brierwood LaneElginlL60124


   01/15/14          200546      JOSEPH FALTYN                             Deposits - 507(a)(6)                                  5600-000                                          $89.57         $539,683.73
                                 6261 West Tillen Rd.BostonNY14025


   01/15/14          200547      CURTIS FALZOI                             Deposits - 507(a)(6)                                  5600-000                                          $89.57         $539,594.16
                                 15 Red Coat RdShrewsburyMA1545


   01/15/14          200548      NORMAN FANG                               Deposits - 507(a)(6)                                  5600-000                                         $115.27         $539,478.89
                                 12386 Fox Run CourtHuntleylL60142


   01/15/14          200549      LEN FARALLI                               Deposits - 507(a)(6)                                  5600-000                                          $60.68         $539,418.21
                                 26190 Clarkston Drive, Unit 22104Bonita
                                 SpringsFL341 35-3347

   01/15/14          200550      CAROL-ANN FARINACCI                       Deposits - 507(a)(6)                                  5600-000                                         $992.81         $538,425.40
                                 48 October DriveSt.
                                 CatharinesOntarioL2N 6J6




                                                                                  Page Subtotals:                                                              $0.00            $2,484.89
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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T ransaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          200551      MATTHEW FARNSWORTH                        Deposits - 507(a)(6)                                  5600-000                                          $57.06         $538,368.34
                                 52 Ridge AveAtholMA1331


   01/15/14          200552      CLAIRE R. FARRELL                         Deposits - 507(a)(6)                                  5600-000                                          $89.57         $538,278.77
                                 37 Scott Hill Blvd.BellinghamMA201 9


   01/15/14          200553      MARY M. FARREN                            Deposits - 507(a)(6)                                  5600-000                                          $89.57         $538,189.20
                                 13 B Ridgwood CircleLawrenceMA1843


   01/15/14          200554      MIKE FASOLINO                             Deposits - 507(a)(6)                                  5600-000                                          $96.19         $538,093.01
                                 236 Main StreetMedwayMA2053


   01/15/14          200555      BARBARA FAULCONER                         Deposits - 507(a)(6)                                  5600-000                                         $132.50         $537,960.51
                                 203-41 Ferndale Dr. S.BarrieOntarioL4N
                                 5T6

   01/15/14          200556      LARRY FEDRIGO                             Deposits - 507(a)(6)                                  5600-000                                          $89.57         $537,870.94
                                 5920 Commerce DrWestlandMI48185


   01/15/14          200557      BEVERLY A. FEGLEY                         Deposits - 507(a)(6)                                  5600-000                                          $45.00         $537,825.94
                                 2903 Shillington Rd.Sinking
                                 SpringPAl 9608-1603

   01/15/14          200558      KATHIE FELCH                              Deposits - 507(a)(6)                                  5600-000                                          $47.43         $537,778.51
                                 192 Prechtl RoadEast BarreVT5649


   01/15/14          200559      SANDRA FELDMAN                            Deposits - 507(a)(6)                                  5600-000                                          $30.34         $537,748.17
                                 79 Central AvenueMontclairNJ7042


   01/15/14          200560      MICHAEL FENIAK                            Deposits - 507(a)(6)                                  5600-000                                          $67.66         $537,680.51
                                 1409 Halton TerraceKanataOntarioK2K
                                 2P8

   01/15/14          200561      BARRY FERNALD                             Deposits - 507(a)(6)                                  5600-000                                         $134.36         $537,546.15
                                 101 Montgomery StreetRouses
                                 PointNY12979

   01/15/14          200562      MARIA FERRARO                             Deposits - 507(a)(6)                                  5600-000                                         $102.82         $537,443.33
                                 355 Wood Duck CourtShermanlL62684




                                                                                  Page Subtotals:                                                              $0.00              $982.07
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          200563      BARBARA I. FERREE                         Deposits - 507(a)(6)                                  5600-000                                           $7.66         $537,435.67
                                 1015 Waterloo WayThe VillagesFL32162


   01/15/14          200564      SHIRLEY FESCHUK                           Deposits - 507(a)(6)                                  5600-000                                          $60.68         $537,374.99
                                 136 Parkside DriveWest MifflinPAl 51 22


   01/15/14          200565      WILLIAM C. FETTER JR.                     Deposits - 507(a)(6)                                  5600-000                                          $44.78         $537,330.21
                                 3469 Hwy 905ConwaySC29526


   01/15/14          200566      SCOTT AND LYNNE FIDDLER                   Deposits - 507(a)(6)                                  5600-000                                         $179.14         $537,151.07
                                 1049 Lanterns LaneLelandNC28451


   01/15/14          200567      CHARLES H. FIELDS                         Deposits - 507(a)(6)                                  5600-000                                         $345.72         $536,805.35
                                 2407 Niagara AvenueNiagara
                                 FallsNY14305

   01/15/14          200568      LINDA FIGURSKI                            Deposits - 507(a)(6)                                  5600-000                                         $268.71         $536,536.64
                                 5123 Fairlawn StreetEriePA16509


   01/15/14          200569      LOIS M. FIJOL                             Deposits - 507(a)(6)                                  5600-000                                         $312.17         $536,224.47
                                 56 Vine RoadCharltonMA1508


   01/15/14          200570      NANCY FINNEGAN                            Deposits - 507(a)(6)                                  5600-000                                         $110.77         $536,113.70
                                 220 West Broad StBethlehemPA18018


   01/15/14          200571      CHRISTINE FINTZEL                         Deposits - 507(a)(6)                                  5600-000                                          $66.33         $536,047.37
                                 32 Lexington Rd.MillburyMA1527


   01/15/14          200572      SUSAN FISCHER                             Deposits - 507(a)(6)                                  5600-000                                         $134.35         $535,913.02
                                 5108 Carriage LaneLockportNY14094


   01/15/14          200573      KRISTYN FISCHER JACOBSON                  Deposits - 507(a)(6)                                  5600-000                                          $44.78         $535,868.24
                                 6276 Templeton TerraceSun
                                 PrarieWI53590

   01/15/14          200574      ELIZABETH FISH                            Deposits - 507(a)(6)                                  5600-000                                          $89.57         $535,778.67
                                 263 Riverview DriveStrathroyOntarioN7G
                                 2G4




                                                                                  Page Subtotals:                                                              $0.00           $1,664.66
                                   Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                             Page:       50
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

            Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



        1                2                           3                                              4                                                    5                   6                     7

T ransaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                      Reference                                                                                                     Code
                                                                                                                                                                                                   ($)
   01/15/14           200575      HUGH FISH                                Deposits - 507(a)(6)                                  5600-000                                         $99.64         $535,679.03
                                  2760 Thayer Ave.KalamazooMI49004


   01/15/14           200576      CORINNE FISHER                           Deposits - 507(a)(6)                                  5600-000                                         $33.39         $535,645.64
                                  191 1 1 Meadowbrook Ct #40-ANorth Fort
                                  MyersFL339Q3
   01/15/14           200577      JESSICA FISHER                           Deposits - 507(a)(6)                                  5600-000                                         $89.57         $535,556.07
                                  14 N. Main St.West BrookfieldMA1585


   01/15/14           200578      MARY ELLEN FISHER                        Deposits - 507(a)(6)                                  5600-000                                         $62.62         $535,493.45
                                  2801 Paulson RoadHarvardlL60033


   01/15/14           200579      TERRY P. FISHER                          Deposits - 507(a)(6)                                  5600-000                                        $211.36         $535,282.09
                                  407 County Route 36Chase
                                  MillsNY13621

   01/15/14           200580      CORINNE FITZPATRICK                      Deposits - 507(a)(6)                                  5600-000                                        $514.60         $534,767.49
                                  5 Strang DriveMaloneNY12953


   01/15/14           200581      BROOKE FITZSIMMONS                       Deposits - 507(a)(6)                                  5600-000                                         $98.58         $534,668.91
                                  83a Foxberry Dr.GetzvilleNJ 14068


   01/15/14           200582      JANE FLETCHER                            Deposits - 507(a)(6)                                  5600-000                                         $58.04         $534,610.87
                                  91 Church StreetNorthboroughMA1532


   01/15/14           200583      PAUL FLOOD                               Deposits - 507(a)(6)                                  5600-000                                        $125.61         $534,485.26
                                  27051 Tierra Del Fuego CirclePunta
                                  GordaFL33983
   01/15/14           200584      PATRICIA FLYNN                           Deposits - 507(a)(6)                                  5600-000                                        $179.14         $534,306.12
                                  26 Fort Dummer
                                  HeightsBrattleboroVT5301
   01/15/14           200585      STEVEN FOELLMI                           Deposits - 507(a)(6)                                  5600-000                                         $23.90         $534,282.22
                                  18 Newbury Cir.MadisonWI53711


   01/15/14           200586      JAYNE K. FOLEY                           Deposits - 507(a)(6)                                  5600-000                                        $163.24         $534,118.98
                                  6 Berkmans St.WorcesterMA1602




                                                                                  Page Subtotals:                                                             $0.00           $1,659.69
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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T ransaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200587      JEAN M. FOLEY                            Deposits - 507(a)(6)                                  5600-000                                          $106.00          $534,012.98
                                 60 Church StreetApt 1 1 HSaranac
                                 LakeNY12983

   01/15/14          200588      REBECCA FOLEY                            Deposits - 507(a)(6)                                  5600-000                                           $44.78          $533,968.20
                                 1175 Range RoadWadestownWV26590


   01/15/14          200589      SUSAN FONAGY                             Deposits - 507(a)(6)                                  5600-004                                          $189.74          $533,778.46
                                 946 St. Rt. 7 S.E.BrookfieldOH44403


   01/15/14          200590      CASILLE E. FONSECA                       Deposits - 507(a)(6)                                  5600-000                                          $179.19          $533,599.27
                                 11 Maynard Ave.WebsterMA1570


   01/15/14          200591      JOANN FORAL                              Deposits - 507(a)(6)                                  5600-000                                           $89.57          $533,509.70
                                 207 Tamarack Hollow St. SWPoplar
                                 GrovelL61065

   01/15/14          200592      ANNE FORGUES                             Deposits - 507(a)(6)                                  5600-000                                          $131.44          $533,378.26
                                 1-672 Avenue Ampere Apt
                                 1 LavalQuebecH7N 6E6

   01/15/14          200593      COURTNEY FORKAS                          Deposits - 507(a)(6)                                  5600-000                                          $106.05          $533,272.21
                                 81 Aldis StreetSaint AlbansVT5478


   01/15/14          200594      SHARI FORMOSA-COPPOLA                    Deposits - 507(a)(6)                                  5600-000                                          $393.85          $532,878.36
                                 500 Reedy River RoadMyrtle
                                 BeachSC29588

   01/15/14          200595      ROSETTE FORTNER                          Deposits - 507(a)(6)                                  5600-000                                           $89.57          $532,788.79
                                 407 Wardman RoadKenmoreNY14217


   01/15/14          200596      ALISA FOURNIER                           Deposits - 507(a)(6)                                  5600-000                                           $41.87          $532,746.92
                                 2284 Ashley River Rd APT 1019-
                                 dCharlestonSC2941 4

   01/15/14          200597      ELAINE FRANCIS                           Deposits - 507(a)(6)                                  5600-000                                           $47.12          $532,699.80
                                 84 Belvidere Apt 204GrayslakelL60030


   01/15/14          200598      DANIEL FRANK                             Deposits - 507(a)(6)                                  5600-000                                           $22.52          $532,677.28
                                 3404 S CollegeSpringfieldlL62703




                                                                                 Page Subtotals:                                                              $0.00              $1,441.70
                                  Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       52
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          200599      PAULETTE FRANK                            Deposits - 507(a)(6)                                  5600-000                                         $179.14         $532,498.14
                                 26 Farmersville RoadCalifonNJ7830


   01/15/14          200600      VERONICA FRANKLIN                         Deposits - 507(a)(6)                                  5600-000                                          $50.19         $532,447.95
                                 186 Rugar Street, Atp.
                                 1 3PlattsburghNY1 2901

   01/15/14          200601      LORI L. FRANKOSKY                         Deposits - 507(a)(6)                                  5600-000                                         $254.56         $532,193.39
                                 1800 Hall Point RoadMount
                                 PleasantSC29466

   01/15/14          200602      ROBERT ANTHONY FRANKS                     Deposits - 507(a)(6)                                  5600-000                                         $142.30         $532,051.09
                                 420 Malone Ridge
                                 RoadWashingtonPAl 5301

   01/15/14          200603      WILLIAM FRANSEN                           Deposits - 507(a)(6)                                  5600-000                                         $108.60         $531,942.49
                                 9704 Norman Ave.Machesney
                                 ParklL61115

   01/15/14          200604      SHIRLEY FRANTZ                            Deposits - 507(a)(6)                                  5600-000                                         $145.70         $531,796.79
                                 375 Cherrywood LnMadison
                                 TwpPA 18444

   01/15/14          200605      EARLENE FREDERICK                         Deposits - 507(a)(6)                                  5600-000                                          $46.32         $531,750.47
                                 5516 State Route 113BellevueOH44811


   01/15/14          200606      CLIFFORD FREEMAN                          Deposits - 507(a)(6)                                  5600-000                                         $102.82         $531,647.65
                                 7390 N River RdByronlL61010


   01/15/14          200607      LINDA FREEMAN                             Deposits - 507(a)(6)                                  5600-000                                         $133.24         $531,514.41
                                 16 Terry LaneBarreMA1005


   01/15/14          200608      MARY FRESE                                Deposits - 507(a)(6)                                  5600-000                                          $79.31         $531,435.10
                                 3121 South 3rd St.SpringfieldlL62703


   01/15/14          200609      CYRIL B. FREVERT                          Deposits - 507(a)(6)                                  5600-000                                         $113.95         $531,321.15
                                 1208 Davis LaneKnoxvilleTN37923


   01/15/14          200610      SCOTT FRIDAY                              Deposits - 507(a)(6)                                  5600-000                                          $65.72         $531,255.43
                                 48851 Hawk Ave. Rush CityMN55069




                                                                                  Page Subtotals:                                                              $0.00           $1,421.85
                                  Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       53
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          200611      KATHY FRIEDERSDORF                        Deposits - 507(a)(6)                                  5600-000                                          $20.93         $531,234.50
                                 5676 Keck RoadLockportNY14094


   01/15/14          200612      DELORES FRIEDRICH                         Deposits - 507(a)(6)                                  5600-000                                         $474.35         $530,760.15
                                 4104 Fielding Dr.SpringfieldlL6271 1


   01/15/14          200613      KAY FRITSCH                               Deposits - 507(a)(6)                                  5600-000                                          $93.40         $530,666.75
                                 9070 Dickenson Rd. W., RR#1 Mount
                                 HopeONLOR 1W0
   01/15/14          200614      NICOLETTE C. FRYE                         Deposits - 507(a)(6)                                  5600-000                                         $256.82         $530,409.93
                                 8725 Lozina DriveNiagara FallsNY14304


   01/15/14          200615      CHRISTINE FULLER                          Deposits - 507(a)(6)                                  5600-000                                          $39.75         $530,370.18
                                 3105 Lathrop RoadBerkleyOH43504


   01/15/14          200616      PEARL M. FULLER                           Deposits - 507(a)(6)                                  5600-000                                          $45.84         $530,324.34
                                 495 Queen Lake Rd.PhillipstonMA1331


   01/15/14          200617      STACEY FULLER                             Deposits - 507(a)(6)                                  5600-000                                          $94.79         $530,229.55
                                 127 Brinkerhoff St.PlattsburghNY12901


   01/15/14          200618      SANDRA J. FUNK                            Deposits - 507(a)(6)                                  5600-000                                          $44.78         $530,184.77
                                 17511 Malarky LanePunta GordaFL33955
                                 -4437

   01/15/14          200619      SANDRA FUNKHOUSER                         Deposits - 507(a)(6)                                  5600-000                                          $89.57         $530,095.20
                                 4655 Dutch Ridge RoadBeaverPA15009


   01/15/14          200620      EDWIN J. FURMAN                           Deposits - 507(a)(6)                                  5600-000                                          $89.57         $530,005.63
                                 8 Goulding RoadSterlingMA1564


   01/15/14          200621      SHAE GAGNE                                Deposits - 507(a)(6)                                  5600-000                                          $84.16         $529,921.47
                                 145 B Fieldcrossing DrHighlandlL62249


   01/15/14          200622      JOY GAINE                                 Deposits - 507(a)(6)                                  5600-000                                          $89.57         $529,831.90
                                 789 Gove Hill RdThetford CenterVT5075




                                                                                  Page Subtotals:                                                              $0.00           $1,423.53
                                 Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                                Page:       54
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

T ransaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200623      DAVID GALASS                             Deposits - 507(a)(6)                                  5600-000                                          $152.11          $529,679.79
                                 4308 Green RoadLockportNY14094


   01/15/14          200624      JAMES GALEK                              Deposits - 507(a)(6)                                  5600-000                                           $89.57          $529,590.22
                                 6347 Shalimar StreetPort
                                 CharlotteFL33981

   01/15/14          200625      DIANE M. GALLAGHER                       Deposits - 507(a)(6)                                  5600-000                                           $60.26          $529,529.96
                                 5802 Saddle ClubKalamazooMI49009


   01/15/14          200626      BRIAN GALLANT                            Deposits - 507(a)(6)                                  5600-000                                          $692.44          $528,837.52
                                 167 Root RoadSomersCT6071


   01/15/14          200627      FILOMENA GALLETTA                        Deposits - 507(a)(6)                                  5600-000                                          $179.14          $528,658.38
                                 4300 Beverly DriveAliquippaPA15001


   01/15/14          200628      CHRIS GALLUPE                            Deposits - 507(a)(6)                                  5600-000                                          $355.57          $528,302.81
                                 2883 Fairgrounds Road
                                 SouthCreemoreOntarioLOM 1G0

   01/15/14          200629      PRISCILLA GAMACHE                        Deposits - 507(a)(6)                                  5600-000                                           $22.39          $528,280.42
                                 9 Rogers AvenueOrangeMAI 364


   01/15/14          200630      TORRI FAIR GAMBACORTA                    Deposits - 507(a)(6)                                  5600-000                                          $467.99          $527,812.43
                                 579 Caribou TrailMyrtle BeachSC29588


   01/15/14          200631      WILBUR GARABEDIAN                        Deposits - 507(a)(6)                                  5600-000                                          $183.38          $527,629.05
                                 13 Meadowbrook RdAuburnMA1501


   01/15/14          200632      KRAIG W. GARBER                          Deposits - 507(a)(6)                                  5600-000                                           $20.93          $527,608.12
                                 1585 N. Alexander DriveMt. ZionlL62549
                                                                                         nun




   01/15/14          200633      MICHAEL & RACHEL GARCIA                  Deposits - 507(a)(6)                                  5600-000                                          $167.48          $527,440.64
                                 238 Prospect AvenueBuffaloNYl 4201


   01/15/14          200634      VINCENT GARCIA                           Deposits - 507(a)(6)                                  5600-000                                          $179.14          $527,261.50
                                 212 N. 1st StreetPO Box
                                 84HartsburglL62643




                                                                                 Page Subtotals:                                                              $0.00              $2,570.40
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                   6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                           ($)
   01/15/14          200635      NANCY B. GARDELLI                        Deposits - 507(a)(6)                                  5600-000                                         $89.57         $527,171.93
                                 3572 Acorn StreetNorth PortFL34286


   01/15/14          200636      GRINDAL GARDNER                          Deposits - 507(a)(6)                                  5600-000                                        $140.13         $527,031.80
                                 20 Hartford RoadWorcesterMA1606


   01/15/14          200637      MARY JO GARDNER                          Deposits - 507(a)(6)                                  5600-000                                        $102.89         $526,928.91
                                 2692 NE Hwy 70 Lot 1 34ArcadiaFL34266


   01/15/14          200638      BARBARA J. GARRETT                       Deposits - 507(a)(6)                                  5600-000                                         $13.24         $526,915.67
                                 784 W. Shingle Lake DriveLakeMI48632


   01/15/14          200639      MARGARET GARRISON                        Deposits - 507(a)(6)                                  5600-000                                        $100.73         $526,814.94
                                 514 Montgomery St.OgdensburgNY13669


   01/15/14          200640      SUSAN M. GARVIN                          Deposits - 507(a)(6)                                  5600-000                                        $127.20         $526,687.74
                                 23 Springwood DriveAshvilleNC28805


   01/15/14          200641      DENNIS GASBARRO                          Deposits - 507(a)(6)                                  5600-000                                        $118.35         $526,569.39
                                 1370 Ransom RdGrand lslandNY14072


   01/15/14          200642      CAROL GAUDETTE                           Deposits - 507(a)(6)                                  5600-000                                         $99.64         $526,469.75
                                 17 Rathbun RoadNianticCT6357


   01/15/14          200643      CYNTHIA GEBO                             Deposits - 507(a)(6)                                  5600-000                                        $134.35         $526,335.40
                                 4 llene DriveMorrisonvilleNY12962


   01/15/14          200644      JUDY GEBO                                Deposits - 507(a)(6)                                  5600-000                                         $47.43         $526,287.97
                                 106 Carbide RoadPlattsburghNY12901


   01/15/14          200645      DOLORES GEHLHAUS                         Deposits - 507(a)(6)                                  5600-000                                        $111.06         $526,176.91
                                 101 Carlton CourtHarleysvillePA19438


   01/15/14          200646      ALICE GENAWAY                            Deposits - 507(a)(6)                                  5600-000                                         $79.50         $526,097.41
                                 1249 E Schwartz BlvdLady LakeFL32159




                                                                                 Page Subtotals:                                                             $0.00           $1,164.09
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                          3                                                4                                                    5                   6                     7

Transaction Date    Check or             Paid To / Received From                        Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   01/15/14          200647     HENRY GENELLO                             Deposits - 507(a)(6)                                   5600-000                                        $115.54         $525,981.87
                                1293 Camlet LaneLittle RiverSC29566


   01/15/14          200648     JANET M. GENEROUS                         Deposits - 507(a)(6)                                   5600-000                                        $112.89         $525,868.98
                                131 Atwoodville RoadMansfield
                                CenterCT6250

   01/15/14          200649     KAY GENTHER                               Deposits - 507(a)(6)                                   5600-000                                         $44.78         $525,824.20
                                7487 NoffkeCaledoniaMI4931 6


   01/15/14          200650     MARY GENTRY                               Deposits - 507(a)(6)                                   5600-000                                         $41.87         $525,782.33
                                351 Commonwealth AveTrentonNJ8629


   01/15/14          200651     DANIEL GEORGE                             Deposits - 507(a)(6)                                   5600-000                                        $237.18         $525,545.15
                                4 Stone Ridge Dr.LeicesterMA1524


   01/15/14          200652     NICHOLAS M. GEORGESON                     Deposits - 507(a)(6)                                   5600-000                                        $132.71         $525,412.44
                                24 Thomas St.ClintonMA1510


   01/15/14          200653     GIAVANNA GERACI                           Deposits - 507(a)(6)                                   5600-000                                         $44.78         $525,367.66
                                419 Duchess Court - BLakelandFL33803


   01/15/14          200654     ROBERT GERKEN                             Deposits - 507(a)(6)                                   5600-000                                         $89.57         $525,278.09
                                C 632 Rd. 8BHamlerOH43524


   01/15/14          200655     JEFFREY GERMANN                           Deposits - 507(a)(6)                                   5600-000                                        $119.25         $525,158.84
                                1775 Oakview Dr.StoughtonWI53589-
                                3356

   01/15/14          200656     ELIZABETH A. GETCHELL O'BRIEN             Deposits - 507(a)(6)                                   5600-000                                         $58.61         $525,100.23
                                11 Curtis StreetAuburnMA1501


   01/15/14          200657     CYNTHIA GETTLE                            Deposits - 507(a)(6)                                   5600-000                                         $59.60         $525,040.63
                                15470 Ancel CirclePort CharlotteFL33981


   01/15/14          200658     HEATHER & RHEAL GEVRY                     Deposits - 507(a)(6)                                   5600-000                                        $199.81         $524,840.82
                                1194 Otter Creek HwyNew HavenVT5472          finnmiu!




                                                                                 Page Subtotals:                                                              $0.00           $1,256.59
                                 Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                                Page:       57
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200659      LYNN GHESQUIRE                           Deposits - 507(a)(6)                                  5600-000                                           $87.28          $524,753.54
                                 986 WatsonErieMI48133


   01/15/14          200660      WILLIAM F. GIACOMELLI, JR.               Deposits - 507(a)(6)                                  5600-000                                          $161.23          $524,592.31
                                 9163 Misty Dawn
                                 DriveColumbusOH43240

   01/15/14          200661      FREDA GIANAKOS                           Deposits - 507(a)(6)                                  5600-000                                           $89.57          $524,502.74
                                 5 Plants Dam RoadEast LymeCT6333


   01/15/14          200662      DAWN GIBBS                               Deposits - 507(a)(6)                                  5600-000                                           $44.78          $524,457.96
                                 1872 Coconut Palm CircleNorth
                                 PortFL34288

   01/15/14          200663      AMANDA GIBREE                            Deposits - 507(a)(6)                                  5600-000                                           $94.87          $524,363.09
                                 11 Marwood RoadWorcesterMA1602


   01/15/14          200664      ALBERT GIBSON                            Deposits - 507(a)(6)                                   5600-000                                          $49.82          $524,313.27
                                 1856 Williams RdAynoreSC29511


   01/15/14          200665      SUSAN K. GIBSON                          Deposits - 507(a)(6)                                   5600-000                                          $38.32          $524,274.95
                                 1965 E. Harbor RoadPort
                                 ClintonOH43452

   01/15/14          200666      JAIME GIEK                               Deposits - 507(a)(6)                                  5600-000                                          $246.45          $524,028.50
                                 18 Delucia TerraceLoudonvilleNY12211


   01/15/14          200667      JACK M. & SHARON D. GILBERT              Deposits - 507(a)(6)                                  5600-000                                          $115.80          $523,912.70
                                 14 Wildmere AvenueBurlingtonMA1803


   01/15/14          200668      MATT GILDEA                              Deposits - 507(a)(6)                                  5600-000                                          $145.75          $523,766.95
                                 6509 Baseline RdSouth HavenMI49090


   01/15/14          200669      DONA K. GILLSON                          Deposits - 507(a)(6)                                  5600-000                                          $271.49          $523,495.46
                                 7257 Flannigan RoadOrleansMI48865


   01/15/14          200670      MARLA GIVEN                              Deposits - 507(a)(6)                                   5600-004                                         $179.14          $523,316.32
                                 183 Cornelia St.PlattsburghNY12901




                                                                                 Page Subtotals:                                                              $0.00              $1,524.50
                                  Case 12-40944                Doc 732      Filed 03/27/19 Entered 03/27/19 11:55:32                                        Desc Main                           Page:       58
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          200671      JESSICA GLASNOVICH                       Deposits - 507(a)(6)                                  5600-000                                          $89.57         $523,226.75
                                 492 Kings Canyon BlvdGalesburglL61401


   01/15/14          200672      ROBERT C. GLAZESKI                       Deposits - 507(a)(6)                                  5600-000                                         $129.90         $523,096.85
                                 3539 West Chartwell RoadPeorialL61614


   01/15/14          200673      STEVEN GLENA                             Deposits - 507(a)(6)                                  5600-000                                          $80.98         $523,015.87
                                 3242 Green Tree Dr.WalworthNY14568


   01/15/14          200674      KENNETH GLENN                            Deposits - 507(a)(6)                                  5600-000                                         $209.35         $522,806.52
                                 2034 Cavendish
                                 DriveBurlingtonOntarioL7P 1Y7

   01/15/14          200675      LORI J. GOBI                             Deposits - 507(a)(6)                                  5600-000                                          $89.57         $522,716.95
                                 190 Wickaboag Valley RoadP.O. Box
                                 600West BrookfieldMAOl 585-0600

   01/15/14          200676      JAMES F. GOEDKEN                         Deposits - 507(a)(6)                                  5600-000                                         $404.71         $522,312.24
                                 689 Thompsons WaylnvernesslL60067


   01/15/14          200677      GEORGE V. GOEPFERT                       Deposits - 507(a)(6)                                  5600-000                                          $89.57         $522,222.67
                                 7609 Pomeroy Rd.RocktonlL61072


   01/15/14          200678      GARY GOETZELMAN                          Deposits - 507(a)(6)                                  5600-000                                          $55.68         $522,166.99
                                 105 Jamaica DriveNaplesFL34113


   01/15/14          200679      DAVE & KELLY GOGAL                       Deposits - 507(a)(6)                                  5600-000                                         $182.52         $521,984.47
                                 1440 Gorge CourtNorth PortFL34288


   01/15/14          200680      HOWARD GLENN GOHM                        Deposits - 507(a)(6)                                  5600-000                                          $83.82         $521,900.65
                                 19-67 Unwell RoadUnit 19St.
                                 CatharinesOntarioL2N 7N2

   01/15/14          200681      CHRISTINE GOKEY LANDRY                   Deposits - 507(a)(6)                                  5600-000                                          $63.92         $521,836.73
                                 8891 State Route 9ChazyNY12921


   01/15/14          200682      CYNTHIA GOLDEN                           Deposits - 507(a)(6)                                  5600-000                                         $381.94         $521,454.79
                                 123 Greenfield Dr.TonawandaNY14150




                                                                                 Page Subtotals:                                                              $0.00            $1,861.53
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          200683      NANCY GOLDEN                             Deposits - 507(a)(6)                                  5600-000                                         $259.57         $521,195.22
                                 14 Forest WayGansevoortNYl 2831


   01/15/14          200684      JOSEY A.GOLDNER                          Deposits - 507(a)(6)                                  5600-000                                          $44.78         $521,150.44
                                 1303 E. Gore St. #1OrlandoFL32806


   01/15/14          200685      ADELAIDE GONSALVES                       Deposits - 507(a)(6)                                  5600-000                                          $63.07         $521,087.37
                                 51-1111 Wilson Road
                                 NorthOshawaOntarioLI G8C2

   01/15/14          200686      STEPHEN GOOCH                            Deposits - 507(a)(6)                                  5600-000                                          $95.19         $520,992.18
                                 59 Reservoir Rd.PeruNY12972


   01/15/14          200687      VIVIAN GOODMAN                           Deposits - 507(a)(6)                                  5600-000                                          $44.78         $520,947.40
                                 25925 Telegraph Road, Ste
                                 203SouthfieldMI48033

   01/15/14          200688      CONNIE L. GOODRICH                       Deposits - 507(a)(6)                                  5600-000                                         $134.36         $520,813.04
                                 3459 Bryant Hill
                                 RoadFranklinvilleNY14737

   01/15/14          200689      MICHAEL GOODWIN                          Deposits - 507(a)(6)                                  5600-000                                         $104.25         $520,708.79
                                 85 Lasalle AvenueKenmoreNY14217


   01/15/14          200690      TRACY GOODWIN                            Deposits - 507(a)(6)                                  5600-000                                          $95.10         $520,613.69
                                 21 County RdChathamlL62629


   01/15/14          200691      THOMAS GORCZYCA                          Deposits - 507(a)(6)                                  5600-000                                         $192.39         $520,421.30
                                 413 Detwiler DriveWauseonOH43567


   01/15/14          200692      MICHELLE GORDON                          Deposits - 507(a)(6)                                  5600-000                                         $179.14         $520,242.16
                                 14 Stellarton RoadScarboroughONMI L
                                 3C8

   01/15/14          200693      RACHELLE GORMLEY                         Deposits - 507(a)(6)                                  5600-000                                         $199.81         $520,042.35
                                 12 Parkview AveQueensburyNY12804


   01/15/14          200694      COLLEEN MARIE GOSS                       Deposits - 507(a)(6)                                  5600-000                                          $89.57         $519,952.78
                                 8 Oak StreetAuburnMA1501




                                                                                 Page Subtotals:                                                              $0.00           $1,502.01
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                              3                                            4                                                    5                    6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          200695      STEPHEN M. GOULD                          Deposits - 507(a)(6)                                  5600-000                                          $76.90         $519,875.88
                                 2365 South Pewter
                                 DriveMacungiePAl 8062

   01/15/14          200696      KAREN GRADY                               Deposits - 507(a)(6)                                  5600-000                                          $40.86         $519,835.02
                                 7 C Goldthwaite RoadApt.
                                 6WorcesterMA1 605

   01/15/14          200697      GARRETT GRAFF                             Deposits - 507(a)(6)                                  5600-000                                          $94.87         $519,740.15
                                 17 Pioneer AvePittsburghPAl 5229


   01/15/14          200698      RICHARD GRAHAM                            Deposits - 507(a)(6)                                  5600-004                                          $89.57         $519,650.58
                                 4 Marion Ave.CornwallONK6K 1T9


   01/15/14          200699      JOSEPH GRAMC                              Deposits - 507(a)(6)                                  5600-000                                          $83.74         $519,566.84
                                 437 Grant St., 14th
                                 FloorPittsburghPAl 521 9

   01/15/14          200700      THOMAS E. GRAMITT                         Deposits - 507(a)(6)                                  5600-000                                          $79.50         $519,487.34
                                 9840 Mainsail CourtFort MyersFL33919


   01/15/14          200701      PAULINE GRAVELINE                         Deposits - 507(a)(6)                                  5600-000                                          $89.57         $519,397.77
                                 23 Buck StreetCantonNY13617


   01/15/14          200702      TAMMY GRAVES                              Deposits - 507(a)(6)                                  5600-000                                         $194.36         $519,203.41
                                 693 McNaughton Avenue
                                 WestChathamOntarioN7L-5P7

   01/15/14          200703      CHERYL A. GRAVINA                         Deposits - 507(a)(6)                                  5600-000                                         $231.61         $518,971.80
                                 1 0 Ode CourtWarwickRi2886


   01/15/14          200704      FRED GRECO                                Deposits - 507(a)(6)                                  5600-000                                         $119.01         $518,852.79
                                 3231 Elkridge DrHolidayFL34691


   01/15/14          200705      ADAM GREEN                                Deposits - 507(a)(6)                                  5600-000                                         $125.61         $518,727.18
                                 4481 Kibbler Rd.AtlanticPA161 1 1


   01/15/14          200706      DONNA GREEN                               Deposits - 507(a)(6)                                  5600-000                                          $89.57         $518,637.61
                                 529 Emmett StreetBristolCT6010




                                                                                  Page Subtotals:                                                              $0.00           $1,315.17
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200707      LEIGHANN GREENE                          Deposits - 507(a)(6)                                  5600-004                                           $97.30          $518,540.31
                                 106 Rand Hill Rd.MorrisonvilleNY12962


   01/15/14          200708      LYNN GRIFFIN                             Deposits - 507(a)(6)                                  5600-000                                           $89.57          $518,450.74
                                 86 Dalewood DriveAmherstNY14228


   01/15/14          200709      KATHI GRIFHORST                          Deposits - 507(a)(6)                                  5600-000                                           $56.12          $518,394.62
                                 12489 18 Mile RoadGowenMI49326-9732


   01/15/14          200710      RAYMOND GRIMES                           Deposits - 507(a)(6)                                  5600-000                                          $106.03          $518,288.59
                                 438 Pine StreetLockportNY14094


   01/15/14          200711      KAITLIN GROEGER                          Deposits - 507(a)(6)                                  5600-000                                          $131.44          $518,157.15
                                 4971 Bigelow RoadWest ValleyNY14171


   01/15/14          200712      MARCI GROFF                              Deposits - 507(a)(6)                                  5600-000                                           $39.86          $518,117.29
                                 2592 Wild Game TrailMyrtle
                                 BeachSC29588

   01/15/14          200713      ERIC GROSSMAN                            Deposits - 507(a)(6)                                  5600-000                                          $322.00          $517,795.29
                                 110 Pinelake DriveWilliamsvilleNY14221


   01/15/14          200714      DAWN AND JAMES GROSSO                    Deposits - 507(a)(6)                                  5600-000                                          $495.55          $517,299.74
                                 6929 Valentown RoadVictorNY14564


   01/15/14          200715      SYLVIE GROULX                            Deposits - 507(a)(6)                                  5600-000                                          $415.90          $516,883.84
                                 15 Roy StreetDelsonQuebecJ5B 1H5


   01/15/14          200716      JAMES GROVE                              Deposits - 507(a)(6)                                  5600-000                                          $116.04          $516,767.80
                                 P.O. Box 6107380 Eelpot
                                 Rd.NaplesNY14512

   01/15/14          200717      MATT GUARINO                             Deposits - 507(a)(6)                                  5600-000                                          $115.23          $516,652.57
                                 1362 Independence DriveDerbyNY14047


   01/15/14          200718      LEYDEN GUERRERO                          Deposits - 507(a)(6)                                  5600-000                                          $140.24          $516,512.33
                                 48 Gibbs StreetApt. 4DWorcesterMA1607




                                                                                 Page Subtotals:                                                              $0.00              $2,125.28
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200719      RONALD GUILLAUME                         Deposits - 507(a)(6)                                  5600-000                                          $119.57          $516,392.76
                                 267 Rumonoski Dr.NorthbridgeMA1534


   01/15/14          200720      BRAD GUILLERM                            Deposits - 507(a)(6)                                  5600-000                                           $89.57          $516,303.19
                                 PO BOX 1 1 82LathamNY 12110


   01/15/14          200721      GEORGE GULLEFF                           Deposits - 507(a)(6)                                  5600-000                                           $49.82          $516,253.37
                                 29222 River DrivePunta GordaFL33982


   01/15/14          200722      BERNARD J. GUYNUP                        Deposits - 507(a)(6)                                  5600-000                                          $277.17          $515,976.20
                                 P.O. Box 743MorrisonvilleNY 1 2962


   01/15/14          200723      ELIZABETH GUZMAN                         Deposits - 507(a)(6)                                  5600-000                                          $123.91          $515,852.29
                                 20 Bristol StreetWorcesterMA1606


   01/15/14          200724      REBECCA HAAS                             Deposits - 507(a)(6)                                  5600-000                                          $103.30          $515,748.99
                                 1011 East Country Road
                                 2300NauvoolL62354

   01/15/14          200725      DIANNE HACKER                            Deposits - 507(a)(6)                                  5600-000                                           $75.74          $515,673.25
                                 1809 Tremont Dr.SpringfieldlL6271 1


   01/15/14          200726      DAVID HAFFNER                            Deposits - 507(a)(6)                                  5600-000                                          $223.92          $515,449.33
                                 805 Monticello CtCape CoralFL33904


   01/15/14          200727      TABITHA C. HAIRSTON                      Deposits - 507(a)(6)                                  5600-000                                           $41.87          $515,407.46
                                 32 Saint Paul Mall NBuffaloNY14209


   01/15/14          200728      ROSE HALL                                Deposits - 507(a)(6)                                  5600-000                                          $157.14          $515,250.32
                                 727 Venetian AveLakelandFL33801


   01/15/14          200729      MARY HALLEY                              Deposits - 507(a)(6)                                  5600-000                                          $104.28          $515,146.04
                                 61 Ernest AveWorcesterMAI 604


   01/15/14          200730      CAROLE HALLGREN                          Deposits - 507(a)(6)                                  5600-000                                           $53.00          $515,093.04
                                 118 Paras Hill Dr.HartfordMI49057




                                                                                 Page Subtotals:                                                              $0.00              $1,419.29
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                   6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                           ($)
   01/15/14          200731      ANGIE HALVERSON                          Deposits - 507(a)(6)                                  5600-000                                        $407.83         $514,685.21
                                 601 Larvik LaneStoughtonWI53589


   01/15/14          200732      CLAIRE HALVEY                            Deposits - 507(a)(6)                                  5600-000                                        $121.00         $514,564.21
                                 4 Mayfield RoadAuburnMA1501


   01/15/14          200733      WAYNE HAMBLY                             Deposits - 507(a)(6)                                  5600-000                                         $92.22         $514,471.99
                                 529 Kengary DriveEnnismoreOntarioKOL
                                 1T0

   01/15/14          200734      KHRISTINA HAMEL                          Deposits - 507(a)(6)                                  5600-000                                         $47.70         $514,424.29
                                 133 Grattan StreetChicopeeMA1020


   01/15/14          200735      CHRISTINE HAMER                          Deposits - 507(a)(6)                                  5600-000                                        $169.67         $514,254.62
                                 101 Home WayMillburyMAI 527


   01/15/14          200736      DAVID HAMILTON                           Deposits - 507(a)(6)                                  5600-000                                         $80.98         $514,173.64
                                 5505 S. Farmingdale RoadNew
                                 BerlinlL62670

   01/15/14          200737      J. BRENT HAMILTON                        Deposits - 507(a)(6)                                  5600-000                                         $39.48         $514,134.16
                                 105 Coley StreetP.O. Box
                                 54LoamilL62661
   01/15/14          200738      LISA HAMILTON                            Deposits - 507(a)(6)                                  5600-000                                         $53.16         $514,081.00
                                 6887 E. Main St.KalamazooMI49048


   01/15/14          200739      ALAN H. HAMMOND                          Deposits - 507(a)(6)                                  5600-000                                        $134.35         $513,946.65
                                 21 Wing CourtCheektowagaNY14225


   01/15/14          200740      MARY L. HAMMOND                          Deposits - 507(a)(6)                                  5600-000                                         $84.27         $513,862.38
                                 8373 NW 12th Ct.OcalaFL34475


   01/15/14          200741      CORY J. HAND                             Deposits - 507(a)(6)                                  5600-000                                         $89.57         $513,772.81
                                 1132 Treasure LakeDuBoisPAl 5801


   01/15/14          200742      JANE M. HANDY                            Deposits - 507(a)(6)                                  5600-000                                         $61.52         $513,711.29
                                 81 Mountain RoadBenningtonNH3442




                                                                                 Page Subtotals:                                                             $0.00           $1,381.75
                                  Case 12-40944               Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32                                          Desc Main                             Page:       64

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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                              Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                         Bank Name: Union Bank

                                                                                                                   Account Number/CD#: XXXXXX3464

                                                                                                                                            Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                                Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                              Separate Bond (if applicable):



       1                2                           3                                                  4                                                   5                    6                       7


Transaction Date     Check or             Paid To / Received From                         Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                        Code                                                              ($)
   01/15/14          200743      BARBARA E. HANEY                         Deposits - 507(a)(6)                                     5600-000                                           $94.87          $513,616.42
                                 203 Meadow StreetCheswickPAl 5024


   01/15/14          200744      ROSE HANKS                               Deposits - 507(a)(6)                                     5600-000                                           $44.79          $513,571.63
                                 2460 Avis DriveHarborcreekPA16421


   01/15/14          200745      STEVE HANNAHS                            Deposits - 507(a)(6)                                     5600-000                                          $179.14          $513,392.49
                                 5510 West 1 Mile Rd.White
                                 CloudMI49349                              in'juil


   01/15/14          200746      LYNNE HANSEN                             Deposits - 507(a)(6)                                      5600-000                                         $137.32          $513,255.17
                                 484 US Route 2 SouthAlburgVT5440


   01/15/14          200747      MARVIN HANSEN                            Deposits - 507(a)(6)                                      5600-000                                         $189.74          $513,065.43
                                 2052 Huntleigh RoadSpringfieldlL62704


   01/15/14          200748      SANDRA HANSEN                            Deposits - 507(a)(6)                                      5600-000                                          $83.74          $512,981.69
                                 38 Park StreetOxfordMA1540


   01/15/14          200749      TAMMY LYNN HANSEN                        Deposits - 507(a)(6)                                      5600-000                                         $122.59          $512,859.10
                                 3 Mill Brook Dr.TempletonMA1468


   01/15/14          200750      CAROLYN HANSIS                           Deposits - 507(a)(6)                                      5600-000                                          $44.78          $512,814.32
                                 112 Stegal Cr.LongsSC29568


   01/15/14          200751      BRANDEN HAPACH                           Deposits - 507(a)(6)                                      5600-000                                         $110.98          $512,703.34
                                 1054 Corporation StreetBeaverPAl 5009


   01/15/14          200752      SUSAN HARPER                             Deposits - 507(a)(6)                                      5600-000                                         $298.68          $512,404.66
                                 306 Zephyr AveOttawaOntarioK2B 5Z8


   01/15/14          200753      JAN WAYNE HARPOLD                        Deposits - 507(a)(6)                                      5600-000                                         $223.92          $512,180.74
                                 501 Lick Run Rd.WeirtonWV26062


   01/15/14          200754      ELIZABETH HARRIGAN                       Deposits - 507(a)(6)                                      5600-000                                         $134.36          $512,046.38
                                 P.O. Box 2442343 County Route
                                 24ChateaugayNY12920




                                                                                     Page Subtotals:                                                             $0.00              $1,664.91
                                  Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       65
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          200755      KRISTY HARRIGAN                          Deposits - 507(a)(6)                                  5600-000                                          $79.50         $511,966.88
                                 68 Chasands DrPlattsburghNY12901


   01/15/14          200756      DEBORAH LU HARRINGTON                    Deposits - 507(a)(6)                                  5600-000                                         $230.47         $511,736.41
                                 304 E. Bridge St.PlainwellMI49080


   01/15/14          200757      DEBRA A. HARRINGTON                      Deposits - 507(a)(6)                                  5600-000                                         $179.14         $511,557.27
                                 156 Gleenwood Dr.N. KingstownRI2852


   01/15/14          200758      DEBORAH HARRIS                           Deposits - 507(a)(6)                                  5600-000                                         $130.91         $511,426.36
                                 207 W Jennifer Lane #6PalatinelL60067


   01/15/14          200759      LINDA MARIE HARRISON                     Deposits - 507(a)(6)                                  5600-000                                          $42.13         $511,384.23
                                 85 Gordon StreetBellevilleOntarioK8P
                                 3E7

   01/15/14          200760      CAROL HARTLE                             Deposits - 507(a)(6)                                  5600-000                                          $44.78         $511,339.45
                                 928 N Racquette River
                                 RdMassenaNYl 3662

   01/15/14          200761      TERESA HARTLE                            Deposits - 507(a)(6)                                  5600-000                                          $46.99         $511,292.46
                                 1226 Magee RdSewickleyPA15143


   01/15/14          200762      STEVEN E. & PENNY S. HARMAN              Deposits - 507(a)(6)                                  5600-000                                          $99.64         $511,192.82
                                 702 Elm StreetColonMI49040


   01/15/14          200763      KURT HARMANN                             Deposits - 507(a)(6)                                  5600-000                                         $156.23         $511,036.59
                                 16 Orchard StS GraftonMA1560


   01/15/14          200764      JOHN HARTY                               Deposits - 507(a)(6)                                  5600-000                                         $102.34         $510,934.25
                                 20 Roberts StreetCumberlandRI2864


   01/15/14          200765      CHESTER R. HARVEY, JR.                   Deposits - 507(a)(6)                                  5600-000                                          $65.72         $510,868.53
                                 27 Vinnie StreetJamestownNYl 4701


   01/15/14          200766      DEREK HAST                               Deposits - 507(a)(6)                                  5600-000                                         $350.33         $510,518.20
                                 18 Wamsutta Ridge
                                 RoadCharltonMAI 507




                                                                                 Page Subtotals:                                                              $0.00           $1,528.18
                                  Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       66
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                     7

T ransaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          200767      GREGG HATHAWAY                            Deposits - 507(a)(6)                                  5600-000                                         $100.81         $510,417.39
                                 64 Cumberland RdLeominsterMA1453


   01/15/14          200768      LIZA HATHAWAY                             Deposits - 507(a)(6)                                  5600-000                                         $173.31         $510,244.08
                                 8612 Rte 9PO Box 99LewisNY12950


   01/15/14          200769      JEAN C. HATTON                            Deposits - 507(a)(6)                                  5600-000                                          $89.57         $510,154.51
                                 35103 64th Ave. Paw PawMI49079


   01/15/14          200770      DAVID HAUVER                              Deposits - 507(a)(6)                                  5600-000                                          $92.75         $510,061.76
                                 71 Long Hill DriveLeominsterMA1453


   01/15/14          200771      DEBORAH HAVALOTTI                         Deposits - 507(a)(6)                                  5600-000                                         $189.74         $509,872.02
                                 1 Orchard StreetMillburyMA1527


   01/15/14          200772      JENNIFER HAVALOTTI                        Deposits - 507(a)(6)                                  5600-000                                          $49.82         $509,822.20
                                 9 Orchard StreetMillburyMA1527


   01/15/14          200773      CHRISTOPHER HAVENS                        Deposits - 507(a)(6)                                  5600-000                                         $126.45         $509,695.75
                                 1 5 County Route
                                 #280gdensburgNY1 3669

   01/15/14          200774      KAREN A. HAVERT                           Deposits - 507(a)(6)                                  5600-000                                          $47.43         $509,648.32
                                 5885 King Hill Dr.FarmingtonNY14425


   01/15/14          200775      SHIRLEY HAYES                             Deposits - 507(a)(6)                                  5600-000                                          $94.87         $509,553.45
                                 11 Henry StreetSummitNJ7901


   01/15/14          200776      TRUDY HAYES                               Deposits - 507(a)(6)                                  5600-000                                         $177.92         $509,375.53
                                 1647 Martin Luther King Jr
                                 AveLakelandFL33805

   01/15/14          200777      RICK HAYMAN                               Deposits - 507(a)(6)                                  5600-000                                         $179.14         $509,196.39
                                 24627 Buckingham WayPort
                                 CharlotteFL33980

   01/15/14          200778      CINDY HE                                  Deposits - 507(a)(6)                                  5600-000                                         $134.35         $509,062.04
                                 6455 Channing Ct SEAdaMI49301




                                                                                  Page Subtotals:                                                              $0.00           $1,456.16
                                  Case 12-40944                Doc 732      Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                                Page:       67
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200779      COREEN HEALY                             Deposits - 507(a)(6)                                  5600-000                                           $30.34          $509,031.70
                                 2525 S 7THSpringfieldlL62703


   01/15/14          200780      WILLIAM J. HEALY                         Deposits - 507(a)(6)                                  5600-000                                          $157.67          $508,874.03
                                 1623 Settlers Way, SWOcean Isle
                                 BeachNC28469

   01/15/14          200781      ARTHUR J. HEAPHY                         Deposits - 507(a)(6)                                  5600-000                                           $89.57          $508,784.46
                                 25277 Palisade RoadPunta
                                 GordaFL33983

   01/15/14          200782      CHERIEL. HEARN                           Deposits - 507(a)(6)                                  5600-000                                          $119.65          $508,664.81
                                 621 Bucks Lair Ct.Mt. ZionlL62549


   01/15/14          200783      BERNARD HEAVERLY                         Deposits - 507(a)(6)                                  5600-000                                           $89.57          $508,575.24
                                 314 Bahia Blanca DrivePunta
                                 GordaFL33983

   01/15/14          200784      JODI A. HEFFLER                          Deposits - 507(a)(6)                                  5600-000                                          $134.35          $508,440.89
                                 1123 Central St.LeominsterMA1453


   01/15/14          200785      DIETER H. HEINZE                         Deposits - 507(a)(6)                                  5600-000                                          $134.35          $508,306.54
                                 15618 82nd Terrace N.Palm Beach
                                 GardensFL33418

   01/15/14          200786      PHILLIP A. HEITZ                         Deposits - 507(a)(6)                                  5600-000                                           $89.57          $508,216.97
                                 Po Box 321 HamiltonlN46742


   01/15/14          200787      RICHARD HEMMING                          Deposits - 507(a)(6)                                  5600-000                                          $220.15          $507,996.82
                                 364 Woodside DriveCarroltonOH44615


   01/15/14          200788      DAVID HENDERSHOT                         Deposits - 507(a)(6)                                  5600-000                                           $44.79          $507,952.03
                                 11858 Holt HwyDimondaleMI48821


   01/15/14          200789      JEAN HENDERSON                           Deposits - 507(a)(6)                                  5600-000                                           $59.36          $507,892.67
                                 8681 Wesleyan Dr., #609Fort
                                 MyersFL33919

   01/15/14          200790      LISA HENDERSON                           Deposits - 507(a)(6)                                  5600-000                                          $179.40          $507,713.27
                                 151 Griffith Creek RdMechanics
                                 BurglL62545




                                                                                 Page Subtotals:                                                              $0.00              $1,348.77
                                  Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                                Page:       68
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200791      STEVE B. HENDERSON                       Deposits - 507(a)(6)                                  5600-000                                          $233.20          $507,480.07
                                 1311 Fire Route 39LakefieldOntarioKOL
                                 2H0

   01/15/14          200792      GARY HENDERICKSON                        Deposits - 507(a)(6)                                  5600-000                                          $118.19          $507,361.88
                                 28 Squirrels Heath RoadFairportNY14450


   01/15/14          200793      PATRICIA HENRY                           Deposits - 507(a)(6)                                  5600-000                                           $49.82          $507,312.06
                                 3304 Thick Branch RoadN. Myrtle
                                 BeachSC29582-9323

   01/15/14          200794      TAMMY HENRY-SMITH                        Deposits - 507(a)(6)                                   5600-000                                          $49.82          $507,262.24
                                 709 Dolphin Drive WHighlandlL62249


   01/15/14          200795      GLEN HENSEL                              Deposits - 507(a)(6)                                   5600-000                                          $22.39          $507,239.85
                                 1955 Main StWaterportNY14571


   01/15/14          200796      JUDY L. HEPPNER                          Deposits - 507(a)(6)                                   5600-000                                         $358.28          $506,881.57
                                 5399 Cambria RoadSanbornNY14132


   01/15/14          200797      MARTHA J. HERMAN                         Deposits - 507(a)(6)                                   5600-000                                          $26.47          $506,855.10
                                 2492 E. 88th StreetNewaygoMI49337


   01/15/14          200798      MICHAEL P. HERN                          Deposits - 507(a)(6)                                   5600-000                                          $26.50          $506,828.60
                                 712 21st Ave. Union CityNJ7087


   01/15/14          200799      MARTHA A. HERNANDEZ                      Deposits - 507(a)(6)                                   5600-000                                         $179.14          $506,649.46
                                 612 Dock DriveLake BarringtonlL60010


   01/15/14          200800      ANDREW HERON                             Deposits - 507(a)(6)                                   5600-000                                         $129.32          $506,520.14
                                 17 Horning Dr.HamiltonONL9C6L2


   01/15/14          200801      JENNIFER HERRMAN                         Deposits - 507(a)(6)                                   5600-000                                         $160.85          $506,359.29
                                 8175 Idlewood DriveBloomiingtonlL61705


   01/15/14          200802      GEORGE HERTWECK                          Deposits - 507(a)(6)                                   5600-000                                         $223.93          $506,135.36
                                 49 Worcester Rd.RochesterNY14616




                                                                                 Page Subtotals:                                                              $0.00              $1,577.91
                                  Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                         Desc Main                             Page:       69
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                           3                                               4                                                    5                    6                       7

T ransaction Date    Check or             Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          200803      LYNDA HETEL                              Deposits - 507(a)(6)                                   5600-000                                           $89.57          $506,045.79
                                 162 Chapel Ridge CircleMyrtle
                                 BeachSC29588

   01/15/14          200804      PAMELA HEWITT                            Deposits - 507(a)(6)                                   5600-000                                           $89.57          $505,956.22
                                 64 Scotch Cap Road Unit 122Quaker
                                 HHICT6375

   01/15/14          200805      MICHAEL L. HIEBER                        Deposits - 507(a)(6)                                   5600-000                                           $94.87          $505,861.35
                                 1310 W Woodside Dr.DunlaplL62525


   01/15/14          200806      DANIELLE HIGGINS                         Deposits - 507(a)(6)                                   5600-000                                          $160.91          $505,700.44
                                 3808 SE 19th Ave.Cape CoralFL33904


   01/15/14          200807      KAREN M. HIGGINS                         Deposits - 507(a)(6)                                    5600-000                                          $83.74          $505,616.70
                                 6367 Adrian HwyConwaySC29526


   01/15/14          200808      STEVE HIGGINS                            Deposits - 507(a)(6)                                    5600-000                                         $221.80          $505,394.90
                                 2 Jasmine CtCoventryRI2816


   01/15/14          200809      ELIZABETH HILDERMAN                      Deposits - 507(a)(6)                                    5600-000                                         $540.55          $504,854.35
                                 61 San Mateo DriveNepeanOntarioK2J
                                 5H4                                       ffunniinnnninifininf




   01/15/14          200810      MELISSA HILDRETH                         Deposits - 507(a)(6)                                    5600-000                                         $179.14          $504,675.21
                                 2168 EJkridge CircleHighlandMI48356


   01/15/14          200811      MARION L. HILTON, SR.                    Deposits - 507(a)(6)                                    5600-000                                         $252.81          $504,422.40
                                 505 Ramblewood Cir.Little RiverSC29566


   01/15/14          200812      RICHARD HINDS                            Deposits - 507(a)(6)                                    5600-000                                          $44.78          $504,377.62
                                 412 Pendik RoadJacksonvillelL62650


   01/15/14          200813      GERALDINE HINELINE                       Deposits - 507(a)(6)                                    5600-000                                          $89.57          $504,288.05
                                 1305 Barnsdale St.Lehigh AcresFL33936


   01/15/14          200814      STEPHEN HIRD                             Deposits - 507(a)(6)                                    5600-000                                          $41.87          $504,246.18
                                 118 JASMINE CIRCLETROUTMAN, NC
                                 28166




                                                                                  Page Subtotals:                                                              $0.00              $1,889.18
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

            Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee
       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                   Account Number/CD#: XXXXXX3464

                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                               Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                              Separate Bond (if applicable):



        1                2                            3                                              4                                                     5                   6                     7

T ransaction Date     Check or              Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                      Reference                                                                                                       Code
                                                                                                                                                                                                     ($)
   01/15/14           200815      LINDA K. HISCOCK                          Deposits - 507(a)(6)                                   5600-000                                         $79.87         $504,166.31
                                  2517 SW 52nd LnCape CoralFL33914


   01/15/14           200816      JEANNETTE HITT O'BRIEN                    Deposits - 507(a)(6)                                   5600-000                                         $94.87         $504,071.44
                                  913 Apple Blossom
                                  DriveDeForestWI53532
   01/15/14           200817      AMANDA HOBART                             Deposits - 507(a)(6)                                   5600-000                                         $49.82         $504,021.62
                                  74 Lyman StPittsfieldMAI 201


   01/15/14           200818      ABBY HODGE                                Deposits - 507(a)(6)                                   5600-000                                        $115.54         $503,906.08
                                  406 S. Pine StreetArthurlL61911


   01/15/14           200819      PAUL HOEKSEMA                             Deposits - 507(a)(6)                                   5600-000                                         $37.89         $503,868.19
                                  163 Prospect NE APT 2Grand
                                  RapidsMI49503
   01/15/14           200820      JOHN HOFFMAN                              Deposits - 507(a)(6)                                   5600-000                                         $89.57         $503,778.62
                                  13841 S 28th StreetVicksburgMI49093


   01/15/14           200821      KEVIN HOLBROOK                            Deposits - 507(a)(6)                                   5600-000                                         $32.86         $503,745.76
                                  35 Old Oxford Rd.CharltonMA1507


   01/15/14           200822      DIANE HOLLANDSWORTH                       Deposits - 507(a)(6)                                   5600-000                                         $49.82         $503,695.94
                                  1321 Jefferson Dr.EnglewoodFL34224


   01/15/14           200823      RONALD E. HOLLERAN                        Deposits - 507(a)(6)                                   5600-000                                        $106.21         $503,589.73
                                  390 Green Mountain
                                  T urnpikeChesterVT51 43

   01/15/14           200824      JANET HOLLEY                              Deposits - 507(a)(6)                                   5600-000                                         $47.43         $503,542.30
                                  117 Rotonda Lakes Circle Apt. IRotonda
                                  WestFL33947

   01/15/14           200825      CAROLE M. HOLMES                          Deposits - 507(a)(6)                                   5600-000                                         $84.27         $503,458.03
                                  4 Whittlesey St.MaloneNY12953


   01/15/14           200826      STEVE HOLMI                               Deposits - 507(a)(6)                                   5600-000                                         $45.05         $503,412.98
                                  5607 Woodstock DrLansingMI48917




                                                                                   Page Subtotals:                                                              $0.00              $833.20
                                 Case 12-40944               Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                             Page:       71
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                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                   6                     7

Transaction Date    Check or             Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   01/15/14          200827     TODD HOLSTEAD                             Deposits - 507(a)(6)                                  5600-000                                        $184.44         $503,228.54
                                1 030 Knoll Wood CtWinter
                                SpringsFL32708
   01/15/14          200828     SEAN HONEYWILL                            Deposits - 507(a)(6)                                  5600-000                                         $44.78         $503,183.76
                                458 Seminole Avenue
                                NEAtlantaGA30307

   01/15/14          200829     BETTY HONISKO                             Deposits - 507(a)(6)                                  5600-000                                         $43.70         $503,140.06
                                19505 Quesada AvenueUnit GG-103Port
                                CharlotteFL33948
   01/15/14          200830     ROY HOOD                                  Deposits - 507(a)(6)                                  5600-000                                        $418.59         $502,721.47
                                1 1 9 Valecrest
                                DriveEtobicokeOntarioM9A4P7

   01/15/14          200831     WILLIAM K. HOOD                           Deposits - 507(a)(6)                                  5600-000                                         $47.44         $502,674.03
                                617 Charter DriveLongsSC29568


   01/15/14          200832     DEE A. HOOVER                             Deposits - 507(a)(6)                                  5600-000                                         $44.78         $502,629.25
                                3947 Pinebrook CrLittle RiverSC29566


   01/15/14          200833     JOHN HOPKINS                              Deposits - 507(a)(6)                                  5600-000                                         $36.46         $502,592.79
                                91 Nestling LoopSt CloudFL34769


   01/15/14          200834     MARIA HOPKINS                             Deposits - 507(a)(6)                                  5600-000                                        $138.49         $502,454.30
                                37 Cummings LaneWinthropME4364


   01/15/14          200835     MICHAEL W. HOPKINS                        Deposits - 507(a)(6)                                  5600-000                                         $89.57         $502,364.73
                                2940 Stewartstown
                                RoadMorgantownWV26508-1 41 5
   01/15/14          200836     CHRISTINE HORANZY                         Deposits - 507(a)(6)                                  5600-000                                        $179.14         $502,185.59
                                845 N Grand StreetWest SuffieldCT6093


   01/15/14          200837     HELEN HORNE                               Deposits - 507(a)(6)                                  5600-000                                         $94.87         $502,090.72
                                154 Pinfeather TrailMyrtle BeachSC29588


   01/15/14          200838     STEPHANIE HOUGH                           Deposits - 507(a)(6)                                  5600-000                                        $247.18         $501,843.54
                                18827 Athens Blacktop
                                RoadPetersburglL62675




                                                                                 Page Subtotals:                                                             $0.00           $1,569.44
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200839      CHERYL HOUSLEY                           Deposits - 507(a)(6)                                  5600-000                                          $319.91          $501,523.63
                                 1700 Skyridge CourtStoughtonWI53589


   01/15/14          200840      WILLIAM G. HOWARD                        Deposits - 507(a)(6)                                  5600-000                                          $105.47          $501,418.16
                                 5561 Greyston StreetPalm
                                 HarborFL34685

   01/15/14          200841      ANDREA HOWE                              Deposits - 507(a)(6)                                  5600-000                                           $44.78          $501,373.38
                                 225 Church StreetLarksvillePA18704


   01/15/14          200842      MARGARET HOWLAND                         Deposits - 507(a)(6)                                  5600-000                                          $136.74          $501,236.64
                                 4 Marie DriveBristolRI2809


   01/15/14          200843      LARRY HROMOWYK                           Deposits - 507(a)(6)                                  5600-000                                          $134.35          $501,102.29
                                 181 17TH AveNorth TonawandaNY14120


   01/15/14          200844      JIN HUANG                                Deposits - 507(a)(6)                                  5600-000                                          $174.76          $500,927.53
                                 1294 Pare Du Village
                                 St.OttawaOntarioKIC 7B1

   01/15/14          200845      ELIZABETH HUDSON                         Deposits - 507(a)(6)                                  5600-000                                           $89.57          $500,837.96
                                 309 Kloack StreetMichigan
                                 CenterMI49254

   01/15/14          200846      MARY J. HUFF                             Deposits - 507(a)(6)                                  5600-000                                          $595.45          $500,242.51
                                 2394 Canton RoadAkronOH44312


   01/15/14          200847      CAROLYN HUGHES                           Deposits - 507(a)(6)                                   5600-000                                          $39.30          $500,203.21
                                 223 West Main StreetBurlingtonMI49029


   01/15/14          200848      MIMI DARLENE HUGHES                      Deposits - 507(a)(6)                                   5600-000                                          $89.57          $500,113.64
                                 8957 1/2 Sprucevale
                                 Road RogersOH44455

   01/15/14          200849      LEE HUIZENGA                             Deposits - 507(a)(6)                                  5600-000                                           $89.57          $500,024.07
                                 1298 Waukazoo DriveHollandMI49424


   01/15/14          200850      CATHLEEN HULL                            Deposits - 507(a)(6)                                   5600-000                                         $266.28          $499,757.79
                                 6038 E Pleasant View RdRock
                                 CitylL61 070




                                                                                 Page Subtotals:                                                              $0.00              $2,085.75
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          200851      MICHAEL J. HULSEBUS                      Deposits - 507(a)(6)                                   5600-000                                          $447.85          $499,309.94
                                 597 GrenelefeFontanaWI53125


   01/15/14          200852      MARK HUMBY                               Deposits - 507(a)(6)                                   5600-004                                           $91.49          $499,218.45
                                 301 Northshore Blvd
                                 WestBurlingtonOntarioL7T1 A6

   01/15/14          200853      SARA HUMPHREY KEITH                      Deposits - 507(a)(6)                                   5600-000                                          $142.30          $499,076.15
                                 5376 NYS Rt. 26Whitney PointNY13862


   01/15/14          200854      GINNIE HUMPHREYS                         Deposits - 507(a)(6)                                   5600-000                                           $57.77          $499,018.38
                                 3170 North Meridian
                                 RoadCamdenlN4691 7

   01/15/14          200855      LISA HUNZIKER                            Deposits - 507(a)(6)                                   5600-000                                           $53.74          $498,964.64
                                 3874 S Rock City Rd.RidottlL61067


   01/15/14          200856      JOYCE HURLEY                             Deposits - 507(a)(6)                                   5600-000                                           $41.87          $498,922.77
                                 36 Desota DrSpringfieldlL62711


   01/15/14          200857      JOSHUA D. HURNE                          Deposits - 507(a)(6)                                   5600-000                                          $146.44          $498,776.33
                                 131 Stephen DriveStoningtonCT6378


   01/15/14          200858      LESLIE HUTCHINSON                        Deposits - 507(a)(6)                                    5600-000                                         $410.46          $498,365.87
                                 479 Greenbriar PlaceJonesvilleMI49250


   01/15/14          200859      CAROL HUTTER                             Deposits - 507(a)(6)                                   5600-000                                          $209.35          $498,156.52
                                 217 Ironwood DrivePekinlL61554


   01/15/14          200860      THOMAS HUTTON, JR.                       Deposits - 507(a)(6)                                   5600-000                                           $76.32          $498,080.20
                                 170 Cox StreetHudsonMAI 749


   01/15/14          200861      ERNEST H. HYDE                           Deposits - 507(a)(6)                                   5600-000                                          $150.20          $497,930.00
                                 59 Depot StreetWestford MA1 886


   01/15/14          200862      JOYCE HYDE                               Deposits - 507(a)(6)                                   5600-000                                           $22.39          $497,907.61
                                 3509 Satinwood DriveSpringfieldlL62712




                                                                                 Page Subtotals:                                                               $0.00              $1,850.18
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200863      CAROLYN HYMIAK                           Deposits - 507(a)(6)                                  5600-000                                          $102.29          $497,805.32
                                 2328 Brooksboro DriveEriePA16510


   01/15/14          200864      GAIL IAKOVIDIS                           Deposits - 507(a)(6)                                  5600-000                                          $103.35          $497,701.97
                                 407 robin LaneWildwoodFL34785


   01/15/14          200865      DAX IMHOFF                               Deposits - 507(a)(6)                                  5600-000                                          $223.92          $497,478.05
                                 249 Bellerive RoadSpringfieldlL62704


   01/15/14          200866      DOLORES INDOVINA                         Deposits - 507(a)(6)                                  5600-000                                           $44.78          $497,433.27
                                 1118 Coral Sand DriveN. Myrtle
                                 BeachSC29582

   01/15/14          200867      CAROLYN IRACE                            Deposits - 507(a)(6)                                  5600-000                                          $147.61          $497,285.66
                                 52 Tilda Hill RoadFloridaMA1247


   01/15/14          200868      PAUL ISLEY                               Deposits - 507(a)(6)                                  5600-000                                           $89.57          $497,196.09
                                 8299 Mark DriveRoscoelL61073


   01/15/14          200869      THERESA ITRI                             Deposits - 507(a)(6)                                  5600-000                                          $102.82          $497,093.27
                                 235 Robbins StreetWaterburyCT6708


   01/15/14          200870      MARIA PAMELA ANDRADE IZQUIERDO           Deposits - 507(a)(6)                                  5600-000                                          $142.86          $496,950.41
                                 1 Normal StWorcesterMAI 605


   01/15/14          200871      JAMES J. JACKSON                         Deposits - 507(a)(6)                                  5600-000                                           $68.71          $496,881.70
                                 1004 Maple Ct.Lower BurrellPA15068


   01/15/14          200872      KEITH JACKSON                            Deposits - 507(a)(6)                                  5600-000                                           $89.57          $496,792.13
                                 27 Nixon DriveKenvilNJ7847


   01/15/14          200873      LINDA JACKSON                            Deposits - 507(a)(6)                                  5600-000                                           $89.57          $496,702.56
                                 86 Atwater Rd.CantonCT6019


   01/15/14          200874      NEAL JACKSON                             Deposits - 507(a)(6)                                   5600-000                                         $333.90          $496,368.66
                                 26 Oakes CircleMillburyMA1527




                                                                                 Page Subtotals:                                                              $0.00              $1,538.95
                                   Case 12-40944                   Doc 732     Filed 03/27/19 Entered 03/27/19 11:55:32                                        Desc Main                             Page:       75
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

            Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee

       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                   Account Number/CD#: XXXXXX3464

                                                                                                                                            Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                                Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                              Separate Bond (if applicable):



        1                2                             3                                              4                                                    5                    6                       7

T ransactiori Date    Check or              Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                      Reference                                                                                                       Code                                                              ($)
   01/15/14           200875      SHARON M. JACOBS                           Deposits - 507(a)(6)                                  5600-000                                           $58.41          $496,310.25
                                  100 Timberlane
                                  DriveWilliamsvilleNY14221

   01/15/14           200876      DENISE JACOBY-SMITH                        Deposits - 507(a)(6)                                  5600-000                                           $26.50          $496,283.75
                                  504 Ash LaneFactoryvillePA18419


   01/15/14           200877      MARK MAGODRINSKI                           Deposits - 507(a)(6)                                  5600-000                                           $83.74          $496,200.01
                                  110 Pine Run Church RdApolloPA15613


   01/15/14           200878      CHARLES JAKEWAY                            Deposits - 507(a)(6)                                  5600-000                                           $39.75          $496,160.26
                                  661 Herman AveStar CityWV26505


   01/15/14           200879      GORDON RAY JAMES                           Deposits - 507(a)(6)                                  5600-000                                           $99.63          $496,060.63
                                  316 W Chestnut StreetCantonlL61520


   01/15/14           200880      JOHN JAMESON                               Deposits - 507(a)(6)                                  5600-000                                           $89.57          $495,971.06
                                  522 Kemp StPittsburghPA15220


   01/15/14           200881      AMY JAMJESON                               Deposits - 507(a)(6)                                  5600-000                                          $178.40          $495,792.66
                                  421 Hill St.CarlinvillelL62626


   01/15/14           200882      DENISE JANHUNEN                            Deposits - 507(a)(6)                                  5600-000                                           $53.17          $495,739.49
                                  576 Alger StreetWinchendonMA1475


   01/15/14           200883      GARY F. JARVIS                             Deposits - 507(a)(6)                                  5600-000                                          $179.14          $495,560.35
                                  1037 Pearson
                                  DriveWoodstockOnterioN4S8V1

   01/15/14           200884      SCOTT JARVIS                               Deposits - 507(a)(6)                                  5600-000                                          $106.00          $495,454.35
                                  395 Bonanza ParkColchesterVT5446


   01/15/14           200885      BONNIE JENKS                               Deposits - 507(a)(6)                                  5600-000                                           $96.72          $495,357.63
                                  846 Zaltz RoadAtholNY12810


   01/15/14           200886      JANICE C. JEWELL                           Deposits - 507(a)(6)                                  5600-000                                          $238.50          $495,119.13
                                  7 Parker RoadGrovelandMA1834




                                                                                    Page Subtotals:                                                              $0.00              $1,249.53
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          200887      YVONNE R. JOHN                           Deposits - 507(a)(6)                                  5600-000                                          $71.28         $495,047.85
                                 261 Jefferson RoadNewarkOH43055


   01/15/14          200888      ANDREWE JOHNSON                          Deposits - 507(a)(6)                                  5600-000                                         $214.75         $494,833.10
                                 562 Westwood Blvd.CantonlL61520


   01/15/14          200889      CHRISTINE JOHNSON                        Deposits - 507(a)(6)                                  5600-000                                          $47.44         $494,785.66
                                 709 N Price RdFlorenceSC29506


   01/15/14          200890      CINDRA JOHNSON                           Deposits - 507(a)(6)                                  5600-000                                         $130.96         $494,654.70
                                 1510 Ariana St., Lot
                                 #442LakelandFL33803

   01/15/14          200891      CYNTHIA JOHNSON                          Deposits - 507(a)(6)                                  5600-000                                         $113.95         $494,540.75
                                 709 N Price RdFlorenceSC29506


   01/15/14          200892      ELMER JOHNSON                            Deposits - 507(a)(6)                                  5600-000                                          $22.30         $494,518.45
                                 5636 East F. Ave.KalamazooMI49004


   01/15/14          200893      STACY JOHNSTON-BEAUDIN                   Deposits - 507(a)(6)                                  5600-000                                         $239.24         $494,279.21
                                 PO BOX 6441 7 Lake
                                 StreetChateaugayNYl 2920

   01/15/14          200894      KAREN M. JOLIN                           Deposits - 507(a)(6)                                  5600-000                                          $44.78         $494,234.43
                                 1438 N. Brookfield RoadOakhamMA1068


   01/15/14          200895      ELIZABETH F. JONES                       Deposits - 507(a)(6)                                  5600-000                                          $47.44         $494,186.99
                                 6105 Twain St., #107OrlandoFL32835


   01/15/14          200896      JOHN W. JONES                            Deposits - 507(a)(6)                                  5600-000                                          $93.78         $494,093.21
                                 23 Sabrina DriveEstobicokeOntarioM9R
                                 2J4

   01/15/14          200897      BETTY ANN JONGELING                     Deposits - 507(a)(6)                                   5600-000                                          $44.78         $494,048.43
                                 144 Delmar DriveHamiltonOntarioL9C 1 J9


   01/15/14          200898      KEN JUBIN                                Deposits - 507(a)(6)                                  5600-000                                          $72.19         $493,976.24
                                 P.O. Box 808 Lake PlacidNY12946




                                                                                 Page Subtotals:                                                              $0.00            $1,142.89
                                  Case 12-40944                 Doc 732      Filed 03/27/19 Entered 03/27/19 11:55:32                                        Desc Main                             Page:       77
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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T ransaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          200899      DIANE M. JUDA                             Deposits - 507(a)(6)                                  5600-000                                          $179.14          $493,797.10
                                 898 Johnathan
                                 Dr.MississaugaOntarioL4Y 1J8

   01/15/14          200900      KAYLA JUDD                                Deposits - 507(a)(6)                                  5600-000                                          $146.44          $493,650.66
                                 31 Irwin CtWinchendonMA1475


   01/15/14          200901      NATHAN KACZANOWSKI                        Deposits - 507(a)(6)                                  5600-000                                          $134.36          $493,516.30
                                 8226 Oatka TrailLeroyNYl 4482


   01/15/14          200902      MARIE B. KADLIK                           Deposits - 507(a)(6)                                  5600-000                                           $44.78          $493,471.52
                                 173 Hill St.HollistonMAI 746


   01/15/14          200903      LUTZ KAISER                               Deposits - 507(a)(6)                                  5600-000                                           $74.73          $493,396.79
                                 Hardackerstr. 5Baden-Baden76530


   01/15/14          200904      COLLEEN KALAGHER                          Deposits - 507(a)(6)                                  5600-000                                          $137.64          $493,259.15
                                 9 Brightside AveShrewsburyMA1545


   01/15/14          200905      KRISTEN KALAGHER                          Deposits - 507(a)(6)                                  5600-000                                          $244.79          $493,014.36
                                 43 Randall StreetWorcesterMA1606


   01/15/14          200906      LINDA KALVINEK                            Deposits - 507(a)(6)                                  5600-000                                           $44.79          $492,969.57
                                 1 1 Maple AveN OxfordMA1537


   01/15/14          200907      MARGOT KAMPF                              Deposits - 507(a)(6)                                  5600-000                                           $91.69          $492,877.88
                                 134 Duprey StreetSaranac LakeNY12983


   01/15/14          200908      RICHARD K. KARLESKENT                     Deposits - 507(a)(6)                                  5600-000                                           $79.82          $492,798.06
                                 27 South StreetMaloneNYl 2953


   01/15/14          200909      DEBORAH J. KASABIAN                       Deposits - 507(a)(6)                                  5600-000                                          $521.17          $492,276.89
                                 1 55 Lakeview
                                 AvenueTyngsboroughMAI 879

   01/15/14          200910      MARLIN KAUFFMAN                           Deposits - 507(a)(6)                                  5600-000                                           $57.77          $492,219.12
                                 13886 60th StreetAltoMI49302




                                                                                  Page Subtotals:                                                              $0.00              $1,757.12
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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T ransaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200911      ROBERT I. KECK                           Deposits - 507(a)(6)                                  5600-000                                           $94.87          $492,124.25
                                 117 Lakeview Dr.ButlerPA16001


   01/15/14          200912      CHARLOTTE KEE                            Deposits - 507(a)(6)                                  5600-000                                           $13.24          $492,111.01
                                 Po Box 716AuburndaleFL33823


   01/15/14          200913      CORINNE KEEVEN                           Deposits - 507(a)(6)                                  5600-000                                           $44.78          $492,066.23
                                 11136 Armstrong Dr. S.SaqinawMI48609


   01/15/14          200914      KEITH G. KEHLER                          Deposits - 507(a)(6)                                  5600-000                                          $199.28          $491,866.95
                                 910 Point View LaneLakelandFI33813


   01/15/14          200915      ANNA KEITHLEY                            Deposits - 507(a)(6)                                  5600-000                                          $189.74          $491,677.21
                                 2225 College AvenueQuincylL62301


   01/15/14          200916      LAURA KELK                               Deposits - 507(a)(6)                                   5600-000                                         $160.91          $491,516.30
                                 152 Parkview RoadKeswickOntarioL4P
                                 2J7

   01/15/14          200917      LAURIANN KELLAND                         Deposits - 507(a)(6)                                   5600-000                                          $69.01          $491,447.29
                                 36 Rutland StreetWatertownMA2472


   01/15/14          200918      MARGARET KELLIHER                        Deposits - 507(a)(6)                                   5600-000                                         $108.59          $491,338.70
                                 31 Springfield StreetWilbrahamMA1095


   01/15/14          200919      PAULETTE KAY KELLOGG                     Deposits - 507(a)(6)                                   5600-000                                         $109.66          $491,229.04
                                 1960 Burton AvenueHoltMI48842


   01/15/14          200920      CAITLIN KELLY                            Deposits - 507(a)(6)                                   5600-000                                          $49.82          $491,179.22
                                 40 Westfield Rd.AmherstNY14226


   01/15/14          200921      COLIN & MARY JANE KELLY                  Deposits - 507(a)(6)                                   5600-000                                         $328.85          $490,850.37
                                 103 Battery St.Fort ErieOnterioL2A 3L4


   01/15/14          200922      DENNIS AND SHERRY KELLY                  Deposits - 507(a)(6)                                   5600-000                                         $277.61          $490,572.76
                                 1217 Collins Avenue Jefferson
                                 HillsPA15025




                                                                                 Page Subtotals:                                                              $0.00              $1,646.36
                                  Case 12-40944                Doc 732      Filed 03/27/19 Entered 03/27/19 11:55:32                                        Desc Main                             Page:       79
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200923      JAMES KELLY                              Deposits - 507(a)(6)                                  5600-000                                           $79.50          $490,493.26
                                 31 Northwood DriveMaltaNY12020


   01/15/14          200924      CAROLYN KENDALL                          Deposits - 507(a)(6)                                  5600-000                                           $89.57          $490,403.69
                                 2758 Summitview Dr.LakelandFL33812


   01/15/14          200925      LINDA KENNEDY                            Deposits - 507(a)(6)                                  5600-000                                           $32.86          $490,370.83
                                 1 52 Castle Wynd DriveLoves
                                 Park!L61 111

   01/15/14          200926      SARA KENNEDY                             Deposits - 507(a)(6)                                  5600-000                                           $95.16          $490,275.67
                                 1916 West River RoadLincolnVT5443


   01/15/14          200927      DEBORAH KEPHART                          Deposits - 507(a)(6)                                  5600-000                                          $125.61          $490,150.06
                                 208 Florida StreetWashingtonlL61571


   01/15/14          200928      KEN AND MARILYN KERIK                    Deposits - 507(a)(6)                                  5600-000                                           $89.57          $490,060.49
                                 43 Bethany DriveFremontOH43420


   01/15/14          200929      STUART KERR                              Deposits - 507(a)(6)                                   5600-000                                          $26.47          $490,034.02
                                 P.O. Box 3059ElmvaleOntarioL0L 1P0


   01/15/14          200930      BROOKLIN KERR-MAUK                       Deposits - 507(a)(6)                                   5600-000                                          $89.57          $489,944.45
                                 21478 Buckland Holden
                                 RdCridersvilleOH45806

   01/15/14          200931      SRINIVASAN KESHAV                        Deposits - 507(a)(6)                                   5600-000                                         $551.68          $489,392.77
                                 509 Queensdale
                                 CourtWaterlooOntarioN2T 1P6

   01/15/14          200932      AMANDA O. & KEVIN A. KESTERSON           Deposits - 507(a)(6)                                   5600-000                                         $299.87          $489,092.90
                                 293 Washington
                                 StreetGloucesterMAI 930

   01/15/14          200933      STEWART A. KETZEL                        Deposits - 507(a)(6)                                   5600-000                                          $83.37          $489,009.53
                                 284 Brachton RoadSlippery
                                 RockPA16057

   01/15/14          200934      SALLY KHUDAIRI                           Deposits - 507(a)(6)                                   5600-000                                         $303.75          $488,705.78
                                 600A Washington StWellesleyMA2482




                                                                                 Page Subtotals:                                                              $0.00              $1,866.98
                                  Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       80
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          200935      KATHRYN KIDDER                            Deposits - 507(a)(6)                                  5600-000                                         $121.10         $488,584.68
                                 2778 Hugo RoadConwaySC29527


   01/15/14          200936      ANN KILKUSKIE                             Deposits - 507(a)(6)                                  5600-000                                          $89.57         $488,495.11
                                 7785 Shepherds Glen
                                 Rd.KalamazooMI49009

   01/15/14          200937      MARY H. KIMBROUGH                         Deposits - 507(a)(6)                                  5600-000                                          $99.64         $488,395.47
                                 PO Box 323KathleenFL33849-0323


   01/15/14          200938      DAVID KIMMEL                              Deposits - 507(a)(6)                                  5600-000                                         $115.20         $488,280.27
                                 809 North Buhl Farm
                                 DriveHermitagePA16148

   01/15/14          200939      AMY KING                                  Deposits - 507(a)(6)                                  5600-000                                         $123.49         $488,156.78
                                 6 Maple Ridge DriveWest ChazyNY12992


   01/15/14          200940      DONNA KIRBY                               Deposits - 507(a)(6)                                  5600-000                                          $79.31         $488,077.47
                                 809 Timber Ridge
                                 RdMechanicsburglL62545

   01/15/14          200941      MICHAEL AND LUCILLE KLASSEN               Deposits - 507(a)(6)                                  5600-000                                          $39.75         $488,037.72
                                 5 W.W. AvePottsvillePAl 7901


   01/15/14          200942      GAVIN KLECKLER                            Deposits - 507(a)(6)                                  5600-000                                          $55.76         $487,981.96
                                 2210 Farmdale LaneFreeportlL61032


   01/15/14          200943      TIFFANY KLECKLER                          Deposits - 507(a)(6)                                  5600-000                                          $41.87         $487,940.09
                                 2210 Farmdale LaneFreeportlL61032


   01/15/14          200944      MEGAN KLEIN                               Deposits - 507(a)(6)                                  5600-000                                          $40.54         $487,899.55
                                 4771 Wild Iris DriveUnit 202Myrtle
                                 BeachSC29577

   01/15/14          200945      J.C. CARSON KLINCK                        Deposits- 507(a)(6)                                   5600-000                                          $89.57         $487,809.98
                                 34 Elkwood                                 IMMIMMMMWUffUMMMM


                                 DriveScarborough,OntarioM1C 2C1

   01/15/14          200946      MICHAEL KLINE                             Deposits - 507(a)(6)                                  5600-000                                          $89.57         $487,720.41
                                 20427 Centreville Constantine
                                 RdCentrevilleMI49032




                                                                                  Page Subtotals:                                                              $0.00              $985.37
                                  Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                        Desc Main                           Page:       81
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          200947      MARK & PATRICIA KLINK                     Deposits - 507(a)(6)                                  5600-000                                         $189.74         $487,530.67
                                 404 E Felicity StAngolalN46703


   01/15/14          200948      STEVE KLINKE                              Deposits - 507(a)(6)                                  5600-000                                         $314.01         $487,216.66
                                 4518 Monona DriveMadisonWI53716


   01/15/14          200949      MARLENE KLOOSTER                          Deposits - 507(a)(6)                                  5600-000                                          $93.42         $487,123.24
                                 24833 44th AvenueMattawanMI49071


   01/15/14          200950      PAULINE D. KLOSTERMAN                     Deposits - 507(a)(6)                                  5600-000                                          $47.43         $487,075.81
                                 3359 Tupelo AvenueNorth PortFL34286


   01/15/14          200951      CHRISTOPHER J. KLYCZEK                    Deposits - 507(a)(6)                                  5600-000                                         $364.24         $486,711.57
                                 141 Cass AvenueBuffaloNYl 4206


   01/15/14          200952      ARLENE S. KOCHER                          Deposits - 507(a)(6)                                  5600-000                                          $89.57         $486,622.00
                                 1309 Richmond RoadEastonPA18040


   01/15/14          200953      JAMES AND SARA KOHLBRENNER                Deposits - 507(a)(6)                                  5600-000                                         $268.71         $486,353.29
                                 5518 Golden Heights
                                 DriveFayettevilleNY 1 3066

   01/15/14          200954      KAROLYN KOPROWSKI                         Deposits - 507(a)(6)                                  5600-000                                          $89.57         $486,263.72
                                 P.O. Box 9411 Warren
                                 RoadBrimfieIdMA1010
   01/15/14          200955      DONALD L. KORACH                          Deposits - 507(a)(6)                                  5600-000                                          $53.00         $486,210.72
                                 45 Eagle DriveNewtonNJ07860-1490


   01/15/14          200956      DOROTHY KORPICS                           Deposits - 507(a)(6)                                  5600-000                                          $89.57         $486,121.15
                                 420 Wayne StreetBethanyPA18431


   01/15/14          200957      JOSEPH & MARY KOTECKI                     Deposits - 507(a)(6)                                  5600-000                                          $90.63         $486,030.52
                                 501 Cross StreetPerulL61354


   01/15/14          200958      ROBERT W. KOVACS, JR.                     Deposits - 507(a)(6)                                  5600-000                                         $436.58         $485,593.94
                                 20 Blackstone StreetMendonMA1756




                                                                                  Page Subtotals:                                                              $0.00            $2,126.47
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          200959      DANIEL KRABY                             Deposits - 507(a)(6)                                  5600-000                                           $49.82          $485,544.12
                                 1 Smith Ave #1 SalemMAI 970


   01/15/14          200960      MARIE KRAFT                              Deposits - 507(a)(6)                                  5600-000                                           $89.57          $485,454.55
                                 67 Mill Run Dr.RochesterNY14626


   01/15/14          200961      JERRY KRASOVEC                       Deposits - 507(a)(6)                                      5600-000                                          $149.04          $485,305.51
                                 415-48 Honeysuckle PathAuroraOH44202


   01/15/14          200962      PATSY M. KREPS                           Deposits - 507(a)(6)                                  5600-000                                           $89.57          $485,215.94
                                 1 1 Chelsea CourtP. O. Box
                                 8BourbonnaislL60914

   01/15/14          200963      TAMARA KREUTZER                          Deposits - 507(a)(6)                                  5600-000                                           $41.87          $485,174.07
                                 2713 Jane StreetPittsburghPA15203


   01/15/14          200964      ROBERTA. KRIEBEL                         Deposits - 507(a)(6)                                  5600-000                                           $89.57          $485,084.50
                                 4908 Cheryl DriveBethlehemPA18017


   01/15/14          200965      NICOLE KRISTOFF                          Deposits - 507(a)(6)                                  5600-000                                          $189.74          $484,894.76
                                 12 Merrill RoadSterlingMA1564


   01/15/14          200966      KATHLEEN KROLL                           Deposits - 507(a)(6)                                  5600-000                                          $268.71          $484,626.05
                                 905 Wedgewood
                                 RoadBethlehemPAl 801 7

   01/15/14          200967      MELISSA KRONENBERG                       Deposits - 507(a)(6)                                  5600-000                                          $177.65          $484,448.40
                                 230 E Main StWestboroMA1581


   01/15/14          200968      JAMES KROON                              Deposits - 507(a)(6)                                  5600-000                                          $133.20          $484,315.20
                                 6518 Lily St SWGrandvilleMI49418


   01/15/14          200969      MELISSA A. KRUSE                         Deposits - 507(a)(6)                                  5600-000                                           $95.40          $484,219.80
                                 1109 Tyrone Blvd. NSt.
                                 Petersburg, FL33710

   01/15/14          200970      JOHN KUBILIS                             Deposits - 507(a)(6)                                  5600-000                                           $94.87          $484,124.93
                                 382 Sunderland Road Ste
                                 1 AWorcesterMAI 604




                                                                                 Page Subtotals:                                                              $0.00              $1,469.01
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                                                                                                 FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          200971      CAROL A. KUHNAU                          Deposits - 507(a)(6)                                  5600-000                                          $89.57         $484,035.36
                                 437 Martin RoadRock FallslL61071


   01/15/14          200972      KOVIN P. KUIZINAS                        Deposits - 507(a)(6)                                  5600-000                                          $21.93         $484,013.43
                                 2658 N. 1600 East RoadBlue
                                 MoundlL62513

   01/15/14          200973      EDWARD KUSMIERZ                          Deposits - 507(a)(6)                                  5600-000                                          $83.74         $483,929.69
                                 25 Pinegrove PkHamburgNY14075


   01/15/14          200974      AMY KUTSCHBACH                           Deposits - 507(a)(6)                                  5600-000                                         $179.14         $483,750.55
                                 1437 Sawmill CoveFindlayOH45840


   01/15/14          200975      TRACY KUZOFF                             Deposits - 507(a)(6)                                  5600-000                                          $44.74         $483,705.81
                                 3040 Oasis Grand Blvd., Apt 2102Ft
                                 Myers FL33916

   01/15/14          200976      JOYCELYNE LABBEE                         Deposits - 507(a)(6)                                  5600-000                                          $26.50         $483,679.31
                                 3505 TalbotTrois-
                                 RivieresQuebecG8Y4M6

   01/15/14          200977      CHARLES & LISA LABOMBARD                 Deposits - 507(a)(6)                                  5600-000                                         $134.36         $483,544.95
                                 42 Moss Glen LnS BurlingtonVT5403


   01/15/14          200978      BRENT C. LACY                            Deposits - 507(a)(6)                                  5600-000                                          $99.64         $483,445.31
                                 216 Woodhouse LaneDelandFL32724


   01/15/14          200979      DEBORAH LADD                             Deposits - 507(a)(6)                                  5600-000                                          $89.57         $483,355.74
                                 846 Hathaway Point RoadSt.
                                 AlbansVT5478
   01/15/14          200980      REVEREND D WILLIAM J AND LUCILLE         Deposits - 507(a)(6)                                  5600-000                                          $89.57         $483,266.17
                                 LA
                                 4752 Oak Hill DriveSarasotaFL34232

   01/15/14          200981      PAULA LADUERRE                           Deposits - 507(a)(6)                                  5600-000                                          $41.87         $483,224.30
                                 809B 66th Ave NorthMyrtle
                                 BeachSC29572

   01/15/14          200982      ELLEN G. LAFFERTY                        Deposits - 507(a)(6)                                  5600-000                                          $92.22         $483,132.08
                                 855 Grouper Ct.Murrells lnletSC29576




                                                                                 Page Subtotals:                                                              $0.00              $992.85
                                 Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                      Desc Main                             Page:       84
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date    Check or             Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   01/15/14          200983     LISA LAFLAMME                            Deposits - 507(a)(6)                                   5600-000                                         $89.57         $483,042.51
                                430 La Sila CtPunta GordaFL33950
                                                                         MMSIIMMffJf'fMMfMMMMM



   01/15/14          200984     CATHERINE M. LAFLER                      Deposits - 507(a)(6)                                   5600-000                                         $70.17         $482,972.34
                                3940 New RoadRansomvilleNY14131


   01/15/14          200985     DUSTIN LAFOND                            Deposits - 507(a)(6)                                   5600-000                                        $268.50         $482,703.84
                                20151 Murray Hill RdBloomingtonlL61705


   01/15/14          200986     AMY LAHEY                                Deposits - 507(a)(6)                                   5600-000                                        $167.48         $482,536.36
                                1555 Rainbow LaneJacksonvillelL62650


   01/15/14          200987     LOIS R. LAIRD                            Deposits - 507(a)(6)                                   5600-000                                         $85.22         $482,451.14
                                201 Woodrow Avenue SBattle
                                CreekMI49015

   01/15/14          200988     KIM LAMARCHE                             Deposits - 507(a)(6)                                   5600-000                                        $106.83         $482,344.31
                                5626 Clubhouse Dr.New Port
                                RicheyFL34653

   01/15/14          200989     MICHEL LAMARRE                           Deposits - 507(a)(6)                                   5600-000                                        $180.88         $482,163.43
                                312, 2E AvenueDeux-MontagnesQCJ7R
                                4X9

   01/15/14          200990     NANCY LAMB                               Deposits - 507(a)(6)                                   5600-000                                        $100.72         $482,062.71
                                14 Erie StP.O. Box
                                256SelkirkOnterioNOA1 P0

   01/15/14          200991     GLENDA LAMBOT                            Deposits - 507(a)(6)                                   5600-000                                         $94.87         $481,967.84
                                674 A. Gibson Hill RoadSterlingCT6377


   01/15/14          200992     MICHAEL LAMONS                           Deposits - 507(a)(6)                                   5600-000                                         $27.88         $481,939.96
                                823 Durango Loop
                                StreetDavenportFL33897

   01/15/14          200993     KIMBERLY LAMONTAGNE                      Deposits - 507(a)(6)                                   5600-000                                        $179.14         $481,760.82
                                2585 Palmetto Hall BlvdMount
                                PleasantSC29466
   01/15/14          200994     JOAN LAMPHIER                            Deposits - 507(a)(6)                                   5600-000                                         $64.39         $481,696.43
                                Po Box 134CloverdaleMI49035




                                                                                 Page Subtotals:                                                             $0.00           $1,435.65
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                  Account Number/CD#: XXXXXX3464

                                                                                                                                           Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                               Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                             Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                        Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                       Code                                                              ($)
   01/15/14          200995      DONNA LAMURA                               Deposits - 507(a)(6)                                  5600-000                                           $44.78          $481,651.65
                                 175 Lake Ave NApt 1WorcesterMA1605


   01/15/14          200996      JULIE LANCTO                               Deposits - 507(a)(6)                                  5600-000                                           $44.79          $481,606.86
                                 884 Hemmingford Rd.MooersNY12958-
                                 4217

   01/15/14          200997      JANET M. LANDERS                           Deposits - 507(a)(6)                                   5600-000                                         $155.54          $481,451.32
                                 2450 S 8th StreetSpringfieldlL62703-3437


   01/15/14          200998      SANDRA LANGLEY                             Deposits - 507(a)(6)                                   5600-000                                          $27.15          $481,424.17
                                 PO Box 7640 N. State Route
                                 45LudlowlL60949

   01/15/14          200999      JASON K. LANGLOIS                          Deposits - 507(a)(6)                                   5600-000                                         $179.14          $481,245.03
                                 1329 Lake Shore RoadChazyNY12921


   01/15/14          201000      BARBARA LANTZ                              Deposits - 507(a)(6)                                   5600-000                                          $89.57          $481,155.46
                                 3783 Bowman Street
                                 RoadMansfieldOH44903

   01/15/14          201001      TODD M. LAPORTE                            Deposits - 507(a)(6)                                   5600-000                                         $698.80          $480,456.66
                                 19 Debbie DriveSpencerMAI 562


   01/15/14          201002      PATRICIA LARAMEE                           Deposits - 507(a)(6)                                   5600-000                                         $134.35          $480,322.31
                                 83 Pocasset AveWorcesterMA1606


   01/15/14          201003      BERNARD LARIVIERE                          Deposits - 507(a)(6)                                   5600-000                                         $126.40          $480,195.91
                                 3160 Ave MaloBrossardQuebecJ4Y 1B5


   01/15/14          201004      LAURIE LARZAZS                             Deposits - 507(a)(6)                                   5600-000                                         $167.48          $480,028.43
                                 39 Gould RoadWareMA1082


   01/15/14          201005      LINDA LASALA                               Deposits - 507(a)(6)                                   5600-000                                         $217.19          $479,811.24
                                 15 Greenfield Dr.MerrimackNH3054


   01/15/14          201006      KIMBERLY LASELL                            Deposits - 507(a)(6)                                   5600-000                                         $132.50          $479,678.74
                                 2 Ratcliffe DrivePeruNY12972




                                                                                   Page Subtotals:                                                              $0.00              $2,017.69
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201007      VAUGHN LASELL                             Deposits - 507(a)(6)                                  5600-000                                          $132.50          $479,546.24
                                 2 Ratcliffe DrivePeruNY12972


   01/15/14          201008      GEARY LASHUA                              Deposits - 507(a)(6)                                  5600-000                                           $89.57          $479,456.67
                                 P.O. Box 1 93SterlingMA1 564


   01/15/14          201009      FRAN LATORRE                              Deposits - 507(a)(6)                                  5600-000                                           $56.60          $479,400.07
                                 476 Prospect StreetWest
                                 BoylstonMAOl 583-1 647

   01/15/14          201010      STACI LAUGHMAN                            Deposits - 507(a)(6)                                  5600-000                                          $322.45          $479,077.62
                                 742 Cricket CrossingPinckneyMI48169


   01/15/14          201011      BONNIE LAURIE                             Deposits - 507(a)(6)                                  5600-000                                           $89.57          $478,988.05
                                 1368 Marie ClaireLaSalleQuebecH8N
                                 1R9

   01/15/14          201012      TERESA LAVIN                              Deposits - 507(a)(6)                                  5600-000                                          $209.35          $478,778.70
                                 14390 County Road
                                 424NapoleonOH43545

   01/15/14          201013      RONALD LAW                                Deposits - 507(a)(6)                                  5600-000                                           $44.79          $478,733.91
                                 11301 Dogwood LaneFort Myers
                                 BeachFL33931

   01/15/14          201014      PHYLLIS LAWRENZ                           Deposits - 507(a)(6)                                  5600-000                                           $91.45          $478,642.46
                                 1 57 Picketts Corners
                                 Rd.SaranacNY 1 2981

   01/15/14          201015      JAMES A. LAZOR                            Deposits - 507(a)(6)                                   5600-000                                         $179.14          $478,463.32
                                 506 Centennial DriveViennaOH44473


   01/15/14          201016      FRANCIS LEAHY                             Deposits - 507(a)(6)                                   5600-000                                          $89.57          $478,373.75
                                 908 Spruce StreetQuincylL62301


   01/15/14          201017      TIMOTHY LEAHY                             Deposits - 507(a)(6)                                   5600-000                                         $121.79          $478,251.96
                                 15688 State Rt 30ConstableNY12926


   01/15/14          201018      JODI LEARY                                Deposits - 507(a)(6)                                   5600-000                                         $106.95          $478,145.01
                                 1 Ashley StreetWorcesterMA1604




                                                                                  Page Subtotals:                                                              $0.00              $1,533.73
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          201019      MARGARET LECLAIR                         Deposits - 507(a)(6)                                  5600-000                                          $49.13         $478,095.88
                                 9 Lamkins RoadSaranacNY12981


   01/15/14          201020      HEATHER LEE                              Deposits - 507(a)(6)                                  5600-000                                         $167.48         $477,928.40
                                 6 Dana ParkHopedaleMA1747


   01/15/14          201021      JAY LEFLEUR                              Deposits - 507(a)(6)                                  5600-000                                          $92.96         $477,835.44
                                 1915 Brittany RoadLakelandFL33803


   01/15/14          201022      SHAWNA LEHAN                             Deposits - 507(a)(6)                                  5600-000                                          $92.75         $477,742.69
                                 120 Beech St.CorinthNY12822


   01/15/14          201023      CHRISTINE A. LEHMAN                      Deposits - 507(a)(6)                                  5600-000                                         $168.54         $477,574.15
                                 106 Cypress Creek DriveMurrells
                                 lnletSC29576

   01/15/14          201024      JOANNE LEIGHTON                          Deposits - 507(a)(6)                                  5600-000                                          $44.79         $477,529.36
                                 30 Greenacre LaneEast
                                 LongmeadowMAI 028

   01/15/14          201025      NELLIE R. LEIMBACH                       Deposits - 507(a)(6)                                  5600-000                                          $52.77         $477,476.59
                                 21706 Givenchy HillSan AntonioTX78256


   01/15/14          201026      ELLEN A. LEINS                           Deposits - 507(a)(6)                                  5600-000                                          $89.57         $477,387.02
                                 60261 46th StreetLawrenceMI49064


   01/15/14          201027      JOHN LEMCZAK                             Deposits - 507(a)(6)                                  5600-000                                          $78.92         $477,308.10
                                 1428 W Genesee StAuburnNY13021


   01/15/14          201028      ROBERT LENCSAK                           Deposits - 507(a)(6)                                  5600-000                                          $44.78         $477,263.32
                                 3519 Westminster WayNazarethPA18064


   01/15/14          201029      DONNA LENHARDT                           Deposits - 507(a)(6)                                  5600-000                                          $65.72         $477,197.60
                                 532 Miller Ave., Apt. 7HamiltonNJ8610


   01/15/14          201030      BERNADETTE LEO                           Deposits - 507(a)(6)                                  5600-000                                          $13.25         $477,184.35
                                 94 Continental DriveLockportNY14094




                                                                                 Page Subtotals:                                                              $0.00              $960.66
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                     Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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T ransaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201031      GAIL P. LEOMBRUNO                        Deposits - 507(a)(6)                                  5600-000                                           $47.44          $477,136.91
                                 406 Mulpus RoadLunenburgMA1462


   01/15/14          201032      KELLY L. LEON                            Deposits - 507(a)(6)                                  5600-000                                          $401.47          $476,735.44
                                 313 North Ogden St.BuffaloNY14206


   01/15/14          201033      LU ANN M. LEONARD                        Deposits - 507(a)(6)                                  5600-000                                           $44.78          $476,690.66
                                 454 NE 35th StreetBoca RatonFL33431


   01/15/14          201034      DALE LEONG                               Deposits - 507(a)(6)                                  5600-000                                          $179.14          $476,511.52
                                 316 South StreetJamaica PlainMA2130


   01/15/14          201035      NORMAN LESSARD                           Deposits - 507(a)(6)                                  5600-000                                           $48.44          $476,463.08
                                 117 N. Summerlin Ave.SanfordFL32771


   01/15/14          201036      JASON LESURE                             Deposits - 507(a)(6)                                  5600-000                                          $343.74          $476,119.34
                                 2100 W. Lawrence Ave., Apt.
                                 BSpringfieldlL62704

   01/15/14          201037      PAMELA LETENDRE                          Deposits - 507(a)(6)                                  5600-000                                           $78.70          $476,040.64
                                 22 Clearbrook DriveBelchertownMA1007


   01/15/14          201038      NANCY LEVAC                              Deposits - 507(a)(6)                                  5600-000                                          $157.31          $475,883.33
                                 11 Town Line Rd.CadyvilleNY12918


   01/15/14          201039      ELIZABETH AND LOUIS LEVINE               Deposits - 507(a)(6)                                  5600-000                                           $89.57          $475,793.76
                                 39 Franklin AveThornhillOntarioL4J 2H2


   01/15/14          201040      KATHLEEN LEWANDO                         Deposits - 507(a)(6)                                  5600-000                                           $13.24          $475,780.52
                                 43 Eastern Point
                                 DriveShrewsburyMAI 545

   01/15/14          201041      AMY LEWIS                                Deposits - 507(a)(6)                                  5600-000                                          $179.14          $475,601.38
                                 516 Mansfield StBelvidereNJ7823


   01/15/14          201042      MARYLYNN LEWIS                           Deposits - 507(a)(6)                                  5600-000                                           $99.64          $475,501.74
                                 705 LONG ROADHOMER CITY, PA
                                 15748




                                                                                 Page Subtotals:                                                              $0.00              $1,682.61
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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T ransaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201043      ROBERT LEWIS                             Deposits - 507(a)(6)                                  5600-000                                          $131.44          $475,370.30
                                 30 Emms DriveBarrieOntarioL4N 8H3


   01/15/14          201044      HEATHER L'HEUREUX                        Deposits - 507(a)(6)                                  5600-000                                          $140.33          $475,229.97
                                 2067 Lexus LaneConwaySC29526


   01/15/14          201045      WILLIAM LIANG                            Deposits - 507(a)(6)                                  5600-000                                          $134.35          $475,095.62
                                 110 Pauline Johnson
                                 Rd.CaledoniaOntarioN3W 2G9

   01/15/14          201046      ANTONIO LICATA                           Deposits - 507(a)(6)                                  5600-000                                           $94.87          $475,000.75
                                 1324 Overlook DrWeirtonWV26062


   01/15/14          201047      MARIANNE LICORISH                        Deposits - 507(a)(6)                                  5600-000                                           $96.19          $474,904.56
                                 93 Woodlands Way BrockportNYl 4420


   01/15/14          201048      BRIAN & DAYLE LIEBERMAN                  Deposits - 507(a)(6)                                  5600-000                                          $133.93          $474,770.63
                                 126 Habor WayAuburndaleFL33823


   01/15/14          201049      MICHAEL S. LIGHT                         Deposits - 507(a)(6)                                  5600-000                                           $97.25          $474,673.38
                                 PO Box 286966 CrioLisbonNY13658


   01/15/14          201050      SARA L. LIGHT                            Deposits - 507(a)(6)                                  5600-000                                          $100.39          $474,572.99
                                 705 Kelsey CtRocktonlL61072


   01/15/14          201051      ROBERT LIKUS                             Deposits - 507(a)(6)                                  5600-000                                           $66.67          $474,506.32
                                 459 Homestead Dr.N.
                                 TonawandaNY 1 41 20

   01/15/14          201052      LISA LINSCOTT                            Deposits - 507(a)(6)                                  5600-000                                          $123.49          $474,382.83
                                 7418 Lebanon
                                 AvenueReynoldsburgOH43068

   01/15/14          201053      MARY L. LITTLE                           Deposits - 507(a)(6)                                  5600-000                                           $47.43          $474,335.40
                                 24335 Buckingham WayPort
                                 CharlotteFL33980

   01/15/14          201054      SARAH LITZ                               Deposits - 507(a)(6)                                  5600-000                                           $89.57          $474,245.83
                                 270 Dartmoor CourtConwaySC29526




                                                                                 Page Subtotals:                                                              $0.00              $1,255.91
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201055      PATRICIA A. LOESWICK                     Deposits - 507(a)(6)                                  5600-000                                           $47.17          $474,198.66
                                 37 Schuler Ave.TonawandaNY14150


   01/15/14          201056      GAIL LOEW                                Deposits - 507(a)(6)                                  5600-000                                          $258.24          $473,940.42
                                 6914 Gushing
                                 SpringsEdwardsvillelL62025

   01/15/14          201057      SHARON A. LOKAR                          Deposits - 507(a)(6)                                  5600-000                                          $179.14          $473,761.28
                                 19315 Thompson LaneThree
                                 RiversMI49093

   01/15/14          201058      CAROL LOMBARD                            Deposits - 507(a)(6)                                  5600-000                                          $134.36          $473,626.92
                                 28383 Coco Palm Dr.Punta
                                 GordaFL33982

   01/15/14          201059      JOYCE LONERGAN                           Deposits - 507(a)(6)                                  5600-000                                          $131.44          $473,495.48
                                 320 S. James StreetPO Box
                                 579TremontlL61 568

   01/15/14          201060      PATRICK LONERGAN                         Deposits - 507(a)(6)                                  5600-000                                           $89.57          $473,405.91
                                 77 Potters RdBuffaloNY14220,


   01/15/14          201061      ADAM LONG                                Deposits - 507(a)(6)                                  5600-000                                          $134.35          $473,271.56
                                 PO Box 171096833 Stalter
                                 DriveRockfordlL61 1 08

   01/15/14          201062      RALPH D. LOTT                            Deposits - 507(a)(6)                                  5600-000                                          $126.17          $473,145.39
                                 C/O Erin Karl507 Fremont
                                 StreetElmoreOH4341 6

   01/15/14          201063      PHILIP LOUD                              Deposits - 507(a)(6)                                  5600-000                                          $296.53          $472,848.86
                                 PO Box 47210975 Northshore
                                 DrNorthportMI49670

   01/15/14          201064      MEGAN LOVELACE                           Deposits - 507(a)(6)                                  5600-000                                          $147.17          $472,701.69
                                 1215 S 28th StreetQuincylL62301


   01/15/14          201065      COLLEEN LOWE                             Deposits - 507(a)(6)                                  5600-000                                          $250.62          $472,451.07
                                 38 Brizse AvenueBattle CreekMI49037


   01/15/14          201066      SHERYL LUBAS                             Deposits - 507(a)(6)                                  5600-000                                          $147.55          $472,303.52
                                 1 0 Stewart Ave.BeverlyMAI 91 5




                                                                                 Page Subtotals:                                                              $0.00              $1,942.31
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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                     Reference                                                                                                     Code                                                            ($)
   01/15/14          201067      PHYLLIS S. LUBBERT                       Deposits - 507(a)(6)                                  5600-000                                          $89.57         $472,213.95
                                 3582 West Wembley
                                 LaneKalamazooMI49009

   01/15/14          201068      MARK LUBOLD                              Deposits - 507(a)(6)                                  5600-000                                         $223.02         $471,990.93
                                 111 Norwood TerraceHolyokeMA1040


   01/15/14          201069      DERRICK LUCAS                            Deposits - 507(a)(6)                                  5600-000                                          $91.53         $471,899.40
                                 20 Broad StPlattsburghNY12901


   01/15/14          201070      JOHN C. LUCAS                            Deposits - 507(a)(6)                                  5600-000                                          $57.85         $471,841.55
                                 82 Southfield RoadFairfieldCT6824


   01/15/14          201071      KEVIN LUKIAN                             Deposits - 507(a)(6)                                  5600-000                                         $192.38         $471,649.17
                                 428 Beaurepaire
                                 DriveBeaconsfiledQuebecH9W3C4

   01/15/14          201072      LYNN K. LUSS                             Deposits - 507(a)(6)                                  5600-000                                          $48.31         $471,600.86
                                 7050 Old Reaves Ferry
                                 RoadConwaySC29582

   01/15/14          201073      LORI LUSTER                              Deposits - 507(a)(6)                                  5600-000                                         $169.76         $471,431.10
                                 2521 Chapel Hill Rd.SpringfieldlL62702


   01/15/14          201074      KAREN LYDDON                             Deposits - 507(a)(6)                                  5600-000                                          $89.57         $471,341.53
                                 2929 Sunnyside Dr.
                                 #D368RockfordlL61114

   01/15/14          201075      LINDA LYONS                              Deposits - 507(a)(6)                                  5600-000                                           $2.65         $471,338.88
                                 15386 Trevally WayBonita
                                 SpringsFL34135

   01/15/14          201076      PAUL MACDONALD                           Deposits - 507(a)(6)                                  5600-000                                         $254.40         $471,084.48
                                 3901 71st West Lot 61 BradentonFL34209


   01/15/14          201077      MICHAEL M. MACE                          Deposits - 507(a)(6)                                  5600-000                                         $179.14         $470,905.34
                                 5112 County Route 27CantonNY13617


   01/15/14          201078      MARJORIE MACFAWN                         Deposits - 507(a)(6)                                  5600-000                                         $157.94         $470,747.40
                                 147 Windsor CircleOcean Isle
                                 BeachNC28469




                                                                                 Page Subtotals:                                                              $0.00            $1,556.12
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201079      PETER MACK                               Deposits - 507(a)(6)                                  5600-000                                           $89.57          $470,657.83
                                 802-759-21 14VergennesVT5491


   01/15/14          201080      SUSAN MACKINNON                          Deposits - 507(a)(6)                                  5600-000                                           $94.87          $470,562.96
                                 227 Lakeshore Road, RR
                                 5CobourgOntarioK9A 4J8

   01/15/14          201081      KELLIE MACLEAN                           Deposits - 507(a)(6)                                  5600-000                                          $179.14          $470,383.82
                                 94 Mill StreetTaraOntarioNOH 2N0


   01/15/14          201082      DEBORAH MACMILLAN                        Deposits - 507(a)(6)                                  5600-000                                          $268.71          $470,115.11
                                 46 Pleasant StreetSpencerMA1562


   01/15/14          201083      JOAN AND SHERRI MADONIA                  Deposits - 507(a)(6)                                   5600-000                                         $350.99          $469,764.12
                                 2024 Coreenbriar
                                 RoadSpringfieldlL62704

   01/15/14          201084      ELAINE MAENPAA                          Deposits - 507(a)(6)                                   5600-000                                           $94.87          $469,669.25
                                 2006 Trailwood CourtPickeringOntarioLIX
                                 1T5

   01/15/14          201085      DIANE MAGER                              Deposits - 507(a)(6)                                  5600-000                                          $105.20          $469,564.05
                                 25 Pearl StreetLancasterNY14086


   01/15/14          201086      DAVID A. MAGOON                          Deposits - 507(a)(6)                                   5600-000                                         $111.25          $469,452.80
                                 9 James CircleSt. AlbansVT5478


   01/15/14          201087      EDWARD F. MAHONEY                        Deposits - 507(a)(6)                                   5600-000                                          $41.87          $469,410.93
                                 4 South Elizabeth St.TewksburyMA1876


   01/15/14          201088      ANTON MAJKUT                             Deposits - 507(a)(6)                                   5600-000                                          $20.93          $469,390.00
                                 1-104 Evelyn Cr.TorontoONM6P 3E1


   01/15/14          201089      BOB MAKI                                 Deposits - 507(a)(6)                                  5600-000                                          $130.46          $469,259.54
                                 42 Winslow StreetGardnerMA1440


   01/15/14          201090      JOAN MALANEY                             Deposits - 507(a)(6)                                  5600-000                                           $57.35          $469,202.19
                                 2632 Fairway Dr.Niagara FallsNY14305




                                                                                 Page Subtotals:                                                              $0.00              $1,545.21
                                  Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       93
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          201091      MARCY MALERBI                            Deposits - 507(a)(6)                                  5600-000                                         $195.25         $469,006.94
                                 17D Highfield RdCharltonMA1507


   01/15/14          201092      TAMMY MALONEY                            Deposits - 507(a)(6)                                  5600-000                                          $89.57         $468,917.37
                                 99 Fairlawn Ave, Apt.
                                 2SouthbridgeMA1 550

   01/15/14          201093      FABIO MANCINI                            Deposits - 507(a)(6)                                  5600-000                                         $250.42         $468,666.95
                                 124 Treeline BlvdBramptonOntarioL6P
                                 1C9

   01/15/14          201094      TERRI MANDEL                             Deposits - 507(a)(6)                                  5600-000                                          $24.91         $468,642.04
                                 229 Madison AveCuyahoga
                                 FallsOH44221

   01/15/14          201095      MICHAEL AND PATRICIA MANDEVILLE          Deposits - 507(a)(6)                                  5600-000                                         $120.84         $468,521.20
                                 458 Braxmar RoadTonawandaNY14150


   01/15/14          201096      CORRINNE MANERA                          Deposits - 507(a)(6)                                  5600-000                                          $44.78         $468,476.42
                                 7273 Hidden Valley
                                 Dr.LambertvilleMI481 44
   01/15/14          201097      MICHAEL MANGINI                          Deposits - 507(a)(6)                                  5600-000                                          $89.57         $468,386.85
                                 21 Jaimie Ann DrRutlandMA1543


   01/15/14          201098      JANET MANOR                              Deposits - 507(a)(6)                                  5600-000                                          $44.78         $468,342.07
                                 4920 Route HEIIenburg DepotNY12935


   01/15/14          201099      KAREN MARCILLE                           Deposits - 507(a)(6)                                  5600-000                                          $83.37         $468,258.70
                                 141 Maple StreetRutlandVT5701


   01/15/14          201100      ROXANE MARCILLE                          Deposits - 507(a)(6)                                  5600-000                                          $41.69         $468,217.01
                                 141 Maple Street, Unit UpRutlandVT5701


   01/15/14          201101      DAVID MARK                               Deposits - 507(a)(6)                                  5600-000                                         $119.38         $468,097.63
                                 2579 Coopers Falls
                                 RoadWashagoOntarioLOK 2B0

   01/15/14          201102      TIM MARKER                               Deposits - 507(a)(6)                                  5600-000                                          $66.25         $468,031.38
                                 3724 Wexford DrSpringfieldlL62704




                                                                                 Page Subtotals:                                                              $0.00           $1,170.81
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201103      TIMOTHY F. MARKEY                        Deposits - 507(a)(6)                                  5600-000                                          $134.35          $467,897.03
                                 240 Clinton StreetConcordNH3301


   01/15/14          201104      GIDEON MARKOWITZ                         Deposits - 507(a)(6)                                  5600-000                                          $179.14          $467,717.89
                                 73 Forntenac Ave.BuffaloNY14216


   01/15/14          201105      DONALD E. AND JUDY R. MARKOWSKI          Deposits - 507(a)(6)                                  5600-000                                           $89.57          $467,628.32
                                 246 Eagle CourtBloomingdalelL60108


   01/15/14          201106      MICHELE M. MARKS                         Deposits - 507(a)(6)                                  5600-000                                           $89.57          $467,538.75
                                 1030 NE 15th LaneCape CoralFL33909


   01/15/14          201107      NANCY S. MARQUETTE                       Deposits - 507(a)(6)                                  5600-000                                           $94.87          $467,443.88
                                 431 S. Durkin DriveSpringfieldlL62704


   01/15/14          201108      CHERYL L. MARSHALL                       Deposits - 507(a)(6)                                  5600-000                                           $49.82          $467,394.06
                                 26 Soper Rd.SaranacNY12981


   01/15/14          201109      BRADLEY MARTIN                           Deposits - 507(a)(6)                                  5600-000                                          $207.60          $467,186.46
                                 2196 Blake WayOcoeeFL34761


   01/15/14          201110      CYNTHIA MARTIN                           Deposits - 507(a)(6)                                  5600-000                                           $89.57          $467,096.89
                                 1949 Bedford RoadFreeportlL61032


   01/15/14          201111      LAURA K. MARTIN                          Deposits - 507(a)(6)                                  5600-000                                           $94.87          $467,002.02
                                 297 North Washington
                                 RoadApolloPAl 561 3

   01/15/14          201112      MARTHA MARTIN                            Deposits - 507(a)(6)                                  5600-000                                          $179.15          $466,822.87
                                 PO BOX 196Ellenburg CenterNY12934


   01/15/14          201113      MICHAEL MARTIN                           Deposits - 507(a)(6)                                  5600-000                                          $299.05          $466,523.82
                                 121 Cassidy RoadChateaugayNY12920


   01/15/14          201114      MIKE AND CHERIE MARTIN                   Deposits - 507(a)(6)                                  5600-000                                          $189.74          $466,334.08
                                 14 Pioneer LaneAuburnMA1501




                                                                                 Page Subtotals:                                                              $0.00              $1,697.30
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          201115      WILLARD J. MARTIN, JR.                    Deposits - 507(a)(6)                                  5600-000                                          $37.02         $466,297.06
                                 249 Molly DriveMcMurrayPA15317


   01/15/14          201116      TAYLOR MARTINS                            Deposits - 507(a)(6)                                  5600-000                                          $49.82         $466,247.24
                                 125 Parker StNew BedfordMA2740


   01/15/14          201117      DANIEL J. MARTINSON                       Deposits - 507(a)(6)                                  5600-000                                          $89.57         $466,157.67
                                 6612 Belgian Ave.KalamazooMI49009


   01/15/14          201118      LESLIE MARTZ                              Deposits - 507(a)(6)                                  5600-000                                         $130.22         $466,027.45
                                 202 West North 1STFindlaylL62534


   01/15/14          201119      TAMMY MARX                                Deposits - 507(a)(6)                                  5600-000                                         $125.61         $465,901.84
                                 520 Knox StreetOgdensburgNY13669


   01/15/14          201120      BEVERLY MASON                             Deposits - 507(a)(6)                                  5600-000                                          $89.57         $465,812.27
                                 136 Pinewood Drive, Unit
                                 8AGardnerMA1440

   01/15/14          201121      DIANA MASSA                               Deposits - 507(a)(6)                                  5600-000                                          $89.57         $465,722.70
                                 324 DufferinKirklandQuebecH9J 3X6


   01/15/14          201122      PATRICIA MATHENY                          Deposits - 507(a)(6)                                  5600-000                                         $127.41         $465,595.29
                                 RR 1, Box 554Sugar GroveOH43155


   01/15/14          201123      DARREL MATHIS                          Deposits - 507(a)(6)                                     5600-000                                          $89.57         $465,505.72
                                 1011 Hoechester RoadSpringfieldlL62712


   01/15/14          201124      BARBARA J. MATTHEWS                       Deposits - 507(a)(6)                                  5600-000                                          $41.87         $465,463.85
                                 P.O. Box 591 73PittsburghPA1 5210


   01/15/14          201125      PAMELA MAVILIA                            Deposits - 507(a)(6)                                  5600-000                                         $137.00         $465,326.85
                                 21 Redskin TrailGrotonMA01450-1915


   01/15/14          201126      JUDITH A. MAXIM                           Deposits - 507(a)(6)                                  5600-000                                          $89.57         $465,237.28
                                 15949 Blue Skies DriveNorth Ft.
                                 MyersFL33917




                                                                                  Page Subtotals:                                                              $0.00           $1,096.80
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          201127      KATIE MAXWELL                            Deposits - 507(a)(6)                                  5600-000                                         $117.92         $465,119.36
                                 52 Orchard DriveMonoOntarioL9W 6L6


   01/15/14          201128      THERESA A. AND JAMES MAYER              Deposits - 507(a)(6)                                   5600-000                                          $89.57         $465,029.79
                                 43 Drexel StreetWorcesterMA06 102-1 238


   01/15/14          201129      GARY A. MAYNARD                          Deposits - 507(a)(6)                                  5600-000                                          $96.20         $464,933.59
                                 830 Fairway DriveU 1404
                                 GGLongsSC29568

   01/15/14          201130      ROBERT MAYO                              Deposits - 507(a)(6)                                  5600-000                                          $39.75         $464,893.84
                                 7165 Schultz RdNorth
                                 TonawandaNY14120

   01/15/14          201131      ARLENE MAZIKOWSKI                        Deposits - 507(a)(6)                                  5600-000                                          $76.05         $464,817.79
                                 1706 Colvin Blvd.BuffaloNY14223


   01/15/14          201132      BRIAN MAZJANIS                           Deposits - 507(a)(6)                                  5600-000                                         $222.92         $464,594.87
                                 77 Birchwood DrivePortlandME4102


   01/15/14          201133      BETTY LOU MAZUCA                         Deposits - 507(a)(6)                                  5600-000                                          $41.87         $464,553.00
                                 3822 Woodburn Loop
                                 W.LakelandFL3381 3

   01/15/14          201134      JOSEPH R. MAZZOLA                        Deposits - 507(a)(6)                                  5600-000                                         $179.14         $464,373.86
                                 8964 Cedarview AveJenisonMI49428


   01/15/14          201135      SANDRA LEE MCALEESE                      Deposits - 507(a)(6)                                  5600-000                                         $455.10         $463,918.76
                                 527 Oneida DriveBurlingtonOntarioL7T
                                 3T9

   01/15/14          201136      LISA M. MCCAMBRIDGE                      Deposits - 507(a)(6)                                  5600-000                                          $94.87         $463,823.89
                                 7117 Lipscomb Dr.WilmingtonNC28412


   01/15/14          201137      DIANE & BARRY MCCARTHY                   Deposits - 507(a)(6)                                  5600-000                                         $132.61         $463,691.28
                                 1825 Southeast 10th AvenueCape
                                 CoralFL33990

   01/15/14          201138      HAROLD V. MCCARTHY                       Deposits - 507(a)(6)                                  5600-000                                          $89.57         $463,601.71
                                 3959 San Rocco DrUnit 612Punta
                                 GordaFL33950-8946




                                                                                 Page Subtotals:                                                              $0.00            $1,635.57
                                  Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:       97
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          201139      JACQUELINE MCCARTHY                       Deposits - 507(a)(6)                                  5600-000                                         $178.88         $463,422.83
                                 421 Pompano TerracePunta
                                 GordaFL33950

   01/15/14          201140      KAREN MCCARTHY                            Deposits - 507(a)(6)                                  5600-000                                          $89.57         $463,333.26
                                 2230 Brandon RoadLakelandFL33803


   01/15/14          201141      PATRICIA & ERNEST MCCARTHY                Deposits - 507(a)(6)                                  5600-000                                         $115.49         $463,217.77
                                 200 Horizons West Apt 109Boynton
                                 BeachFL33435

   01/15/14          201142      ERNEST E. MCCARTHYU                       Deposits - 507(a)(6)                                  5600-004                                         $115.49         $463,102.28
                                 60 Heritage DrivePO Box
                                 1 95WarrenMA1 083

   01/15/14          201143      JOHN & LINDA MCCAULEY                     Deposits - 507(a)(6)                                  5600-000                                          $89.57         $463,012.71
                                 50 McCarthy Rd E Unit
                                 5StratfordOntarioN5A OA1

   01/15/14          201144      JOYCE L. MCCLAY                           Deposits - 507(a)(6)                                  5600-000                                         $174.37         $462,838.34
                                 10200 Lakeshore Drive #30Myrtle
                                 BeachSC29572

   01/15/14          201145      PATRICIA MCCLELLAND                       Deposits - 507(a)(6)                                  5600-000                                         $251.96         $462,586.38
                                 19 Circle DriveSpringfieldlL62703


   01/15/14          201146      ANGELA MCCLINTON                          Deposits - 507(a)(6)                                  5600-000                                         $408.41         $462,177.97
                                 536 12th StreetNiagara FallsNY14301


   01/15/14          201147      RACHEL MCCOLLOR                           Deposits - 507(a)(6)                                  5600-000                                         $145.75         $462,032.22
                                 1636 Perry CircleMyrtle BeachSC29577


   01/15/14          201148      CATHY MCCOOL                              Deposits - 507(a)(6)                                  5600-000                                         $134.73         $461,897.49
                                 227 Potters RoadBuffaloNY14220


   01/15/14          201149      JANICE MCCOY                              Deposits - 507(a)(6)                                  5600-000                                          $84.00         $461,813.49
                                 2142 Warwick DrSpringfieldFL62704


   01/15/14          201150      CHRIS MCCRORY                             Deposits - 507(a)(6)                                  5600-000                                          $63.33         $461,750.16
                                 549 Blakely Ct. NWCalabashNC28467




                                                                                  Page Subtotals:                                                              $0.00            $1,851.55
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           Case No: 12-40944                                                                                              Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                         Bank Name: Union Bank

                                                                                                                   Account Number/CD#: XXXXXX3464

                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                               Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                              Separate Bond (if applicable):



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Transaction Date     Check or               Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                        Code                                                            ($)
   01/15/14          201151      MICHELLE MCCULLEY                          Deposits - 507(a)(6)                                   5600-000                                          $24.91         $461,725.25
                                 1990 East Monroe RdHartMI49420


   01/15/14          201152      SCOTT K. MCDONALD                          Deposits - 507(a)(6)                                   5600-000                                          $43.46         $461,681.79
                                 13289 Nys Rte 9NPO Box
                                 1 1 6 JayN Y 1 2941 -0116

   01/15/14          201153      GAYLORD MCDONALD                           Deposits - 507(a)(6)                                   5600-000                                          $57.77         $461,624.02
                                 8993 Route 22West ChazyNY12992


   01/15/14          201154      DONALD MCELROY                             Deposits - 507(a)(6)                                   5600-000                                         $179.14         $461,444.88
                                 39 O'Brien Street, RR3Shanty
                                 BayOntarioLOL 2L0

   01/15/14          201155      JANET MCELROY                              Deposits - 507(a)(6)                                   5600-000                                         $142.72         $461,302.16
                                 617 W. FairgroundHillsborolL62049


   01/15/14          201156      JOYCE MCELROY                              Deposits - 507(a)(6)                                   5600-000                                         $134.35         $461,167.81
                                 16990 Pine Lake RoadBeloitOH44609


   01/15/14          201157      MARSHA MCFALL                              Deposits - 507(a)(6)                                   5600-000                                          $89.57         $461,078.24
                                 3401 South Third
                                 StreetSpringfieldlL62703

   01/15/14          201158      DUANE MCGILL, II                           Deposits - 507(a)(6)                                   5600-000                                         $680.49         $460,397.75
                                 6522 Field Ave.WhitehouseOH43571


   01/15/14          201159      CHRIS & LISA MCGINNIS                      Deposits - 507(a)(6)                                   5600-000                                          $89.57         $460,308.18
                                 25736 Roundstone AvePlainfieldlL60585


   01/15/14          201160      WILLIAM T. MCGOVERN                        Deposits - 507(a)(6)                                   5600-000                                         $204.48         $460,103.70
                                 10 1/2 Bridle PathAuburnMA1501


   01/15/14          201161      MRS. ROBERT MCGRADY                        Deposits - 507(a)(6)                                   5600-000                                          $89.57         $460,014.13
                                 2745 River RoadElwooc CityPA16117


   01/15/14          201162      LEO R. MCGRATH                             Deposits - 507(a)(6)                                   5600-000                                          $89.57         $459,924.56
                                 9958 SW 59th CircleOcalaFL34476




                                                                                   Page Subtotals:                                                               $0.00           $1,825.60
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                  Account Number/CD#: XXXXXX3464

                                                                                                                                           Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                             Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                       Code                                                              ($)
   01/15/14          201163      TRACY E. MCGREW                           Deposits - 507(a)(6)                                   5600-000                                          $141.51          $459,783.05
                                 510 KernSpringfieldlL62703


   01/15/14          201164      DAVID L. MCILWAIN                         Deposits - 507(a)(6)                                   5600-000                                           $88.80          $459,694.25
                                 432 Felton RoadSchuyler FallsNY12985


   01/15/14          201165      KEITH MCINTYRE                            Deposits - 507(a)(6)                                   5600-000                                           $73.67          $459,620.58
                                 2727 Phoenix Palm TerraceNorth
                                 PortFL34288

   01/15/14          201166      WALTER MCKAY                              Deposits - 507(a)(6)                                   5600-000                                           $89.57          $459,531.01
                                 6 Pequot RoadWaylandMA1778


   01/15/14          201167      GEORGE MCKENNA                            Deposits - 507(a)(6)                                   5600-000                                          $270.83          $459,260.18
                                 155 Fulbourn PlaceMyrtle BeachSC29579


   01/15/14          201168      MARIE J. MCKENNA                          Deposits - 507(a)(6)                                   5600-000                                           $22.39          $459,237.79
                                 8571 Amberjack Circle, Unit
                                 202EnglewoodFL34224

   01/15/14          201169      THOMAS MCKENNA                            Deposits - 507(a)(6)                                   5600-000                                           $57.77          $459,180.02
                                 3144 Moon Shadow LaneGarden
                                 CitySC29576

   01/15/14          201170      ALBERT T. MCLAUGHLIN                      Deposits - 507(a)(6)                                   5600-000                                           $94.87          $459,085.15
                                 4728 Southern TrailMyrtle
                                 BeachSC29579

   01/15/14          201171      KATHLEEN MCLAUGHLIN                       Deposits - 507(a)(6)                                   5600-000                                          $189.74          $458,895.41
                                 4400 Mossrose CourtMurrysvillePA15668


   01/15/14          201172      NITA MCLEON                               Deposits - 507(a)(6)                                   5600-000                                           $39.96          $458,855.45
                                 1122 Cranbrook DriveArdenNC28704


   01/15/14          201173      GARY MCLOUTH                              Deposits - 507(a)(6)                                   5600-000                                          $124.28          $458,731.17
                                 15880 Chatfield DriveFt. MyersFL33908


   01/15/14          201174      RICHARD MCMANUS                           Deposits - 507(a)(6)                                   5600-000                                          $169.04          $458,562.13
                                 5-195 Barker StLondonOntarioN5Y 1Y2




                                                                                  Page Subtotals:                                                               $0.00              $1,362.43
                                  Case 12-40944                 Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:      100
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                  Account Number/CD#: XXXXXX3464

                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                               Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                             Separate Bond (if applicable):



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Transaction Date     Check or               Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                       Code                                                            ($)
   01/15/14          201175      ANN MCMILLIAN                              Deposits - 507(a)(6)                                  5600-000                                         $189.74         $458,372.39
                                 27206 220TH AveLong GrovelA52756


   01/15/14          201176      DIANE MCNALLY                              Deposits - 507(a)(6)                                  5600-000                                         $131.44         $458,240.95
                                 70 Linda CircleMarlboroughMA1752


   01/15/14          201177      PATRICK A. MCNAMARA                        Deposits - 507(a)(6)                                  5600-000                                         $340.31         $457,900.64
                                 303 W Morningside DrPeorialL61614


   01/15/14          201178      WILLIAM M. MCNEA                           Deposits - 507(a)(6)                                  5600-000                                          $41.87         $457,858.77
                                 1 5621 Norway Ave.ClevelandOH441 1 1


   01/15/14          201179      CAROL MCNULTY                              Deposits - 507(a)(6)                                  5600-000                                          $43.68         $457,815.09
                                 55 Sarah
                                 CrescentSmithvilleOntarioLOR2AO

   01/15/14          201180      MELISSA A. MCPHAIL                         Deposits - 507(a)(6)                                  5600-000                                         $247.18         $457,567.91
                                 541 West GrantP.O. Box
                                 48PittsfieldlL62363
   01/15/14          201181      CAROLYN MCPHERSON                          Deposits - 507(a)(6)                                  5600-000                                         $160.85         $457,407.06
                                 817 Franklin St.OgdensburgNY13669


   01/15/14          201182      DENNIS MCQUAIDE                            Deposits - 507(a)(6)                                  5600-000                                          $44.79         $457,362.27
                                 2413 Red Oak DrivePittsburghPA15220


   01/15/14          201183      THOMAS J. MECHTENBERG                      Deposits - 507(a)(6)                                  5600-000                                          $89.57         $457,272.70
                                 111 Durm StreetNilesMI49120


   01/15/14          201184      DIANE MEEHAN                               Deposits - 507(a)(6)                                  5600-000                                         $108.86         $457,163.84
                                 3433 Brodhead Road, Suite
                                 7MonacaPA15061

   01/15/14          201185      ELIZABETH MEFFERT                          Deposits - 507(a)(6)                                  5600-000                                          $89.57         $457,074.27
                                 201 S Yellowstone Drive,
                                 #31 7MadisonWI53705

   01/15/14          201186      BRIAN MEIER                                Deposits - 507(a)(6)                                  5600-000                                         $173.31         $456,900.96
                                 99 Wilson StreetPittsburghPAl 5223




                                                                                   Page Subtotals:                                                              $0.00           $1,661.17
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                  Account Number/CD#: XXXXXX3464

                                                                                                                                           Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                             Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                       Code                                                              ($)
   01/15/14          201187      JEFF MEISSNER                             Deposits - 507(a)(6)                                   5600-000                                          $236.11          $456,664.85
                                 351 Charlotte AveHamburgNYl 4075


   01/15/14          201188      MICHAEL & KATHI MELCHER                   Deposits - 507(a)(6)                                   5600-000                                          $139.33          $456,525.52
                                 257 Chasteen StreetPunta
                                 GordaFL33950

   01/15/14          201189      CATHERINE MELDER                          Deposits - 507(a)(6)                                   5600-000                                           $89.57          $456,435.95
                                 103 Jacobs LaneButlerPA16001


   01/15/14          201190      KAREN MELVIN-ENGEL                        Deposits - 507(a)(6)                                   5600-000                                          $360.40          $456,075.55
                                 401 S. First StreetlndustrylL61440


   01/15/14          201191      WALTER M. MENARD                          Deposits - 507(a)(6)                                   5600-000                                           $23.85          $456,051.70
                                 456 Dover CircleEnglewoodFL34223


   01/15/14          201192      CATHERINE A. MERWIN                       Deposits - 507(a)(6)                                   5600-000                                          $115.00          $455,936.70
                                 515 N Oak Knolls Ave.RockfordlL61107


   01/15/14          201193      CLAUDIA A. MESAROSH                       Deposits - 507(a)(6)                                   5600-000                                           $44.78          $455,891.92
                                 5451 Quackenbush
                                 RoadReadingMI49274

   01/15/14          201194      PAMELA MESKUS                             Deposits - 507(a)(6)                                   5600-000                                          $225.25          $455,666.67
                                 79 Holden StreetWorcesterMA1605


   01/15/14          201195      DOUGLAS E. & LINDA MESLER                 Deposits - 507(a)(6)                                   5600-000                                          $180.22          $455,486.45
                                 15 Cherrywood CircleAndoverMA1810


   01/15/14          201196      DIANA A. MESNIL                           Deposits - 507(a)(6)                                   5600-000                                          $209.35          $455,277.10
                                 40 Dunn Hill RoadTollandCT6084


   01/15/14          201197      JO-ANN MESSERLIAN                         Deposits - 507(a)(6)                                   5600-000                                           $94.87          $455,182.23
                                 185 Sauga AveNorth KingstownRI2852


   01/15/14          201198      SANDRA METCALF                            Deposits - 507(a)(6)                                   5600-000                                           $92.40          $455,089.83
                                 26 Bunker TerraceRotonda WestFL33947




                                                                                  Page Subtotals:                                                               $0.00              $1,811.13
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201199      DEBORAH MEYER                            Deposits - 507(a)(6)                                  5600-000                                          $164.56          $454,925.27
                                 27 Sycamore LaneLincolnlL62656


   01/15/14          201200      TIM MEYER                                Deposits - 507(a)(6)                                  5600-000                                           $91.43          $454,833.84
                                 8360 Copper HarborKalamazooMI49009


   01/15/14          201201      JOSEPH MIAZGA                            Deposits - 507(a)(6)                                  5600-000                                           $50.08          $454,783.76
                                 PO BOX 356191 Knower
                                 RoadWestminsterMAI 473                   MM,




   01/15/14          201202      KENNETH MICHEL                           Deposits - 507(a)(6)                                  5600-000                                           $20.94          $454,762.82
                                 683 Tulip Circle E.AuburndaleFL33823-
                                 5636

   01/15/14          201203      ED AND JEAN ANN MIES                     Deposits - 507(a)(6)                                  5600-000                                           $89.57          $454,673.25
                                 14810 Maxwell Hall RoadLoamilL62661


   01/15/14          201204      GEORGE MILAM, III                        Deposits - 507(a)(6)                                  5600-000                                          $119.09          $454,554.16
                                 731 Woodhaven Dr. Winter
                                 SpringsFL32708

   01/15/14          201205      JOHN V. MILANE, III                      Deposits - 507(a)(6)                                  5600-000                                          $134.35          $454,419.81
                                 4504 Rice Cart WayMurrells
                                 lnletSC29576

   01/15/14          201206      GERALDINE MILLER                         Deposits - 507(a)(6)                                  5600-000                                          $100.17          $454,319.64
                                 8620 Bragg DriveMyrtle BeachSC29588


   01/15/14          201207      MARVIN MILLER                            Deposits - 507(a)(6)                                  5600-000                                           $59.04          $454,260.60
                                 1715 Foxmeadow CrRoyersfordPA19468


   01/15/14          201208      RENEE MILLER                             Deposits - 507(a)(6)                                  5600-000                                       $1,797.96           $452,462.64
                                 200 Matlin RdCarletonMI48116


   01/15/14          201209      RENEE MILLER                             Deposits - 507(a)(6)                                  5600-000                                          $164.57          $452,298.07
                                 10401 Stone Rd.MaybeeMI48159


   01/15/14          201210      RYAN D. MILLER                           Deposits - 507(a)(6)                                  5600-000                                           $44.78          $452,253.29
                                 8324 Oak Creek DriveLewis
                                 CenterOH43035




                                                                                 Page Subtotals:                                                              $0.00              $2,836.54
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                            3                                             4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201211      STEPHEN A. MILLER                        Deposits - 507(a)(6)                                  5600-000                                           $89.57          $452,163.72
                                 30074 E. LafayetteSturgisMI49091


   01/15/14          201212      KRISTIN MILLET                           Deposits - 507(a)(6)                                  5600-000                                          $120.55          $452,043.17
                                 2271 Oakes BlvdNaplesFL34119


   01/15/14          201213      JOHN MILLS                               Deposits - 507(a)(6)                                  5600-000                                          $251.50          $451,791.67
                                 5343 Brandon Rd.ToledoOH43615


   01/15/14          201214      LAWRENCE MILLS                           Deposits - 507(a)(6)                                  5600-000                                          $179.14          $451,612.53
                                 97 Chesterfield StKeesevilleKY12944


   01/15/14          201215      ROBERTA MILLS                            Deposits - 507(a)(6)                                  5600-000                                          $241.19          $451,371.34
                                 2505 De Laat Ave SWWyomingMI49519


   01/15/14          201216      AUDREY MINKEL                            Deposits - 507(a)(6)                                  5600-000                                           $27.35          $451,343.99
                                 36 Via Donato EastDepewNY14043


   01/15/14          201217      ANDREW AND DENISE MIRON                  Deposits - 507(a)(6)                                  5600-000                                          $119.74          $451,224.25
                                 1245 BrebeufSte-CatherinesQuebec
                                 CityJ5C1L7

   01/15/14          201218      KAREN R. MISCIA                          Deposits - 507(a)(6)                                  5600-000                                          $153.12          $451,071.13
                                 8 Cross StreetNatickMAI 760


   01/15/14          201219      LAURA MISNER                             Deposits - 507(a)(6)                                  5600-000                                          $199.20          $450,871.93
                                 5721 N. Westnedge
                                 Ave.KalamazooMI49004

   01/15/14          201220      JAMES MISPLON                            Deposits - 507(a)(6)                                  5600-000                                          $374.44          $450,497.49
                                 1061 Sugar Creek DrRochester
                                 HillsMI48307

   01/15/14          201221      CHERYL & BRIAN MITCHELL                  Deposits - 507(a)(6)                                  5600-000                                           $13.24          $450,484.25
                                 22915 Forest Ridge DriveEsteroFL33928


   01/15/14          201222      JEFFREY MITCHELL                         Deposits - 507(a)(6)                                  5600-000                                           $98.00          $450,386.25
                                 223A Hampton StreetAuburnMA1501




                                                                                 Page Subtotals:                                                              $0.00              $1,867.04
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                     Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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T ransaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201223      LISA MITCHELL                            Deposits - 507(a)(6)                                  5600-000                                           $89.57          $450,296.68
                                 1033 Woodland Dr.PortageMI49024


   01/15/14          201224      PEGGY MOEST                              Deposits - 507(a)(6)                                  5600-000                                          $106.40          $450,190.28
                                 702 Quail Ridge Dr.FreeportlL61032


   01/15/14          201225      MONIQUE MOGRIDGE                         Deposits - 507(a)(6)                                  5600-000                                           $83.74          $450,106.54
                                 691 Mt St Louis RdHillsdaleOntarioLOL
                                 1V0

   01/15/14          201226      DANIEL J. MOLLOY, SR.                    Deposits - 507(a)(6)                                  5600-000                                          $134.35          $449,972.19
                                 242 Carrington DrivePawleys
                                 lslandSC29585

   01/15/14          201227      JOSEPH & LORETTA MOMBREA                 Deposits - 507(a)(6)                                  5600-000                                          $287.71          $449,684.48
                                 407 76th StreetNiagra FallsNY14304


   01/15/14          201228      LEE MONROE                               Deposits - 507(a)(6)                                  5600-000                                           $89.57          $449,594.91
                                 64 East StreetWilliamsburgMA1096


   01/15/14          201229      RICHARD MONTAG                           Deposits - 507(a)(6)                                  5600-000                                          $134.35          $449,460.56
                                 29 Donald StreetKitchenerOntarioN2B
                                 3G6

   01/15/14          201230      REGINA MONTEMURRO                        Deposits - 507(a)(6)                                  5600-000                                           $44.78          $449,415.78
                                 1259 Walton Heath Ct.Mount
                                 PleasantSC29466

   01/15/14          201231      SONDRA MONTESI                           Deposits - 507(a)(6)                                  5600-000                                          $184.44          $449,231.34
                                 68 Szegda RoadColumbiaCT6237


   01/15/14          201232      RENEE MONTGOMERY                         Deposits - 507(a)(6)                                  5600-000                                          $265.00          $448,966.34
                                 824 Fulton StreetGalena!L61036


   01/15/14          201233      ROY MONTGOMERY                           Deposits - 507(a)(6)                                  5600-000                                          $102.82          $448,863.52
                                 184 Golden Pheasant
                                 Dr.HuntsvilleONPI H 1B3

   01/15/14          201234      SYLVIA MONTGOMERY (GILLESPIE)            Deposits - 507(a)(6)                                  5600-000                                           $87.56          $448,775.96
                                 6495 Strickler Rd.ClarenceNY14031




                                                                                 Page Subtotals:                                                              $0.00              $1,610.29
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                  Account Number/CD#: XXXXXX3464

                                                                                                                                           Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                             Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                       Code                                                              ($)
   01/15/14          201235      MAUREEN MOORE                             Deposits - 507(a)(6)                                   5600-000                                           $92.22          $448,683.74
                                 1424 Chandler CircleFlorenceSC29505


   01/15/14          201236      RICHARD MOORE                             Deposits - 507(a)(6)                                   5600-000                                          $492.63          $448,191.11
                                 15311 E 525 North
                                 RoadHeyworthlL61 745

   01/15/14          201237      STEPHANIE MOORE                           Deposits - 507(a)(6)                                   5600-000                                          $128.21          $448,062.90
                                 68 Spitfire DrivePlattsburghNY12901


   01/15/14          201238      VALERIE MOORE                             Deposits - 507(a)(6)                                   5600-000                                          $136.74          $447,926.16
                                 30 College RoadBridgewaterMA2324


   01/15/14          201239      ELIZABETH MORALES                         Deposits - 507(a)(6)                                   5600-000                                          $179.13          $447,747.03
                                 8 Forestdale RoadWorcesterMA1605


   01/15/14          201240      SUE MORCIO                                Deposits - 507(a)(6)                                   5600-000                                          $116.07          $447,630.96
                                 2 Harvey Drive, Apt.
                                 1 8LancasterNY 1 4086

   01/15/14          201241      LISA A. MOREAU                            Deposits - 507(a)(6)                                   5600-000                                           $39.71          $447,591.25
                                 23 Crow Hill RoadMonsonMA1057


   01/15/14          201242      JESSICA MORGAN                            Deposits - 507(a)(6)                                   5600-000                                           $83.74          $447,507.51
                                 4068 Worcester RoadCharltonMA1507


   01/15/14          201243      RAYMOND MORGE                             Deposits - 507(a)(6)                                   5600-000                                          $179.14          $447,328.37
                                 3842 Blueberry LnSt James CityFL33956


   01/15/14          201244      DIANE MORIN LAMARCHE                      Deposits - 507(a)(6)                                   5600-000                                           $89.57          $447,238.80
                                 253 rue Des SaulesSaint-
                                 ConstantQuebecJ5A 1Y4

   01/15/14          201245      REJEAN MORISSETTE                         Deposits - 507(a)(6)                                   5600-000                                          $102.82          $447,135.98
                                 612 Ivey Ridge CourtMurrells
                                 lnletSC29576
   01/15/14          201246      LISA MORRIS                               Deposits - 507(a)(6)                                   5600-000                                           $41.87          $447,094.1 1
                                 6321 Tyne AvenueCincinnatiOH45213




                                                                                  Page Subtotals:                                                               $0.00              $1,681.85
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          201247      WILLIAM MORRIS                            Deposits - 507(a)(6)                                  5600-000                                         $179.14         $446,914.97
                                 5301 East State Street, Suite
                                 314RockfordlL61108

   01/15/14          201248      ALAN G. MORRISON                          Deposits - 507(a)(6)                                  5600-000                                          $47.43         $446,867.54
                                 4173 Hibiscus Dr. #301 Little
                                 RiverSC29566

   01/15/14          201249      NICOLE MORRISON                           Deposits - 507(a)(6)                                  5600-000                                         $168.91         $446,698.63
                                 1614 SW 28th StreetCape CoralFI33914


   01/15/14          201250      HEATHER MORROW                            Deposits - 507(a)(6)                                  5600-000                                          $43.55         $446,655.08
                                 9550 Fiddlers Green CircleUnit
                                 205Rotonda WestFL33947

   01/15/14          201251      ZINTA MOSKALEW                            Deposits - 507(a)(6)                                  5600-000                                          $47.17         $446,607.91
                                 161 West Mountain St
                                 #b-37WorcesterMA1 606

   01/15/14          201252      JAIME MOULTON                             Deposits - 507(a)(6)                                  5600-000                                          $91.69         $446,516.22
                                 P.O. Box 292JohnsonVT5656


   01/15/14          201253      SUSAN MOURANDIAN                          Deposits - 507(a)(6)                                   5600-000                                         $34.56         $446,481.66
                                 9 Oakwood Ave Dudley MA1 571


   01/15/14          201254      BENJAMIN MOUSEL                           Deposits - 507(a)(6)                                   5600-000                                         $46.37         $446,435.29
                                 2715 West RoadPutneyVT5346


   01/15/14          201255      DAVID MOWATT                              Deposits - 507(a)(6)                                   5600-000                                         $73.64         $446,361.65
                                 30 Agar DriveSt. CatharinesOntarioL2R
                                 3K5

   01/15/14          201256      JANINA MOZER                              Deposits - 507(a)(6)                                   5600-000                                         $83.74         $446,277.91
                                 19 Conlin Rd Oxford MA 1540


   01/15/14          201257      PAUL MROZ                                 Deposits - 507(a)(6)                                   5600-000                                         $53.00         $446,224.91
                                 5875 West Sweden Rd.BergenNY14416


   01/15/14          201258      ROSEMARY MUFFLEY                          Deposits - 507(a)(6)                                   5600-000                                         $44.78         $446,180.13
                                 26377 Richbam RoadBrooksvilleFL34601




                                                                                  Page Subtotals:                                                              $0.00              $913.98
                                 Case 12-40944                 Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:      107
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          201259      ANITA MUISE                               Deposits - 507(a)(6)                                  5600-000                                          $28.88         $446,151.25
                                 2513 St. Andrews Dr.Little RiverSC29566


   01/15/14          201260      STEVE MULDER                              Deposits - 507(a)(6)                                  5600-000                                          $89.57         $446,061.68
                                 161 Fourth AvenueHawthorneNJ7506


   01/15/14          201261      JAMES MULHERN                             Deposits - 507(a)(6)                                  5600-000                                         $118.60         $445,943.08
                                 4343 Rivergate LaneLittle RiverSC29566


   01/15/14          201262      KAREN AND LAWRENCE MULLEN                 Deposits - 507(a)(6)                                  5600-000                                         $308.85         $445,634.23
                                 240 Grandview RoadNepeanONK2H8A9


   01/15/14          201263      NOREEN MULLEN                             Deposits - 507(a)(6)                                  5600-000                                         $134.35         $445,499.88
                                 500 Revere Beach Blvd
                                 #407RevereMA21 52

   01/15/14          201264      KENNETH J. MULLIGAN                       Deposits - 507(a)(6)                                  5600-000                                         $102.29         $445,397.59
                                 1465 Berkshire CourtSurfside
                                 BeachSC29575-5363

   01/15/14          201265      JUDITH MULLIN                             Deposits - 507(a)(6)                                  5600-000                                          $84.80         $445,312.79
                                 8728 Holmes RoadRomeNY13440


   01/15/14          201266      MARY MURPHY                               Deposits - 507(a)(6)                                  5600-000                                         $134.35         $445,178.44
                                 9 Bicknell DriveMendonMA1756


   01/15/14          201267      THERESA MURPHY                            Deposits - 507(a)(6)                                  5600-000                                          $44.79         $445,133.65
                                 1 9 Elizabeth StreetPlainvil!eMA2762


   01/15/14          201268      MARK & MARY MURRAY                        Deposits - 507(a)(6)                                  5600-004                                         $193.29         $444,940.36
                                 1251 N Main StAdrianMI49221


   01/15/14          201269      SHERYL MURRAY                             Deposits - 507(a)(6)                                  5600-000                                          $89.57         $444,850.79
                                 280 W AndrewsMaconlL62544


   01/15/14          201270      VALERIE V. MURRAY                         Deposits - 507(a)(6)                                  5600-000                                          $89.57         $444,761.22
                                 17 Burt StreetBerkleyMA2779




                                                                                  Page Subtotals:                                                              $0.00            $1,418.91
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201271      DAVID MURZYCKI                            Deposits - 507(a)(6)                                  5600-000                                          $186.98          $444,574.24
                                 16 Emerald Ave #2WebsterMA1570


   01/15/14          201272      GEORGE MUSICK                             Deposits - 507(a)(6)                                  5600-000                                          $125.03          $444,449.21
                                 49 Ruble DriveUniontownPA15401


   01/15/14          201273      JONATHAN MYERS                            Deposits - 507(a)(6)                                  5600-000                                           $94.87          $444,354.34
                                 P. O. Box 901Pierrepont ManorNY13674


   01/15/14          201274      ASHLEY MYRBERG                            Deposits - 507(a)(6)                                  5600-000                                           $57.50          $444,296.84
                                 15646 111 Lake Hollingsworth
                                 DriveLakelandFL33801

   01/15/14          201275      CONSTANCE NAGEL                           Deposits - 507(a)(6)                                  5600-000                                           $89.57          $444,207.27
                                 18 Sycamore Bay DrLaconlL61540


   01/15/14          201276      LINDA NAGORSKI                            Deposits - 507(a)(6)                                  5600-000                                           $89.57          $444,117.70
                                 22 Nash StreetBuffaloNY14206


   01/15/14          201277      AMY NALLEY                                Deposits - 507(a)(6)                                  5600-000                                          $243.80          $443,873.90
                                 PO Box 222HayesvilleOH44838


   01/15/14          201278      BETTY AND JEFF NAREHOOD                   Deposits - 507(a)(6)                                  5600-000                                           $89.57          $443,784.33
                                 167 Grazierville RdTyonePA16686


   01/15/14          201279      KAREN NEED                                Deposits - 507(a)(6)                                  5600-000                                           $74.85          $443,709.48
                                 8759 Peddler LakeP. O. Box
                                 1 1 ClarksvilleMI4881 5

   01/15/14          201280      RAND I NEIDEFFER                          Deposits - 507(a)(6)                                  5600-000                                           $40.49          $443,668.99
                                 804 Beauregard
                                 RoadSummervilleSC29483

   01/15/14          201281      DEBRA NELLANY                             Deposits - 507(a)(6)                                  5600-000                                           $70.07          $443,598.92
                                 230 DiMatteo DriveN
                                 TonawandaNYl 41 20

   01/15/14          201282      MARK NELSON                               Deposits - 507(a)(6)                                  5600-000                                           $90.10          $443,508.82
                                 218 Route 94VernonNJ7462




                                                                                  Page Subtotals:                                                              $0.00              $1,252.40
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                       Code                                                             ($)
   01/15/14          201283      SALLY NELSON                             Deposits - 507(a)(6)                                   5600-000                                           $19.65          $443,489.17
                                 50431 Spring Lake Rd.MarcellusMI49067


   01/15/14          201284      TERESA A. AND DANIEL B. NELSON           Deposits - 507(a)(6)                                   5600-000                                          $185.02          $443,304.15
                                 607 Overlook
                                 TerraceStroudsburgPA18360

   01/15/14          201285      DEREK S. NESDOLY                         Deposits - 507(a)(6)                                   5600-000                                          $213.16          $443,090.99
                                 2372 Gill RoadMidhurstOntarioLOL 1X0


   01/15/14          201286      LARRY K. NEWHOUSE                        Deposits - 507(a)(6)                                   5600-000                                          $115.54          $442,975.45
                                 10160 WoodlawnPortageMI49002


   01/15/14          201287      RONALD L. NEWHOUSE                       Deposits - 507(a)(6)                                   5600-000                                           $44.78          $442,930.67
                                 413 N. Mclean StreetLincolnlL62656


   01/15/14          201288      C. EDWARD NEWMEYER, JR.                  Deposits - 507(a)(6)                                   5600-000                                          $134.36          $442,796.31
                                 2037 Pierce Bluffs DrHermitagePA16148


   01/15/14          201289      LINH KHANH NGUYEN                        Deposits - 507(a)(6)                                   5600-000                                           $80.45          $442,715.86
                                 797 PrevostSt-BrunoQuebecJ3V 3C9


   01/15/14          201290      KURT NICKEL                              Deposits - 507(a)(6)                                   5600-000                                          $268.71          $442,447.15
                                 1 1 BrookbankFonthillOntarioLOS 1 E1


   01/15/14          201291      SHARON MARGARET NICKLAS                  Deposits - 507(a)(6)                                   5600-000                                          $244.54          $442,202.61
                                 7 Bannisdale WayCarlisleOntarioLOR
                                 1H2

   01/15/14          201292      SANDRA NIEDOJADLO                        Deposits - 507(a)(6)                                   5600-000                                          $254.08          $441,948.53
                                 60 Goshen RoadWaterfordCT6385


   01/15/14          201293      MARK NIEUWSMA                            Deposits - 507(a)(6)                                   5600-000                                           $99.85          $441,848.68
                                 11588 Oak Grove Rd.Grand
                                 HavenMI49417

   01/15/14          201294      P. OSCAR NIEVES                          Deposits - 507(a)(6)                                   5600-000                                          $278.88          $441,569.80
                                 388 Perkins AvenueB5-12BerlinCT6037




                                                                                 Page Subtotals:                                                               $0.00              $1,939.02
                                 Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                                Page:      110
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201295      CHARLES NIGZUS                           Deposits - 507(a)(6)                                  5600-000                                          $244.06          $441,325.74
                                 P.O. Box 131 Still RiverMA1467


   01/15/14          201296      LORJ NIXON                               Deposits - 507(a)(6)                                  5600-000                                          $157.41          $441,168.33
                                 268 W Hight StreetMaconlL62544


   01/15/14          201297      ROBERT NIXON                             Deposits - 507(a)(6)                                  5600-000                                           $74.31          $441,094.02
                                 1705 Sunderland DrivePort
                                 CharlotteFL33980

   01/15/14          201298      BETH A. NOBLES                           Deposits - 507(a)(6)                                  5600-000                                           $98.47          $440,995.55
                                 36 B StreetWhinsvilleMAI 588


   01/15/14          201299      MICHAEL NOSKO                            Deposits - 507(a)(6)                                  5600-000                                           $92.22          $440,903.33
                                 727 West Elm StreetTitusvillePA16354


   01/15/14          201300      NICOLE NOTIDIS                           Deposits - 507(a)(6)                                  5600-000                                           $94.87          $440,808.46
                                 9 Maplewood RoadMillburyMA1527


   01/15/14          201301      JANICE T. NOTTE                          Deposits - 507(a)(6)                                  5600-000                                          $153.41          $440,655.05
                                 107 Boxwood LaneConwaySC29526


   01/15/14          201302      STACIE LEE NOVAK                         Deposits - 507(a)(6)                                  5600-000                                          $179.14          $440,475.91
                                 32181 Washinton Loop RoadUnit
                                 9749Punta GordaFL33982

   01/15/14          201303      LESTER A. NUTTING                        Deposits - 507(a)(6)                                  5600-000                                          $209.40          $440,266.51
                                 9 Abare Ave.Essex JunctionVT790


   01/15/14          201304      MURIEL NUTTING                           Deposits - 507(a)(6)                                  5600-000                                          $209.40          $440,057.11
                                 9 Abare AveEssex JunctionVT5452


   01/15/14          201305      SHANNON O'BRIEN                          Deposits - 507(a)(6)                                  5600-000                                          $235.85          $439,821.26
                                 20 Turnberry CourtP!antsviI!eCT6479


   01/15/14          201306      WILLIAM J. O'BRIEN, JR.                  Deposits - 507(a)(6)                                  5600-000                                          $377.30          $439,443.96
                                 533 Leahy LaneBallston SpaNY12020




                                                                                 Page Subtotals:                                                              $0.00              $2,125.84
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201307      MARGARET O'CONNELL                       Deposits - 507(a)(6)                                  5600-000                                           $44.79          $439,399.17
                                 6609 Carrietowne LaneToledoOH43615


   01/15/14          201308      SHANE O'CONNELL                          Deposits - 507(a)(6)                                  5600-000                                          $142.30          $439,256.87
                                 26 Grove StreetBurlingtonVT5401


   01/15/14          201309      TIMOTHY P. O'CONNELL                     Deposits - 507(a)(6)                                  5600-000                                          $134.36          $439,122.51
                                 11356 Sprague Rd.DeltonMI49046


   01/15/14          201310      NANCY L. O'CONNOR                        Deposits - 507(a)(6)                                  5600-000                                          $102.82          $439,019.69
                                 1123 Wiley RoadSavannahNY13146


   01/15/14          201311      JOSEPH O'DONNELL                         Deposits - 507(a)(6)                                  5600-000                                           $89.57          $438,930.12
                                 16 Vine StreetLeominsterMA1453


   01/15/14          201312      SHEILAGH O'DONOGHUE                      Deposits - 507(a)(6)                                  5600-000                                           $44.65          $438,885.47
                                 47 W. Newell AveRutherfordNJ7070


   01/15/14          201313      JANA OENS                                Deposits - 507(a)(6)                                  5600-000                                           $51.41          $438,834.06
                                 N11663 17th AveNecedahWI54646


   01/15/14          201314      BONNIE OFFHAUS                           Deposits - 507(a)(6)                                  5600-000                                          $143.10          $438,690.96
                                 23 College StreetGowandaNY14070


   01/15/14          201315      GRETCHEN OHAR                            Deposits - 507(a)(6)                                  5600-000                                           $65.03          $438,625.93
                                 28 LeVan Ave.LockportNY14094


   01/15/14          201316      KEVIN O'KEEFE                            Deposits - 507(a)(6)                                  5600-000                                           $89.57          $438,536.36
                                 46 Keyes StreetP.O. Box
                                 913WarrenMA1083

   01/15/14          201317      EMMALEE O'LEARY                          Deposits - 507(a)(6)                                  5600-000                                          $209.35          $438,327.01
                                 3788 Cornell StreetHamburgNY14075


   01/15/14          201318      DAVID OLENICK                            Deposits - 507(a)(6)                                  5600-000                                          $409.16          $437,917.85
                                 PO Box 25WaitsfieldVT 5643




                                                                                 Page Subtotals:                                                              $0.00              $1,526.11
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                  Account Number/CD#: XXXXXX3464

                                                                                                                                           Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                             Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                        Code                                                             ($)
   01/15/14          201319      MICHAEL OLIVI                             Deposits - 507(a)(6)                                   5600-000                                          $179.14          $437,738.71
                                 4552 Foxtail DriveNazarethPA18064


   01/15/14          201320      ALLAN OLLSON                              Deposits - 507(a)(6)                                   5600-000                                          $412.73          $437,325.98
                                 75 Nighthawk
                                 CrescentKanataOntarioK2M 2V2

   01/15/14          201321      ALLISON OLSEN                             Deposits - 507(a)(6)                                   5600-000                                          $189.74          $437,136.24
                                 686 Regent DrCrystal LakelL60014


   01/15/14          201322      JOSEPH M. ORLANDO                         Deposits - 507(a)(6)                                   5600-000                                          $134.35          $437,001.89
                                 5 Western AvenueGloucesterMA1930


   01/15/14          201323      NICOLE ORR                                Deposits - 507(a)(6)                                   5600-000                                           $44.79          $436,957.10
                                 389 Dewoody RoadPolkPA16342


   01/15/14          201324      JANIS K. ORTMEYER                         Deposits - 507(a)(6)                                   5600-000                                           $89.57          $436,867.53
                                 1433 Belvoir Ct.North Myrtle
                                 BeachSC29582

   01/15/14          201325      ERIC OSCHWALD                             Deposits - 507(a)(6)                                   5600-000                                           $92.22          $436,775.31
                                 3683 Lincolns TrailPleasant
                                 PlainslL62677

   01/15/14          201326      RYAN OUDBIER                              Deposits - 507(a)(6)                                   5600-000                                          $263.62          $436,511.69
                                 3787 Sun Ridge
                                 DriveHudsonvilleMI49426

   01/15/14          201327      KARIN OUELLETTE                           Deposits - 507(a)(6)                                   5600-000                                          $120.26          $436,391.43
                                 296 Richardson StreetUxbridgeMA1569


   01/15/14          201328      JERRY OWENS                               Deposits - 507(a)(6)                                   5600-000                                          $159.00          $436,232.43
                                 110 Stockburger Rd.MoodusCT06469-
                                 1044

   01/15/14          201329      JASON PAAR                                Deposits - 507(a)(6)                                   5600-000                                           $57.77          $436,174.66
                                 212 East Henley StreetOleanNY14760


   01/15/14          201330      BERNICE PACKER                            Deposits - 507(a)(6)                                    5600-000                                          $89.57          $436,085.09
                                 44155 Carla DrivePaw PawMI49079




                                                                                  Page Subtotals:                                                               $0.00              $1,832.76
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201331      DENISE PAGE                              Deposits - 507(a)(6)                                  5600-000                                          $133.56          $435,951.53
                                 19 Heath StreetWorcesterMA1610


   01/15/14          201332      DAVID M. PAGLIERONI                      Deposits - 507(a)(6)                                  5600-000                                          $138.49          $435,813.04
                                 323 Shrewsbury StreetWest
                                 BoylstonMA1583

   01/15/14          201333      SUZANNE L. PALLO                         Deposits - 507(a)(6)                                  5600-000                                           $89.57          $435,723.47
                                 3268 Port Severn RoadPort
                                 SevernOntarioLOK 1S0

   01/15/14          201334      CHRISTOPHER PALLOTTA                     Deposits - 507(a)(6)                                  5600-000                                          $410.74          $435,312.73
                                 8 Bel Manor DriveFairmontWV26554


   01/15/14          201335      DONNA M. PALMARI                         Deposits - 507(a)(6)                                  5600-000                                          $146.44          $435,166.29
                                 2729 Will-O-The-Green StreetWinter
                                 ParkFL32792

   01/15/14          201336      JANICE PALMER                            Deposits - 507(a)(6)                                  5600-000                                          $116.65          $435,049.64
                                 5223 Kennedy CrescentSanbornNY14132


   01/15/14          201337      JUDY PANCIERA                            Deposits - 507(a)(6)                                  5600-000                                          $179.14          $434,870.50
                                 61 Laurel St.ManchesterCT6040


   01/15/14          201338      KATHLEEN T. PARENTEAU                    Deposits - 507(a)(6)                                  5600-000                                          $228.16          $434,642.34
                                 14 Cromie StreetClintonMA1510


   01/15/14          201339      ELISE PARISIEN                           Deposits - 507(a)(6)                                  5600-000                                          $265.00          $434,377.34
                                 2906 Pattee
                                 RoadHawkesburyONK6A2R2

   01/15/14          201340      JOHN PARISIEN                            Deposits - 507(a)(6)                                  5600-000                                          $123.47          $434,253.87
                                 744 Montcalm CourtCornwallOntarioK6H
                                 6C3

   01/15/14          201341      PAMELA PARKER                            Deposits - 507(a)(6)                                  5600-000                                           $13.25          $434,240.62
                                 161 South Sunset
                                 DriveColdwaterMI49036

   01/15/14          201342      RICHARD PARKER                           Deposits - 507(a)(6)                                  5600-000                                           $94.87          $434,145.75
                                 94 Walbar StreetRochesterNY14609




                                                                                 Page Subtotals:                                                              $0.00              $1,939.34
                                 Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                                Page:      114
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201343      RICHMOND PARKER                          Deposits - 507(a)(6)                                  5600-000                                           $26.50          $434,119.25
                                 PO Box 4736 Bounty RoadOxfordMA1540


   01/15/14          201344      GAIL STEWART PARSONS                     Deposits - 507(a)(6)                                  5600-000                                          $110.53          $434,008.72
                                 30 Cooper DrivePlattsburghNY12901


   01/15/14          201345      NANCY PARSONS                            Deposits - 507(a)(6)                                  5600-000                                           $99.64          $433,909.08
                                 634 N Crafford StBushnelllL61422


   01/15/14          201346      HEATHER PARTRIDGE                        Deposits - 507(a)(6)                                  5600-000                                           $58.03          $433,851.05
                                 235 Sugar Mill LoopMyrtle
                                 BeachSC29588

   01/15/14          201347      PATSY PASEKA                             Deposits - 507(a)(6)                                  5600-000                                          $132.50          $433,718.55
                                 23 Top Sail LaneMurrells lnletSC29576


   01/15/14          201348      BRIAN PASHOIAN                           Deposits - 507(a)(6)                                  5600-000                                          $125.03          $433,593.52
                                 12 Overlook DriveSpencerMA1562


   01/15/14          201349      JOANNE PASQUANTONIO                      Deposits - 507(a)(6)                                  5600-000                                           $23.85          $433,569.67
                                 c/o Judith Kapetanios2548 Galliano
                                 CircleWinter ParkFL32792

   01/15/14          201350      SONIA PASSINO                            Deposits - 507(a)(6)                                  5600-000                                           $49.82          $433,519.85
                                 834 Fuller RoadPeruNY12972


   01/15/14          201351      ALYSON PATCH                             Deposits - 507(a)(6)                                  5600-000                                          $156.75          $433,363.10
                                 874 Williamsburg Rd.AshfieldMA1330


   01/15/14          201352      DOUG PATTERSON                           Deposits - 507(a)(6)                                  5600-000                                           $44.78          $433,318.32
                                 2061 West Monroe Street Unit
                                 6SpringfieldlL62704

   01/15/14          201353      WANDA PATTERSON                          Deposits - 507(a)(6)                                  5600-000                                           $92.01          $433,226.31
                                 817 S State StreetSpringfieldlL62704


   01/15/14          201354      ROBERT G. PATTERSON, JR.                 Deposits - 507(a)(6)                                  5600-000                                          $148.13          $433,078.18
                                 41 1 Rear Hillside AveEllwood
                                 CityPA16117




                                                                                 Page Subtotals:                                                              $0.00              $1,067.57
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                     Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/1 4/2018                                                                          Separate Bond (if applicable):



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T ransaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          201355      JEFFREY PAUL                             Deposits - 507(a)(6)                                  5600-000                                          $88.67         $432,989.51
                                 1036 Belleview DrEriePA16504


   01/15/14          201356      BONNIE PAULMENN                          Deposits - 507(a)(6)                                  5600-000                                          $39.48         $432,950.03
                                 626 Tarrent StreetLongsSC29568


   01/15/14          201357      GERALDINE PAXTON                         Deposits - 507(a)(6)                                  5600-000                                          $66.25         $432,883.78
                                 575 Rockland RoadTown of Mount
                                 RoyalQuebecH3P2X1

   01/15/14          201358      DONNA M. PEARSON                         Deposits - 507(a)(6)                                  5600-000                                          $89.57         $432,794.21
                                 22153 Kennedy
                                 RoadQueensvilleOntarioL06 1 R0

   01/15/14          201359      KARLA PEASE                              Deposits - 507(a)(6)                                  5600-000                                          $41.87         $432,752.34
                                 c/o Joe Daniel1095 Old County House
                                 RoadCharlotteTN37036
   01/15/14          201360      JOSEPH PELLEGRINO                        Deposits - 507(a)(6)                                  5600-000                                          $99.37         $432,652.97
                                 4733 Oakley RoadNorth PortFL34288


   01/15/14          201361      MARY PELZ                                Deposits - 507(a)(6)                                  5600-000                                          $44.78         $432,608.19
                                 1356 Crown Point
                                 PlaceNashvilleTN3721 1
   01/15/14          201362      LORI J. PENDLETON                        Deposits - 507(a)(6)                                  5600-000                                          $91.69         $432,516.50
                                 1726 Sheridan StreetMadisonWI53704


   01/15/14          201363      KATHY PENKSA                             Deposits - 507(a)(6)                                  5600-000                                         $241.15         $432,275.35
                                 176 Willowgrove STonawandaNY14150


   01/15/14          201364      ANGELA PENNELL                           Deposits - 507(a)(6)                                  5600-000                                          $99.64         $432,175.71
                                 1 04 Barre Drive NWPort
                                 CharlotteFL33952

   01/15/14          201365      JOHN H. PEPPER, JR.                      Deposits - 507(a)(6)                                  5600-000                                          $48.31         $432,127.40
                                 2403 NW 31st CourtOkland ParkFL33309


   01/15/14          201366      GARY PERKINS                             Deposits - 507(a)(6)                                  5600-000                                         $307.43         $431,819.97
                                 108 Prospect StreetBallston SpaNY12020




                                                                                 Page Subtotals:                                                              $0.00           $1,258.21
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201367      KRISTEN PERRAULT                         Deposits - 507(a)(6)                                   5600-000                                           $71.63          $431,748.34
                                 9 Montrose AvenueLawrenceMA1843


   01/15/14          201368      MICHAEL PERRAULT                         Deposits - 507(a)(6)                                   5600-000                                          $153.54          $431,594.80
                                 P.O. Box 552LincolnNH3251


   01/15/14          201369      JOHN J. PERRONE, JR.                     Deposits - 507(a)(6)                                   5600-000                                          $245.12          $431,349.68
                                 1 Bethnal GreenRochesterNY14625


   01/15/14          201370      DEBRAL. PERRY                            Deposits - 507(a)(6)                                   5600-000                                          $134.35          $431,215.33
                                 2604 Turben PlaceMount
                                 PleasantSC29466

   01/15/14          201371      JOYCE PERUGINI                           Deposits - 507(a)(6)                                   5600-000                                           $77.75          $431,137.58
                                 193 Savage Hill RoadBerlinCT6037


   01/15/14          201372      PETER PESCOSOLIDO                        Deposits - 507(a)(6)                                   5600-000                                           $47.44          $431,090.14
                                 P. O. Box 772Brant RockMA02020-0772


   01/15/14          201373      DIANE PETERS                             Deposits - 507(a)(6)                                   5600-000                                           $86.12          $431,004.02
                                 122 Candlewood DriveSouth
                                 WindsorCT6074

   01/15/14          201374      JAMES PETERS                             Deposits - 507(a)(6)                                   5600-000                                           $89.57          $430,914.45
                                 7581 YorktownRichlandMI49083


   01/15/14          201375      JOSEPH PETERS                            Deposits - 507(a)(6)                                   5600-000                                           $90.58          $430,823.87
                                 729 Hwy 66ConwaySC29526


   01/15/14          201376      PAMELA PETERS                            Deposits - 507(a)(6)                                   5600-000                                           $58.03          $430,765.84
                                 136 Meadow Ridge LaneGeorgiaVT5468


   01/15/14          201377      SHARON PETERSEN                          Deposits - 507(a)(6)                                   5600-000                                          $218.86          $430,546.98
                                 1510 Ariana Street#462LakelandFL33803


   01/15/14          201378      EVELYN I. PETERSON                       Deposits - 507(a)(6)                                   5600-000                                           $47.44          $430,499.54
                                 617 Charter DriveLongsSC29568




                                                                                 Page Subtotals:                                                               $0.00              $1,320.43
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                           3                                               4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201379      THANE PETERSON                            Deposits - 507(a)(6)                                  5600-000                                           $56.95          $430,442.59
                                 803 Roberts StreetWakefieldMI49968


   01/15/14          201380      DANIEL PETOCK                             Deposits - 507(a)(6)                                  5600-000                                          $179.14          $430,263.45
                                 6423 O'Connor DriveLockportNY14094


   01/15/14          201381      ELIZABETH A. PETRITUS                     Deposits - 507(a)(6)                                  5600-004                                          $138.49          $430,124.96
                                 27 Lakewood Circle
                                 SouthManchesterCT6040

   01/15/14          201382      SARAH PETTY                               Deposits - 507(a)(6)                                  5600-000                                          $255.35          $429,869.61
                                 P.O. Box 739RochesterlL62563


   01/15/14          201383      ANGELA PHELPS                             Deposits - 507(a)(6)                                  5600-000                                           $61.16          $429,808.45
                                 50703 23rd StMattawanMI49071


   01/15/14          201384      SUSAN PHILLIPS                            Deposits - 507(a)(6)                                  5600-000                                          $133.24          $429,675.21
                                 216 Cathcart CresentMiltonONL9T 7P2


   01/15/14          201385      DONNA PIATEK                              Deposits - 507(a)(6)                                  5600-000                                           $44.78          $429,630.43
                                 448 Egret DrSunset BeachNC28468


   01/15/14          201386      MARK PIAZZA                               Deposits - 507(a)(6)                                  5600-000                                          $151.05          $429,479.38
                                 6404 Jupiter BlvdNiagra FallsOntarioL2J
                                 4E6

   01/15/14          201387      LESLIE PICCIRILLO                         Deposits - 507(a)(6)                                  5600-000                                           $71.05          $429,408.33
                                 4440 Mandi Ave.Little RiverSC29566


   01/15/14          201388      PAMELA PIERCE                             Deposits - 507(a)(6)                                  5600-000                                          $245.63          $429,162.70
                                 3710 Jasmine NEGrand RapidsMI49525


   01/15/14          201389      MICHAEL PIERMARINI                        Deposits - 507(a)(6)                                  5600-000                                           $49.82          $429,112.88
                                 73 Perry Lane, Unit #4SwanzeyNH3446


   01/15/14          201390      GEOFFREY PIKE                             Deposits - 507(a)(6)                                  5600-000                                          $223.93          $428,888.95
                                 185 Rochdale StAuburnMA1501




                                                                                  Page Subtotals:                                                              $0.00              $1,610.59
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          201391      PEGGY POITEVINT                           Deposits - 507(a)(6)                                  5600-000                                          $44.78         $428,844.17
                                 220 N Maple StMount AuburnlL62547


   01/15/14          201392      THERESA POMERLEAU                         Deposits - 507(a)(6)                                  5600-000                                          $41.87         $428,802.30
                                 396 Charles Bancroft
                                 HwyLitchfieldNH3052

   01/15/14          201393      JENNIFER POP                              Deposits - 507(a)(6)                                  5600-000                                          $88.24         $428,714.06
                                 2396 E. 1600 North
                                 Rd.MoweaqualL62550

   01/15/14          201394      LORI POPE                                 Deposits - 507(a)(6)                                  5600-000                                          $38.96         $428,675.10
                                 5 Sunrise CircleSouth HadleyMA1075


   01/15/14          201395      GUSTIN POTTER                             Deposits - 507(a)(6)                                  5600-000                                         $179.14         $428,495.96
                                 PO BOX 337MarionMA2738


   01/15/14          201396      CLARENCE POTTS                            Deposits - 507(a)(6)                                  5600-000                                          $44.78         $428,451.18
                                 3427 E. Orchard DriveDecaturlL62521


   01/15/14          201397      RENEE POTWIN                              Deposits - 507(a)(6)                                  5600-000                                         $261.64         $428,189.54
                                 179 Handy RoadWhite River
                                 JunctionVT5001

   01/15/14          201398      BARBARA L. POULSEN                        Deposits - 507(a)(6)                                  5600-000                                          $89.57         $428,099.97
                                 4551 Grassy Point Blvd. Port
                                 CharlotteFL33952

   01/15/14          201399      KARRA L. POUPORE                          Deposits - 507(a)(6)                                  5600-000                                         $167.48         $427,932.49
                                 7 Ridge RoadWest ChazyNY12992


   01/15/14          201400      KATHERINE POUTHIER                        Deposits - 507(a)(6)                                  5600-000                                          $13.24         $427,919.25
                                 9382 Gulfstream BlvdEnglewoodFL34224


   01/15/14          201401      BLAKE POWERS                              Deposits - 507(a)(6)                                  5600-000                                         $132.45         $427,786.80
                                 167 Heneker St.SherbrookeQuebecJI J
                                 3G5

   01/15/14          201402      JOSEPH PRANGER                            Deposits - 507(a)(6)                                  5600-000                                          $53.00         $427,733.80
                                 213 East Lawson
                                 DriveAuburndaleFL33823




                                                                                  Page Subtotals:                                                              $0.00            $1,155.15
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                       7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201403      DONNA PRATT                               Deposits - 507(a)(6)                                  5600-000                                           $89.57          $427,644.23
                                 262 Tampa AvenueAlbanyNY12208


   01/15/14          201404      MARY JEAN PRATT                           Deposits - 507(a)(6)                                  5600-000                                           $47.43          $427,596.80
                                 45 Burfield Ave.HamiltonOntarioL8T 2J8


   01/15/14          201405      CYNTHIA PREMO                             Deposits - 507(a)(6)                                  5600-000                                           $57.77          $427,539.03
                                 119 North Main
                                 StreetLeominsterMAOl 453-5509

   01/15/14          201406      THERESA PRESTIPINO                        Deposits - 507(a)(6)                                  5600-000                                           $44.78          $427,494.25
                                 R347 Fairfield Ave, Apt.
                                 1 JohnstownPAl 5906

   01/15/14          201407      HARRISON PRICE                            Deposits - 507(a)(6)                                  5600-000                                           $89.57          $427,404.68
                                 17 Churchill RoadChelmsfordMA1824


   01/15/14          201408      JACK R. PRICE, JR.                        Deposits - 507(a)(6)                                  5600-000                                           $89.57          $427,315.11
                                 151 1 Center St.KalamazooMI49048


   01/15/14          201409      LAURA PRICHARD                            Deposits - 507(a)(6)                                  5600-000                                          $106.00          $427,209.11
                                 8-95 Rue de
                                 BourgmestreBromontQuebecJ2L 2W4

   01/15/14          201410      MICHELLE A. PRIDNIA                       Deposits - 507(a)(6)                                  5600-000                                           $75.79          $427,133.32
                                 6387 Martin RoadMuskegonMI49444


   01/15/14          201411      ANDREA PRIEUR                             Deposits - 507(a)(6)                                  5600-000                                          $608.51          $426,524.81
                                 25 Putney RoadCaledonONL7C1R4


   01/15/14          201412      RANDALL PRIEUR                            Deposits - 507(a)(6)                                  5600-000                                          $102.82          $426,421.99
                                 3657 Lind and Johnson LaneBemus
                                 PointNY14712

   01/15/14          201413      DANIEL PROKUP                             Deposits - 507(a)(6)                                  5600-000                                          $124.02          $426,297.97
                                 6777 Wagenschutz Rd
                                 NEKalkaskaMI49646

   01/15/14          201414      SHARON PRYMOCK                            Deposits - 507(a)(6)                                  5600-000                                          $105.79          $426,192.18
                                 7633 Brandywine
                                 CircleTrexlertownPAl 8087




                                                                                  Page Subtotals:                                                              $0.00              $1,541.62
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                       7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201415      JAMES P. PUGLIESE                         Deposits - 507(a)(6)                                  5600-000                                           $66.99          $426,125.19
                                 394 Victory HighwayGreeneRI2827


   01/15/14          201416      M ELAN IE PUPILLO                         Deposits - 507(a)(6)                                  5600-000                                          $120.84          $426,004.35
                                 1 2 Olney StCherry ValleyMAI 61 1


   01/15/14          201417      KATHLEEN PURCELL                          Deposits - 507(a)(6)                                  5600-000                                           $89.57          $425,914.78
                                 70 Vilsack St.PittsburghPA15223


   01/15/14          201418      RICHARD PYEFINCH                          Deposits - 507(a)(6)                                  5600-000                                           $44.78          $425,870.00
                                 468 Paddington
                                 CrescentOshawaOntarioLIG 7P4

   01/15/14          201419      CYNTHIA QUADRI                            Deposits - 507(a)(6)                                  5600-000                                           $79.50          $425,790.50
                                 2624 Saddlewood
                                 DriveWaterfordPAl 6441

   01/15/14          201420      MARJORIE QUARTLEY                         Deposits - 507(a)(6)                                  5600-000                                          $151.84          $425,638.66
                                 56 Shalamar CourtGetzvilleNY14068


   01/15/14          201421      PATRICIA J. QUARTON                       Deposits - 507(a)(6)                                  5600-000                                           $50.27          $425,588.39
                                 3643 HookerSpringfieldlL62703


   01/15/14          201422      DARLENE J. QUINDEL                        Deposits - 507(a)(6)                                  5600-000                                           $89.57          $425,498.82
                                 19128 Hamlet CourtLexington
                                 ParkMD20653

   01/15/14          201423      MICHAEL RABS                              Deposits - 507(a)(6)                                  5600-000                                           $89.57          $425,409.25
                                 34 Jasmine DrivePalm CoastFL32137


   01/15/14          201424      MARY RADIMER                              Deposits - 507(a)(6)                                  5600-000                                           $40.49          $425,368.76
                                 1463 State Route 30Tupper
                                 LakeNY12986

   01/15/14          201425      ELIZABETH RADT                            Deposits - 507(a)(6)                                  5600-000                                           $70.17          $425,298.59
                                 110 North Transithill
                                 DriveDepewNY 1 4043

   01/15/14          201426      YOUHANNA RAGHEB                           Deposits - 507(a)(6)                                  5600-000                                          $329.76          $424,968.83
                                 3441 Stillwater Blvd.MaumeeOH43537




                                                                                  Page Subtotals:                                                              $0.00              $1,223.35
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/Cp Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201427      CHRIS RAMIE                              Deposits - 507(a)(6)                                  5600-000                                           $41.69          $424,927.14
                                 117 North Massey
                                 StreetWatertownNYl 3601

   01/15/14          201428      ALLAN RAMM                               Deposits - 507(a)(6)                                  5600-000                                          $104.22          $424,822.92
                                 110 Pine Hollow DriveEnglewoodFL34223


   01/15/14          201429      MIOSOTIS RAMOS-PERALTA                   Deposits - 507(a)(6)                                  5600-000                                          $210.09          $424,612.83
                                 9413 Southern Garden CircleAltamonte
                                 SpringsFL32714

   01/15/14          201430      DARREN RANDALL                           Deposits - 507(a)(6)                                  5600-000                                          $119.51          $424,493.32
                                 26 Circle DrUnionvilleCT6085


   01/15/14          201431      JACQUELINE RANK                          Deposits - 507(a)(6)                                   5600-000                                          $44.79          $424,448.53
                                 89 Wickham DriveWilliamsvilleNY14221


   01/15/14          201432      NICHOLAS RANKIN                          Deposits - 507(a)(6)                                   5600-000                                          $42.40          $424,406.13
                                 609 Jenks BoulevardKalamazooMI49006


   01/15/14          201433      NICOLE RAPS                              Deposits - 507(a)(6)                                   5600-000                                          $36.73          $424,369.40
                                 2928 Summerwand DrSpringfieldlL62712


   01/15/14          201434      GARRETT G. RATERINK                      Deposits - 507(a)(6)                                   5600-000                                         $143.15          $424,226.25
                                 1 130 Gulf Blvd.EnglewoodFL34223


   01/15/14          201435      JONATHAN DAVID RATHBUN                   Deposits - 507(a)(6)                                   5600-000                                          $78.23          $424,148.02
                                 21 Peck AvenueRiversideRI2915


   01/15/14          201436      DAVID RAU                                Deposits - 507(a)(6)                                   5600-000                                          $89.57          $424,058.45
                                 408 Gray RoadNorth YarmouthME4097


   01/15/14          201437      JANET RAYMOND                            Deposits - 507(a)(6)                                   5600-000                                         $407.57          $423,650.88
                                 345 Smith Hue RoadHarrisvilleRI2830


   01/15/14          201438      PENNY S. REAM                            Deposits - 507(a)(6)                                   5600-000                                         $152.90          $423,497.98
                                 56110 Wilbur RoadThree RiversMI49093




                                                                                 Page Subtotals:                                                              $0.00              $1,470.85
                                  Case 12-40944                 Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                      Desc Main                                Page:      122
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

            Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                   Account Number/CD#: XXXXXX3464

                                                                                                                                            Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                               Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                              Separate Bond (if applicable):



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T ransactiori Date    Check or              Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                      Reference                                                                                                        Code                                                             ($)
   01/15/14           201439      ELIZABETH REARDON                         Deposits - 507(a)(6)                                   5600-000                                           $53.79          $423,444.19
                                  20 Flora St.SpringfieldMA1129


   01/15/14           201440      DIANA REBEL                               Deposits - 507(a)(6)                                   5600-000                                          $140.98          $423,303.21
                                  16 Jonathan DrivePhoenixvillePA19460


   01/15/14           201441      ANTHONY L. RECKER                         Deposits - 507(a)(6)                                   5600-000                                           $44.79          $423,258.42
                                  38 W. League StreetNorwalkOH44857


   01/15/14           201442      SALLY REDRUP                              Deposits - 507(a)(6)                                   5600-000                                           $20.93          $423,237.49
                                  4816 Port DriveMaumeeOH43537


   01/15/14           201443      KAREN M. REED                             Deposits - 507(a)(6)                                   5600-000                                          $122.86          $423,114.63
                                  1384 N. Allen StreetState
                                  CollegePA168Q3

   01/15/14           201444      ELIZABETH ANN REICHERT                    Deposits - 507(a)(6)                                   5600-000                                          $237.17          $422,877.46
                                  16305 E. Q. Ave.ClimaxMI49034


   01/15/14           201445      JACK REICHLE                              Deposits - 507(a)(6)                                   5600-000                                           $69.96          $422,807.50
                                  1325 Broadway StreetLincolnlL62656


   01/15/14           201446      ELIZABETH REID                            Deposits - 507(a)(6)                                   5600-000                                          $403.06          $422,404.44
                                  441 Wesvalley RoadLake PlacidNY12946


   01/15/14           201447      HEATHER L. REID                           Deposits - 507(a)(6)                                   5600-000                                          $179.14          $422,225.30
                                  59 Barre RoadTempletonMA1468


   01/15/14           201448      THOMAS REID                               Deposits - 507(a)(6)                                   5600-000                                          $223.13          $422,002.17
                                  26 Grove RoadEnfieldCT6082


   01/15/14           201449      JACQUELINE REILLY                         Deposits - 507(a)(6)                                   5600-000                                          $119.41          $421,882.76
                                  4A Powdermill CircleMaynardMA1754


   01/15/14           201450      GRETCHEN REIMNITZ                         Deposits - 507(a)(6)                                   5600-000                                          $103.51          $421,779.25
                                  19 Guilford Dr.SpringfieldlL62711




                                                                                   Page Subtotals:                                                               $0.00              $1,718.73
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201451      NANCY R. REINHART                        Deposits - 507(a)(6)                                  5600-000                                          $179.14          $421,600.11
                                 3303 S. Taylor Rd.DecaturlL62521


   01/15/14          201452      BARBARA REISS                            Deposits - 507(a)(6)                                  5600-000                                          $281.96          $421,318.15
                                 2923 Coquina EsplanadePunta
                                 GordaFL33982

   01/15/14          201453      SUZANNE REMY                             Deposits - 507(a)(6)                                  5600-000                                          $151.99          $421,166.16
                                 455 ViensMount St. HilaireQuebecJ3G
                                 4S6

   01/15/14          201454      MEL REPAIR                               Deposits - 507(a)(6)                                  5600-000                                          $358.28          $420,807.88
                                 10 BrookbankFonthillOntarioLOS 1E1


   01/15/14          201455      ALEX REZZOLLA                            Deposits - 507(a)(6)                                  5600-000                                          $134.35          $420,673.53
                                 4229 Congressional DriveMyrtle
                                 BeachSC29579

   01/15/14          201456      TOM RHOADS                               Deposits - 507(a)(6)                                  5600-000                                          $195.78          $420,477.75
                                 423 White Birch LaneWillistonVT5495


   01/15/14          201457      SANDRA D. RHUE                           Deposits - 507(a)(6)                                  5600-000                                          $205.64          $420,272.11
                                 373 Pond RoadBridgewaterNJ8807


   01/15/14          201458      ROSA RICCI                               Deposits - 507(a)(6)                                  5600-000                                          $179.14          $420,092.97
                                 565 Pleasant StreetLeominsterMA1453


   01/15/14          201459      PATRICIA RICE                            Deposits - 507(a)(6)                                  5600-000                                           $41.87          $420,051.10
                                 1693 Seven Pines Rd, Apt
                                 DSpringfieldlL62704

   01/15/14          201460      SUSAN RICHARD                            Deposits - 507(a)(6)                                  5600-000                                          $104.14          $419,946.96
                                 592 Chocolog RoadUxbridgeMA1569


   01/15/14          201461      ANN RICHARDS                             Deposits - 507(a)(6)                                  5600-000                                          $162.91          $419,784.05
                                 81 Roosevelt StMarlboroughMAI 752


   01/15/14          201462      JOELY RICHARDSON                         Deposits - 507(a)(6)                                  5600-000                                          $167.48          $419,616.57
                                 13 Boysenberry Drive Unit
                                 #1 01 MiltonVT5468




                                                                                 Page Subtotals:                                                              $0.00              $2,162.68
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                       7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201463      PATRICIA A. RICHERT                       Deposits - 507(a)(6)                                  5600-000                                           $89.57          $419,527.00
                                 166 Harbridge
                                 ManorWilliamsvilleNYl 422 1

   01/15/14          201464      EVA RIEDLINGER                            Deposits - 507(a)(6)                                  5600-000                                           $64.81          $419,462.19
                                 5680 St Hwy 67Upper SanduskyOH43351


   01/15/14          201465      GRACELLEN M. RIEL                         Deposits - 507(a)(6)                                  5600-000                                           $94.87          $419,367.32
                                 19 Vinton Rd.SturbridgeMA1566


   01/15/14          201466      BARBARA RINALDI                           Deposits - 507(a)(6)                                  5600-000                                          $160.72          $419,206.60
                                 252 Diana Rd.PlantsvilleCT6479


   01/15/14          201467      BRENDA RIPPLE                             Deposits - 507(a)(6)                                   5600-000                                          $83.74          $419,122.86
                                 478 Seneca Creek RdWest
                                 SenecaNY14224

   01/15/14          201468      JACKIE RISEN                              Deposits - 507(a)(6)                                   5600-000                                         $108.60          $419,014.26
                                 220 Ashford LaneWaterburyVT5676


   01/15/14          201469      JOHN AND GAYLE RISLEY                     Deposits - 507(a)(6)                                   5600-000                                         $153.65          $418,860.61
                                 1933 Carnwell DriveBelviderelL61008


   01/15/14          201470      AMAURY RIVERA                             Deposits - 507(a)(6)                                   5600-000                                         $113.42          $418,747.19
                                 3328 Royal Oak Dr WMulberryFL33860


   01/15/14          201471      JULIE RIVERA                              Deposits - 507(a)(6)                                   5600-000                                         $123.38          $418,623.81
                                 36 Shoreham PkwyBuffaloNY14216


   01/15/14          201472      SCOTT F. RIVERS                           Deposits - 507(a)(6)                                   5600-000                                         $121.95          $418,501.86
                                 21 Fjord DrivePlattsburghNY 1 2901


   01/15/14          201473      MICHAEL D. RIZZO                          Deposits - 507(a)(6)                                   5600-000                                          $89.57          $418,412.29
                                 93 Gardner RoadVoluntownCT6384


   01/15/14          201474      ANNETTE ROBERTS                           Deposits - 507(a)(6)                                   5600-000                                          $89.57          $418,322.72
                                 1 743 Bridgewater DriveConwaySC29526




                                                                                  Page Subtotals:                                                              $0.00              $1,293.85
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201475      BRIAN C. ROBERTS                          Deposits - 507(a)(6)                                  5600-000                                          $134.35          $418,188.37
                                 500 Virginia St.AshvilleOH43103


   01/15/14          201476      SHARON L. ROBERTS                         Deposits - 507(a)(6)                                  5600-000                                           $49.82          $418,138.55
                                 240 San Marco DriveVeniceFL34285


   01/15/14          201477      CAROLE ROBERTS                            Deposits - 507(a)(6)                                  5600-000                                           $44.78          $418,093.77
                                 1119 Lampwick LaneMurrells
                                 lnletSC29576

   01/15/14          201478      JANEECE ROBERTSON                         Deposits - 507(a)(6)                                  5600-000                                          $268.71          $417,825.06
                                 2915 Kipling CourtSpringfieldlL6271 1


   01/15/14          201479      CAROLYNN V. ROBINSON                      Deposits - 507(a)(6)                                  5600-000                                           $89.57          $417,735.49
                                 5253 Streamer Road WarsawNYl 4569


   01/15/14          201480      HENRY F. ROBINSON                         Deposits - 507(a)(6)                                  5600-000                                          $116.76          $417,618.73
                                 33 Lemington Ct.HomosassaFL34446


   01/15/14          201481      LAURIE ROCCO                              Deposits - 507(a)(6)                                  5600-000                                           $44.78          $417,573.95
                                 41 Verge StreetSpringfieldMA1129


   01/15/14          201482      MARGARET ROCHE                            Deposits - 507(a)(6)                                  5600-000                                           $89.57          $417,484.38
                                 45 Old Cart RoadAuburnMA1501


   01/15/14          201483      MICHAEL ROCK                              Deposits - 507(a)(6)                                  5600-000                                           $89.57          $417,394.81
                                 928 Tidewater DriveN. Myrtle
                                 BeachSC29582

   01/15/14          201484      PAULA ROCK                                Deposits - 507(a)(6)                                  5600-000                                          $354.04          $417,040.77
                                 9774 Francis RoadBataviaNY14020


   01/15/14          201485      ELIZABETH ROCKWELL                        Deposits - 507(a)(6)                                  5600-000                                           $50.10          $416,990.67
                                 206 Crestview DrivePittsburghPA15236


   01/15/14          201486      WILLIAM RODGERS                           Deposits - 507(a)(6)                                  5600-000                                           $41.87          $416,948.80
                                 Box 135/5437 Leach
                                 RoadRochesterlL62563




                                                                                  Page Subtotals:                                                              $0.00              $1,373.92
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201487      DRAGAN RODIC                              Deposits - 507(a)(6)                                  5600-000                                           $92.75          $416,856.05
                                 16 Westcombe ParkWest
                                 HenriettaNY14586

   01/15/14          201488      JOSEPH ROGALLA                            Deposits - 507(a)(6)                                  5600-000                                           $20.93          $416,835.12
                                 16874 8 Mile RoadReed CityMI49677


   01/15/14          201489      GAIL ROGERS                               Deposits - 507(a)(6)                                  5600-000                                          $179.14          $416,655.98
                                 215 Rio Villa Dr. #3152Punta
                                 GordaFL33950

   01/15/14          201490      MARIA ROSA ROMAN                          Deposits - 507(a)(6)                                  5600-000                                           $29.15          $416,626.83
                                 336 High St., Apt. #3P. O. Box
                                 79LockportNY1 4095-0079

   01/15/14          201491      MAUREEN ROONEY                            Deposits - 507(a)(6)                                  5600-000                                           $53.53          $416,573.30
                                 10 Maggie May WayCold SpringNY10516


   01/15/14          201492      KERRY S. ROOS                             Deposits - 507(a)(6)                                  5600-000                                          $235.05          $416,338.25
                                 7727 W. Brianna Dr.MapletonlL61547


   01/15/14          201493      ANNA M. ROSE                              Deposits - 507(a)(6)                                  5600-000                                           $59.89          $416,278.36
                                 53836 26th StreetMattawanMI49071


   01/15/14          201494      ANTHONY & TRACEY ROSE                     Deposits - 507(a)(6)                                  5600-000                                          $226.15          $416,052.21
                                 110 Miller RoadN StoningtonCT6359


   01/15/14          201495      GERALD H. ROSE, JR.                       Deposits - 507(a)(6)                                  5600-000                                           $26.47          $416,025.74
                                 330 North River St.SwantonVT5488


   01/15/14          201496      LINDA ROSENBLATT                          Deposits - 507(a)(6)                                  5600-000                                           $89.57          $415,936.17
                                 15 Richard AvenueSuccasunnaNJ7876


   01/15/14          201497      KAREN ROSS                                Deposits - 507(a)(6)                                  5600-000                                          $379.48          $415,556.69
                                 3325 Summerset CourtN
                                 TonawandaNY 1 41 20

   01/15/14          201498      LINDA ROTHE                               Deposits - 507(a)(6)                                  5600-000                                           $89.57          $415,467.12
                                 227 Broad Brook RoadEnfieldCT6082




                                                                                  Page Subtotals:                                                              $0.00              $1,481.68
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          201499      WILLARD ROTHERMEL                         Deposits - 507(a)(6)                                  5600-000                                         $106.00         $415,361.12
                                 807 W. Church St.SavoylL61874


   01/15/14          201500      STEPHEN ROTHMAN                           Deposits - 507(a)(6)                                  5600-000                                          $26.50         $415,334.62
                                 691 Pettigrew RdN HuntingdonPA15642


   01/15/14          201501      CHEVON ROTUNA                             Deposits - 507(a)(6)                                  5600-000                                         $328.32         $415,006.30
                                 141 Beech St.AliquippaNY15001


   01/15/14          201502      STEVEN J. ROUSH                           Deposits - 507(a)(6)                                  5600-000                                         $116.04         $414,890.26
                                 1922 Sunflower DriveSycamorelL60178


   01/15/14          201503      PATRICIA M. ROUVEL                        Deposits - 507(a)(6)                                  5600-000                                          $89.57         $414,800.69
                                 30 Mettacomett PathHarvardMA1451


   01/15/14          201504      ANNMARIE ROVEGNO                          Deposits - 507(a)(6)                                  5600-000                                          $19.87         $414,780.82
                                 539 Arcadia RdPawleys lslandSC29585


   01/15/14          201505      BETTY ROY                                 Deposits - 507(a)(6)                                  5600-000                                         $132.50         $414,648.32
                                 60 North Main Street Apt
                                 411NatickMA1760

   01/15/14          201506      SANDRA ROYER                              Deposits - 507(a)(6)                                  5600-000                                         $168.78         $414,479.54
                                 1851 Greenbrook RdCantonOH44720


   01/15/14          201507      JULIE RUBY                                Deposits - 507(a)(6)                                  5600-000                                         $265.66         $414,213.88
                                 148 Maple StreetEssex JunctionVT5452


   01/15/14          201508      DENISE RUDZINSKY                          Deposits - 507(a)(6)                                  5600-000                                          $54.25         $414,159.63
                                 30 Wright DrMarlboroughMA1752


   01/15/14          201509      SALVATORE M. RUGGIERO                     Deposits - 507(a)(6)                                  5600-000                                          $89.57         $414,070.06
                                 2403 Pin Oak CourtPalm Beach
                                 GardensFL33410

   01/15/14          201510      PATIENCE RUGGIO                           Deposits - 507(a)(6)                                  5600-000                                          $44.78         $414,025.28
                                 106 Paras Hill DriveHartfordMI49057




                                                                                  Page Subtotals:                                                              $0.00           $1,441.84
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201511      HOLLY MARIE RUGGLES                      Deposits -507(a)(6)                                    5600-000                                           $89.57          $413,935.71
                                 2717 St., Rt. 113 WestNorwalkOH44857


   01/15/14          201512      JOHN RUMNEY                              Deposits - 507(a)(6)                                   5600-000                                          $122.75          $413,812.96
                                 37 College CrescentBarrieOntarioL4M
                                 2W4

   01/15/14          201513      JONATHAN RUNGE                           Deposits - 507(a)(6)                                   5600-000                                           $24.91          $413,788.05
                                 7176 Collamer RdE SyracuseNY13057


   01/15/14          201514      ERIN RUPERTO                             Deposits - 507(a)(6)                                   5600-000                                          $204.31          $413,583.74
                                 9 Alexander Ave.ClintonMAI 510


   01/15/14          201515      DONALD RUPPERT                           Deposits - 507(a)(6)                                   5600-004                                          $140.66          $413,443.08
                                 8422 Versailles PlankAngolaNY14006


   01/15/14          201516      SUSAN RUSSO                              Deposits - 507(a)(6)                                   5600-000                                           $58.02          $413,385.06
                                 2160 Heron Lake Dr#301Punta
                                 GordaFL33983

   01/15/14          201517      PAUL RYAN                                Deposits - 507(a)(6)                                   5600-000                                           $44.78          $413,340.28
                                 1132 Township Road 167AMingo
                                 JunctionOH43938

   01/15/14          201518      PHYLLIS RYAN                             Deposits - 507(a)(6)                                   5600-000                                           $44.79          $413,295.49
                                 1132 Township Road 167AMingo
                                 JunctionOH43938

   01/15/14          201519      SUSAN SADLER                             Deposits - 507(a)(6)                                   5600-000                                          $132.50          $413,162.99
                                 164 East Main StreetOrangeMA1364


   01/15/14          201520      AUDREY SAGE                              Deposits - 507(a)(6)                                   5600-000                                           $73.93          $413,089.06
                                 70 Laguna ParkwayUnit
                                 1 2BrechinOntarioLOK1 B0

   01/15/14          201521      LISA LYN SALSER                          Deposits - 507(a)(6)                                   5600-000                                           $44.79          $413,044.27
                                 1255 Hathaway RoadBellvilleOH44813


   01/15/14          201522      RANDY SANDBORN                           Deposits - 507(a)(6)                                   5600-000                                          $179.14          $412,865.13
                                 100 Kent St.PortlandMI48875




                                                                                 Page Subtotals:                                                               $0.00              $1,160.15
                                  Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:      129
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          201523      DEBORAH SANDBROOK                        Deposits - 507(a)(6)                                  5600-000                                         $134.35         $412,730.78
                                 3 Halton CourtMarkhamOntarioL3P 6R4


   01/15/14          201524      MARTHA SANTOM                            Deposits - 507(a)(6)                                  5600-000                                          $89.57         $412,641.21
                                 13 Clara StreetWorcesterMA1606


   01/15/14          201525      CATHY JEAN SARFF                         Deposits - 507(a)(6)                                  5600-000                                         $169.22         $412,471.99
                                 6810 CR 420NBathlL62617


   01/15/14          201526      MARILYN SARGENT                          Deposits - 507(a)(6)                                  5600-000                                          $65.72         $412,406.27
                                 21801 Edgewater DrPort
                                 CharlotteFL33952

   01/15/14          201527      JEFFREY SATNICK                          Deposits - 507(a)(6)                                  5600-000                                         $330.06         $412,076.21
                                 183 Sterling RoadPrincetonMA1541


   01/15/14          201528      CAROL SATTELBERG                         Deposits - 507(a)(6)                                  5600-000                                          $58.03         $412,018.18
                                 142 Homestead DriveNorth
                                 TonawandaNYl 41 20

   01/15/14          201529      STEFFANIE CONNETTE SAUNDERS              Deposits - 507(a)(6)                                  5600-000                                          $83.74         $411,934.44
                                 21 1 Harvester CourtWinnabowNC28479


   01/15/14          201530      STEVEN SAUNDERS                          Deposits - 507(a)(6)                                  5600-000                                         $224.69         $411,709.75
                                 9106 Swanson DriveRoscoelL61073


   01/15/14          201531      DIANE SAVAGE                             Deposits - 507(a)(6)                                  5600-000                                         $134.36         $411,575.39
                                 50 Burgess StreetPittsburghPA15227


   01/15/14          201532      NANCY L. SAVICKE                         Deposits - 507(a)(6)                                  5600-000                                          $53.00         $411,522.39
                                 1322 Reycraft DrKalamazooMI49001


   01/15/14          201533      MICHAEL SCADUTO                          Deposits - 507(a)(6)                                  5600-000                                         $134.35         $411,388.04
                                 3216 Hazlett RoadSpringfieldlL62707


   01/15/14          201534      JAMES SCARNECCHIA                        Deposits - 507(a)(6)                                  5600-000                                          $89.57         $411,298.47
                                 560 StoneybrookCanfieldOH44406




                                                                                 Page Subtotals:                                                              $0.00            $1,566.66
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          201535      NANCY L. SCHADLER                         Deposits - 507(a)(6)                                  5600-000                                         $313.49         $410,984.98
                                 4041 Gulf Shore Blvd. N.,
                                 #308NaplesFL341 03

   01/15/14          201536      RICHARD SCHELL                            Deposits - 507(a)(6)                                  5600-000                                         $134.36         $410,850.62
                                 6737 Blue Creek
                                 EastWhitehouseOH43571

   01/15/14          201537      LORI SCHELSKE                             Deposits - 507(a)(6)                                  5600-000                                          $39.75         $410,810.87
                                 1927 Lakeshore Dr., Apt
                                 3MuskegonMI49441

   01/15/14          201538      MONIQUEF. SCHETZEL                        Deposits - 507(a)(6)                                  5600-000                                          $89.57         $410,721.30
                                 205 Breckwood Blvd.SpringfieldMA1109


   01/15/14          201539      MICHELLE SCHIPPERS                        Deposits - 507(a)(6)                                  5600-000                                         $136.63         $410,584.67
                                 12 French Drive, R.R.
                                 #50rangevilleOntarioL9W 2Z2

   01/15/14          201 540     MICHELLE SCHLICTER                        Deposits - 507(a)(6)                                  5600-000                                          $89.57         $410,495.10
                                 4731 National DriveMyrtle
                                 BeachSC29579

   01/15/14          201541      CAROL A. SCHLIPP                          Deposits - 507(a)(6)                                  5600-000                                         $223.92         $410,271.18
                                 253 Ryno RoadColomaMI49038


   01/15/14          201542      JOY E. SCHMALZLE                          Deposits - 507(a)(6)                                  5600-000                                         $102.81         $410,168.37
                                 109 Alex RoadHawleyPAl 8428


   01/15/14          201543      JAMIE SCHMEELK                            Deposits - 507(a)(6)                                  5600-000                                          $89.57         $410,078.80
                                 338 Green Ave FL 2LyndhurstNJ7071


   01/15/14          201544      ANDREA SCHMIDBAUER                        Deposits - 507(a)(6)                                  5600-000                                          $49.66         $410,029.14
                                 3183 Sterlingwood
                                 LandPerrysburgOH43551

   01/15/14          201545      MIRIAM L. SCHMITT                         Deposits - 507(a)(6)                                  5600-000                                         $245.14         $409,784.00
                                 14319 Westwood TrailWoodstocklL60098


   01/15/14          201546      JEFFREY SCHNEGGENBURGER                   Deposits - 507(a)(6)                                  5600-000                                         $145.63         $409,638.37
                                 80 Old Farm CirWilliamsvilleNY14221




                                                                                  Page Subtotals:                                                              $0.00           $1,660.10
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                       7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201547      BILL SCHOETTLE                            Deposits - 507(a)(6)                                  5600-000                                           $80.99          $409,557.38
                                 668 Phillips CircleForsythlL62535


   01/15/14          201548      DONNA SCHULTZ                             Deposits - 507(a)(6)                                  5600-000                                           $56.95          $409,500.43
                                 803 Roberts StWakefieldMI49968


   01/15/14          201549      JENNEL R. SCHULTZE                        Deposits - 507(a)(6)                                  5600-000                                          $195.25          $409,305.18
                                 58958 Holtom RoadThree RiversMI49093


   01/15/14          201550      TERESA M. SCHULZ-FRY                      Deposits - 507(a)(6)                                  5600-000                                           $58.03          $409,247.15
                                 403 NW 24th AvenueCape CoralFL33993


   01/15/14          201551      PATRICIA SCHUMACHER                       Deposits - 507(a)(6)                                  5600-000                                          $134.35          $409,112.80
                                 13592 Wilkins RdP.O. Box
                                 523HollandNY14080

   01/15/14          201552      KATHERINE S. SCHUTZENHOFER                Deposits - 507(a)(6)                                  5600-000                                          $106.00          $409,006.80
                                 113 N. 1st StreetElburnlL601 1 9


   01/15/14          201553      BARRY SCHWARTZ                            Deposits - 507(a)(6)                                  5600-000                                           $99.64          $408,907.16
                                 1776 Allen DriveSalemOH44460


   01/15/14          201554      SCOTT SCHWARTZ                            Deposits - 507(a)(6)                                  5600-000                                           $41.87          $408,865.29
                                 387 Lincoln AveBarbertonOH44203


   01/15/14          201555      CAROL J. SCHWART                   Deposits - 507(a)(6)                                         5600-000                                           $44.79          $408,820.50
                                 84 Dogwood Court SWCalabashNC28476


   01/15/14          201556      J. PAUL SCIORTINO                         Deposits - 507(a)(6)                                  5600-000                                           $62.94          $408,757.56
                                 136 Learned Hill DrJeffersonvilleVT5464


   01/15/14          201557      TARA SCOTT                                Deposits - 507(a)(6)                                  5600-000                                           $49.82          $408,707.74
                                 5162 Salmon Dr. SE, Unit CSt.
                                 Petersburg FL33702

   01/15/14          201558      TERRILYN SCOZZAFAVA                       Deposits - 507(a)(6)                                  5600-000                                          $135.51          $408,572.23
                                 914 Orchard DriveLewistonNY14092




                                                                                  Page Subtotals:                                                              $0.00              $1,066.14
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7


Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201559      JAMES E. SCRIPTURE, JR.                  Deposits - 507(a)(6)                                  5600-000                                          $103.40          $408,468.83
                                 234 Sawmill RoadWest
                                 SpringfieldMA1089

   01/15/14          201560      ANGELA C. SCROGGINS                      Deposits - 507(a)(6)                                  5600-000                                          $102.82          $408,366.01
                                 30 Wildwood EstatesPlattsburghNY12901


   01/15/14          201561      TINA SEIFERT                             Deposits - 507(a)(6)                                  5600-000                                          $292.16          $408,073.85
                                 1 32 City Depot Road/PO Box
                                 1 1 36CharltonMA1 508

   01/15/14          201562      THEODORE SEILER                          Deposits - 507(a)(6)                                  5600-000                                           $23.52          $408,050.33
                                 501 W. Clara Av.PeorialL61614


   01/15/14          201563      TRACEY SELLARS                           Deposits - 507(a)(6)                                  5600-000                                          $288.39          $407,761.94
                                 12 Pleasant PlaceParisOntarioN3L3S1


   01/15/14          201564      ROBERT G. SENAY                          Deposits - 507(a)(6)                                  5600-000                                          $171.19          $407,590.75
                                 203 Gray AvenueAllistonONL9ROA6


   01/15/14          201565      ELSIE M. SETTA                           Deposits - 507(a)(6)                                  5600-000                                           $25.71          $407,565.04
                                 26396 State Hwy. 77SaegertownPA16433


   01/15/14          201566      ANGELINE & RUSSELL SEVERNS               Deposits - 507(a)(6)                                  5600-000                                           $89.57          $407,475.47
                                 12650 E Country Line RdOakfordlL62673


   01/15/14          201567      REBECCA SEWELL                           Deposits - 507(a)(6)                                  5600-000                                          $122.11          $407,353.36
                                 3218 SW 1st AveCape CoralFL33914


   01/15/14          201568      JARED SEYMOUR                            Deposits - 507(a)(6)                                   5600-000                                          $39.75          $407,313.61
                                 157 Fuller Rd.PeruNY12972


   01/15/14          201569      REBECCA SHARKEY                          Deposits - 507(a)(6)                                  5600-000                                          $295.21          $407,018.40
                                 3137 Carrie StPerulL61354


   01/15/14          201570      ELIZABETH B. SHAW                        Deposits - 507(a)(6)                                   5600-000                                          $94.87          $406,923.53
                                 2229 Timberlane DriveFlorenceSC29506




                                                                                 Page Subtotals:                                                              $0.00              $1,648.70
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201571      KRISTIN E. SHEA                          Deposits - 507(a)(6)                                  5600-000                                          $190.27          $406,733.26
                                 80 Brewster StreetDepewNY14043


   01/15/14          201572      SANDRA K. SHEEHY                         Deposits - 507(a)(6)                                  5600-000                                           $89.57          $406,643.69
                                 1129 Schmidlin Rd.OregonOH43616


   01/15/14          201573      RUTH SHEELER                             Deposits - 507(a)(6)                                  5600-000                                           $47.17          $406,596.52
                                 11978 Hanover RoadSilver
                                 CreekNY14136

   01/15/14          201574      JAMES SHELTON                            Deposits - 507(a)(6)                                  5600-000                                           $44.78          $406,551.74
                                 95 ParkwayMaywoodNJ7607


   01/15/14          201575      MARK SHERIDAN                            Deposits - 507(a)(6)                                  5600-000                                          $501.79          $406,049.95
                                 RR 3Vernon BridgePECOA 2EO


   01/15/14          201576      DEBRA SHERWOOD                           Deposits - 507(a)(6)                                  5600-000                                           $65.65          $405,984.30
                                 70 Elmwood AveUnit
                                 3WellandOntarioL3C 0C1

   01/15/14          201577      RICK E. SHIELDS                          Deposits - 507(a)(6)                                  5600-000                                           $89.57          $405,894.73
                                 7217 Nash RoadCollinsOH44826


   01/15/14          201578      ROBERT M. SHOEMAKER                      Deposits - 507(a)(6)                                  5600-000                                          $125.61          $405,769.12
                                 531 Chapman LoopPawleys
                                 lslandSC29585

   01/15/14          201579      A. ELEANOR SHOLAN                        Deposits - 507(a)(6)                                  5600-000                                           $92.30          $405,676.82
                                 20 Winters LaneP. O. Box
                                 207AlburghVT5440

   01/15/14          201580      SHARON SHORT                             Deposits - 507(a)(6)                                  5600-000                                           $43.61          $405,633.21
                                 4310 Pitts Ave., #1CincinnatiOH45223


   01/15/14          201581      ALEXANDER SHOVER                         Deposits - 507(a)(6)                                  5600-000                                           $95.66          $405,537.55
                                 16 Clemson RoadConwaySC29526


   01/15/14          201582      JAMES SHOVER                             Deposits - 507(a)(6)                                   5600-000                                          $84.80          $405,452.75
                                 171 Westhaven DriveUnit 8CMyrtle
                                 BeachSC29579




                                                                                 Page Subtotals:                                                              $0.00              $1,470.78
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                       7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201583      SANDRA SHOVER                             Deposits - 507(a)(6)                                  5600-000                                           $95.66          $405,357.09
                                 16 Clemson RoadConwaySC29526


   01/15/14          201584      GIANNA SHOWERS                            Deposits - 507(a)(6)                                  5600-000                                           $89.57          $405,267.52
                                 3495 Oak Park RoadDeerfieldWI53531


   01/15/14          201585      MARY LOU SHREMSHOCK                       Deposits - 507(a)(6)                                  5600-000                                          $948.69          $404,318.83
                                 6130 S. Sunbury
                                 RoadWestervilleOH43081                         'MM!




   01/15/14          201586      TERRY R. SHRYOCK                          Deposits - 507(a)(6)                                  5600-000                                           $89.57          $404,229.26
                                 5213 Manhattan Dr.SpringfieldlL62711


   01/15/14          201587      DANA E. SHULTS                            Deposits - 507(a)(6)                                  5600-000                                           $94.87          $404,134.39
                                 777 Glendale Rd.WilbrahamMA1095


   01/15/14          201588      JOYE A. SHUMAKER                          Deposits - 507(a)(6)                                  5600-000                                           $28.89          $404,105.50
                                 1 1 9 Edgar St.PetroliaPAl 6050


   01/15/14          201589      LAURINE SIERPINSKI                        Deposits - 507(a)(6)                                  5600-000                                           $84.61          $404,020.89
                                 141 Spring Brook DriveMiddletonCT6457


   01/15/14          201590      DEBORAH SIKES                             Deposits - 507(a)(6)                                  5600-000                                           $94.87          $403,926.02
                                 74689 55th StreetDecaturMI49045


   01/15/14          201591      ANDREA SILVA                              Deposits - 507(a)(6)                                  5600-000                                          $290.86          $403,635.16
                                 32 Oakland AveShrewsburyMA1545


   01/15/14          201592      NADINE SILVA                              Deposits - 507(a)(6)                                  5600-000                                          $102.45          $403,532.71
                                 485 Deerhurst DriveBurlingtonOntarioL7L
                                 5T4

   01/15/14          201593      NANCY AND CHARLES SILVERMAN               Deposits - 507(a)(6)                                  5600-000                                           $89.57          $403,443.14
                                 33 Rice AvenueNorthboroughMAI 532


   01/15/14          201594      RICHARD P. SILVERMAN                      Deposits - 507(a)(6)                                  5600-000                                           $74.92          $403,368.22
                                 74 Lynnwood LaneWorcesterMA1609




                                                                                  Page Subtotals:                                                              $0.00              $2,084.53
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                       7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201595      LEV SIMKHOVICH                            Deposits - 507(a)(6)                                  5600-000                                          $285.14          $403,083.08
                                 14 Iroquois StreetWorcesterMA1602


   01/15/14          201596      DAVID SIMONEAU                            Deposits - 507(a)(6)                                  5600-000                                           $89.57          $402,993.51
                                 151 Seasons DrivePunta GordaFL33983


   01/15/14          201597      CHERYL SIMPSON                            Deposits - 507(a)(6)                                  5600-000                                          $268.71          $402,724.80
                                 209 SW 13th TerraceCape CoralFL33991


   01/15/14          201598      RONDINA SINATRA-SCHMITZ                   Deposits - 507(a)(6)                                  5600-000                                          $109.44          $402,615.36
                                 7126 Salt RoadClarence CenterNY14032


   01/15/14          201599      CARMEN SINE                               Deposits - 507(a)(6)                                  5600-000                                          $179.14          $402,436.22
                                 04971 Blue Star Memorial HwySouth
                                 HavenMI49090

   01/15/14          201600      BRENDA K. SITAR                           Deposits - 507(a)(6)                                  5600-000                                          $109.71          $402,326.51
                                 41709 Paw Paw RoadPaw PawMI49079


   01/15/14          201601      MICHAEL SIWEK                             Deposits - 507(a)(6)                                  5600-000                                           $89.57          $402,236.94
                                 321 Franklin StreetEvansvilleWI53536


   01/15/14          201602      HILDA SIX                                 Deposits - 507(a)(6)                                  5600-000                                          $125.61          $402,111.33
                                 240 East
                                 PennsylvaniaJacksonvillelL62650

   01/15/14          201603      ART SKIVER                                Deposits - 507(a)(6)                                  5600-000                                           $78.15          $402,033.18
                                 571 1 W C AveKalamazooMI49009


   01/15/14          201604      ANN SKRZYPCZAK                            Deposits - 507(a)(6)                                  5600-000                                           $62.33          $401,970.85
                                 3702 Knighsbridge
                                 CloseWorcesterMA' 0 1 609-1 1 73

   01/15/14          201605      ROBERT & LAURA SLAVING                    Deposits - 507(a)(6)                                  5600-000                                          $157.45          $401,813.40
                                 P.O. Box 796WaterboroME4087


   01/15/14          201606      CHERYL SLAY                               Deposits - 507(a)(6)                                  5600-000                                           $78.97          $401,734.43
                                 1568 Windward DrivePingree
                                 Grove I L60 140




                                                                                  Page Subtotals:                                                              $0.00              $1,633.79
                                 Case 12-40944                 Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                                Page:      136
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                       7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201607      CHARLOTTE SLEAR                           Deposits - 507(a)(6)                                  5600-000                                           $13.23          $401,721.20
                                 705 Mercer RoadButlerPA16001


   01/15/14          201608      DARRELL SLIGHTOM                          Deposits - 507(a)(6)                                  5600-000                                           $39.48          $401,681.72
                                 9599 Ploof Road SELelandNC28451


   01/15/14          201609      JANICE SMILEY                             Deposits - 507(a)(6)                                  5600-000                                          $366.29          $401,315.43
                                 5 Mcelree RoadWashingtonPA15301


   01/15/14          201610      BARBARA A. SMITH                          Deposits - 507(a)(6)                                  5600-000                                          $125.08          $401,190.35
                                 73 Garfield StreetFort PlainNY13339


   01/15/14          201611      BRIAN SMITH                               Deposits - 507(a)(6)                                  5600-000                                           $89.68          $401,100.67
                                 8300 SW 121 ST
                                 TerraceDunnellonFL34432

   01/15/14          201612      CYNTHIA LOUISE SMITH                      Deposits - 507(a)(6)                                  5600-000                                           $44.81          $401,055.86
                                 7741 Walcott StreetPortageMI49024


   01/15/14          201613      DEBORAH SMITH                             Deposits - 507(a)(6)                                  5600-000                                          $139.65          $400,916.21
                                 2011 Beulah RoadPittsburghPA15235


   01/15/14          201614      JOSIE L. SMITH                            Deposits - 507(a)(6)                                  5600-000                                           $92.48          $400,823.73
                                 5887 Snowdrop Ave.GallowayOH431 19


   01/15/14          201615      JUDITH SMITH                              Deposits - 507(a)(6)                                  5600-000                                           $57.77          $400,765.96
                                 N537 County Road HPalmyraWI53156


   01/15/14          201616      KATHLEEN SMITH                            Deposits - 507(a)(6)                                  5600-000                                          $134.35          $400,631.61
                                 120 Egret DriveJupiterFL33458


   01/15/14          201617      KAYLA SMITH                               Deposits - 507(a)(6)                                  5600-000                                          $150.14          $400,481.47
                                 21-60 24th Street, #2AstoriaNY1 1 105


   01/15/14          201618      LAVERNE SMITH                             Deposits - 507(a)(6)                                  5600-000                                           $62.54          $400,418.93
                                 73 Garfield StreetFort PlainNY13339




                                                                                  Page Subtotals:                                                              $0.00              $1,315.50
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          201619      LYNDA SMITH                              Deposits - 507(a)(6)                                  5600-000                                          $94.87         $400,324.06
                                 115 Camp Run
                                 Road MorgantownWV26508

   01/15/14          201620      LYNETTE M. SMITH                         Deposits - 507(a)(6)                                  5600-000                                         $134.35         $400,189.71
                                 511 Depot St.BlissfieldMI49228


   01/15/14          201621      MICHAEL G. SMITH                         Deposits - 507(a)(6)                                  5600-000                                         $179.14         $400,010.57
                                 313 Sunset Hill RoadRandoIphVT5060


   01/15/14          201622      RACHEL E. SMITH                          Deposits - 507(a)(6)                                  5600-004                                         $116.07         $399,894.50
                                 21 Doane StreetCranstonRI2910


   01/15/14          201623      RHODA SMITH                              Deposits - 507(a)(6)                                  5600-000                                         $134.35         $399,760.15
                                 P.O. Box 153FreedomNY14065


   01/15/14          201624      SAMUEL & RACHEL SMITH                    Deposits - 507(a)(6)                                  5600-000                                          $62.76         $399,697.39
                                 5120 West B AveKalamazooMI49009


   01/15/14          201625      STACEY SMITH                             Deposits - 507(a)(6)                                  5600-000                                          $41.87         $399,655.52
                                 749 17TH StreetNiagra FallsNY14301


   01/15/14          201626      TAMARA SMITH                             Deposits - 507(a)(6)                                  5600-000                                         $137.69         $399,517.83
                                 65146 Taylor Rd.SturgisM!49091


   01/15/14          201627      JACK SMITS                               Deposits - 507(a)(6)                                  5600-000                                         $206.70         $399,311.13
                                 9 Reddington Drive, #3Legacy Pines
                                 GolfcourseCaledonOntarioL7E 4C4

   01/15/14          201628      DARLENE SMYTHE                           Deposits - 507(a)(6)                                  5600-000                                          $42.16         $399,268.97
                                 3599 Rossmere RoadPort
                                 Char!otteFL33953

   01/15/14          201629      CHARLES A. SNELL                         Deposits - 507(a)(6)                                  5600-000                                         $268.71         $399,000.26
                                 2721 Harbor CourtSt. AugustoneFL32084


   01/15/14          201630      THOMAS SOKOLSKI                          Deposits - 507(a)(6)                                  5600-000                                         $344.76         $398,655.50
                                 3713 Grace RoadKa!amazooM!49006




                                                                                 Page Subtotals:                                                              $0.00            $1,763.43
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                       7


Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201631      JOSEPH D. SOLOMON                         Deposits - 507(a)(6)                                  5600-000                                           $19.03          $398,636.47
                                 14748 Niagara Pkwy R. R. #1 Niagara on
                                 the LakeOntarioLOS 1J0

   01/15/14          201632      LORI SOMERSET                             Deposits - 507(a)(6)                                  5600-000                                          $125.61          $398,510.86
                                 516 Emerson AveFarrellPA16121


   01/15/14          201633      HUGO SONNENBERG                           Deposits - 507(a)(6)                                  5600-000                                           $89.57          $398,421.29
                                 1400 Dixie Road, Unit
                                 1 405MississaugaOntarioL5E3E1

   01/15/14          201634      JUSTIN & ERIN SORENSON                    Deposits - 507(a)(6)                                  5600-000                                          $179.14          $398,242.15
                                 59 Oakcrest DrBurlingtonVT5401


   01/15/14          201635      HELENE SORRENTINO                         Deposits - 507(a)(6)                                  5600-000                                           $89.57          $398,152.58
                                 623 Woodmoor Dr., Unit 102Murrells
                                 lnletSC29576

   01/15/14          201636      LYNN SORRENTINO                           Deposits - 507(a)(6)                                  5600-000                                           $89.57          $398,063.01
                                 147-A East Bradford AvenueCedar
                                 GroveNJ7009

   01/15/14          201637      PAUL SOUTHWARD                            Deposits - 507(a)(6)                                  5600-000                                           $83.74          $397,979.27
                                 5056 Cassandra
                                 Dr.BeamsvilleOntarioLOR 1B7

   01/15/14          201638      JOANNE SPANO                              Deposits - 507(a)(6)                                   5600-000                                          $83.63          $397,895.64
                                 810 Loretta StreetTonawandaNY14150


   01/15/14          201639      MEGAN SPAYDE                              Deposits - 507(a)(6)                                   5600-000                                          $44.79          $397,850.85
                                 6320 Oak CourtLakelandFL33813


   01/15/14          201640      AMY SPEAKER                               Deposits - 507(a)(6)                                   5600-000                                         $327.29          $397,523.56
                                 3762 Lynn Dr.Orchard ParkNY14127


   01/15/14          201641      CAROLINE SPIERING                         Deposits - 507(a)(6)                                   5600-000                                          $44.78          $397,478.78
                                 1128 Vansickle Rd. N. Unit 30St.
                                 CatherineOntarioL2S 3W1

   01/15/14          201642      DEBORAH J. AND ARLINGTON                  Deposits - 507(a)(6)                                   5600-000                                          $94.87          $397,383.91
                                 SPINNER
                                 2812 Military Tpke.West ChazyNY12992




                                                                                  Page Subtotals:                                                              $0.00              $1,271.59
                                 Case 12-40944                 Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:      139
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          201643      MARY SPIVEY SHIREMAN                      Deposits - 507(a)(6)                                  5600-000                                          $89.57         $397,294.34
                                 690 Russell StreetLongboat KeyFL34228


   01/15/14          201644      JENNIFER SPRAGUE                          Deposits - 507(a)(6)                                  5600-000                                          $89.36         $397,204.98
                                 P.O. Box 54PlymouthNH3264


   01/15/14          201645      LAURIE A. SPROULE                         Deposits - 507(a)(6)                                  5600-000                                       $1,090.97         $396,114.01
                                 12901 Norris LaneGalenalL61036


   01/15/14          201646      JULIE ST. ANGEL                           Deposits - 507(a)(6)                                  5600-000                                         $199.81         $395,914.20
                                 2615 Green Apple LnRockfordlL61107


   01/15/14          201647      MICHEL ST. LAURENT                        Deposits - 507(a)(6)                                  5600-000                                         $223.92         $395,690.28
                                 240 MertonSt-LambertQuebecJ4P 2W3


   01/15/14          201648      CAROLYN AND TOM ST. MEYERS                Deposits - 507(a)(6)                                  5600-000                                         $131.94         $395,558.34
                                 192 Fox Hill LanePerrysburgOH43551


   01/15/14          201649      CAROL A. STACK                            Deposits - 507(a)(6)                                  5600-000                                         $179.14         $395,379.20
                                 1606 Yorkshire DriveChampaignlL61822


   01/15/14          201650      PAUL M. STAFFORD                          Deposits - 507(a)(6)                                  5600-000                                          $89.57         $395,289.63
                                 3864 Pattie CircleKalamazooMI49004-
                                 9508

   01/15/14          201651      JUDITH A. STALLONS                        Deposits - 507(a)(6)                                  5600-000                                          $89.57         $395,200.06
                                 10891 Whispering Pines
                                 WayRockfordlL61 114

   01/15/14          201652      CHARLES A. AND JAN IE STANLEY             Deposits - 507(a)(6)                                  5600-000                                          $94.87         $395,105.19
                                 3128 CarmanSpringfieldlL62703


   01/15/14          201653      EVELYN L. STANLEY                         Deposits - 507(a)(6)                                  5600-000                                          $47.43         $395,057.76
                                 1049 Salem AvenueHillsideNY7205


   01/15/14          201654      JENNIFER STANLEY                          Deposits - 507(a)(6)                                  5600-000                                          $24.87         $395,032.89
                                 25 Kitty Murray Lane, Unit
                                 1AncasterOntarioL9K 1L3




                                                                                  Page Subtotals:                                                              $0.00            $2,351.02
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                                                                                         FORM 2
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                       7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201655      MARYANN A. STANLEY                        Deposits - 507(a)(6)                                  5600-000                                           $97.81          $394,935.08
                                 5220 Blackjack CirclePunta
                                 GordaFL33982

   01/15/14          201656      ALAN L. STEARNS                           Deposits - 507(a)(6)                                  5600-000                                          $144.97          $394,790.11
                                 74 Sanddollar CircleEast
                                 FalmouthMA2536

   01/15/14          201657      BRIAN STEINBERG                           Deposits - 507(a)(6)                                  5600-000                                           $44.78          $394,745.33
                                 115 Ball Hill Rd.PrincetonMA1541


   01/15/14          201658      DAWN W. STEINBERG                         Deposits - 507(a)(6)                                  5600-000                                           $96.73          $394,648.60
                                 6944 New Albany Road EastNew
                                 AlbanyOH43054

   01/15/14          201659      PATRICIA S. STELZER                       Deposits - 507(a)(6)                                  5600-000                                          $189.74          $394,458.86
                                 10575 N. 6th St.OstegoMI49078


   01/15/14          201660      KEVIN STEPHENS                            Deposits - 507(a)(6)                                  5600-000                                          $121.85          $394,337.01
                                 1405 N. Maple StreetNormallL61761


   01/15/14          201661      PORSHA STEPNEY                            Deposits - 507(a)(6)                                  5600-000                                          $133.45          $394,203.56
                                 68 Warner Ave.SpringfieldNJ7081


   01/15/14          201662      TIMOTHY STERNS                            Deposits - 507(a)(6)                                  5600-000                                           $89.57          $394,113.99
                                 2626 Smith RoadLambertvilleMI48144


   01/15/14          201663      DAVID STEVENS                             Deposits - 507(a)(6)                                  5600-000                                          $751.01          $393,362.98
                                 149 Longfield
                                 CrescentAncasterOntarioL9G 3W3

   01/15/14          201664      KRISTEN STEWART                           Deposits - 507(a)(6)                                  5600-000                                          $130.54          $393,232.44
                                 40 Phillips RoadStillwaterNYl 21 70


   01/15/14          201665      JODI A. STILES                            Deposits - 507(a)(6)                                  5600-000                                           $44.78          $393,187.66
                                 PO BOX 6Swartz CreekMI48473


   01/15/14          201666      WALTER C. STILL                           Deposits - 507(a)(6)                                  5600-000                                           $57.41          $393,130.25
                                 955 Deep Lagoon LaneFt. MyersFL33919




                                                                                  Page Subtotals:                                                              $0.00              $1,902.64
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            Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                  Account Number/CD#: XXXXXX3464

                                                                                                                                           Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                             Separate Bond (if applicable):



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T ransaction Date     Check or             Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                      Reference                                                                                                      Code                                                            ($)
   01/15/14           201667      JESSICA STILLWELL                        Deposits - 507(a)(6)                                   5600-000                                         $360.40         $392,769.85
                                  14 Allen Hill RoadPeruNY12972


   01/15/14           201668      DOLOROS STINSON                          Deposits - 507(a)(6)                                   5600-000                                          $51.41         $392,718.44
                                  4824 B Sturbridge LandLockportNY14094
                                  -3458

   01/15/14           201669      KRISTIN STITELER                         Deposits - 507(a)(6)                                   5600-000                                          $49.82         $392,668.62
                                  1550 Barclay Hill RdBeaverPA15009


   01/15/14           201670      RICHARD STLAKA                           Deposits - 507(a)(6)                                   5600-000                                          $20.93         $392,647.69
                                  104 Maple StreetFerryvilleWI54628


   01/15/14           201671      MARK E. STOCKIN                          Deposits - 507(a)(6)                                   5600-000                                          $89.57         $392,558.12
                                  390 Oak Crest CircleLongsSC29568


   01/15/14           201672      JANICE STOCKUS                           Deposits - 507(a)(6)                                   5600-000                                          $81.09         $392,477.03
                                  939 East WashintonRivertonlL62561


   01/15/14           201673      D. MICHAEL STOVER                        Deposits - 507(a)(6)                                   5600-000                                          $96.19         $392,380.84
                                  615 Arch St, 1ST FloorPerkasiePA18944


   01/15/14           201674      JON TYLER STRADINGER                  Deposits - 507(a)(6)                                      5600-000                                          $89.57         $392,291.27
                                  451 Lake Forest Blvd.KalamazooMI49006


   01/15/14           201675      KAREN STRATZ                             Deposits - 507(a)(6)                                   5600-000                                          $47.43         $392,243.84
                                  8456 Pittsburgh BlvdFt. MyersFL33967


   01/15/14           201676      ROBERT J. STREETER                       Deposits - 507(a)(6)                                   5600-000                                         $121.37         $392,122.47
                                  603 Locarno DriveVeniceFL34285-4306


   01/15/14           201677      CAROLYN STUMPF                           Deposits - 507(a)(6)                                   5600-000                                         $134.56         $391,987.91
                                  63 Briarwood DriveBuffaloNY14224


   01/15/14           201678      ROSE STUNDA                              Deposits - 507(a)(6)                                   5600-000                                         $110.41         $391,877.50
                                  251 Ritchie AvenueWeirtonWV26062




                                                                                  Page Subtotals:                                                               $0.00            $1,252.75
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                    5                    6                       7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201679      DOROTHY STURNIOLO                         Deposits - 507(a)(6)                                  5600-000                                          $281.95          $391,595.55
                                 623 Lake Estates Ct.ConwaySC29526


   01/15/14          201680      BETH SULLIVAN                             Deposits - 507(a)(6)                                  5600-000                                           $51.41          $391,544.14
                                 647 Lafayette Ave, Apt 2BuffaloNY14222


   01/15/14          201681      KEVIN SULLIVAN                            Deposits - 507(a)(6)                                  5600-000                                           $95.61          $391,448.53
                                 216 Pound RoadCumberlandRI2864


   01/15/14          201682      KYLE SULLIVAN                             Deposits - 507(a)(6)                                  5600-000                                          $318.00          $391,130.53
                                 349 E Martin Luther King Jr.
                                 DriveGreensboroNC27406

   01/15/14          201683      TRACY L. SULLIVAN                         Deposits - 507(a)(6)                                  5600-000                                          $525.02          $390,605.51
                                 126 Ramshorn Rd.CharltonMA1507


   01/15/14          201684      ERIC SUMMERS                              Deposits - 507(a)(6)                                  5600-000                                           $49.82          $390,555.69
                                 12107 Lowill LnSt LouisM063126


   01/15/14          201685      PAUL AND LAURA SUMNER                     Deposits - 507(a)(6)                                  5600-000                                          $125.61          $390,430.08
                                 43 Curtis AvenueBurlingtonVT5408


   01/15/14          201686      LINDA SUPERNAW                            Deposits - 507(a)(6)                                  5600-000                                           $44.78          $390,385.30
                                 77 Garrand Rd.MooersNY12958


   01/15/14          201687      CAMILLE SUSHEL                            Deposits - 507(a)(6)                                  5600-000                                           $89.57          $390,295.73
                                 165 Preservation DriveMyrtle
                                 BeachSC29572

   01/15/14          201688      LUXMAN SUTHANTHIRARAJAH                   Deposits - 507(a)(6)                                  5600-000                                           $44.78          $390,250.95
                                 39 Ferncliffe
                                 CrescentMarkhamOntarioL3S4N9

   01/15/14          201689      MARY JO SWANSON                           Deposits - 507(a)(6)                                  5600-000                                           $39.48          $390,211.47
                                 85 Confederate LanePawleysSC29585


   01/15/14          201690      FRAN SWEENEY                              Deposits - 507(a)(6)                                  5600-000                                          $218.67          $389,992.80
                                 1257 Norway RoadKendallNY14476




                                                                                  Page Subtotals:                                                              $0.00              $1,884.70
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                  Account Number/CD#: XXXXXX3464

                                                                                                                                           Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                             Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                       Code                                                            ($)
   01/15/14          201691      LOR! SWITALSKI                            Deposits - 507(a)(6)                                   5600-000                                          $89.57         $389,903.23
                                 2312 ParisTroyM!48083


   01/15/14          201692      GARY ALLEN SWORDS                         Deposits - 507(a)(6)                                   5600-000                                         $142.30         $389,760.93
                                 538 Laurel StreetChillicotheOH45601


   01/15/14          201693      JENNIFER SZAFRAN                          Deposits - 507(a)(6)                                   5600-000                                          $99.64         $389,661.29
                                 21 Monroe StreetNorth
                                 TonawandaNY 1 41 20

   01/15/14          201694      DAVID SZEWCZYKOWSKI                       Deposits - 507(a)(6)                                   5600-000                                         $179.14         $389,482.15
                                 117 Eola Park DriveDavenportFL33897


   01/15/14          201695      JOANN SZYMCZAK                            Deposits - 507(a)(6)                                   5600-000                                          $89.57         $389,392.58
                                 21 Schofield Ave.DudIeyMA1571


   01/15/14          201696      CAROL M. TABONE                           Deposits - 507(a)(6)                                   5600-000                                         $135.39         $389,257.19
                                 15 Maier CircleSpencerportNY14559-
                                 2411

   01/15/14          201697      DEBRA TRAFIL                              Deposits - 507(a)(6)                                   5600-000                                          $80.29         $389,176.90
                                 2800 6th StreetShelbyvilleMI49344


   01/15/14          201698      THOMAS TALLMAN, JR.                       Deposits - 507(a)(6)                                   5600-000                                         $160.83         $389,016.07
                                 29 Stourbridge LaneHonesdalePA18431


   01/15/14          201699      JOHN MARC TAMAYO                          Deposits - 507(a)(6)                                   5600-000                                         $225.25         $388,790.82
                                 c/o Valenti CampbellPO Box
                                 2369LakelandFL33806-2369
   01/15/14          201700      AMY TAMBS                                 Deposits - 507(a)(6)                                   5600-000                                          $44.65         $388,746.17
                                 3009 Candela GroveCharlestonSC29414


   01/15/14          201701      NORMAN TARBELL                            Deposits - 507(a)(6)                                   5600-000                                          $61.16         $388,685.01
                                 208 St. Regis RoadHogansburgNY13655


   01/15/14          201702      BRENTLEY D. TARTER                        Deposits - 507(a)(6)                                   5600-000                                         $125.61         $388,559.40
                                 6608 Rhode Island TrailCrystal
                                 LakelL60012




                                                                                  Page Subtotals:                                                               $0.00            $1,433.40
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201703      CYNTHIA TARTER                            Deposits - 507(a)(6)                                  5600-000                                           $28.89          $388,530.51
                                 6608 Rhode Island TrailCrystal
                                 LakelL60012

   01/15/14          201704      ANNETTE TATE                              Deposits - 507(a)(6)                                  5600-000                                          $125.21          $388,405.30
                                 802 Morley AvenueNiagara FallsNY14305


   01/15/14          201705      JENNIFER A. TATE SCOTT                    Deposits - 507(a)(6)                                  5600-000                                           $62.80          $388,342.50
                                 260 Route 165PrestonCT6365


   01/15/14          201706      BARBARA TAYLOR                            Deposits - 507(a)(6)                                  5600-000                                          $204.62          $388,137.88
                                 7125 Channel I SWOcean Isle
                                 BeachNC28469

   01/15/14          201707      BONNIE TAYLOR                             Deposits - 507(a)(6)                                   5600-000                                         $142.31          $387,995.57
                                 42 Johnston Ave.WhitinsvilleMAI 588


   01/15/14          201708      COREY TAYLOR                              Deposits - 507(a)(6)                                   5600-000                                         $169.89          $387,825.68
                                 1621 Palmer Dr.Ormond BeachFL32174


   01/15/14          201709      DAVID & LISA TAYLOR                       Deposits - 507(a)(6)                                   5600-000                                          $88.11          $387,737.57
                                 616 Lancashire DrSturgisMI49091


   01/15/14          201710      LISA TAYLOR                               Deposits - 507(a)(6)                                   5600-000                                          $81.73          $387,655.84
                                 19 Acanthus CircleOrmond
                                 BeachFL32174

   01/15/14          201711      PATRICIA TAYLOR                           Deposits - 507(a)(6)                                  5600-000                                           $58.03          $387,597.81
                                 456 Nicklaus BoulevardNorth Forth
                                 MyersFL339Q3

   01/15/14          201712      PETRA TEMPLIN                             Deposits - 507(a)(6)                                   5600-000                                          $35.90          $387,561.91
                                 128 Union RoadWalesMA1081


   01/15/14          201713      JUDY TENISON                              Deposits - 507(a)(6)                                   5600-000                                          $20.67          $387,541.24
                                 3164 - 34th Avenue NorthSt.
                                 Petersburg FL3371 3

   01/15/14          201714      RUBY TENNYSON                             Deposits - 507(a)(6)                                   5600-000                                         $213.06          $387,328.18
                                 3 Hill Clyde AcresChestertownNY12817




                                                                                  Page Subtotals:                                                              $0.00              $1,231.22
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)       Account/CD Balance
                     Reference                                                                                                     Code                                                               ($)
   01/15/14          201715      CHARLOTTE TERHUNE                        Deposits - 507(a)(6)                                  5600-000                                           $94.87           $387,233.31
                                 123 Boxwood LaneConwaySC29526


   01/15/14          201716      LOIS TERRANCE                            Deposits - 507(a)(6)                                  5600-000                                            $58.02          $387,175.29
                                 P.O. Box 1122HogansburgNY13655


   01/15/14          201717      TERRY A. THAXTON                         Deposits - 507(a)(6)                                  5600-000                                            $96.20          $387,079.09
                                 218 Williams RoadWinter
                                 SpringsFL32708

   01/15/14          201718      STEVEN THEISS                            Deposits - 507(a)(6)                                  5600-000                                            $89.57          $386,989.52
                                 2 Liberty DriveSaratoga SpringsNY12866


   01/15/14          201719      MELISSA THENIKL MYSZAK                   Deposits - 507(a)(6)                                  5600-000                                          $210.59           $386,778.93
                                 4552 E. 136th StreetGrantMI49327


   01/15/14          201720      ESTELLE THIBEAULT                        Deposits - 507(a)(6)                                  5600-000                                            $43.15          $386,735.78
                                 48 Myrtle RoadGriswoldCT6351


   01/15/14          201721      CLIFFORD THIEL                           Deposits - 507(a)(6)                                  5600-000                                            $44.78          $386,691.00
                                 31-87 Country Club CourtLanarklL61046


   01/15/14          201722      CHARLES E. THOMAS                        Deposits - 507(a)(6)                                  5600-000                                            $39.75          $386,651.25
                                 746 Alexis DriveLongsSC29568


   01/15/14          201723      CHARLES J. THOMAS                        Deposits - 507(a)(6)                                  5600-000                                            $89.57          $386,561.68
                                 665 Center St 706 Meadow
                                 CrestLudlowMAI 056

   01/15/14          201724      DENIS THOMAS                             Deposits - 507(a)(6)                                  5600-000                                          $237.17           $386,324.51
                                 1250 13th Ave.MontrealQuebecHIB 3W7


   01/15/14          201725      GEORGE THOMAS                            Deposits - 507(a)(6)                                  5600-000                                            $89.57          $386,234.94
                                 4105 SE 2nd AvenueCape CoralFL33904


   01/15/14          201726      JESSICA THOMAS                           Deposits - 507(a)(6)                                  5600-000                                          $377.20           $385,857.74
                                 8311 ECHO LANECLINTON, MD 20735




                                                                                 Page Subtotals:                                                              $0.00              $1 ,470.44
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   01/15/14          201727      KENNETH T. THOMAS                         Deposits - 507(a)(6)                                  5600-000                                          $192.38          $385,665.36
                                 PO Box 870rchard ParkNY14127


   01/15/14          201728      MATTHEW W. THOMAS                         Deposits - 507(a)(6)                                  5600-000                                           $48.10          $385,617.26
                                 1848 Arlington StreetBethlehemPA18017


   01/15/14          201729      JOHN THOMPSON                             Deposits - 507(a)(6)                                  5600-000                                          $179.14          $385,438.12
                                 1 1 80 Narragansett Blvd, Apt
                                 G2CranstonRI2905

   01/15/14          201730      JOHN THOMPSON                             Deposits - 507(a)(6)                                  5600-000                                          $313.49          $385,124.63
                                 2503 Del Prado Blvd S #400Cape
                                 CoralFL33904

   01/15/14          201731      LENORE THOMPSON                           Deposits - 507(a)(6)                                  5600-000                                           $44.78          $385,079.85
                                 3959 Forest Parkway, Apt. 122North
                                 TonawandaNYl 41 20

   01/15/14          201732      JAMES K. THOREN                           Deposits - 507(a)(6)                                  5600-000                                           $64.90          $385,014.95
                                 11514 Bailey RoadPecatonicalL61063


   01/15/14          201733      GORDON R. THORNES                         Deposits - 507(a)(6)                                  5600-000                                           $96.19          $384,918.76
                                 788 Templemead
                                 DriveHamiltonOntarioL8W 2V3

   01/15/14          201734      MATHEWTHORTON                             Deposits - 507(a)(6)                                  5600-000                                          $172.31          $384,746.45
                                 514 West 4th St.BuchananMI49107


   01/15/14          201735      JOHN E. TIMKO                             Deposits - 507(a)(6)                                  5600-000                                          $279.64          $384,466.81
                                 48060 Reservior Rd.St
                                 ClairsvilleOH43950

   01/15/14          201736      NORMAN W. AND DONNA M. TIPLADY            Deposits - 507(a)(6)                                  5600-000                                           $50.23          $384,416.58
                                 13833 Central Ave.NeapolisOH43547


   01/15/14          201737      KELLI TODOROFF                            Deposits - 507(a)(6)                                  5600-000                                          $102.82          $384,313.76
                                 4856 Sequoia DriveJacksonMI49201


   01/15/14          201738      PATRICK TOLSMA                            Deposits - 507(a)(6)                                  5600-000                                           $89.57          $384,224.19
                                 2503 Westwinde NWGrand
                                 RapidsMI495Q4




                                                                                  Page Subtotals:                                                              $0.00              $1,633.55
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201739      VICKI J. TOMPKINS                        Deposits - 507(a)(6)                                  5600-000                                           $78.17          $384,146.02
                                 166 Louisbourg WayMarkhamOntarioL6E
                                 0C3

   01/15/14          201740      DEBORAH TORRANCE                         Deposits - 507(a)(6)                                  5600-000                                          $191.86          $383,954.16
                                 393 Ellen StreetMidlandONL4R 2H4


   01/15/14          201741      ROBERT TORRE                             Deposits - 507(a)(6)                                  5600-000                                          $106.15          $383,848.01
                                 70 Cape Drive, Unit 3BMashpeeMA2649


   01/15/14          201742      GRISELL TORRES QUIROS                    Deposits - 507(a)(6)                                  5600-000                                          $134.35          $383,713.66
                                 2503 Hassonite StKissimmeFL34744


   01/15/14          201743      BRENDA K. & MORRIS C. TOWNE              Deposits - 507(a)(6)                                  5600-000                                          $189.31          $383,524.35
                                 94 Cooper DrivePlattsburghNY12901


   01/15/14          201744      GEORGE TOWNE                             Deposits - 507(a)(6)                                  5600-000                                           $39.75          $383,484.60
                                 163 Salem End RdFraminghamMA1702


   01/15/14          201745      RAYMOND G. TOWNLEY                       Deposits - 507(a)(6)                                  5600-000                                           $60.63          $383,423.97
                                 4356 Ontario DriveLittle RiverSC29566


   01/15/14          201746      LUTHER TOWNSEND, III                     Deposits - 507(a)(6)                                  5600-000                                          $179.14          $383,244.83
                                 5485 Salt RoadClarenceNY14031


   01/15/14          201747      ERIN TRACY                               Deposits - 507(a)(6)                                  5600-000                                          $139.59          $383,105.24
                                 68 Elmleaf DriveCheektowagaNY14227


   01/15/14          201748      KAREN A. TRADER                          Deposits - 507(a)(6)                                  5600-000                                          $184.97          $382,920.27
                                 3639 S Grand Ave. E.SpringfieldlL62712


   01/15/14          201749      KATHLEEN TRASTER                         Deposits - 507(a)(6)                                  5600-000                                           $13.99          $382,906.28
                                 25465 E. Panks Dr.Drummond
                                 lslandMI49726

   01/15/14          201750      ERIC TREASTER                            Deposits - 507(a)(6)                                  5600-000                                          $179.14          $382,727.14
                                 6567 Carmel DriveMacungiePA18062




                                                                                 Page Subtotals:                                                              $0.00              $1,497.05
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           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee

       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank

                                                                                                                                            Account Number/CD#: XXXXXX3464

                                                                                                                                                                      Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                                                         Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                                                        Separate Bond (if applicable):



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T ransaction Date    Check or              Paid To / Received From                                         Description of Transaction                       Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                                                  Code                                                              ($)
   01/15/14          201751      DEBORAH JOY TRESCOTT                      Deposits - 507(a)(6)                                                              5600-000                                          $268.71          $382,458.43
                                 338 High StreetMarshallMI49068
                                                                               - 1 1 > ) 1 1 1 1 1 1 1 1 r 1 1 r 1 1 1 1 1 1 j




   01/15/14          201752      BRANDON TRIERWEILER                       Deposits - 507(a)(6)                                                              5600-000                                          $249.76          $382,208.67
                                 935 Marshall StreetPortlandMI48875


   01/15/14          201753      JAMES TRIMBOLI                            Deposits - 507(a)(6)                                                              5600-000                                          $126.31          $382,082.36
                                 575 Pletcher RoadLewistonNY14092


   01/15/14          201754      ROD TROSTLE                               Deposits - 507(a)(6)                                                              5600-000                                          $185.50          $381,896.86
                                 1001 Autumn DriveMurrells lnletSC29576    nunuMMMMMMMMnnn




   01/15/14          201755      KRISTEN M. TRUAX                          Deposits - 507(a)(6)                                                              5600-000                                          $116.07          $381,780.79
                                 10 Tulip TerraceClifton ParkNY12065


   01/15/14          201756      NADINE TUCKER                             Deposits - 507(a)(6)                                                              5600-000                                          $136.59          $381,644.20
                                 108 Montgomery DrRockfordlL61109


   01/15/14          201757      BETTY-LOU TUFFORD                         Deposits - 507(a)(6)                                                              5600-000                                          $134.35          $381,509.85
                                 18 Storey DriveActonOntarioL7J2S9


   01/15/14          201758      DENYSE TUGGLE                             Deposits - 507(a)(6)                                                              5600-000                                           $44.78          $381,465.07
                                 35 Walden AveNew LondonCT6320


   01/15/14          201759      KEVIN TURKALL                             Deposits - 507(a)(6)                                                              5600-000                                           $89.57          $381,375.50
                                 100 Seventh St., Suite
                                 1 00PittsburghPA1 5222

   01/15/14          201760      BARBARA TURNER                            Deposits - 507(a)(6)                                                              5600-000                                          $276.95          $381,098.55
                                 17 Lambert LaneSpringfieldlL62704


   01/15/14          201761      LESLIE TUTTLE                             Deposits - 507(a)(6)                                                              5600-000                                          $124.23          $380,974.32
                                 11861 W. Indian Lake
                                 Dr.VicksburgMI49097

   01/15/14          201762      SUSAN TYKE                                Deposits - 507(a)(6)                                                              5600-000                                           $44.79          $380,929.53
                                 3321 Estero BlvdFt Myers BeachFL33931




                                                                                        Page Subtotals:                                                                                    $0.00              $1,797.61
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201763      JAMES M. ULICNY                          Deposits - 507(a)(6)                                  5600-000                                           $41.87          $380,887.66
                                 3 Ash StreetP. O. Box CCoralPA15731


   01/15/14          201764      JANET L. UMSHARES                        Deposits - 507(a)(6)                                  5600-000                                           $83.37          $380,804.29
                                 1616 Langley Dr.LongsSC29568


   01/15/14          201765      BILL & LISA UNZICKER                     Deposits - 507(a)(6)                                  5600-000                                          $106.64          $380,697.65
                                 19528 N 1370 East RdDanvillelL61834


   01/15/14          201766      CATHERINE UR                             Deposits - 507(a)(6)                                  5600-000                                           $89.57          $380,608.08
                                 1013 Highgate RoadKalamazooMI49006


   01/15/14          201767      JOYCE URAM                               Deposits - 507(a)(6)                                  5600-000                                           $44.78          $380,563.30
                                 37 Schley StreetGarfieldNJ7026


   01/15/14          201768      CYNTHIA UTTERBACK-PAYNE                  Deposits - 507(a)(6)                                  5600-000                                          $161.70          $380,401.60
                                 402 WellsP. O. Box 174BuffalolL62515


   01/15/14          201769      JAMES E. VALSA                           Deposits - 507(a)(6)                                  5600-000                                           $89.57          $380,312.03
                                 PO Box 364St. CharleslL60174


   01/15/14          201770      R. DAVID VAN BUREN                       Deposits - 507(a)(6)                                  5600-000                                           $89.57          $380,222.46
                                 638 Briar DriveSycamorelL60178


   01/15/14          201771      WILLIAM VAN HAEREN                       Deposits - 507(a)(6)                                  5600-000                                          $508.53          $379,713.93
                                 470 Industrial
                                 AveWoodstockOntarioN4S7L1

   01/15/14          201772      MARLENE VAN HAM                          Deposits - 507(a)(6)                                  5600-000                                           $89.57          $379,624.36
                                 41 Baldwin StreetTillsonburgOntarioN4G
                                 2K4

   01/15/14          201773      JANET G. VANALSTYNE                      Deposits - 507(a)(6)                                  5600-000                                          $324.85          $379,299.51
                                 924 Grafton RoadChesterVT5143


   01/15/14          201774      KATHY J. VANBEBBER                       Deposits - 507(a)(6)                                  5600-000                                           $92.75          $379,206.76
                                 31657 Willow RoadPalmyralL62674




                                                                                 Page Subtotals:                                                              $0.00              $1,722.77
                                 Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:      150
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                    5                    6                     7

T ransaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          201775      SHEILA J. VANBLARCOM                     Deposits - 507(a)(6)                                  5600-000                                          $89.57         $379,117.19
                                 24B Stonehouse LaneKeeneNH3431


   01/15/14          201776      ALLAN VANDENBOSCH                        Deposits - 507(a)(6)                                  5600-000                                         $207.12         $378,910.07
                                 111 S Roma WayKissimmeFL34746


   01/15/14          201777      WALTER VANDERHOFF                        Deposits - 507(a)(6)                                  5600-000                                          $49.82         $378,860.25
                                 2603 Route 22PeruNY12972


   01/15/14          201778      JOANNE VANDYKE                           Deposits - 507(a)(6)                                  5600-000                                          $42.13         $378,818.12
                                 3919 Richmond Court NWGrand
                                 RapidsMI49534

   01/15/14          201779      PAMELA VANSLYKE                          Deposits - 507(a)(6)                                  5600-000                                          $80.29         $378,737.83
                                 52 Howe AvenueShrewsburyMA1545


   01/15/14          201780      STEVEN A. VANTONGEREN                    Deposits - 507(a)(6)                                  5600-000                                          $89.57         $378,648.26
                                 7538 Sandyridge StreetPortageMI49024


   01/15/14          201781      JOHN D. VANWYCK                          Deposits - 507(a)(6)                                  5600-000                                         $179.14         $378,469.12
                                 1973 Seminole RoadMuskegonMI49441


   01/15/14          201782      SUZANNA VASS                             Deposits - 507(a)(6)                                  5600-000                                         $160.83         $378,308.29
                                 2404 Isle of Palms DriveVeniceFL34292


   01/15/14          201783      KELLY VECCHIO                            Deposits - 507(a)(6)                                  5600-000                                         $230.55         $378,077.74
                                 9819 River Bend DriveRoscoelL61073


   01/15/14          201784      MICHELLE VELLA                           Deposits - 507(a)(6)                                  5600-000                                         $397.70         $377,680.04
                                 5321 Parliament PI.RockfordlL61107


   01/15/14          201785      ELAINE L. VELTMAN                        Deposits - 507(a)(6)                                  5600-000                                          $46.53         $377,633.51
                                 9230 76th Street SEAItoMI49302


   01/15/14          201786      NANCY VENNEKOTTER                        Deposits - 507(a)(6)                                  5600-000                                          $86.13         $377,547.38
                                 14479 Road, G-140ttawa0H45875




                                                                                 Page Subtotals:                                                              $0.00           $1,659.38
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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T ransaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          201787      LINDA VERDUIN-DALE                        Deposits - 507(a)(6)                                  5600-000                                         $239.81         $377,307.57
                                 D-13, 100 Pierson Miller DrivePompton
                                 LakesNJ7442

   01/15/14          201788      THOR VIKSTROM                             Deposits - 507(a)(6)                                  5600-000                                          $49.82         $377,257.75
                                 2950 Botham StreetSt.
                                 LaurentQuebecH4S 1J1

   01/15/14          201789      KHONESAVANH VJLAYPHONE                    Deposits - 507(a)(6)                                  5600-000                                         $119.78         $377,137.97
                                 45 Sheridan Drive, Apt
                                 2ShrewsburyMA1 545

   01/15/14          201790      GIOVANNA VILLANO                          Deposits - 507(a)(6)                                  5600-000                                          $89.57         $377,048.40
                                 19 East Gate DriveGlenwoodNJ7418


   01/15/14          201791      JOSEPH VILLANO                            Deposits - 507(a)(6)                                  5600-000                                         $268.97         $376,779.43
                                 19 East Gate DriveGlenwoodNJ7418


   01/15/14          201792      KATHLEEN VILLANO                          Deposits - 507(a)(6)                                  5600-000                                         $268.71         $376,510.72
                                 19 East Gate DriveGlenwoodNJ7418


   01/15/14          201793      JENNIFER A. VINCENT                    Deposits - 507(a)(6)                                     5600-000                                         $366.56         $376,144.16
                                 32 Beacon StreetSouth BurlingtonVT5403


   01/15/14          201794      GENE VIRTUOSO                             Deposits - 507(a)(6)                                  5600-000                                          $90.13         $376,054.03
                                 446 Aberdeen RoadLewistonNY14092-
                                 1023

   01/15/14          201795      PAUL VITRANO                              Deposits - 507(a)(6)                                  5600-000                                          $55.94         $375,998.09
                                 25 Standish RoadBuffaloNY14216


   01/15/14          201796      ROBERT VLIEK                              Deposits - 507(a)(6)                                  5600-000                                          $29.80         $375,968.29
                                 2750 Old Centre, Suite
                                 100PortageMI49024

   01/15/14          201797      CYNTHIA VOGELZANG                         Deposits - 507(a)(6)                                  5600-000                                          $71.36         $375,896.93
                                 1871 South Shore Drive,
                                 #2HollandMI49423

   01/15/14          201798      KIMBERLY VOSS                             Deposits - 507(a)(6)                                  5600-000                                          $47.43         $375,849.50
                                 5234 Everhard Ave.KalamazooMI49004




                                                                                  Page Subtotals:                                                              $0.00           $1,697.88
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201799      FRED J. VOTRAW                           Deposits - 507(a)(6)                                  5600-000                                           $83.74          $375,765.76
                                 2196 State Route 9NAusable
                                 ForksNY12912

   01/15/14          201800      MILOS VUKOVIC                            Deposits - 507(a)(6)                                  5600-000                                           $76.79          $375,688.97
                                 5387 Tonawanda Creek RoadNorth
                                 TonawandaNYl 41 20

   01/15/14          201801      CARL VUOTTO                              Deposits - 507(a)(6)                                  5600-000                                          $358.28          $375,330.69
                                 107 Lathrop AvenueStaten
                                 lslandNY10314

   01/15/14          201802      TOBY L. VYVERBERG                        Deposits - 507(a)(6)                                  5600-000                                           $47.43          $375,283.26
                                 53 Landstone Terrace RochesterNYl 4606


   01/15/14          201803      JANICE E. WAGNER                         Deposits - 507(a)(6)                                   5600-000                                         $216.31          $375,066.95
                                 1800 Embarcadero WayNorth Fort
                                 MyersFL33917

   01/15/14          201804      DIANA WAITE                              Deposits - 507(a)(6)                                   5600-000                                          $89.57          $374,977.38
                                 1245 N 1 55WAngolalN46703


   01/15/14          201805      DONNA WAITS                              Deposits - 507(a)(6)                                   5600-000                                          $36.97          $374,940.41
                                 4723 S. Long Lake Rd.PortageMI49002


   01/15/14          201806      RUTH JEAN WAKEFORD                       Deposits - 507(a)(6)                                   5600-000                                         $134.35          $374,806.06
                                 191 Crescent DrivePunta GordaFL33950


   01/15/14          201807      TAMMY WALDRON                            Deposits - 507(a)(6)                                   5600-000                                          $49.82          $374,756.24
                                 268 Standish RoadSaranacNY12981


   01/15/14          201808      KATHRYN WALKER                           Deposits - 507(a)(6)                                   5600-000                                          $89.57          $374,666.67
                                 9212 St Catherine
                                 AveEnglewoodFL34224

   01/15/14          201809      SHARON WALKER                            Deposits - 507(a)(6)                                   5600-000                                          $89.57          $374,577.10
                                 14 Wheelock StreetOxfordMA1540


   01/15/14          201810      TRACEY WALKER                            Deposits - 507(a)(6)                                   5600-000                                          $71.71          $374,505.39
                                 19 Randall Wood DriveMontagueMA1351




                                                                                 Page Subtotals:                                                              $0.00              $1,344.11
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           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                            3                                             4                                                    5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          201811      HENRY J. WALL                            Deposits - 507(a)(6)                                  5600-000                                          $60.16         $374,445.23
                                 PO Box 88Waterbury CenterVT5677


   01/15/14          201812      MONA WALLACE                             Deposits - 507(a)(6)                                  5600-000                                         $206.57         $374,238.66
                                 Po Box 95-520 Prairie St.Taylor
                                 SpringslL62089

   01/15/14          201813      MARCIA WALLHAGEN                         Deposits - 507(a)(6)                                  5600-000                                          $44.78         $374,193.88
                                 64 Timothy LaneCarlisleMA1741


   01/15/14          201814      JOHN WALSH                               Deposits - 507(a)(6)                                  5600-000                                          $29.20         $374,164.68
                                 2512 Warne StreetPort CharlotteFL33952


   01/15/14          201815      KATHLEEN WALSH                           Deposits - 507(a)(6)                                  5600-000                                         $137.80         $374,026.88
                                 1087 Big Torch StreetRiviera
                                 BeachFL1140

   01/15/14          201816      DAVID WALTER                             Deposits - 507(a)(6)                                  5600-000                                          $44.78         $373,982.10
                                 2291 ChalmetteToledoOH4361 1


   01/15/14          201817      CHARLES WALTERS                          Deposits - 507(a)(6)                                  5600-000                                          $54.43         $373,927.67
                                 147 South StNorthboroughMA1532


   01/15/14          201818      JOSEPH P. WALTON                         Deposits - 507(a)(6)                                  5600-004                                         $264.60         $373,663.07
                                 682 Foundry StreetEastonMA2375


   01/15/14          201819      WILLIAM WARD                             Deposits - 507(a)(6)                                  5600-000                                          $53.00         $373,610.07
                                 95 Hollywood St.FitchburgMA1420


   01/15/14          201820      BETH WARE                                Deposits - 507(a)(6)                                  5600-000                                         $148.75         $373,461.32
                                 22070 Haskins RdBowling
                                 GreenOH43402

   01/15/14          201821      LINDA WARGO                              Deposits - 507(a)(6)                                  5600-000                                         $416.58         $373,044.74
                                 1519 Sharon RdStreatorlL61364


   01/15/14          201822      JOEL WARNER                              Deposits - 507(a)(6)                                  5600-000                                          $64.05         $372,980.69
                                 7585 Belmar DrBelviderelL61008




                                                                                 Page Subtotals:                                                              $0.00           $1,524.70
                                 Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                              Page:      154
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                     Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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T ransaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   01/15/14          201823      MORRIS R. WARREN                         Deposits - 507(a)(6)                                  5600-000                                         $225,94         $372,754.75
                                 7356 Country Commons
                                 LaneSylvaniaOH43560

   01/15/14          201824      JENNIFER WARYAS                          Deposits - 507(a)(6)                                  5600-000                                         $125.61         $372,629.14
                                 16 Grove StGreenlandNH3840


   01/15/14          201825      SANDRA WASHINGTON                        Deposits - 507(a)(6)                                  5600-000                                         $209.35         $372,419.79
                                 70 South St.ShrewsburyMA1545


   01/15/14          201826      STEPHANIE WASHINGTON                     Deposits - 507(a)(6)                                  5600-000                                          $54.30         $372,365.49
                                 6420 Cherrywood LaneLockportNY14094


   01/15/14          201827      MATTHEW WATTERSON                        Deposits - 507(a)(6)                                  5600-000                                          $91.69         $372,273.80
                                 22 AshmoreChateauguayQuebecJ6J-5A8


   01/15/14          201828      MELISSA WEART                            Deposits- 507(a)(6)                                   5600-000                                          $64.90         $372,208.90
                                 9550 Leeds CircleMyrtle BeachSC29588


   01/15/14          201829      KIMBERLY WEAVER                          Deposits - 507(a)(6)                                  5600-000                                         $134.35         $372,074.55
                                 18 Chipper DriveSouth GraftonMA1560


   01/15/14          201830      BARBARA C. WEBER                         Deposits - 507(a)(6)                                  5600-000                                          $13.24         $372,061.31
                                 5820 Johnston RoadColomaMI49038


   01/15/14          201831      KRAIG WEBER                              Deposits - 507(a)(6)                                  5600-000                                          $76.05         $371,985.26
                                 204 Foxcroft DriveHamburgNY14075


   01/15/14          201832      CAROL WEBSTER                            Deposits - 507(a)(6)                                  5600-000                                          $41.87         $371,943.39
                                 62 Beyer PlaceBuffaloNY14210


   01/15/14          201833      SHEILA M. WEED                           Deposits - 507(a)(6)                                  5600-000                                         $179.14         $371,764.25
                                 3821 Grouse RoadSpringfieldlL62707


   01/15/14          201834      CARL & LINDA WEINDEL                     Deposits - 507(a)(6)                                  5600-000                                          $89.57         $371,674.68
                                 38 E. New St.SewarenNJ7077




                                                                                 Page Subtotals:                                                              $0.00           $1,306.01
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/15/14          201835      DANIEL WEISENREDER                       Deposits - 507(a)(6)                                  5600-000                                          $192.23          $371,482.45
                                 4634 S. Eden Lake RoadCusterMI49405


   01/15/14          201836      EUGENE WEISS                             Deposits - 507(a)(6)                                  5600-000                                           $31.79          $371,450.66
                                 621 Farm LnRochesterPAl 5074


   01/15/14          201837      MICHAEL WELCH                            Deposits - 507(a)(6)                                  5600-000                                           $51.41          $371,399.25
                                 6309 White Pine WayLantanaFL33462


   01/15/14          201838      SYLVIA WELD                              Deposits - 507(a)(6)                                  5600-000                                           $44.78          $371,354.47
                                 224 Park Street C3StonehamMA2180


   01/15/14          201839      BETH H. WELLS                            Deposits - 507(a)(6)                                  5600-000                                           $59.60          $371,294.87
                                 1401 Business Loop 75St.
                                 lgnaceMI49781

   01/15/14          201840      RHONDA WENBERG                           Deposits - 507(a)(6)                                  5600-000                                          $206.57          $371,088.30
                                 P.O. Box 196Stillman ValleylL61084


   01/15/14          201841      DEBRA J. WERENSKI                        Deposits - 507(a)(6)                                  5600-000                                          $136.73          $370,951.57
                                 33 Easton St.GranbyMA1033


   01/15/14          201842      BRADFORD LEE WEST                        Deposits - 507(a)(6)                                  5600-000                                          $134.35          $370,817.22
                                 2408 Rosewell PointSpringfieldlL62711


   01/15/14          201843      ROBERT WESTERMEIER                       Deposits - 507(a)(6)                                  5600-004                                          $179.14          $370,638.08
                                 226 Greenwood DriveEast
                                 AuroraNYl 4052-1 352

   01/15/14          201844      BRENT A. WETNICKA                        Deposits - 507(a)(6)                                  5600-000                                          $298.92          $370,339.16
                                 46 Willard RoadSturbridgeMA1566


   01/15/14          201845      GORDON WHEELER                           Deposits - 507(a)(6)                                  5600-000                                           $44.78          $370,294.38
                                 7804 Veronawalk Blvd.NaplesFL34114


   01/15/14          201846      BETH WHITE                               Deposits - 507(a)(6)                                  5600-000                                           $94.87          $370,199.51
                                 1 80 Perry AveWorcesterMAI 61 0




                                                                                 Page Subtotals:                                                              $0.00              $1,475.17
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           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          201847      JAMES WHITE                               Deposits - 507(a)(6)                                  5600-000                                          $44.78         $370,154.73
                                 314 Sycamore StreetLitchfieldMI49252


   01/15/14          201848      THOMAS B. WHITE                           Deposits - 507(a)(6)                                  5600-000                                          $89.57         $370,065.16
                                 2287 County Rt 5MoriaNYl2957


   01/15/14          201849      DIANE WHITE-PELOSI                        Deposits - 507(a)(6)                                  5600-004                                         $179.14         $369,886.02
                                 23 Taunton St.Bel!inghamMA2019


   01/15/14          201850      CHRISTOPHER WHITNEY                       Deposits - 507(a)(6)                                  5600-000                                         $163.45         $369,722.57
                                 1062 Sugartree Dr. NLakelandFL33813


   01/15/14          201851      HEIDI WIEGAND                             Deposits - 507(a)(6)                                  5600-000                                         $110.23         $369,612.34
                                 318 Carolina Ave. East LiverpoolOH43920


   01/15/14          201852      CARLA WILEY                               Deposits - 507(a)(6)                                  5600-000                                          $55.12         $369,557.22
                                 925 Mist Flower DriveWaterloo I L62296


   01/15/14          201853      BARBARA WILHARM                           Deposits - 507(a)(6)                                  5600-000                                         $179.14         $369,378.08
                                 PO BOX 384ColliersWV26035


   01/15/14          201854      MARY K. WILLER                            Deposits - 507(a)(6)                                  5600-000                                         $142.30         $369,235.78
                                 400 Poinsettia DriveQuincylL62305


   01/15/14          201855      JENNA WILLIAMS                            Deposits - 507(a)(6)                                  5600-000                                          $41.87         $369,193.91
                                 3605 Saint Annes DrSpringfieldlL62712


   01/15/14          201856      KELLY WILLIAMS                            Deposits - 507(a)(6)                                  5600-000                                          $89.31         $369,104.60
                                 301 Monroe StreetBoontonNJ7005


   01/15/14          201857      NAOMI WILLIAMS                            Deposits - 507(a)(6)                                  5600-000                                         $175.22         $368,929.38
                                 225 Fox Run RoadShelburnemVT5482


   01/15/14          201858      PHILIP WILLIAMS                           Deposits - 507(a)(6)                                  5600-000                                         $116.60         $368,812.78
                                 275 Main St #303WebsterMA1 750




                                                                                  Page Subtotals:                                                              $0.00           $1,386.73
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            Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee

       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                   Account Number/CD#: XXXXXX3464

                                                                                                                                            Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                                Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                              Separate Bond (if applicable):



        1                2                            3                                               4                                                    5                    6                     7

T ransactiori Date    Check or              Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                      Reference                                                                                                       Code                                                            ($)
   01/15/14           201859      WARREN WILLIAMS                            Deposits - 507(a)(6)                                  5600-000                                         $122.64         $368,690.14
                                  485 Robins StreetRoselleNJ7203


   01/15/14           201860      ANNE M. WILSON                             Deposits - 507(a)(6)                                  5600-000                                          $58.03         $368,632.11
                                  15 Trap CircleNew Smyrna
                                  BeachFL32168

   01/15/14           201861      DEBORAH WILSON                             Deposits - 507(a)(6)                                  5600-000                                          $41.87         $368,590.24
                                  1301 Maryland Ave. West MifflinPAl 51 22


   01/15/14           201862      JEFFREY WILSON                             Deposits - 507(a)(6)                                  5600-000                                         $756.84         $367,833.40
                                  1549 #8 Concession RR
                                  #4WaterfordONNOE1 NO

   01/15/14           201863      KAREN WILSON                               Deposits - 507(a)(6)                                  5600-000                                          $70.01         $367,763.39
                                  PO BOX 73RichlandMI49083


   01/15/14           201864      LESLEY WILSON                              Deposits - 507(a)(6)                                  5600-000                                         $305.28         $367,458.11
                                  162 Boyd StreetCherry ValleyMA1611


   01/15/14           201865      ROBERT WILSON                              Deposits - 507(a)(6)                                  5600-000                                         $129.80         $367,328.31
                                  4729 Arvada Dr.Loves ParklL61 1 1 1


   01/15/14           201866      ROSCOE & JUDITH WILSON                     Deposits - 507(a)(6)                                  5600-000                                          $89.57         $367,238.74
                                  2423 Rolling Acres RoadNew
                                  CumberlandWV26047

   01/15/14           201867      SANDRA WINDERL                             Deposits - 507(a)(6)                                  5600-000                                         $239.52         $366,999.22
                                  116 Old Lake Colby RoadSaranac
                                  LakeNY12983
   01/15/14           201868      WENDY WINGARD                              Deposits - 507(a)(6)                                  5600-000                                          $99.64         $366,899.58
                                  3225 29TH AveNaplesFL341 17


   01/15/14           201869      ALICE WIRTZ                                Deposits - 507(a)(6)                                  5600-000                                         $250.42         $366,649.16
                                  6219 Pleasant St.South ParkPA15129


   01/15/14           201870      ERIN WISLER                                Deposits - 507(a)(6)                                  5600-000                                         $134.23         $366,514.93
                                  1442 Washington
                                  StreetPhoenixvillePAl 9460




                                                                                    Page Subtotals:                                                              $0.00           $2,297.85
                                  Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                             Page:      158
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                           ($)
   01/15/14          201871      BRUCE WITHERELL                          Deposits - 507(a)(6)                                  5600-000                                        $175.32         $366,339.61
                                 3278 Middletown StreetPort
                                 CharlotteFL33952

   01/15/14          201872      DEBORAH A WLOCH                          Deposits - 507(a)(6)                                  5600-000                                         $44.60         $366,295.01
                                 6 Putnam RoadSturbridgeMA1566


   01/15/14          201873      KATHLEEN WOHLFAHRT                       Deposits - 507(a)(6)                                  5600-000                                         $94.87         $366,200.14
                                 6 Glencove Ct.Orchard ParkNY14127


   01/15/14          201874      ERIC WOLF                                Deposits - 507(a)(6)                                  5600-000                                        $276.00         $365,924.14
                                 94 Shagbark Way FairportNYl 4450


   01/15/14          201875      CAROL WOLFE                              Deposits - 507(a)(6)                                  5600-000                                         $62.78         $365,861.36
                                 132 Springfield Dr.BangorPA18013


   01/15/14          201876      CELIA WOLTHUIS                           Deposits - 507(a)(6)                                  5600-000                                         $26.45         $365,834.91
                                 314 WindsorPortageMI49002


   01/15/14          201877      BARBARA WOOD                             Deposits - 507(a)(6)                                  5600-000                                         $89.57         $365,745.34
                                 3425 Timberwood CircleNaplesFL34105


   01/15/14          201878      BRIANNE WOOD                             Deposits - 507(a)(6)                                  5600-000                                        $121.34         $365,624.00
                                 18 Modock Rd.Pomfret CenterCT6259


   01/15/14          201879      J. CRAIG WOOE                            Deposits - 507(a)(6)                                  5600-000                                         $89.57         $365,534.43
                                 #301 - 25 Via
                                 RosedaleBramptonOntarioL6R 2J8
   01/15/14          201880      STEVEN WOODS                             Deposits - 507(a)(6)                                  5600-004                                         $69.96         $365,464.47
                                 21 Bruggeman CtMysticCT6355


   01/15/14          201881      CHRISTOPHER WOOLLAM                      Deposits - 507(a)(6)                                  5600-000                                        $268.71         $365,195.76
                                 129 Wanita Rd.MississaugaONL5G1B7


   01/15/14          201882      MARY LOU WRIGHT                          Deposits - 507(a)(6)                                  5600-000                                     $1,457.49          $363,738.27
                                 8915 Kingsport Rd.PortgageMI49024




                                                                                 Page Subtotals:                                                             $0.00           $2,776.66
                                  Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                        Desc Main                           Page:      159
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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Transaction Date     Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   01/15/14          201883      EMILY WUOTI                               Deposits - 507(a)(6)                                  5600-000                                          $44.84         $363,693.43
                                 1466 Pearl Hill Rd.FitchburgMA1420


   01/15/14          201884      JENNIFER WYCOKI                           Deposits - 507(a)(6)                                  5600-000                                         $106.00         $363,587.43
                                 1701 SW San Antonio DrPalm
                                 CityFL34990

   01/15/14          201885      DOROTHY WYMAN                             Deposits - 507(a)(6)                                  5600-000                                         $118.45         $363,468.98
                                 480 Calkins RoadPeruNY12972


   01/15/14          201886      JESSICA WYPIJ                             Deposits - 507(a)(6)                                  5600-000                                          $44.78         $363,424.20
                                 617 Persons StreetE. AuroraNY14052


   01/15/14          201887      LORRAINE YAEGER                           Deposits - 507(a)(6)                                  5600-000                                         $132.12         $363,292.08
                                 89 Country Club Drive #C-5Minnesott
                                 BeachNC28510

   01/15/14          201888      LAUREN YAKEMOWICZ                         Deposits - 507(a)(6)                                  5600-000                                          $57.77         $363,234.31
                                 1111 Juanita DrCoraopolisPA15108


   01/15/14          201889      HEATHER YANDO                             Deposits - 507(a)(6)                                  5600-000                                          $39.75         $363,194.56
                                 433 Sandlewood DrCalabashNC28467


   01/15/14          201890      MARY ALICE YANDO                          Deposits - 507(a)(6)                                  5600-000                                          $94.87         $363,099.69
                                 1 Callander Pond Rd.MaloneNY12953


   01/15/14          201891      BELINDA YELLIOTT                          Deposits - 507(a)(6)                                  5600-000                                          $85.33         $363,014.36
                                 415 Clarksville RoadPittsfieIdlL62363


   01/15/14          201892      MIKEAL YONGE                              Deposits - 507(a)(6)                                  5600-000                                         $188.78         $362,825.58
                                 208 E. Adams StreetThree
                                 RiversMI49093

   01/15/14          201893      JANICE B. YOST                            Deposits - 507(a)(6)                                  5600-000                                          $69.83         $362,755.75
                                 55 Whisper DriveWorcesterMA1069


   01/15/14          201894      SHARON YOSWIG                             Deposits - 507(a)(6)                                  5600-000                                          $44.78         $362,710.97
                                 3105 West StreetSpringfieldlL62707




                                                                                  Page Subtotals:                                                              $0.00           $1,027.30
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

            Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

       Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



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T ransaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                      Reference                                                                                                     Code                                                            ($)
   01/15/14           201895      CAROL YOUNG                              Deposits - 507(a)(6)                                  5600-000                                         $110.98         $362,599.99
                                  118 Pebble CourtMcKees RocksPA15136


   01/15/14           201896      JEREMIAH YOUNG                           Deposits - 507(a)(6)                                  5600-000                                          $83.74         $362,516.25
                                  507 Madison StQuincylL62301


   01/15/14           201897      NICOLE YOUNG                             Deposits - 507(a)(6)                                  5600-000                                          $44.79         $362,471.46
                                  661 Linden StreetRochesterNY14620


   01/15/14           201898      WALTER ZABELSKI                          Deposits - 507(a)(6)                                  5600-000                                          $72.61         $362,398.85
                                  1155 Marshall Ave.PittsburghPA15212


   01/15/14           201899      GARY ZAHNISER                            Deposits - 507(a)(6)                                  5600-000                                          $39.75         $362,359.10
                                  709 East Coast LaneNorth Myrtle
                                  BeachSC29582

   01/15/14           201900      EDWARD J. ZALEWSKI                       Deposits - 507(a)(6)                                  5600-000                                          $47.43         $362,311.67
                                  11 Dartmouth StreetGrovelandMAI 834


   01/15/14           201901      GREGORY ZAYATZ                           Deposits - 507(a)(6)                                  5600-000                                          $13.24         $362,298.43
                                  9382 Gulfstream BlvdEnglewoodFL34224     „


   01/15/14           201902      MATTHEW ZEHR                             Deposits - 507(a)(6)                                  5600-000                                          $57.77         $362,240.66
                                  2640 Emerson Ave. NWWalkerMI49544


   01/15/14           201903      SUSAN ZEIBER                             Deposits - 507(a)(6)                                  5600-000                                         $134.35         $362,106.31
                                  2300 Lakeside DriveEriePA16511


   01/15/14           201904      SUSANNE ZELAWSKI                         Deposits - 507(a)(6)                                  5600-000                                          $51.34         $362,054.97
                                  5155 Hillcrest DriveClarenceNY14031


   01/15/14           201905      STACEY J. ZETTERLUND                     Deposits - 507(a)(6)                                  5600-000                                          $83.45         $361,971.52
                                  29 Spruce StreetJamestownNY14701


   01/15/14           201906      ROBERTA ZIEGLER                          Deposits - 507(a)(6)                                  5600-000                                          $34.50         $361,937.02
                                  31 Phillips AvenueShrewsburyMAI 545




                                                                                  Page Subtotals:                                                              $0.00              $773.95
                                 Case 12-40944                  Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                                Page:      161
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                  Account Number/CD#: XXXXXX3464

                                                                                                                                           Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                               Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                             Separate Bond (if applicable):



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Transaction Date     Check or               Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                       Code                                                              ($)
   01/15/14          201907      FRANCESCA ZITO                             Deposits - 507(a)(6)                                  5600-000                                          $137.03          $361,799.99
                                 3606 Third AveKoppelPA16136


   01/15/14          201908      JULIE ZITTLOW                              Deposits - 507(a)(6)                                  5600-000                                           $66.01          $361,733.98
                                 153 Francis Dr.Port CharlotteFL33952-
                                 8118

   01/15/14          201909      GREGORY ZOTIAN                             Deposits - 507(a)(6)                                  5600-000                                          $179.14          $361,554.84
                                 53 Amerman LaneHillsboroughNJ8844


   01/15/14          201910      FRANCE ZUPO                                Deposits - 507(a)(6)                                  5600-000                                           $60.68          $361,494.16
                                 98 Stephensbrook
                                 CircleStouffvilleOntarioL4A 0G5

   01/15/14          201911      SHENANDOAH VALLEY REALTY LTD.              Deposits - 507(a)(6)                                  5600-000                                          $222.60          $361,271.56
                                 Attn: Beth Anne BielinskiPO Box
                                 87Luckey OH 43443

   01/15/14          201912      CONSTANCE CAVANAUGH                        Deposits - 507(a)(6)                                  5600-000                                           $78.23          $361,193.33
                                 PO BOX 495ST. JAMES CITY, FL 33956

   01/15/14          201913      LORI MAASS                                 Deposits - 507(a)(6)                                  5600-000                                           $89.57          $361,103.76
                                 21829 BUTTERNUT LANEDELAVAN, IL
                                 61734

   01/15/14          201914      DONNA STARR                                Deposits - 507(a)(6)                                  5600-000                                           $89.57          $361,014.19
                                 1 WASHBURN DRIVESPENCER, MA
                                 01562

   01/15/14          201915      JOAN M. RANDALL                            Deposits - 507(a)(6)                                  5600-000                                           $41.87          $360,972.32
                                 90 RUSSELL TPKEPOTSDAM, NY
                                 13676

   01/15/14          201916      TIMOTHY ZACHER                             Deposits - 507(a)(6)                                  5600-000                                          $150.25          $360,822.07
                                 1 1 9 EASTVIEW DRIVEMEDINA,
                                 NY14103

   01/15/14          201917      JUDITH ANN CROUCH                          Deposits - 507(a)(6)                                  5600-000                                           $89.57          $360,732.50
                                 308 WINDERMERE AVETORONTO,
                                 ONTARIO M6S3K7CANADA

   01/15/14          201918      LORI STEVIC-RUST                           Deposits - 507(a)(6)                                  5600-000                                          $364.90          $360,367.60
                                 9305 FRASER LANECHESTERLAND,
                                 OH 44026

   01/15/14          201919      KEVIN LEAVITT                              Deposits - 507(a)(6)                                  5600-000                                          $287.33          $360,080.27
                                 7277 GOLFWOOD DRIVELUDINGTON,
                                 Ml 49431


                                                                                   Page Subtotals:                                                              $0.00              $1,856.75
                                 Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                    Desc Main                                Page:      162
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                          Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                     Bank Name: Union Bank

                                                                                                               Account Number/CD#: XXXXXX3464

                                                                                                                                        Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                            Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                          Separate Bond (if applicable):



       1                2                          3                                              4                                                    5                   6                       7

Transaction Date     Check or            Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                     Reference                                                                                                    Code                                                             ($)
   01/15/14          201920      CHERYL L. WHITEMAN                      Deposits - 507(a)(6)                                  5600-000                                          $89.57          $359,990.70
                                 4136 HOLBEIN STREETPORT
                                 CHARLOTTE, FL 33981

   01/15/14          201921      DOREEN DUNHAM                           Deposits - 507(a)(6)                                  5600-000                                          $79.50          $359,911.20
                                 405-21 6W PLAINS ROADBURLINGTON,
                                 ONTARIO L7T4L1 CANADA

   01/15/14          201922      MICHELLE BRYSON                         Deposits - 507(a)(6)                                  5600-000                                         $115.35          $359,795.85
                                 2211 IRWIN STREETALIQUIPPA, PA
                                 15001

   01/15/14          201923      MATTHEW LANDFRIED                       Deposits - 507(a)(6)                                  5600-000                                         $134.35          $359,661.50
                                 9151 SHEPARD RDBATAVIA, NY 14020

   01/15/14          201924      GARY A. MANNING                         Deposits - 507(a)(6)                                  5600-000                                          $41.87          $359,619.63
                                 N550 GANNON RDLODI, Wl 53555

   01/15/14          201925      RANDOLPH COULTES                        Deposits - 507(a)(6)                                  5600-000                                         $174.90          $359,444.73
                                 2525 LAKEVIEW AVEST JOSEPH, Ml
                                 49085

   01/15/14          201926      DENNIS JEROME PARKER                    Deposits - 507(a)(6)                                  5600-000                                          $44.79          $359,399.94
                                 338 FIREBRIDGE DRIVECHAPIN, SC
                                 29036

   01/15/14          201927      LOIS SATAGAJ                            Deposits - 507(a)(6)                                  5600-000                                          $89.57          $359,310.37
                                 460 MAIN STREETMIDDLEFIELD, CT
                                 06455

   01/27/14                      UNION BANK                              BANK SERVICE FEE                                      2600-000                                         $926.25          $358,384.12


   01/28/14             11       AIRPORT TERMINAL SERVICES               PREFERENCE SETTLEMENT                                  1241-000               $40,000.00                                $398,384.12
                                 1 1 1 WESTPORT PLAZASUITE 400ST.
                                 LOUIS, MISSOURI 53146

   02/04/14          200332      Reverses Check # 200332                 Deposits - 507(a)(6)                                  5600-000                                         ($89.57)         $398,473.69


   02/04/14          201928      STEPHEN CHURCH                          Deposits - 507(a)(6)                                  5600-000                                          $89.57          $398,384.12
                                 19 HILLTOP FARM ROADAUBURN, MA
                                 01501




                                                                                Page Subtotals:                                                        $40,000.00              $1,696.15
                                 Case 12-40944              Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                                Page:      163
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



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Transaction Date     Check or            Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                             ($)
   02/12/14          201217      Reverses Check #201217                  Deposits - 507(a)(6)                                   5600-000                                        ($119.74)         $398,503.86
                                                                         ORIGINAL CHECK
                                                                         RETURNED BY PAYEE DUE
                                                                         TO NAME ERROR AND
                                                                         REISSUED IN NAME OF
                                                                         ANDRE MIRON - NAME ON
                                                                         CLAIM.

   02/12/14          201929      ANDRE MIRON                             Deposits - 507(a)(6)                                   5600-000                                         $119.74          $398,384.12
                                 1245 BrebeufSte-CatherinesQuebec
                                 CityJ5C 1 L7
                                                                         REISSUE OF CHECK NO.
                                                                         201217 - INCORRECT PAYEE
                                                                         NAME

   02/25/14                      UNION BANK                              BANK SERVICE FEE                                       2600-000                                         $888.37          $397,495.75


   02/28/14             11       THE PORT AUTHORITY OF NY & NJ           PREFERENCE SETTLEMENT                                   1241-000               $25,500.00                                $422,995.75
                                 COMPTROLLER1 PATH PLAZAJERSEY
                                 CITY, NJ 07306

   03/07/14             37       NIAGARA FALLS AVIATION LLC              SETTLEMENT - ADV PROC 13                                1241-000               $32,500.00                                $455,495.75
                                 TECHAVIATION SERVICES, INC. AN          -04096
                                 AGENT FOR9900 PORTER
                                 ROADNIAGARA FALLS, NY 14304

   03/07/14             11       OBER, KALER, GRIMES & SHRIVER           SETTLEMENT                                              1241-000               $12,000.00                                $467,495.75
                                 ATTORNEYS AT LAW100 LIGHT
                                 STREETBALTIMORE, MD 21202

   03/07/14             11       GAROFALO GOERLICH HAINBACH PC           SETTLEMENT                                              1241-000                $2,500.00                                $469,995.75
                                 1200 NEW HAMSHIRE AVE. NWSUITE
                                 590WASHINGTON, DC 20036

   03/14/14             11       WYVERN HOTEL, LLC                       PREFERENCE SETTLEMENT                                   1241-000                $2,125.00                                $472,120.75
                                 41 PERIMETER CENTER EAST, SUITE
                                 510ATLANTA, GA 30346

   03/20/14             11       WORLDWIDE FLIGHT SERVICES               PREFERENCE SETTLEMENT                                   1241-000               $17,000.00                                $489,120.75
                                 1925 W JOHN CARPENTER FWY.STE
                                 450IRVING, TX 75063

   03/25/14                      UNION BANK                              BANK SERVICE FEE                                       2600-000                                         $593.60          $488,527.15




                                                                                  Page Subtotals:                                                       $91,625.00              $1,481.97
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                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                          Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                            Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                          3                                              4                                                     5                   6                       7


Transaction Date     Check or            Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                             ($)
   04/02/14             11       SWISSPORT NORTH AMERICA, INC.           PREFERENCE SETTLEMENT                                   1241-000              $25,000.00                                 $513,527.15
                                 WASHINGTON-DULLES
                                 INTERNATIONAL AIRPORT45025
                                 AVIATION DRIVE, STE. 350DULLES,
                                 VIRGINIA 20166-7557

   04/16/14             11       HORRY COUNTY TREASURER/DEPT             PREFERENCE SETTLEMENT                                   1241-000                $5,000.00                                $518,527.15
                                 OF AIRP
                                 DEPARTMENT OF AIRPORTSPO BOX
                                 296CONWAY, SC 29528

   04/25/14                      UNION BANK                              BANK SERVICE FEE                                       2600-000                                         $697.70          $517,829.45


   04/29/14             43       EIN MANAGEMENT, LLC                     SETTLEMENT                                              1241-000                $5,750.00                                $523,579.45
                                 113 GOFF MOUNTAIN ROADCROSS
                                 LANES WV 25313

   05/08/14             42       JUDY TULL                               JUDY TULL SETTLEMENT                                    1241-000                $5,000.00                                $528,579.45
                                 ATTORNEY IOLTA ACCOUNT100               SETTLEMENT MONIES
                                 FRONT STREETWORCESTER, MA               WIRED TO TRUSTEES
                                 01608                                   ATTORNEY AND THEN THIS
                                                                         CHECK CUT FROM MIRICK,
                                                                         O'CONNELL ATTORNEY
                                                                         IOLTA ACCOUNT TO THE
                                                                         TRUSTEE AND DEPOSITED

   05/16/14             44       AVIATION ADVANTAGE, INC.                AVIATION ADVANTAGE                                      1241-000              $15,000.00                                 $543,579.45
                                 1755 THE EXCHANGESUITE                  SETTLEMENT
                                 230ATLANTA, GA 30339

   05/22/14          201930      JOANNE AARON                            Deposits - 507(a)(6)                                    5600-000                                         $60.31          $543,519.14
                                 231 W. WOODLAND DRIVEALIQUIPPA,
                                 PA 15001
                                                                         REISSUE OF CHECK NO.
                                                                         200009 AFTER STOP PAY

   05/22/14          201931      TINA CHAMBERS                           Deposits - 507(a)(6)                                    5600-000                                        $102.82          $543,416.32
                                 71470 SHANNON DRIVEMARTINS              REPLACEMENT OF CHECK
                                 FERRY, OH 43935                         NO. 200325

   05/22/14          201932      CHERYL A. DEBOER                        Deposits - 507(a)(6)                                    5600-000                                         $53.00          $543,363.32
                                 2709 RIVERSIDE DRIVEPORT HURON,         REPLACEMENT FOR CHECK
                                 Ml 48060                                200424 STOP PAY

   05/22/14          201933      JEFFREY DIEGELMAN                       Deposits - 507(a)(6)                                    5600-004                                         $89.57          $543,273.75
                                 PO BOX 1 84BOWMANSVILLE, NY             REPLACEMENT OF CHECK
                                 14026                                   200458 STOP PAY


                                                                                Page Subtotals:                                                         $55,750.00              $1,003.40
                                 Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                    Desc Main                                 Page:      165
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                          Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                     Bank Name: Union Bank

                                                                                                               Account Number/CD#: XXXXXX3464

                                                                                                                                        Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                            Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                          Separate Bond (if applicable):



       1                2                          3                                               4                                                   5                    6                       7


Transaction Date     Check or            Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                    Code                                                              ($)
   05/22/14          201934      KATHLEEN DOWD                           Deposits - 507(a)(6)                                  5600-000                                          $134.36          $543,139.39
                                 2 HEFFERON ROADWILBRAHAM, MA            REPLACEMENT FOR CHECK
                                 01095                                   200482 STOP PAY

   05/22/14          201935      SUSAN FONAGY                            Deposits - 507(a)(6)                                  5600-000                                          $189.74          $542,949.65
                                 946 ST. RT. 7 S.E.BROOKFIELD, OH        REPLACEMENT FOR CHECK
                                 44403                                   200589 STOP PAY

   05/22/14          201936      MARLA GIVEN                             Deposits - 507(a)(6)                                  5600-000                                          $179.14          $542,770.51
                                 183 CORNELIA                            REPLACEMENT FOR CHECK
                                 STREETPLATTSBURGH, NY 12901             200670 STOP PAY

   05/22/14          201937      RICHARD GRAHAM                          Deposits - 507(a)(6)                                   5600-000                                          $89.57          $542,680.94
                                 4 MARION                                REPLACEMENT FOR CHECK
                                 AVE.CORNWALLONTARIOK6K                  200698 STOP PAY
                                 1T9CANADA

   05/22/14          201938      RACHEL E. SMITH                         Deposits - 507(a)(6)                                   5600-000                                         $116.07          $542,564.87
                                 21 DOANE STREETCRANSTON, Rl             REPLACEMENT FOR CHECK
                                 02910                                   201622 STOP PAY

   05/22/14          201939      JOSEPH P. WALTON                        Deposits - 507(a)(6)                                   5600-000                                         $264.60          $542,300.27
                                 682 FOUNDRY STREETSOUTH                 REPLACEMENT FOR CHECK
                                 EASTON, MA 02375                        201818 STOP PAY

   05/22/14           201940     ROBERT WESTERMEIER                      Deposits - 507(a)(6)                                   5600-000                                         $179.14          $542,121.13
                                 226 GREENWOOD DRIVEEAST                 REPLACEMENT FOR CHECK
                                 AURORA, NY 14052                        201843 STOP PAY

   05/22/14          201941      DIANE WHITE-PELOSI                      Deposits - 507(a)(6)                                   5600-000                                         $179.14          $541,941.99
                                 23 TAUNTON STTREETBELLINGHAM,           REPLACEMENT FOR CHECK
                                 MA 02019                                201849 STOP PAY

   05/23/14          201877      Reverses Check # 201877                 Deposits - 507(a)(6)                                   5600-000                                         ($89.57)         $542,031.56


   05/23/14           200009     Reverses Check # 200009                 Stop Payment Reversal                                  5600-004                                         ($60.31)         $542,091.87
                                                                         SA

   05/23/14           200325     Reverses Check # 200325                 Stop Payment Reversal                                  5600-004                                        ($102.82)          $542,194.69
                                                                         SA

   05/23/14           200424     Reverses Check # 200424                 Stop Payment Reversal                                  5600-004                                         ($53.00)          $542,247.69
                                                                         SA

   05/23/14           200458     Reverses Check # 200458                 Stop Payment Reversal                                  5600-004                                         ($89.57)          $542,337.26
                                                                         SA

   05/23/14           200482     Reverses Check # 200482                 Stop Payment Reversal                                  5600-004                                        ($134.36)          $542,471.62
                                                                         SA


                                                                                 Page Subtotals:                                                             $0.00               $802.13
                                 Case 12-40944              Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                   Desc Main                                 Page:      166
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                        Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                   Bank Name: Union Bank

                                                                                                             Account Number/CD#: XXXXXX3464

                                                                                                                                      Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                          Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                        Separate Bond (if applicable):



       1                2                          3                                             4                                                   5                    6                       7

Transaction Date     Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                  Code                                                              ($)
   05/23/14          200589      Reverses Check # 200589                 Stop Payment Reversal                               5600-004                                         ($189.74)         $542,661.36
                                                                         SA

   05/23/14          200670      Reverses Check # 200670                 Stop Payment Reversal                               5600-004                                         ($179.14)         $542,840.50
                                                                         SA

   05/23/14          200698      Reverses Check # 200698                 Stop Payment Reversal                               5600-004                                          ($89.57)         $542,930.07
                                                                         SA

   05/23/14          201622      Reverses Check # 201622                 Stop Payment Reversal                               5600-004                                         ($116.07)         $543,046.14
                                                                         SA

   05/23/14          201818      Reverses Check # 201818                 Stop Payment Reversal                               5600-004                                         ($264.60)         $543,310.74
                                                                         SA

   05/23/14          201843      Reverses Check # 201843                 Stop Payment Reversal                               5600-004                                         ($179.14)         $543,489.88
                                                                         SA

   05/23/14          201849      Reverses Check # 201849                 Stop Payment Reversal                               5600-004                                         ($179.14)         $543,669.02
                                                                         SA

   05/23/14          201942      BARBARA BEE FKA BARBARA WOOD            Deposits - 507(a)(6)                                5600-000                                           $89.57          $543,579.45
                                 12 HORSESHOE DRIVESPRINGFIELD,          BARBARA WOOD IS NOW
                                 IL 62702                                KNOWN AS BARBARA BEE
                                                                         (TOOK BACK MAIDEN NAME
                                                                         AFTER DIVORCE)
                                                                         ORIGINAL CHECK NO. 20187
                                                                         WAS RETURNED
                                                                         UNDELIVERABLE. THIS
                                                                         CHECK IS A REISSUE OF
                                                                         THAT CHECK.

   05/27/14          201943      TIMOTHY & TERRI BARNABY                 Deposits - 507(a)(6)                                5600-000                                           $98.79          $543,480.66
                                 0 WABASSO STREETPITTSFIELD, MA          REPLACEMENT CHECK FOR
                                 01201                                   CHECK NO. 200089 STOP
                                                                         PAY

   05/27/14          201944      CAROL EGGERS                            Deposits - 507(a)(6)                                5600-000                                           $89.57          $543,391.09
                                 161 GARDEN DRIVE #2MANCHESTER,          REPLACEMENT FOR CHECK
                                 NH 03102                                200522 STOP PAY

   05/27/14          201945      STEVEN WOODS                            Deposits - 507(a)(6)                                5600-000                                           $69.96          $543,321.13
                                 21 BRUGGEMAN CT.MYSTIC, CT 06355        REPLACEMENT FOR CHECK
                                                                         201880 STOP PAY

   05/27/14          201946      NANCY BEK                               Deposits - 507(a)(6)                                 5600-000                                         $268.71          $543,052.42
                                 255 PARK AVENUESUITE                    REPLACEMENT FOR CHECK
                                 902WORCESTER, MA 01609                  200119 STOP PAY




                                                                               Page Subtotals:                                                             $0.00              ($580.80)
                                 Case 12-40944                Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                                Page:      167
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                                                                                                 FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                           3                                              4                                                     5                   6                       7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   05/27/14                      UNION BANK                               BANK SERVICE FEE                                      2600-000                                          $746.52          $542,305.90


   05/28/14          200089      Reverses Check # 200089                  Stop Payment Reversal                                 5600-004                                          ($98.79)         $542,404.69
                                                                          SA

   05/28/14          200119      Reverses Check # 2001 1 9                Stop Payment Reversal                                 5600-004                                         ($268.71)         $542,673.40
                                                                          SA

   05/28/14          200522      Reverses Check # 200522                  Stop Payment Reversal                                 5600-004                                          ($89.57)         $542,762.97
                                                                          SA

   05/28/14          201880      Reverses Check # 201880                  Stop Payment Reversal                                 5600-004                                          ($69.96)         $542,832.93
                                                                          SA

   06/04/14          201947      ELIZABETH A. PETRITUS                    Deposits - 507(a)(6)                                  5600-000                                          $138.49          $542,694.44
                                 27 LAKEWOOD CIRCLE                       REISSUE OF STOP
                                 SOUTHMANCHESTER, CT 06040                PAYMENT ON 201381

   06/05/14          201381      Reverses Check # 201381                  Stop Payment Reversal                                  5600-004                                        ($138.49)         $542,832.93
                                                                          SA

   06/12/14             42       JUDY TULL                                JUDY TULL SETTLEMENT                                   1241-000                 $5,000.00                                $547,832.93
                                 ATTORNEY IOLTA ACCOUNT100                SETTLEMENT MONEY
                                 FRONT STREETWORCESTER, MA                WIRED TO TRUSTEE
                                 01608                                    ATTORNEY

   06/19/14             46       KAY AND STANLEY MARSHALL                 ELLISON SETTLEMENT                                     1241-000                $92,000.00                                $639,832.93
                                 ELLISON                                  SETTLEMENT MONEY
                                 ATTORNEY IOLTA ACCOUNT100                WIRED TO TRUSTEE
                                 FRONT STREETWORCESTER, MA                ATTORNEY
                                 01608

   06/25/14                      UNION BANK                               BANK SERVICE FEE                                       2600-000                                         $798.43          $639,034.50


   06/26/14          201948      DONALD RUPPERT                           Deposits - 507(a)(6)                                   5600-004                                         $140.66          $638,893.84
                                 8422 VERSAILLES PLANKANGOLA, NY          REPLACEMENT OF STOP
                                 14066                                    PAY CHECK NO. 201515

   06/27/14             39       ORLANDO SANFORD INTERNATIONAL            PREFERENCE SETTLEMENT                                  1241-000                 $7,500.00                                $646,393.84
                                 3200 RED CLEVELAND
                                 BLVD. SANFORD, FL 32773

   06/27/14          201515      Reverses Check # 201515                  Stop Payment Reversal                                  5600-004                                        ($140.66)         $646,534.50
                                                                          SA

   07/25/14                      UNION BANK                               BANK SERVICE FEE                                       2600-000                                         $836.18          $645,698.32




                                                                                 Page Subtotals:                                                        $104,500.00              $1,854.10
                                 Case 12-40944              Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                                Page:      168
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                          Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                     Bank Name: Union Bank

                                                                                                               Account Number/CD#: XXXXXX3464

                                                                                                                                        Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                            Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                          Separate Bond (if applicable):



       1                2                          3                                              4                                                    5                   6                       7

Transaction Date     Check or            Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                     Reference                                                                                                    Code                                                             ($)
   08/13/14          201949      INTERNATIONAL SURETIES, LTD             BOND #016027601                                       2300-000                                         $461.75          $645,236.57
                                 SUITE 420701 POYDRAS ST.NEW
                                 ORLEANS, LA 70139

   08/22/14             40       BEECHWOOD LAKELAND HOTEL, LLC           BEECHWOOD/HILTON                                       1241-000               $14,000.00                                $659,236.57
                                 DBA HILTON GARDEN INN                   SETTLEMENT
                                 LAKELANE1025 THOROUGHBRED
                                 LANEDE PERE, Wl 54115

   08/25/14                      UNION BANK                              BANK SERVICE FEE                                      2600-000                                         $962.03          $658,274.54


   09/04/14             38       MIAMI AIR INTERNATIONAL, INC.           SETTLEMENT                                             1241-000               $83,537.94                                $741,812.48
                                 PO BOX 660880MIAMI SPRINGS, FL
                                 33266-0880

   09/25/14                      UNION BANK                              BANK SERVICE FEE                                      2600-000                                         $965.06          $740,847.42


   10/08/14          201950      Reverses Check # 201950                 Deposits - 507(a)(6)                                  5600-000                                         ($84.96)         $740,932.38


   10/08/14          201951      Reverses Check # 201951                 Deposits - 507(a)(6)                                   5600-000                                        ($97.30)         $741,029.68


   10/08/14          201952      Reverses Check # 201952                 Deposits - 507(a)(6)                                   5600-000                                        ($89.57)         $741,119.25


   10/08/14          201953      Reverses Check # 201953                 Deposits - 507(a)(6)                                   5600-000                                       ($140.66)         $741,259.91


   10/08/14          201950      RICHARD L. AULTMAN                      Deposits - 507(a)(6)                                   5600-000                                         $84.96          $741,174.95
                                 104 CHARLES STREETCARMJCHAELS,          CHECK NO. 200058 NEVER
                                 PA 15320                                CASHED OR RETURNED.
                                                                         STOP PAY PLACED. THIS
                                                                         CHECK IS A REISSUE OF
                                                                         THAT ORIGINAL CHECK.

   10/08/14          201951      LEIGHANN GREENE                         Deposits - 507(a)(6)                                   5600-000                                         $97.30          $741,077.65
                                 PO BOX 154KEESEVILLE, NY 12944          ORIGINAL CHECK 200707
                                                                         NEVER CASHED; STOP PAY
                                                                         PLACED AND THIS NEW
                                                                         CHECK REPLACES THAT
                                                                         CHECK. CREDITOR
                                                                         PROVIDED NEW MAILING
                                                                         ADDRESS




                                                                                Page Subtotals:                                                        $97,537.94              $2,158.61
                                 Case 12-40944                 Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32                                    Desc Main                               Page:      169
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank

                                                                                                                  Account Number/CD#: XXXXXX3464

                                                                                                                                           Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                               Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                             Separate Bond (if applicable):



       1                2                             3                                              4                                                    5                    6                     7

Transaction Date     Check or               Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                       Code                                                            ($)
   10/08/14          201952      JEFFREY DIEGELMAN                          Deposits - 507(a)(6)                                  5600-000                                          $89.57         $740,988.08
                                 PO BOX 1 84BOWMANSVILLE, NY                REPLACEMENT OF CHECK
                                 14026                                      NOS. 200458 AND 201933 -
                                                                            NEITHER CHECK EVER
                                                                            CASHED OR RETURNED.
                                                                            STOP PAYMENT PLACED.
                                                                            THIS CHECK IS ANOTHER
                                                                            REISSUE.

   10/08/14          201953      DONALD RUPPERT                             Deposits - 507(a)(6)                                  5600-000                                         $140.66         $740,847.42
                                 8422 VERSAILLES PLANKANGOLA, NY            REPLACEMENT OF CHECK
                                 14006                                      NOS. 201515 AND 201948.
                                                                            NEITHER EVER CASHED OR
                                                                            RETURNED. STOP
                                                                            PAYMENTS ISSUED. THIS IS
                                                                            ANOTHER REPLACEMENT
                                                                            CHECK.

   10/08/14          201954      RICHARD L. AULTMAN                         Deposits - 507(a)(6)                                   5600-000                                         $84.96         $740,762.46
                                 104 CHARLES STREETCARMICHAELS,             CHECK NO. 200058 NEVER
                                 PA 15320                                   CASHED OR RETURNED.
                                                                            STOP PAY PLACED. THIS
                                                                            CHECK IS A REISSUE OF
                                                                            THAT ORIGINAL CHECK.

   10/08/14          201955      LEIGHANN GREENE                            Deposits - 507(a)(6)                                   5600-000                                         $97.30         $740,665.16
                                 PO BOX 154KEESEVILLE, NY 12944             ORIGINAL CHECK 200707
                                                                            NEVER CASHED; STOP PAY
                                                                            PLACED AND THIS NEW
                                                                            CHECK REPLACES THAT
                                                                            CHECK. CREDITOR
                                                                            PROVIDED NEW MAILING
                                                                            ADDRESS

   10/08/14          201956      JEFFREY DIEGELMAN                          Deposits - 507(a)(6)                                   5600-000                                         $89.57         $740,575.59
                                 PO BOX 1 84BOWMANSVILLE, NY                REPLACEMENT OF CHECK
                                 14026                                      NOS. 200458 AND 201933 -
                                                                            NEITHER CHECK EVER
                                                                            CASHED OR RETURNED.
                                                                            STOP PAYMENT PLACED.
                                                                            THIS CHECK IS ANOTHER
                                                                            REISSUE.




                                                                                   Page Subtotals:                                                              $0.00              $502.06
                                 Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                    Desc Main                                Page:      170
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                         Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                     Bank Name: Union Bank

                                                                                                               Account Number/CD#: XXXXXX3464

                                                                                                                                        Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                           Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                          Separate Bond (if applicable):



       1                2                           3                                             4                                                    5                   6                       7

Transaction Date     Check or             Paid To / Received From                    Description of T ransaction              Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                     Reference                                                                                                    Code                                                             ($)
   10/08/14          201957      DONALD RUPPERT                           Deposits - 507(a)(6)                                 5600-004                                         $140.66          $740,434.93
                                 8422 VERSAILLES PLANKANGOLA, NY          REPLACEMENT OF CHECK
                                 14006                                    NOS. 201515 AND 201948.
                                                                          NEITHER EVER CASHED OR
                                                                          RETURNED. STOP
                                                                          PAYMENTS ISSUED. THIS IS
                                                                          ANOTHER REPLACEMENT
                                                                          CHECK.

   10/09/14          200058      Reverses Check # 200058                  Stop Payment Reversal                                5600-004                                         ($84.96)         $740,519.89
                                                                          SA

   10/09/14          200707      Reverses Check # 200707                  Stop Payment Reversal                                5600-004                                         ($97.30)         $740,617.19
                                                                          SA

   10/09/14          201933      Reverses Check # 201933                  Stop Payment Reversal                                5600-004                                         ($89.57)         $740,706.76
                                                                          SA

   10/09/14          201948      Reverses Check # 201948                  Stop Payment Reversal                                5600-004                                        ($140.66)         $740,847.42
                                                                          SA

   10/21/14             45       AVFUEL CORPORATION                       PREFERENCE SETTLEMENT                                 1241-000              $30,000.00                                 $770,847.42
                                 PO BOX 1387ANN ARBOR, MICHIGAN
                                 48106-1387

   10/27/14                      UNION BANK                               BANK SERVICE FEE                                     2600-000                                        $1,052.00         $769,795.42


   10/30/14             30       AVONDALE AVIATION                        SETTLEMENT 1ST                                       1241-000                 $1,500.00                                $771,295.42
                                 525 DECATUR STNW WASHINGTON,             INSTALLMENT PAYMENT
                                 DC 2001 1-4746

   11/06/14          200852      Reverses Check # 200852                  Stop Payment Reversal                                5600-004                                         ($91.49)         $771,386.91
                                                                          SA

   11/06/14          201142      Reverses Check # 201 142                 Stop Payment Reversal                                5600-004                                        ($115.49)         $771,502.40
                                                                          SA

   11/06/14          201268      Reverses Check # 201268                  Stop Payment Reversal                                5600-004                                        ($193.29)         $771,695.69
                                                                          SA

   11/17/14          200414      Reverses Check # 200414                  Stop Payment Reversal                                5600-004                                         ($99.64)         $771,795.33
                                                                          SA

   11/17/14          201957      Reverses Check # 201957                  Stop Payment Reversal                                5600-004                                        ($140.66)         $771,935.99
                                                                          SA

   11/25/14                      UNION BANK                               BANK SERVICE FEE                                     2600-000                                      $1,116.54           $770,819.45




                                                                                Page Subtotals:                                                       $31,500.00               $1,256.14
                                 Case 12-40944              Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32                                      Desc Main                               Page:      171
                                                                          Document      Page 188 of 233
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                          Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                     Bank Name: Union Bank

                                                                                                               Account Number/CD#: XXXXXX3464

                                                                                                                                        Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                            Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                          Separate Bond (if applicable):



       1                2                          3                                              4                                                     5                   6                       7


Transaction Date     Check or            Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                    Code                                                              ($)
   12/08/14             41       KEILMAN WIRE TRANSFER                   KEILMAN SETTLEMENT                                    1241-000                $250,000.00                              $1,020,819.45
                                 ATTORNEY IOLTA ACCOUNT(FROM
                                 KEILMAN WIRE TRANSFER)

   12/12/14             30       AVONDALE AVIATION                       SETTLEMENT 2ND                                         1241-000                 $1,000.00                              $1,021,819.45
                                 1783 COLISEUM STREETAPT KNEW            INSTALLMENT PAYME
                                 ORLEANS, LA 70130

   12/12/14             27       MCAFEE & TAFT ESCROW ACCOUNT            XTRA AIR BANKRUPTCY                                    1221-000                 $1,296.00                              $1,023,115.45
                                 CASHIER'S CHECK                         DISTRIBUTION

   12/12/14          201958      HEATHER DANIEL                          Deposits - 507(a)(6)                                  5600-000                                           $99.64        $1,023,015.81
                                 316 N. ORANGEHAVANA, IL 62644           REISSUE OF CHECK NO.
                                                                         200414

   12/12/14          201959      MICAH KISTLER                           Deposits - 507(a)(6)                                  5600-000                                           $58.23        $1,022,957.58
                                 1522 WEST ISLES AVENUEJEROME, IL        ADDRESS IS ACTUALLY 1533
                                 62704                                    NOT 1522. CHANGED ON
                                                                         ENVELOPE THAT ENCLOSED
                                                                         THIS CHECK AND FIXED
                                                                         ADDRESS ON UNDERLYING
                                                                         CLAIM.

   12/12/14          201960      KRISTINE & LYLE UNDERWOOD               Deposits - 507(a)(6)                                   5600-000                                          $14.82        $1,022,942.76
                                 3540 BRANT COURTTOLEDO, OH
                                 43623

   12/12/14          201961      FC USA, INC. D/B/A LIBERTY TRAVEL       Deposits - 507(a)(6)                                   5600-000                                         $391.91        $1,022,550.85
                                 ATTN: LAURENE TAYLOR69 SPRING
                                 STREETRAMSEY, NH 07446

   12/12/14          201962      JENNIFER JONES                          Deposits - 507(a)(6)                                   5600-000                                          $75.97        $1,022,474.88
                                 203 W. WALNUT STREETFAIRBURY, IL
                                 61739

   12/26/14                      UNION BANK                              BANK SERVICE FEE                                       2600-000                                        $1,110.00       $1,021,364.88


   01/16/15          201963      MIRICK, O'CONNELL                       FIRST INTERIM FEE APP                                  3110-000                                   $742,621.05            $278,743.83
                                 100 FRONT STREET, 18TH                  (FEES)
                                 FLOORWORCESTER, MA 01608                SEE ORDER 648 (PARTIAL
                                                                         PAYMENT)

   01/16/15          201964      MIRICK, O'CONNELL                       FIRST INTERIM FEE APP                                  3120-000                                    $38,924.65            $239,819.18
                                 100 FRONT STREET, 18TH                  (EXPENSES)
                                 FLOORWORCESTER, MA 01608                SEE ORDER 648




                                                                                Page Subtotals:                                                        $252,296.00         $783,296.27
                                 Case 12-40944              Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                      Desc Main                                 Page:      172
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                                                                                              FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                               Account Number/CD#: XXXXXX3464

                                                                                                                                        Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                          Separate Bond (if applicable):



       1                2                          3                                              4                                                     5                    6                       7

Transaction Date     Check or            Paid To / Received From                      Description of Transaction               Uniform Tran.      Deposits ($)        Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   01/16/15          201965      VERDOLINO & LOWEY                       FIRST INTERIM FEE APP                                  3410-000                                    $158,489.22             $81,329.96
                                 124 WASHINGTON                          (FEES)
                                 STREETFOXBOROUGH, MA 02035              SEE ORDER 649 (PARTIAL
                                                                         PAYMENT)

   01/16/15          201966      VERDOLINO & LOWEY                       1ST INTERIM FEE APP                                    3420-000                                     $17,260.50             $64,069.46
                                 124 WASHINGTON                          (EXPENSES)
                                 STREETFOXBOROUGH, MA 02035              SEE ORDER 649

   01/26/15             30       AVONDALE AVIATION                       SETTLEMENT NSTALLMENT                                  1241-000                $1,000.00                                   $65,069.46
                                 525 DECATUR STNW WASHINGTON,            PAYME
                                 DC 20011-4746

   01/26/15                      UNION BANK                              BANK SERVICE FEE                                       2600-000                                         $1,422.87           $63,646.59


   02/20/15             30       AVONDALE AVIATION                       SETTLEMENT INSTALLMENT                                 1241-000                 $1,000.00                                   $64,646.59
                                 1783 COLISEUM STREETAPT KNEW            PAYME
                                 ORLEANS, LA 70130

   02/25/15                      UNION BANK                              BANK SERVICE FEE                                       2600-000                                         $1,164.14           $63,482.45


   03/17/15             28       QUICKFLIGHT, INC.                       STIPULATION OF                                         1241-000                 $7,446.74                                   $70,929.19
                                                                         SETTLEMENT

   03/24/15             30       HANK TORBERT                            ACCOUNTS                                               1241-000                 $1,000.00                                   $71,929.19
                                 1783 COLISEUM STREET                    RECEIVABLE/AVONDALE
                                 APT K                                   PER ORDER 646
                                 NEW ORLEANS, LA 701 30

   03/24/15             27       MCAFEE & TAFT ESCROW ACCOUNT            XTRA AIR BANKRUPTCY                                    1221-000                    $136.00                                  $72,065.19
                                 FOR XTRA AIR BANKRUPTCY                 DISTRIBUTION
                                 21 1 N. ROBINSON AVE STE 1 000
                                 OKLAHOMA CITY, OK 73102-7103

   03/25/15                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                          $137.76            $71,927.43
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   03/30/15             30       AVONDALE AVIATION                       PREFERENCE SETTLEMENT                                  1241-000                 $1,000.00                                   $72,927.43
                                 HANK L. TORBERT
                                 525 DECATUR STREET
                                 WASHINGTON, DC 20009

   04/01/15             28       QUICKFLIGHT INC.                        STIPULATION OF                                         1241-000                 $2,683.33                                   $75,610.76
                                 SWANTON, OH 43558                       SETTLEMENT




                                                                                Page Subtotals:                                                         $14,266.07          $178,474.49
                                 Case 12-40944              Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32                                      Desc Main                              Page:      173
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                                Account Number/CD#: XXXXXX3464

                                                                                                                                         Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                          3                                              4                                                     5                    6                     7

Transaction Date     Check or            Paid To / Received From                      Description of T ransaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   04/27/15                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                         $105.69          $75,505.07
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   04/28/15             30       HANK TORBERT                            ACCOUNTS                                                1241-000               ($1,000.00)                               $74,505.07
                                 1783 COLISEUM STREET                    RECEIVABLE/AVONDALE
                                 APT K                                   Reversal
                                 NEW ORLEANS, LA 70130                   BANK NOTICE DATED 3/31/15
                                                                         SAID NOT SUFFICIENT
                                                                         FUNDS. FUNDS RESENT BY
                                                                         PAYEE, AVONDALE
                                                                         AVIATION, HANK TORBERT,
                                                                         BY WIRE DATED 3/30/15 FOR
                                                                         $1,000.

   04/30/15             28       QUICKFLIGHT, INC.                       STIPULATION OF                                          1241-000                $2,683.33                                 $77,188.40
                                 2 AIR CARGO PKWY E. STE E               SETTLEMENT
                                 SWANTON, OH 43558

   05/18/15             30       HANK L. TORBERT                         AVONDALE AVIATION I, LLC                                1241-000                $2,000.00                                 $79,188.40
                                 525 DECATUR STREET                      SETTLEMENT
                                 WASHINGTON, DC 20009

   05/26/15                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                         $107.43           $79,080.97
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   05/28/15             28       QUICKFLIGHT, INC.                       STIPULATION OF                                          1241-000                $2,683.33                                 $81,764.30
                                                                         SETTLEMENT

   06/10/15          201967      REESE R. BOYD, III, PC                  DISBURSEMENT ADVANCE                                   3220-000                                         $500.00           $81,264.30
                                 DAVIS & BOYD, LLC                       PER ORDER 672
                                 1110 LONDON STREET
                                 SUITE 201
                                 MYRTLE BEACH, SC 29577

   06/17/15          201968      U.S. BANKRUPTCY COURT                   CERTIFICATION OF                                       2700-000                                          $21.00           $81,243.30
                                 HAROLD DONOHUE FEDERAL                  JUDGMENT FEE
                                 BUILDING                                FAIRFIELD INN ADV
                                 595 MAIN STREET                         PROCEEDING
                                 WORCESTER, MA -1608

   06/25/15                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                         $116.55           $81,126.75
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   06/30/15             28       QUICKFLIGHT, INC.                       STIPULATION OF                                          1241-000                $2,683.33                                 $83,810.08
                                                                         SETTLEMENT


                                                                                Page Subtotals:                                                          $9,049.99               $850.67
                                 Case 12-40944              Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32                                      Desc Main                               Page:      174
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank

                                                                                                                 Account Number/CD#: XXXXXX3464

                                                                                                                                          Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                              Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                          3                                                 4                                                   5                   6                      7


Transaction Date     Check or            Paid To / Received From                        Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)     Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   07/27/15                      Union Bank                              Bank Service Fee under 1 1                              2600-000                                        $117.55           $83,692.53
                                                                         U.S.C.§ 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   07/30/15             28       QUICKFLIGHT, INC.                       STIPULATION OF                                          1241-000                 $2,683.33                                $86,375.86
                                                                         SETTLEMENT

   08/19/15          201969      INTERNATIONAL SURETIES LTD.             BOND #016027601 (8/1/15-                                2300-000                                        ($53.87)          $86,429.73
                                 INTERNATIONAL SURETIES, LTD.            8/1/16) Reversal
                                                                         PAYEE NAME PRINTED
                                                                         TWICE ON CHECK

   08/19/15          201969      INTERNATIONAL SURETIES LTD.             BOND #016027601 (8/1/15-                                2300-000                                         $53.87            $86,375.86
                                 INTERNATIONAL SURETIES, LTD.            8/1/16)

   08/19/15          201970      INTERNATIONAL SURETIES, LTD.            BOND #016027601 (8/1/15 -                               2300-000                                         $53.87            $86,321.99
                                 INTERNATIONAL SURETIES, LTD.            8/1/16)
                                 SUITE 420
                                 701 POYDRAS ST.
                                 NEW ORLEANS, LA 70139


   08/25/15                      Union Bank                              Bank Service Fee under 1 1                              2600-000                                        $124.80            $86,197.19
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   08/31/15             28       QUICKFLIGHT, INC.                       STIPULATION OF                                           1241-000                $2,683.33                                 $88,880.52
                                                                         SETTLEMENT

   09/25/15                      Union Bank                              Bank Service Fee under 1 1                              2600-000                                        $128.45            $88,752.07
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   09/30/15             28       QUICKFLIGHT, INC.                       STIPULATION OF                                           1241-000                $2,683.33                                 $91,435.40
                                                                         SETTLEMENT

   10/26/15                      Union Bank                              Bank Service Fee under 1 1                              2600-000                                        $127.93            $91,307.47
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   10/30/15             28       QUICKFLIGHT, INC.                       STIPULATION OF                                           1241-000                $2,683.33                                 $93,990.80
                                 WIRE                                    SETTLEMENT

   11/25/15                      Union Bank                              Bank Service Fee under 1 1                              2600-000                                        $136.12            $93,854.68
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   12/01/15             28       QUICKFLIGHT, INC.                       PREFERENCE SETTLEMENT                                    1241-000                $2,683.36                                 $96,538.04




                                                                                   Page Subtotals:                                                       $13,416.68              $688.72
                                 Case 12-40944              Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                                 Page:      175
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                               Account Number/CD#: XXXXXX3464

                                                                                                                                        Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                          Separate Bond (if applicable):



       1                2                          3                                               4                                                    5                    6                       7

Transaction Date     Check or            Paid To / Received From                      Description of Transaction               Uniform Tran.      Deposits ($)        Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   12/28/15                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                          $135.15           $96,402.89
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   01/25/16                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                          $143.46           $96,259.43
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   02/12/16             29       PROGRESSIVE FUNDING SOLUTIONS           SETTLEMENT PAYMENTS                                    1241-000                    $600.00                                 $96,859.43
                                 LLC
                                 500W7TH ST., STE. 750
                                 FORT WORTH, TX 76102-4700

   02/25/16                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                          $142.84            $96,716.59
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   03/03/16             29       PROGRESSIVE FUNDING SOLUTIONS           SETTLEMENT PAYMENT                                     1241-000                    $600.00                                  $97,316.59
                                 LLC
                                 500 W7TH ST., STE. 750
                                 FORT WORTH, TX 76102-4700

   03/25/16                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                          $133.84            $97,182.75
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   04/06/16             29       PROGRESSIVE FUNDING SOLUTIONS           SETTLEMENT PAYMENT                                     1241-000                    $600.00                                  $97,782.75
                                 LLC
                                 500W7TH ST., STE. 750
                                 FORT WORTH, TX 76102-4700

   04/25/16                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                          $144.12            $97,638.63
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   05/25/16                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                          $140.05            $97,498.58
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   06/27/16                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                          $144.68            $97,353.90
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   07/25/16                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                          $139.83            $97,214.07
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)




                                                                                 Page Subtotals:                                                        $1,800.00                $1,123.97
                                 Case 12-40944              Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                                Page:      176

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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                               Account Number/CD#: XXXXXX3464

                                                                                                                                        Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                          Separate Bond (if applicable):



       1                2                          3                                               4                                                    5                   6                       7


Transaction Date     Check or            Paid To / Received From                      Description of Transaction               Uniform Tran.      Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                             ($)
   08/10/16          201971      INTERNATIONAL SURETIES, LTD.            BOND #016027601 (8/1/16-                               2300-000                                          $49.56           $97,164.51
                                 INTERNATIONAL SURETIES, LTD.            8/1/17)
                                 SUITE 420
                                 701 POYDRAS ST.
                                 NEW ORLEANS, LA 70139


   08/25/16                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                         $144.25            $97,020.26
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   09/26/16                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                         $144.01            $96,876.25
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   10/25/16                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                         $139.13            $96,737.12
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   11/25/16                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                         $143.55            $96,593.57
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   12/27/16                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                         $138.72            $96,454.85
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   01/25/17                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                         $143.14            $96,311.71
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   02/27/17                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                         $143.31            $96,168.40
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   03/27/17                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                         $129.28            $96,039.12
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   04/25/17                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                         $142.90            $95,896.22
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   05/25/17                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                         $138.10            $95,758.12
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)




                                                                                 Page Subtotals:                                                             $0.00              $1,455.95
                                 Case 12-40944               Doc 732       Filed 03/27/19 Entered 03/27/19 11:55:32                                     Desc Main                               Page:      177
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                               Account Number/CD#: XXXXXX3464

                                                                                                                                        Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                          Separate Bond (if applicable):



       1                2                          3                                              4                                                     5                  6                       7


Transaction Date     Check or            Paid To / Received From                      Description of Transaction               Uniform Tran.      Deposits ($)      Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   06/26/17                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                        $142.48           $95,615.64
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   07/25/17                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                        $137.70           $95,477.94
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   07/27/17             31       MICHELLE L. VIEIRA                      DISTRIBUTION (EDWARD                                   1249-000                $1,021.77                                 $96,499.71
                                 PO BOX 70309                            WARNECK BANKRUPTCY)
                                 MYRTLE BEACH, SC 29572

   08/16/17          201972      INTERNATIONAL SURETIES, LTD.            Worcester Cases Bond 8/1/17 -                          2300-000                                         $47.02            $96,452.69
                                 SUITE 420                               8/1/18 -Bond #016027601
                                 701 POYDRAS ST.
                                 NEW ORLEANS, LA 70139


   08/25/17                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                        $142.26            $96,310.43
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   09/25/17                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                        $143.36            $96,167.07
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   10/25/17                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                        $138.49            $96,028.58
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   11/27/17                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                        $142.89            $95,885.69
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   12/26/17                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                        $138.10            $95,747.59
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   01/25/18                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                        $142.47            $95,605.12
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)




                                                                                Page Subtotals:                                                         $1,021.77              $1,174.77
                                 Case 12-40944              Doc 732        Filed 03/27/19 Entered 03/27/19 11:55:32                                      Desc Main                                Page:      178
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank

                                                                                                               Account Number/CD#: XXXXXX3464

                                                                                                                                        Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                          Separate Bond (if applicable):



       1                2                          3                                               4                                                     5                   6                       7

Transaction Date     Check or            Paid To / Received From                      Description of Transaction               Uniform Tran.      Deposits ($)        Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
   02/13/18          201973      GEORGE MUCKLEROY                        ALLOWED SPECIAL                                        3210-000                                          $600.00           $95,005.12
                                 SHEATS & MUCKLEROY LLP                  COUNSEL FEES PER ORDER
                                 500 MAIN STREET, SUITE 300              702
                                 FORT WORTH, TX 76102                    6/26/15-12/15/17


                                                                         AMENDS ORIGINAL FEE APP
                                                                         FOR $2,000 ALLOWED BY
                                                                         ORDER 687.

   02/13/18          201974      GEORGE MUCKLEROY                        SPECIAL COUNSEL                                        3220-000                                          $330.86            $94,674.26
                                 SHEATS & MUCKLEROY LLP                  EXPENSES PER ORDER 702
                                 500 MAIN STREET, SUITE 300              6/26/15/12/15/17
                                 FORT WORTH, TX 76102

   02/13/18          201975      UNITED STATES BANKRUPTCY                CERTIFICATE OF NO                                      2700-000                                           $22.00            $94,652.26
                                 COURT                                   OBJECTION FEE
                                 211 DONOHUE FEDERAL BUILDING            NOTICE OF ABANDONMENT -
                                 595 MAIN STREET                         PROGRESSIVE FUNDING
                                 WORCESTER, MA 01608-2076

   02/26/18                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                          $142.26            $94,510.00
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   03/14/18          201976      UNITED STATES BANKRUPTCY                FEE FOR CERTIFICATE OF                                 2700-000                                           $22.00            $94,488.00
                                 COURT                                   NO OBJECTION
                                 211 DONOHUE FEDERAL BUILDING
                                 595 MAIN STREET
                                 WORCESTER, MA 01608-2076

   03/26/18                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                          $127.96            $94,360.04
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   04/25/18                      Union Bank                              Bank Service Fee under 1 1                             2600-000                                          $140.42            $94,219.62
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

   05/09/18             33       MERRICK BANK CORP DBA MERRICK           WIRE RECEIVED                                          1249-000                $275,502.40                                $369,722.02
                                 BANK                                    TRUSTEE'S SETTLEMENT
                                 10705 SOUTH JORDAN GATEWAY              AGREEMENT WITH MERRICK
                                 SOUTH JORDAN, UT 84095                  BANK (RE MERRICK BANK
                                                                         VS. VALLEY NATIONAL
                                                                         BANK)




                                                                                 Page Subtotals:                                                        $275,502.40              $1,385.50
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                                                                                         FORM 2
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                               Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                           Bank Name: Union Bank

                                                                                                                   Account Number/CD#: XXXXXX3464

                                                                                                                                           Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                               Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                            Separate Bond (if applicable):



       1                2                            3                                              4                                                      5                    6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction                 Uniform Tran.      Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                         Code                                                           ($)
   05/25/18                      Union Bank                                Bank Service Fee under 1 1                               2600-000                                        $135.68         $369,586.34
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)

   06/25/18                      Union Bank                                Bank Service Fee under 1 1                               2600-000                                        $443.80         $369,142.54
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)

   07/25/18                      Union Bank                                Bank Service Fee under 1 1                               2600-000                                        $531.47         $368,611.07
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)

   08/14/18          201977      INTERNATIONAL SURETIES, LTD.              8/1/18-8/1/19 Worcester Bond                              2300-000                                       $192.64         $368,418.43
                                 SUITE 420                                 016027601
                                 701 POYDRAS ST.
                                 NEW ORLEANS, LA 70139


   08/27/18                      Union Bank                                Bank Service Fee under 1 1                                2600-000                                       $548.48         $367,869.95
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)

   09/25/18                      Union Bank                                Bank Service Fee under 1 1                                2600-000                                       $547.60         $367,322.35
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)

   10/25/18                      Union Bank                                Bank Service Fee under 1 1                                2600-000                                       $528.97         $366,793.38
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)

   10/31/18                      T ransfer to Acct # xxxxxx0032            Transfer of Funds                                         9999-000                                  $366,793.38                  $0.00




                                                                                                             COLUMN TOTALS                             $1,623,174.93         $1,623,174.93

                                                                                                                     Less: Bank Transfers/CD's            $269,409.08          $366,793.38

                                                                                                             Subtotal                                  $1,353,765.85         $1,256,381.55

                                                                                                                   Less: Payments to Debtors                     $0.00                $0.00

                                                                                                             Net                                       $1,353,765.85         $1,256,381.55




                                                                                  Page Subtotals:                                                                $0.00         $369,722.02
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                         Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                    Bank Name: Associated Bank

                                                                                                              Account Number/CD#: XXXXXX0378

                                                                                                                                       Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                           Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                         Separate Bond (if applicable):



       1                2                          3                                              4                                                    5                   6                     7


Transaction Date     Check or            Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                   Code                                                            ($)
                                                                         Balance Forward                                                                                                               $0.00


   10/04/12                      Trsf In From BANK OF AMERICA            INITIAL WIRE TRANSFER IN                             9999-000                  $3,066.23                                 $3,066.23


   10/16/12             5        PLATTE RIVER INSURANCE CO.              STIPULATION AS TO BOND                                1129-000               $200,000.00                              $203,066.23
                                 PO BOX 5900MADISON, WISCONSIN
                                 53705-0900

   11/05/12                      ASSOCIATED BANK                         BANK SERVICE FEE                                     2600-000                                          $63.41         $203,002.82


   12/07/12                      ASSOCIATED BANK                         BANK SERVICE FEE                                     2600-000                                         $125.14         $202,877.68


   12/12/12             11       NIAGARA FRONTIER                        PREFERENCE SETTLEMENT                                 1241-000                 $1,610.95                              $204,488.63
                                 TRANSPORTATION
                                 AUTHORITY181 ELLICOTT
                                 ST.BUFFALO, NY 14203

   12/12/12             11       SHELTAIR AVIATION PLATTSBURGH,          PREFERENCE SETTLEMENT                                 1241-000                 $5,000.00                              $209,488.63
                                 LLC
                                 4860 NE 12TH AVENUEOAKLAND
                                 PARK, FL 33334

   12/20/12             11       AEROMOTIVE GROUND SUPPORT       AEROMOTIVE GROUND                                             1241-000                $11,500.00                              $220,988.63
                                 FLORIDA IOTA TRUST ACCOUNTS3531 SUPPORT PREF STLM
                                  GRIFFIN RD.FORT LAUDERDALE, FL
                                 33312-5444

   12/21/12             11       SPRINGFIELD AIRPORT AUTHORITY           PREFERENCE SETTLEMENT                                 1241-000                $14,000.00                              $234,988.63
                                 1200 CAPITAL AIRPORT
                                 DRIVESPRINGFIELD, IL 62707

   01/08/13             11       MASSPORT                                PREFERENCE - FULL                                     1241-000                $10,000.00                              $244,988.63
                                 ONE HARBORSIDE DRIVEEAST                COLLECTION
                                 BOSTON, MA 02128-2909                   SINCE WE RECEIVED
                                                                         PAYMENT IN FULL OF THE
                                                                         PREFERENCE DEMAND (i.e.
                                                                         NOT A "SETTLEMENT") NO
                                                                         NEED TO FILE ANY
                                                                         STIPULATION OR
                                                                         SETTLEMENT PAPERS WITH
                                                                         THE COURT.

   01/08/13                      ASSOCIATED BANK                         BANK SERVICE FEE                                      2600-000                                        $136.73         $244,851.90




                                                                                Page Subtotals:                                                       $245,177.18              $325.28
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Associated Bank

                                                                                                                Account Number/CD#: XXXXXX0378

                                                                                                                                        Checking Account

  Taxpayer ID No: XX-XXXXXXX                                                                           Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                         Separate Bond (if applicable):



       1                2                           3                                             4                                                    5                    6                       7

Transaction Date     Check or             Paid To / Received From                    Description of Transaction                 Uniform Tran.     Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   02/05/13             11       KALAMAZOO/BATTLE CREEK AIRPORT PREFERENCE SETTLEMENT                                             1241-000            $25,000.00                                  $269,851.90
                                 FINANCE DEPARTMEN201 W.
                                 KALAMAZOO AVENUEKALAMAZOO,
                                 MICHIGAN 49007

   02/07/13             23       CASH MONEY (TURNED INTO CHECK)           CASH MONEY FOUND IN                                     1229-000                 $481.00                                $270,332.90
                                 124 WASHINGTON STREET, SUITE             DEBTOR BOX
                                 101FOXBORO, MA 02035

   02/07/13             24       BRESSLER, AMERY & ROSS, P.C.             CHARGE FOR                                              1290-000                  $97.00                                $270,429.90
                                 ATTORNEY PROFESSIONAL                    PHOTOCOPIES
                                 ACCOUNTPO BOX 1980MORRISTOWN,
                                 NJ 07962

   02/07/13             24       SATTERLEE STEPHENS BURKE &               CHARGE FOR                                              1290-000                  $97.00                                $270,526.90
                                 BURKE LL                                 PHOTOCOPIES
                                 230 PARK AVENUENEWYORK, NY
                                 10169

   02/07/13                      ASSOCIATED BANK                          BANK SERVICE FEE                                        2600-000                                       $360.13          $270,166.77


   03/07/13                      ASSOCIATED BANK                          BANK SERVICE FEE                                        2600-000                                       $356.57          $269,810.20


   04/05/13                      ASSOCIATED BANK                          BANK SERVICE FEE                                        2600-000                                       $401.12          $269,409.08


   04/12/13                      Transfer to Acct # XXXXXX3464            Bank Funds Transfer                                     9999-000                                 $269,409.08                    $0.00




                                                                                                         COLUMN TOTALS                                $270,852.18          $270,852.18

                                                                                                                  Less: Bank Transfers/CD's             $3,066.23          $269,409.08

                                                                                                         Subtotal                                     $267,785.95               $1,443.10

                                                                                                                  Less: Payments to Debtors                  $0.00                  $0.00

                                                                                                          Net                                         $267,785.95               $1,443.10




                                                                                Page Subtotals:                                                        $25,675.00          $270,526.90
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Bank of America

                                                                                                                Account Number/CD#: XXXXXX0981

                                                                                                                                         Money Market Account (Interest Earn

  Taxpayer ID No: XX-XXXXXXX                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                           Separate Bond (if applicable):



       1                2                            3                                              4                                                   5                      6                     7

Transaction Date     Check or              Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                     Code                                                              ($)
                                                                           Balance Forward                                                                                                                 $0.00

   05/09/12              1       TD BANK                                   CLOSE OUT BANK ACCOUNT                               1229-000                 $3,028.44                                    $3,028.44


   05/09/12             2        HORRY COUNTY STATE BANK                   CLOSE OUT HORRY BANK                                 1229-000                     $22.33                                   $3,050.77
                                                                           ACCOUNT

   05/31/12             3        BANK OF AMERICA                           Interest Rate 0.010                                   1270-000                     $0.02                                   $3,050.79


   06/25/12                      Transfer to Acct # XXXXXX1 003            TRANSFER TO WRITE                                    9999-000                                           $171.00            $2,879.79
                                                                           CHECKS

   06/29/12             3        BANK OF AMERICA                           Interest Rate 0.010                                   1270-000                     $0.02                                   $2,879.81


   06/29/12                      BANK OF AMERICA                           BANK SERVICE FEE                                     2600-000                                             $3.59            $2,876.22


   07/31/12              3       BANK OF AMERICA                           Interest Rate 0.010                                   1270-000                     $0.03                                   $2,876.25


   07/31/12                      BANK OF AMERICA                           BANK SERVICE FEE                                     2600-000                                             $3.77            $2,872.48


   08/06/12                      Transfer to Acct # XXXXXX1 003            TRANSFER FOR BANK                                    9999-000                                             $0.02            $2,872.46
                                                                           SERVICE FEES

   08/10/12             4        CASH (CONVERTED TO CASHIER'S              CASH FROM MYRTLE BEACH                                1229-000                   $204.00                                   $3,076.46
                                 CHECK)                                    SAFE
                                 CASHIER'S CHECK

   08/15/12            1001      INTERNATIONAL SURETIES, LTD               BOND #016027601                                      2300-000                                             $2.59            $3,073.87
                                 SUITE 420701 POYDRAS ST.NEW
                                 ORLEANS, LA 70139

   08/31/12             3        BANK OF AMERICA                           Interest Rate 0.010                                   1270-000                     $0.03                                   $3,073.90


   08/31/12                      BANK OF AMERICA                           BANK SERVICE FEE                                     2600-000                                             $3.79            $3,070.11


   09/28/12             3        BANK OF AMERICA                           Interest Rate 0.010                                   1270-000                     $0.02                                   $3,070.13


   09/28/12                      BANK OF AMERICA                           BANK SERVICE FEE                                     2600-000                                             $3.52            $3,066.61




                                                                                  Page Subtotals:                                                        $3,254.89                 $188.28
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                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Bank of America

                                                                                                                Account Number/CD#: XXXXXX0981

                                                                                                                                        Money Market Account (Interest Earn

  Taxpayer ID No: XX-XXXXXXX                                                                           Blanket Bond (per case limit): $8,000,000.00

For Period Ending: 12/14/2018                                                                         Separate Bond (if applicable):



       1                2                          3                                             4                                                     5                      6                       7

T ransaction Date    Check or            Paid To / Received From                     Description of Transaction                 Uniform Tran.     Deposits ($)       Disbursements ($)        Account/CD Balance
                     Reference                                                                                                      Code                                                              ($)
   10/04/12                      BANK OF AMERICA                         BANK FEES                                                2600-000                                           $0.38             $3,066.23
                                 901 MAIN STREET10TH
                                 FLOORDALLAS, TX 75283

   10/04/12                      Trsf To ASSOCIATED BANK                 FINAL TRANSFER                                           9999-000                                    $3,066.23                     $0.00




                                                                                                         COLUMN TOTALS                                  $3,254.89             $3,254.89

                                                                                                                  Less: Bank Transfers/CD's                  $0.00            $3,237.25

                                                                                                         Subtotal                                       $3,254.89                   $17.64

                                                                                                                Less: Payments to Debtors                    $0.00                    $0.00

                                                                                                          Net                                           $3,254.89                   $17.64




                                                                              Page Subtotals:                                                                $0.00                $3,066.61
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Bank of America

                                                                                                                Account Number/CD#: XXXXXX1003

                                                                                                                                        Checking Account (Non-Interest Earn
  Taxpayer ID No: XX-XXXXXXX                                                                           Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                         Separate Bond (if applicable):



       1                2                           3                                             4                                                    5                      6                     7

Transaction Date     Check or             Paid To / Received From                    Description of Transaction                 Uniform Tran.     Deposits ($)       Disbursements ($)      Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
                                                                          Balance Forward                                                                                                                   $0.00

   06/25/12                      Transfer from Acct # XXXXXX0981          TRANSFER TO WRITE                                       9999-000                 $171.00                                        $171.00
                                                                          CHECKS
   06/25/12            101       UNITED STATES BANKRUPTCY                 FEE - CERTIFICATE OF NO                                 2700-000                                         $21.00                 $150.00
                                 COURT                                    OBJECTION
                                                                          FOR A NOTICE OF
                                                                          ABANDONMENT FILED BY
                                                                          THE TRUSTEE
   06/25/12            102       HORRY COUNTY STATE BANK                  FEES INCURRED - OBTAIN                                  2990-000                                        $150.00                   $0.00
                                 3640 RALPH ELLIS BLVD.ATTN VERNA         BANK RECORDS
                                 FORDLORIS, SC 29569

   07/31/12                      BANK OF AMERICA                          BANK SERVICE FEE                                        2600-000                                          $0.02                 ($0.02)


   08/06/12                      Transfer from Acct # XXXXXX0981          TRANSFER FOR BANK                                       9999-000                   $0.02                                          $0.00
                                                                          SERVICE FEES



                                                                                                         COLUMN TOTALS                                     $171.02                $171.02

                                                                                                                  Less: Bank Transfers/CD's                $171.02                  $0.00

                                                                                                         Subtotal                                            $0.00                $171.02

                                                                                                                Less: Payments to Debtors                    $0.00                  $0.00

                                                                                                          Net                                                $0.00                $171.02




                                                                                Page Subtotals:                                                            $171.02                $171.02
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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

           Case No: 12-40944                                                                                              Trustee Name: Joseph H. Baldiga, Trustee

      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                         Bank Name: Axos Bank

                                                                                                                 Account Number/CD#: XXXXXX0032

                                                                                                                                         Checking
  Taxpayer ID No: XX-XXXXXXX                                                                            Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 12/14/2018                                                                          Separate Bond (if applicable):



       1                2                           3                                              4                                                     5                    6                     7

Transaction Date     Check or             Paid To / Received From                     Description of Transaction                 Uniform Tran.      Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                       Code                                                           ($)
                                                                          Balance Forward                                                                                                                 $0.00

   10/31/18                      Transfer from Acct # xxxxxx3464          Transfer of Funds                                        9999-000            $366,793.38                                $366,793.38




                                                                                                          COLUMN TOTALS                                $366,793.38                  $0.00

                                                                                                                   Less: Bank Transfers/CD's           $366,793.38                  $0.00

                                                                                                          Subtotal                                             $0.00                $0.00

                                                                                                                 Less: Payments to Debtors                     $0.00                $0.00

                                                                                                           Net                                                 $0.00                $0.00




                                                                                 Page Subtotals:                                                      $366,793.38                   $0.00
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                                                                                                   TOTAL OF ALL ACCOUNTS

                                                                                                                                                      NET              ACCOUNT

                                                                                                                 NET DEPOSITS         DISBURSEMENTS                    BALANCE
                                                      XXXXXX0032 - Checking                                                 $0.00                    $0.00            $366,793.38
                                                      XXXXXX0378 - Checking Account                                  $267,785.95                $1,443.10                   $0.00

                                                      XXXXXX0981 - Money Market Account                                 $3,254.89                   $17.64                  $0.00
                                                      (Interest Earn

                                                      XXXXXX1003 - Checking Account (Non-                                   $0.00                 $171.02                   $0.00
                                                      Interest Earn

                                                      XXXXXX3464 - Checking Account                                $1,353,765.85           $1,256,381.55                    $0.00


                                                                                                                   $1,624,806.69           $1,258,013.31              $366,793.38


                                                                                                                (Excludes account     (Excludes payments      Total Funds on Hand
                                                                                                                        transfers)              to debtors)

                                                      Total Allocation Receipts:                        $0.00
                                                      Total Net Deposits:                       $1,624,806.69

                                                      Total Gross Receipts:                     $1,624,806.69



Trustee Signature:   /s/ Joseph H. Baldiaa. Trustee     Date: 12/14/2018

                     Joseph H. Baldiga, Trustee
                     Mirick, O'Connell
                      1800 West Park Drive, Suite 400
                     Westborough, MA 01581-3926
                     (508) 791-8500
                     jbaldiga@mirickoconnell.com




                                                                              Page Subtotals:                                           $0.00                 $0.00
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                EXHIBIT D
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  Mirick O'Connell                                                                             100 Front Street, Worcester, MA 01608-1477
                                                                                                          t 508.791.8500 |   f 508.791.8502
  ATTOR                NEYS           AT      LAW                                                Federal Employment I.D. No. XX-XXXXXXX




Joseph H. Baldiga, Chapter 7 Trustee                                                                                      December 1 1, 2018
Chapter 7 Trustee                                                                                                            Invoice 425881
c/o Mirick, O'Connell, DeMallie &                                                                                                Attorney JHB
100 Front Street
Worcester, MA 01608-1477




                                            INVOICE SUMMARY



For services and disbursements through December 11, 2018:


RE:   15008
      Joseph H. Baldiga, Chapter 7 Trustee




  Matter#        Description                                                                   Services      Disbursements              Total
      1 4 1 90   Direct Air (Southern Sky Air & Tours,                                     53,295.00                       .00      53,295.00
      Total                                                                                53,295.00                       .00      53,295.00




                         TOTAL SERVICES AND DISBURSEMENTS                                                   $ 53,295.00




                                Mirick, O'Connell, DeMallie & Lougee, llp
                                      Worcester          W'TvruoRovGH                      j    Boston
                                               w \\ • vs -.mi ri c k o c o an ell . co m
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Direct Air (Southern Sky Air & Tours,                                                            Invoice 425881



SERVICES RENDERED


9000 Trustee


   Date     Tkpr   Task   Description                                              Hours     Rate      Amount

 4/11/12    JHB    9000   Lengthy calls with U.S. Trustee's office (Attorney        3.30    380.00     1,254.00
                          King, Mr. Doherty) regarding case background and
                          issues (.8); related call with debtor's counsel team
                          (.7); begin review of case materials and issues (1.1);
                          lengthy call and emails from Attorney Raftery (tax
                          counsel) (.7).

 4/1 1/12   KMD    9000   Strategy regarding initial tasks and receipt of            .30    180.00        54.00
                          Trustee's appointment.

 4/11/12    GBO    9000   Review case background and formulate steps for            2.10    240.00      504.00
                          estate administration (1.4); telephone call with
                          Debtor's counsel regarding case background, assets,
                          escrow account, and possible recovery avenues (.7).

4/12/12     JHB    9000   Attention to miscellaneous case issues and                 .60    380.00      228.00
                          inquiries.

4/12/12     GBO    9000   Compile Ch. 1 1 case materials (.3); review               2.30   240.00       552.00
                          memoranda regarding 341 Meeting, meeting with
                          Mr. Tobert (.1); assist with service list (.1); review
                          pleadings from Ch. 1 1 case and prepare for call
                          with H. Torbert and Debtor's counsel (.8); telephone
                          call with H. Torbert and Debtor's counsel regarding
                          company operations, history, assets, etc. (.8); follow
                          up regarding same (.2).

4/12/12     GBO    9000   Attention to securing South Carolina headquarters          .10   240.00        24.00
                          space.


4/13/12     GBO    9000   Email Debtor's counsel for Landlord contact               1.10   240.00       264.00
                          information (.1); telephone calls with Bank and
                          Keystone (Property Manager) to coordinate
                          changing locks and securing premises (.4); consider
                          impact of Property Manager's report of records and
                          furniture leaving premises and telephone call with
                          Trustee regarding same (.2); email Debtor's counsel
                          requesting information about disposal of assets and
                          records (.3); review response (.1).

4/17/12     JHB    9000   Numerous creditor inquiries.                               .40   380.00       152.00




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   Date    Tkpr   Task    Description                                             Hours      Rate     Amount

 4/17/12   KMD    9000    Telephone call from Sabrina at John Destino's             .20    180.00        36.00
                          office to confirm date of creditors' meeting and
                          claim bar date.

 4/17/12   GBO    9000    Follow up regarding security of Myrtle Beach              .20    240.00        48.00
                          premises (.1); confirm receipt of keys (.1).

 4/18/12   JHB    9000    Numerous creditor inquiries (.6); continue review of     1.20    380.00      456.00
                          case materials (.6).

 4/22/12   JHB    9000    Emails with various creditors.                            .60    380.00      228.00

 4/23/12   JHB    9000    Review open issues regarding schedules and record         .50    380.00       190.00
                          retrieval (.3) and related calls and emails with
                          Attorney Braunstein (.2).

 4/23/12   KMD    9000    Letter to Mark's Lock and Key enclosing check for         .10    180.00        18.00
                          lock change services.

 4/23/12   GBO    9000    Strategize regarding outstanding issues in case and      1.00    240.00      240.00
                          develop "issue list" and next steps regarding each
                          (.5); develop list of interested parties with contact
                          information (.5).

 4/24/12   JHB    9000    Review open case issues and strategies to bring case      .20    380.00        76.00
                          forward to TFR.

 4/24/12   GBO    9000    Review and revise interested party list (.2); augment     .30    240.00        72.00
                          with employee information (.1).

 4/25/12   JHB    9000    Emails with counsel to debtor, DOT regarding              .30    380.00       114.00
                          schedules, case issues.

 4/25/12   GBO    9000   Review emails and email Debtor's counsel                   .20    240.00       48.00
                         regarding status of schedules (.2).

 4/26/12   JHB    9000   Multiple creditor inquires (.8); emails with debtor       1.10    380.00      418.00
                         counsel regarding schedules, case issues (.3).

 4/27/12   JHB    9000    Multiple calls and emails with Attorneys                  .60    380.00      228.00
                          Braunstein, Russell regarding schedules, record
                          access.


 4/27/12   JHB    9000   Multiple creditor inquiries and responses.                 .60   380.00       228.00

 4/29/12   JHB    9000   Review schedules and SOFA and related case                 .90   380.00       342.00
                         materials (.6), related email to debtor's counsel,
                          VLPC regarding access, need for more complete
                          schedules (.3).




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   Date     Tkpr   Task   Description                                                Hours     Rate      Amount

 4/30/12    JHB    9000   Conference call with DR's counsel, Ms. Bley and              .90    380.00       342.00
                          Mr. Tobert regarding schedules, records (.3);
                          creditor inquiries (3x)(.6).

 4/30/12    GBO    9000   Create "issue list" tracking open matters and points         .80    240.00       192.00
                          to investigate in this case.

 5/01/12    JHB    9000   Creditor inquiries (.3); continued attention to              .70    380.00      266.00
                          schedules, emails with debtor's counsel (.4).

 5/09/12    JHB    9000   Call, emails with Attorney Braunstein regarding              .40    380.00       152.00
                          asset, access issues.

 5/10/12    LAK    9000   Work with Bankruptcy Court to determine status of            .50    180.00       90.00
                          creditors' meeting date (.3); attend to on line notice
                          of continued meeting (.2).

5/10/12     JHB    9000   Attention to creditors' meeting, notice issues and           .30   380.00       114.00
                          review related notice of continued meeting.

5/11/12     LAK    9000   Prepare paper notice of continued creditors meeting          .60    180.00      108.00
                          for mail service (.3), certificate of service (.2); call
                          to Joanne at Bankruptcy Court regarding same (.1).

5/17/12     JHB    9000   Creditor inquiries.                                          .80   380.00       304.00

5/18/12     JHB    9000   Creditor inquiries (14x).                                   1.80   380.00       684.00

5/21/12     JHB    9000   Creditor inquiries and record message regarding              .90   380.00       342.00
                          same.


5/21/12    KMD     9000   Attention to incoming creditor calls and strategy            .30   180.00        54.00
                          regarding same; attention to returned mail.

5/22/12    JHB     9000   Multiple creditor inquiries.                                 .80   380.00       304.00

5/23/12    JHB     9000   Multiple claimant inquiries.                                 .80   380.00       304.00

5/25/12    KMD     9000   On-line search to locate Chapter 7 panel trustee in          .50   180.00        90.00
                          the region covering Glen Daniels, West Virginia in
                          connection with Debtor's West Virginia reservation
                          center and telephone call to two (2) trustees
                          regarding same.

6/01/12    JHB     9000   Creditor inquiries regarding claim process, case             .80   380.00       304.00
                          issues.

6/06/12    KMD     9000   Telephone call from M. Riordan regarding proof of            .10   180.00        18.00
                          claim; forward proof of claim form to M. Riordan
                          via electronic mail.




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   Date    Tkpr   Task    Description                                            Hours       Rate        Amount

 6/08/12   JHB    9000    Review bank statements, reconciliations and related       .10    380.00           38.00
                         TFR issues.

 6/08/12   JHB    9000   Creditor inquiries, claim receipt and issues.             .40     380.00          152.00

 6/11/12   JHB    9000   Creditors' meeting preparation (.8); creditor            1.20     380.00         456.00
                         inquiries regarding same and claims (.4).

 6/12/12   JHB    9000   Continue preparation for 6/13 creditors' meeting         1.70     380.00         646.00
                         (1.1), related calls and emails with various
                         creditors, counsel (4x)(.6).

6/13/12    JHB    9000   Prepare for (2.1), conduct lengthy creditors' meeting    4.40     380.00        1,672.00
                         (1.7); follow up discussions with Mr. Torbert and
                         various counsel (.6).

6/1 3/12   JHB    9000   Multiple creditor inquiries regarding case, claim         .80     380.00         304.00
                         issues.

6/15/12    LAK    9000   Request 341 hearing transcript from Office of the         .10     180.00          18.00
                         U.S. Trustee.

6/15/12    JHB    9000   Draft criminal referral (.6); numerous creditor          1.30     380.00         494.00
                         inquiries regarding claim, case issues (.7).

6/18/12    JHB    9000   Continue work on criminal referral and review             .40     380.00         152.00
                         underlying case materials.

6/18/12    KMD    9000   Review trustee's referral to Office of the U.S.           .10     180.00          18.00
                         Trustee.

6/19/12    JHB    9000   Creditor inquiries regarding unemployment, claims,        .50    380.00          190.00
                         case issues (3x).

6/25/12    JHB    9000   Creditor inquiries (3 x).                                 .50    380.00          190.00

6/28/12    KMD    9000   Review Pacer docket and current status of case and        .20     180.00          36.00
                         update trustee control sheet.

7/09/12    JHB    9000   Review open case issues and TFR strategies.               .10    385.00           38.50

7/15/12    JHB    9000   Review account, reconciliation materials and open         .10    385.00           38.50
                         TFR, case closure issues.

7/20/12    KMD    9000   Letter to accountant enclosing additional notices        .10     180.00           18.00
                         from S.C. Department of Employment.

8/08/12    JHB    9000   Review account statements, reconciliation and            .10     385.00           38.50
                         related TFR, case issues.

8/15/12    LAK    9000   Attend to payment of bond payment.                       .10     180.00           18.00

8/15/12    JHB    9000   Review bond materials and execute check for same.        .10     385.00           38.50



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    Date    Tkpr   Task    Description                                          Hours      Rate        Amount

 9/04/12    JHB    9000   Review case issues and strategies and related TFR       .10    385.00           38.50
                          issues.

 9/04/12    KMD    9000   Letter to accountant enclosing notice from IRS.         .10    180.00           18.00

 9/11/12    JHB    9000   Meet with trustee group to review open case, TFR        .10    385.00          38.50
                          issues.

 9/11/12    JHB    9000   Review account statement, log and reconciliation.       .10    385.00          38.50

 9/11/12    KMD    9000   Meet with team to discuss strategy regarding            .10    180.00           18.00
                          moving case forward.

10/01/12    KMD    9000   Letter to Bankruptcy Court to request claims            .20    180.00          36.00
                          register; telephone call from case administrator at
                          Bankruptcy Court regarding bar date request.

10/08/12    JHB    9000   Review account statements, log and reconciliation       .10    385.00          38.50
                          and open case issues.

10/18/12    KMD    9000   Coordinate procedure to obtain copies of all claims     .60    180.00         108.00
                          filed with Bankruptcy Court.

10/20/12    JHB    9000   Review tax-related inquiries, and related email to      .30    385.00         115.50
                          Mr. Jalbert (W-2s, returns).

10/22/12    GBO    9000   Review memos regarding issuance of 2012 W-2s.           .10    245.00          24.50

10/24/12    JHB    9000   Emails with VLPC, Attorney Boyd regarding tax,          .20    385.00          77.00
                          W-2 issues.

10/25/12    JHB    9000   Emails with VL regarding W-2s, tax issues and           .30   385.00          115.50
                          related emails with Attorney Boyd.

10/26/12    JHB    9000   Continued emails with Attorney Boyd, VLPC               .30   385.00          115.50
                          regarding tax, W-2 issues.

10/26/12    KMD    9000   Letter to accountant enclosing tax information         .10     180.00          18.00
                          received from South Carolina Department of
                          Employment and Workforce.

11/06/12    JHB    9000   Meet with team to review open case, TFR issues.        .10    385.00           38.50

11/06/12    KMD    9000   Team meeting regarding status of case and next         .10    180.00           18.00
                          steps to move case forward.

11/09/12    JHB    9000   Review account statements, log and reconciliation      .10    385.00           38.50
                          and related distribution issues.

1 1/09/12   JHB    9000   Rotation follow-up; case issues and inquiries;         .70    385.00         269.50
                          banking.




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   Date    Tkpr   Task    Description                                           Hours       Rate     Amount

11/13/12   JHB    9000    Review initial account statement from Associated         .10    385.00        38.50
                          Bank, reconciliation issues and materials.

11/16/12   JHB    9000    Case review and inquiries, rotation issues, banking    1.10     385.00      423.50
                          and escrow issues.

12/06/12   JHB    9000   Meet with team to review open case, TFR issues.          .10     385.00       38.50

12/06/12   KMD    9000   Meet with team to review case status and strategy to     .10     180.00        18.00
                         move case forward.

12/13/12   JHB    9000   Emails with Mr. Jalbert, related analysis regarding      .20     385.00       77.00
                         tax and TFR issues.

12/13/12   KMD    9000   Review status of case, outstanding issues, if any,       .10     180.00        18.00
                         and deadlines.

12/28/12   JHB    9000   Creditor inquiries regarding W-2s, related emails        .20     385.00       77.00
                         with VLPC.

 1/07/13   JHB    9000   Meet with team to review open case, TFR issues           .10     385.00       38.50
                         and annual report timeline.

 1/07/13   JHB    9000   Review account statements, log and reconciliation.       .10     385.00       38.50

 1/07/13   KMD    9000   Meet with team to review status of case and next         .10     180.00       18.00
                         steps.

 1/13/13   JHB    9000   Credit inquiry responses.                                .10     385.00       38.50

 1/16/13   JHB    9000   Multiple claimant inquiries.                             .40     385.00      154.00

 1/18/13   JHB    9000   Multiple claimant inquiries (7x).                       1.30    385.00       500.50

 1/23/13   JHB    9000   Multiple creditor inquiries regarding claim,             .60    385.00       231.00
                         distribution issues.

1/24/13    JHB    9000   Respond to multiple claimant inquiries (.4).             .40    385.00       154.00

 1/25/13   JHB    9000   Multiple claimant inquiries.                             .60    385.00       231.00

1/28/13    JHB    9000   Final review of annual report materials.                 .10    385.00        38.50

1/28/13    JHB    9000   Multiple claimant calls.                                 .40    385.00       154.00

1/29/13    JHB    9000   Multiple creditor inquiries (4x).                        .80    385.00       308.00

1/30/13    LAK    9000   Review and preparation of case documents in              .70    180.00       126.00
                         connection with annual report.

1/30/13    JHB    9000   Multiple claimant inquiries (3 x).                       .30    385.00       115.50

2/01/13    JHB    9000   Claimant inquiries (3 x).                               .50     385.00       192.50




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   Date    Tkpr   Task    Description                                          Hours       Rate     Amount

 2/01/13   KMD    9000   Receipt of email from accountant; review file for        .20    180.00        36.00
                         contact information at Horry County State Bank;
                         telephone call to Cindy White at Horry County
                          State Bank in connection with request by
                         accountant for April 2012 bank statement.

 2/04/13   KMD    9000   Telephone call to Cindy White at Horry County           .30     180.00        54.00
                         State Bank to request copy of April 2012 bank
                         statement; draft letter to Cindy White regarding
                         same and forward electronic mail.

2/05/13    KMD    9000   Receipt of April 2012 bank statement from Horry         .20     180.00        36.00
                         County State Bank; forward same to P. Bley at
                         Verdolino & Lowey via secure email in connection
                         with review of W-2 forms.

2/05/13    KMD    9000   Review/update control sheet as to case status and       .10     180.00        18.00
                         deadlines in preparation of team meeting.

2/06/13    JHB    9000   Review case issues and materials in preparation for     .10     385.00       38.50
                         2/7 group meeting.

2/07/13    JHB    9000   Meet with team to review open TFR, distribution         .10     385.00       38.50
                         issues.

2/07/13    JHB    9000   Multiple claim inquiries (x4).                          .70     385.00      269.50

2/07/13    JHB    9000   Creditor inquiries regarding W2s and related emails     .30     385.00      115.50
                         with Ms. Bley.

2/07/13    KMD    9000   Team meeting to review case and determine next          .10     180.00       18.00
                         steps to move case forward.

2/07/13    KMD    9000   Update special counsel control sheet as to current      .10     180.00       18.00
                         status of case.

2/07/13    KMD    9000   Confirm with accountant that Form W-2s complete.        .10     180.00       18.00

2/08/13    JHB    9000   Creditor inquiries.                                     .30    385.00       115.50

2/10/13    JHB    9000   Respond to creditor inquiries (3x).                     .40    385.00       154.00

2/11/13    JHB    9000   Calls, emails with creditor inquiries.                  .40    385.00       154.00

2/11/13    JHB    9000   Review account statements, related distribution         .10    385.00        38.50
                         issues.

2/20/13    JHB    9000   Return calls to multiple claimants (4x).               .90     385.00       346.50

2/21/13    JHB    9000   Multiple claimant inquiries (3 x).                     .50     385.00       192.50

2/22/13    JHB    9000   Multiple claimant inquiries/responses (3 x).           .40     385.00       154.00




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                                                                                  Hours       Rate     Amount

 2/24/13    JHB   9000    W2, claimant inquiries and responses.                      .40    385.00       154.00

 2/25/13    JHB   9000    Multiple claimant inquiries regarding claims and          .60     385.00      231.00
                          W2s, related emails with Ms. Bley.

 2/25/13    KMD   9000    Review memos (x3) from accountant regarding               .30     180.00        54.00
                          returned Form W-2s.

 2/26/13    JHB   9000    Multiple claimant inquiries (3x).                         .40     385.00       154.00

 3/05/13    JHB   9000    Revise fee materials, review open TFR issues.             .10     385.00       38.50

 3/05/13    JHB   9000    Creditor inquiries (2x).                                  .30     385.00      115.50

 3/07/13    JHB   9000    Multiple claimant inquiries (3 x).                        .40     385.00      154.00

 3/08/13    JHB   9000    Review account statements, log and reconciliation.        .10     385.00       38.50

 3/14/13    KMD   9000    Review file for transcript of creditors' meeting.         .10     180.00        18.00

3/19/13     KMD   9000    Track preparation of transcript of creditors meeting.     .10     180.00       18.00

3/20/13     JHB   9000    Multiple claimant inquiries (3X) (.5); and revise         .80     385.00      308.00
                          Creditor Meeting transcript (.3).

3/23/13     JHB   9000    Continue corrections to 341 Meeting transcript.           .30    385.00       115.50

3/27/13     JHB   9000    Respond to multiple claimant inquiries (3 x).             .40    385.00       154.00

3/28/13     JHB   9000    Multiple claimant inquiries.                              .30    385.00       115.50

4/03/13     LAK   9000    Retrieve copies of case docket and Ch. 7 trustee          .10     180.00       18.00
                          appointment and provide same to MSA Group.

4/03/13     JHB   9000    Review fee, claim materials, open TFR issues.             .10    385.00        38.50

4/04/13     JHB   9000    Multiple claimant inquiries, W2 inquiries.                .60    385.00       231.00

4/05/13     JHB   9000    Review account statements, log and bank                   .10    385.00        38.50
                          reconciliation.

4/05/13     JHB   9000    Claimant inquiries (3 x).                                 .40    385.00       154.00

5/04/13     JHB   9000    Revise fee materials, review open case, TFR issues.       .10    385.00        38.50

5/15/13     JHB   9000    Review account statements, log and reconciliation.        .10    385.00        38.50

6/14/13     JHB   9000    Review account statements, log and reconciliation.        .10    385.00        38.50

6/14/13     JHB   9000    Multiple claimant calls and emails (3x).                 .70     385.00       269.50

6/21/13     KMD   9000    Update special counsel control sheet to include          .20     180.00        36.00
                          Attorney David Reier.

7/15/13     JHB   9000    Review account statements, log and reconciliation        .10     390.00        39.00
                          and open TFR issues.



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    Date   Tkpr   Task   Description                                            Hours      Rate     Amount

 8/14/13   JHB    9000   Review account statements, log and reconciliation,       .10    390.00        39.00
                         related TFR issues.

 8/20/13   KMD    9000   Update special counsel control sheet.                    .10    185.00        18.50

 8/22/13   JHB    9000   Meet with K. DelleChiaie and L. Keeler to review         .10    390.00        39.00
                         open case, TFR issues and next steps to closure.

 8/22/13   KMD    9000   Team meeting to discuss current status of                .10    185.00        18.50
                         case/outstanding issues.

 8/28/13   LAK    9000   Attend to bond payment.                                  .10    185.00        18.50

 9/14/13   JHB    9000   Review account statements, log and reconciliation,       .10    390.00       39.00
                         and open TFR issues.

10/10/13   JHB    9000   Review account statements, log, and reconciliation.      .10    390.00       39.00

10/10/13   JHB    9000   Review case materials, transcripts to devise open        .30    390.00      117.00
                         issue list.

11/08/13   JHB    9000   Review case and banking materials, open TRF              .20    390.00       78.00
                         issues.

11/12/13   JHB    9000   Review bank statements.                                  .10    390.00       39.00

11/15/13   JHB    9000   Review bank statement, log and reconciliation and        .10    390.00       39.00
                         related TFR issues.

11/19/13   KMD    9000   Review control sheet and determine outstanding           .10    185.00       18.50
                         items/issues to move case forward and report results
                         to trustee; update control sheet, as necessary.

11/25/13   JHB    9000   Review bank statements, TFR.                             .20    390.00       78.00

12/13/13   JHB    9000   Review bank statements, reconciliation and log and       .10    390.00       39.00
                         related TFR issues.

12/13/13   JHB    9000   Review open tax, TFR, distribution issues and            .20   390.00        78.00
                         strategies.

12/20/13   KMD    9000   Update control sheet as to outstanding                   .10    185.00       18.50
                         issues/deadlines/recent memos from trustee.

12/24/13   JHB    9000   Review bank statements, open TFR issues.                .10    390.00        39.00

 1/02/14   JHB    9000   Review open TFR, distribution issues.                   .20    390.00        78.00

 1/02/14   KMD    9000   Attention to request from accountant for current        .10    185.00        18.50
                         Forms 1 and 2.

 1/06/14   KMD    9000   Review status of case/outstanding issues in             .10    185.00        18.50
                         preparation of team meeting.




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Direct Air (Southern Sky Air & Tours,                                                           Invoice 425881


   Date    Tkpr   Task   Description                                           Hours      Rate        Amount

 1/09/14   JHB    9000   Review open case, TFR issues and related meeting        .10    390.00           39.00
                         with trustee team to review.

 1/09/14   KMD    9000   Team meeting to review status of case/outstanding       .10    185.00           18.50
                         issue/timing of TFR.

 1/16/14   JHB    9000   Review bank statements, log and reconciliation.         .10    390.00           39.00

 1/21/14   LAK    9000   Review and finalize Forms 1 and 2.                      .90    185.00          166.50

 1/24/14   JHB    9000   Review open tax, TFR and distribution issues.           .20    390.00          78.00

 1/24/14   JHB    9000   Interim report issues.                                  .10    390.00          39.00

 1/28/14   JHB    9000   Review and revise annual report and review              .20    390.00          78.00
                         underlying case issues and materials.

 1/28/14   KMD    9000   Review outstanding issues and update control sheet.     .20    185.00          37.00

 1/29/14   JHB    9000   Continued annual report issues and related review       .20    390.00          78.00
                         of case financial reports.

2/03/14    JHB    9000   Case inquiries and follow-up; banking; tax issues.      .80    390.00         312.00
2/04/14    KMD    9000   Receipt of tax returns from accountant; prepare         .20    185.00          37.00
                         transmittal letter for executed copies of same;
                         update control sheet.

2/06/14    JHB    9000   Review bank statements, disbursement issues.            .10    390.00          39.00
2/11/14    JHB    9000   Review, execute multiple tax returns.                   .40    390.00         156.00
2/15/14    JHB    9000   Review account statements, log and reconciliation.      .40   390.00          156.00

2/18/14    JHB    9000   Call, emails from S.C. DOR regarding tax issues         .40   390.00          156.00
                         (.2), related emails with Mr. Jalbert, Ms. Morris
                         (.2).

3/03/14    JHB    9000   Review open tax issues, related tax materials.         .20    390.00           78.00
3/04/14    LAK    9000   Correspond with bank regarding deposit made.           .10     185.00          18.50

3/07/14    KMD    9000   Review status of case/control sheet/outstanding        .10    185.00           18.50
                         issues in preparation of team meeting.

3/09/14    JHB    9000   Review bank statements.                                .10    390.00           39.00

3/12/14    JHB    9000   Review open asset, claims and TFR issues.              .20    390.00           78.00
3/12/14    KMD    9000   Meet with team to review outstanding issues of         .10    185.00           18.50
                         case.


3/17/14    JHB    9000   Work on criminal referral supplement.                  .30    390.00          117.00
3/17/14    JHB    9000   Review bank statements, log and reconciliation.        .30    390.00          117.00



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Direct Air (Southern Sky Air & Tours,                                                              Invoice 425881


   Date     Tkpr   Task    Description                                            Honrs      Rate        Amount

 3/26/14    LAK    9000   Review February bank statements and canceled             1.30    185.00          240.50
                          checks regarding discrepancy with 2/28/14 bank
                          balance (1.2), correspond with bank regarding same
                          (!.)•
 3/30/14    JHB    9000   Review bank statements, banking issues.                   .10    390.00           39.00

4/08/14     JHB    9000   Review bank statements, banking issues.                   .20    390.00           78.00

4/16/14     JHB    9000   Review account statements, reconciliation and log.        .10    390.00           39.00

4/22/14     JHB    9000   Review bank statements, banking issues.                   .20    390.00           78.00
4/24/14     KMD    9000   Update control sheet as to status of case and special     .10    185.00           18.50
                          counsel updates.

5/06/14     KMD    9000   Review case status/outstanding issues in preparation      .10    185.00           18.50
                          for team meeting.

5/07/14     JHB    9000   Review bank statements, deposit issues.                   .10    390.00          39.00
5/12/14     JHB    9000   Meet with team to review open case, TFR issues.           .10    390.00          39.00
5/15/14     JHB    9000   Review bank statements, account issues.                   .10    390.00          39.00

5/19/14     JHB    9000   Review bank statements, log and reconciliation and        .10    390.00          39.00
                          related account issues.

5/22/14     LAK    9000   Request creditors' meeting tape from US Trustee.          .10    185.00          18.50

5/28/14     JHB    9000   Review bank statements, stop payment issues.              .30    390.00         117.00

6/02/14     JHB    9000   Review bank statements, additional stop payments.         .30   390.00          117.00

6/09/14     JHB    9000   Review new bank statements.                               .10   390.00           39.00

6/11/14     JHB    9000   Review open case issues, next steps to TFR,               .10   390.00           39.00
                          closure.

6/13/14     KMD    9000   Review case status/update control sheet.                  .30    185.00          55.50
6/16/14     JHB    9000   Review bank statements, log book and                     .10    390.00           39.00
                          reconciliation.

6/20/14     JHB    9000   Review new bank statements, deposit issues.              .10    390.00           39.00

6/27/14    JHB     9000   Review bank statements, banking issues.                  .20    390.00           78.00

7/03/14    KMD     9000   Review status of case and update special counsel         .10    195.00           19.50
                          control sheet.

7/07/14    JHB     9000   Review new bank statements, stop payment and             .30    395.00          118.50
                          deposit issues.

7/07/14    JHB     9000   Review banking issues, TFR strategies.                   .10    395.00           39.50



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Direct Air (Southern Sky Air & Tours,                                                            Invoice 425881

    Date    Tkpr   Task    Description                                          Hours      Rate        Amount

 7/18/14    JHB    9000   Review bank statement, log and reconciliation.          .10    395.00           39.50

 8/14/14    KMD    9000   Review Pacer docket/control sheet to determine          .10    195.00           19.50
                          next steps to move case forward; update control
                          sheet.

 8/18/14    JHB    9000   Review bank statement, related log and                  .10    395.00           39.50
                          reconciliation.

 9/15/14    JHB    9000   Review new bank statements.                             .10    395.00          39.50

 9/16/14    JHB    9000   Review bank statements, log and reconciliation.         .10    395.00          39.50

 9/17/14    KMD    9000   Review status of case/update control sheet prior to     .10    195.00           19.50
                          team meeting.

 9/23/14    JHB    9000   Meet with trustee team to review case, TFR issues       .10    395.00          39.50
                          and next steps.

 9/23/14    KMD    9000   Team meeting to review case status.                     .10    195.00          19.50

10/16/14    JHB    9000   Review bank statements, log and reconciliation.         .10    395.00          39.50

10/21/14    KMD    9000   Review case status and update control sheet, as         .50    195.00          97.50
                          necessary regarding updates/deadlines.

10/28/14    JHB    9000   Review new bank statements, reconciliation issues.      .20    395.00          79.00

11/04/14    JHB    9000   Meet with trustee team to review open case, TFR         .20    395.00          79.00
                          issues, review related banking issues.

11/07/14    JHB    9000   Review new bank statements, banking issues.             .10   395.00           39.50

11/10/14    JHB    9000   Review additional bank statements, account issues.      .20   395.00           79.00

11/14/14    LAK    9000   Attend to stop payment on 2 original distribution       .10    190.00          19.00
                          checks.

1 1/14/14   KMD    9000   Track correspondence from accountant as to             .10    195.00           19.50
                          potential tax liability.

11/17/14    JHB    9000   Review bank statements, log and reconciliation.        .10    395.00           39.50

11/21/14    KMD    9000   Review status of case and update special counsel       .20    195.00           39.00
                          control sheet accordingly.

11/21/14    KMD    9000   Update trustee control sheet as to status of case.     .10    195.00           19.50

12/12/14    KMD    9000   Update trustee control chart as to current status.     .20    195.00           39.00
12/12/14    KMD    9000   Update special counsel control chart as to current     .10    195.00           19.50
                          status of case/special counsel updates.

12/15/14    JHB    9000   Review bank statements, log and reconciliation.        .10    395.00           39.50




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Direct Air (Southern Sky Air & Tours,                                                          Invoice 425881


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12/22/14    JHB   9000    Review additional bank statements, deposit issues.       .10    395.00        39.50

12/30/14    KMD   9000    Update special counsel control sheet as to current       .10    195.00         19.50
                          balance and forward to trustee for review.

 1/12/15    JHB   9000    Review new bank statements, deposit issues.              .10    395.00        39.50

 1/13/15    JHB   9000    Review open case issues, next steps to TFR.              .10    395.00        39.50

 1/15/15    JHB   9000    Review bank statements, log and reconciliation.          .10    395.00        39.50

 1/23/15    JHB   9000   Review case issues and materials for TFR, annual          .10    395.00        39.50
                         report.

 1/26/15    LAK   9000   Review pacer docket; determine current status of         1.20    190.00       228.00
                         case actions and update Form 1.

 1/27/15    JHB   9000   Review, revise annual report materials.                   .20    395.00        79.00

 1/28/15    JHB   9000   Continue work on annual reports, asset                    .30    395.00       118.50
                         abandonment, TFR issues.

 1/28/15    KMD   9000   Review current status of case and outstanding             .10    195.00        19.50
                         deadlines; update control sheet accordingly.

 1/29/15    JHB   9000   Continued review of annual report issues and              .20    395.00        79.00
                         materials.

2/03/15     JHB   9000   Bank statement review.                                    .20    395.00        79.00

2/12/15     JHB   9000   Review open case issues, banking and TFR issues.          .10    395.00        39.50

2/22/15     JHB   9000   Review bank statements, distribution issues.              .10    395.00        39.50

3/02/15     JHB   9000   Review new bank statements, deposit issues.               .10    395.00        39.50

3/03/15     JHB   9000   Claimant inquiries (2x).                                  .30    395.00       118.50

3/13/15     JHB   9000   Review bank statements, reconciliation and log.           .10    395.00        39.50

3/31/15     JHB   9000   Review bank statements, distribution issues.              .20    395.00        79.00

3/3 1/1 5   KMD   9000   Review schedules to determine assets, if any,             .10    195.00        19.50
                         requiring abandonment by trustee.

4/01/1 5    JHB   9000   Review case status and steps to TFR.                      .10    395.00        39.50

4/06/15     JHB   9000   Review bank statements, banking issues, asset             .60    395.00       237.00
                         disposition issues.

4/14/15     JHB   9000   Review bank statements, log and reconciliation.           .10    395.00        39.50

4/30/15     KMD   9000   Review status of case and outstanding issues.             .10    195.00        19.50

5/14/15     JHB   9000   Creditor inquiry regarding distribution, case closure     .10    395.00        39.50
                         issues.



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 5/15/15    JHB   9000    Review bank statements, log and related TFR             .10    395.00        39.50
                          issues.

 5/20/15    JHB   9000    Review open asset, claim, distribution issues, next     .20    395.00        79.00
                          steps for TFR.

 5/22/1 5   KMD   9000    Review status of case in preparation of team            .10    195.00        19.50
                          meeting.

 5/26/1 5   JHB   9000    Review open case issues, strategies and timing for      .20    395.00       79.00
                          TFR.

 5/26/15    JHB   9000    Review bank statements, banking deposit/fee issues.     .20    395.00       79.00

 5/26/15    KMD   9000    Team meeting to review case status/outstanding          .10    195.00        19.50
                          issues and next steps to move case forward.

5/27/15     LAK   9000    Adjust estate asset information regarding               .20    190.00       38.00
                          abandonment filed.

5/29/15     JHB   9000    Creditor inquiries (2x).                                .30   395.00       118.50

6/09/15     JHB   9000    Review bank statements, log and reconciliation,         .10   395.00        39.50
                          related banking, TFR issues.

6/10/15     LAK   9000    Prepare disbursement check for special counsel.         .10   190.00        19.00

6/16/15     JHB   9000    Review open case issues, next steps toward TFR.         .10   395.00        39.50

6/17/15     LAK   9000    Prepare check to Bankruptcy Court for certification     .10   190.00        19.00
                          regarding Fairfield adversary proceeding.

6/19/15     LAK   9000    Attend to reconciling recently received wire            .30   190.00        57.00
                          transfers.

6/24/15     JHB   9000    Review open case issues, next steps to TFR.             .10   395.00        39.50

6/24/15     KMD   9000    Team meeting regarding status of case/outstanding       .10   195.00        19.50
                          issues.

6/29/15     KMD   9000    Update trustee control sheet as to current              .10   195.00        19.50
                          status/outstanding issues.

7/09/15     JHB   9000    Review bank statements, log and reconciliation,         .10   415.00        41.50
                          related banking issues.

8/11/15     JHB   9000    Review bank statements, log and reconciliation.        .10    415.00        41.50

8/19/15     LAK   9000    Attend to Trustee bond payment.                        .10    195.00        19.50

8/20/15     JHB   9000    Review bond, TFR issues.                               .10    415.00        41.50

9/14/15     JHB   9000    Review bank statements, log and reconciliation.        .10    415.00        41.50




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 9/16/15     JHB     9000     Review open issues, next steps regarding TFR            .10    415.00            41.50
                              issues.

10/13/15     JHB     9000    Review bank statements, log and reconciliation.          .10    415.00           41.50
11/09/15     JHB     9000    Review bank statements, deposit issues.                  .10    415.00           41.50
11/11/15     JHB     9000    Review bank statements, log and reconciliation           .10    415.00           41.50
1 1/16/15    KMD     9000    Update Trustee control chart as to current status of     .20    195.00           39.00
                             case and outstanding issues.

11/17/15     JHB     9000    Meet with team to review open case issues; next          .10    415.00           41.50
                             steps; operative deadlines and TFR issues and
                             strategies.

1 1/1 7/15   KMD     9000    Conference with trustee to review case                   .10    195.00           19.50
                             status/outstanding issues.

12/02/15     JHB    9000     Review bank statements, deposit issues.                  .10    415.00           41.50
12/02/15     JHB    9000     Review open case matters, emails with team.              .20    415.00           83.00
12/07/15     JHB    9000     Review bank statement, deposit issues.                   .10    415.00           41.50
12/11/15     JHB    9000     Review bank statements, log, reconciliation; open        .10    415.00           41.50
                             deposit, check issues.

12/15/15     JHB    9000     Claimant inquiries regarding timing (2x).               .20     415.00           83.00
 1/04/16     JHB    9000     Review open TFR, tax issues, related emails with        .30     415.00          124.50
                             VLPC.

 1/05/16     KMD    9000     Electronic mail from/to A. Medeiros at Verdolino &      .20     195.00           39.00
                             Lowey regarding current Forms 1 and 2.

 1/08/16     LAK    9000    Check bank balance.                                      .10     195.00           19.50
1/18/16      JHB    9000    Review bank statements, log and reconciliation.          .10    415.00           41.50
1/19/16      LAK    9000    Update case information status for providing Form        .20    195.00           39.00
                             1 & 3 for annual report.

1/19/16      JHB    9000    Revise annual report materials.                          .20    415.00           83.00
1/20/16      JHB    9000    Continued attention to annual report.                    .20    415.00           83.00
1/20/16      JHB    9000    Emails with UST regarding basis for deferred TFR.        .20    415.00           83.00
1/25/16      JHB    9000    Annual report issues.                                    .10    415.00           41.50
1/28/16      JHB    9000    Review, revise annual report, review underlying          .20    415.00           83.00
                            case materials and issues.




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 1/29/16   JHB    9000   Review additional annual report, TFR issues and          .10    415.00        41.50
                         materials.

 2/01/16   JHB    9000   Final review of annual report, related case              .10    415.00       41.50
                         materials.

 2/10/16   JHB    9000   Review bank statements, log and reconciliation.          .10    415.00       41.50

 2/11/16   JHB    9000   Review tax returns, related case issues and              .20    415.00       83.00
                         materials.

 2/24/16   JHB    9000   Review bank statement, payment issues and                .10    415.00       41.50
                         materials.

3/11/16    KMD    9000   Review/update trustee control sheet in preparation       .10    195.00       19.50
                         of audit and to confirm current status.

3/14/16    JHB    9000   Review bank statements, log and reconciliation;          .10    415.00       41.50
                         related case closure status.

3/22/16    JHB    9000   Review open case issues, next steps to TFR.              .10    415.00       41.50

4/12/16    JHB    9000   Review bank statement, logs, related reconciliation.     .10    415.00       41.50

5/13/16    JHB    9000   Review bank statements, log and reconciliation,          .10    415.00       41.50
                         related deposit issues.

6/10/16    JHB    9000   Review bank statements, reconciliation, log and          .10    415.00       41.50
                         related case issues.

6/21/16    JHB    9000   Review open case issues, TFR progress.                   .10   415.00        41.50

7/06/16    JHB    9000   Review case update, open issues, next steps to TFR.      .10   425.00        42.50

7/07/16    JHB    9000   Review account statement, deposit and bank issues;       .10   425.00        42.50
                         log and reconciliation.

8/09/16 , JHB     9000   Review bank statement, log and reconciliation,           .10   425.00        42.50
                         related distribution issues.

8/10/16    LAK    9000   Attend to pro rata calculation and payment of yearly     .10   200.00        20.00
                         trustee bond.

8/10/16    JHB    9000   Review open bond, account issues, allocation and         .10   425.00        42.50
                         execute check.

8/17/16    JHB    9000   Review open case issues, next steps to TFR, case         .10   425.00        42.50
                         closure.

8/25/16    KMD    9000   Review status of case/outstanding issues and update     .10    200.00        20.00
                         trustee control chart.




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 9/01/16     JHB    9000    Meet with team to review open case issues, next         .10    425.00           42.50
                            steps to TFR; review related case issues and
                            materials.

 9/01/16     KMD    9000   Review outstanding issues with Trustee and              .10     200.00          20.00
                           determine next steps.

 9/07/16     JHB    9000   Revise fee materials; review open case issues,          .10     425.00          42.50
                           progress toward TFR.

 9/11/16     JHB    9000   Review logs, statement and reconciliation; TFR          .10     425.00          42.50
                           issues.

10/07/16     JHB    9000   Review fee materials, TFR issues.                       .10     425.00          42.50

10/11/16     JHB    9000   Review bank statement, log and reconciliation.          .10     425.00          42.50
1 1/02/16    JHB    9000   Review open case issues, next steps to TFR, related     .10     425.00          42.50
                           fee materials.

11/10/16     JHB    9000   Review bank statements, review logs and                 .10     425.00          42.50
                           reconciliations.

12/04/16     JHB    9000   Review open case issues, fee materials, next steps      .10     425.00          42.50
                           to TFR.

12/06/16     KMD    9000   Review status of case/outstanding issues in             .10     200.00          20.00
                           preparation for team meeting.

12/07/16     JHB    9000   Review account statement, log and reconciliation,       .10     425.00          42.50
                           related fee issues.

1 2/12/1 6   JHB    9000   Meet with team to review case issues, status and        .10    425.00           42.50
                           next steps to TFR.

 1/06/17     LAK    9000   Provide forms 1 and 2 to accountant.                   .10     200.00           20.00

 1/06/17     JHB    9000   Review open case issues; revise fee materials.         .10     425.00           42.50
 1/11/17     JHB    9000   Review bank statements, log and reconciliations,       .10     425.00           42.50
                           related bank issues.

 1/24/17     JHB    9000   Review, revise annual report.                          .10     425.00           42.50

 1/26/17     LAK    9000   Review pacer docket and prepare forms 1 and 3.         .30     200.00          60.00
 1/29/17     JHB    9000   Final review of annual report, open case issues.       .10     425.00          42.50
 1/31/17     KMD    9000   Review case status/outstanding issues.                 .20     200.00          40.00
2/03/17      JHB    9000   Revise fee materials, review next steps to TFR.        .10     425.00          42.50
2/13/17      JHB    9000   Review account statements, log and reconciliation.     .10     425.00          42.50




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 3/06/17   JHB    9000    Review and revise fee materials, and review TFR        .20    425.00        85.00
                          issues and next steps.

 3/09/17   JHB    9000   Review bank statement, log and reconciliation.          .10    425.00        42.50

 3/20/17   JHB    9000   Review document disposition issues; related emails      .30    425.00       127.50
                         with DOJ, Attorney Gurfein, Mr. Jalbert.

 3/29/17   KMD    9000   Review outstanding issues of case in preparation of     .10    200.00       20.00
                         team meeting.

 3/30/17   LAK    9000   Case status check with trustee.   .                     .10    200.00       20.00

 3/30/17   KMD    9000   Team meeting to review case status/next steps;          .50    200.00      100.00
                         investigate status of add! asset in Florida in
                         connection with Arrow Energy.

 4/06/17   JHB    9000   Review and revise fee materials, review open issues     .10    425.00       42.50
                         for TFR.

 4/11/17   JHB    9000   Review bank statements, log and reconciliation.         .10    425.00       42.50

 5/04/17   JHB    9000   Review fee materials, next steps to TFR.                .10    425.00       42.50

 5/09/17   JHB    9000   Review bank statements, log and reconciliation.         .10   425.00        42.50

 5/29/17   JHB    9000   Review open TFR, case closure issues and next           .10   425.00        42.50
                         steps.

6/07/17    JHB    9000   Review fee materials, open case issues, and next        .10   425.00        42.50
                         steps to TFR.

6/08/17    JHB    9000   Review bank statements, reconciliations, log, and       .10   425.00        42.50
                         related TFR issues.

6/13/17    KMD    9000   Review case status/outstanding issues to determine      .10   200.00        20.00
                         next steps.

6/21/17    JHB    9000   Review open case issues, next steps to TFR.             .10   425.00        42.50

6/21/17    KMD    9000   Team meeting with Trustee to review case                .10   200.00        20.00
                         status/next steps.

7/08/17    JHB    9000   Review bank statements, log and reconciliation.         .10   435.00        43.50

7/10/17    JHB    9000   Revise fee materials, review open case issues.          .10   435.00        43.50

7/24/17    KMD    9000   Review outstanding issues, next step to TFR, update     .10   205.00        20.50
                         control chart.

7/31/17    JHB    9000   Review banking issues and statement, related            .20   435.00        87.00
                         deposit issues.




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 8/04/17     JHB   9000     Review fee materials, open case issues, next steps       .10    435.00           43.50
                            to TFR.

 8/09/17     KMD   9000     Review status of case, outstanding issues, next step     .10    205.00           20.50
                            and updates to trustee control sheet.

 8/11/17     JHB   9000    Review NOI, devise response.                              .10    435.00           43.50

 8/13/17     JHB   9000    Review bank statements, log and reconciliation,           .10    435.00          43.50
                           open case issues.

 8/15/17     JHB   9000    Review open ease issues, NOI response strategies.         .10    435.00          43.50

 8/16/17     LAK   9000    Pay pro-rata share of bond payment.                       .10    205.00          20.50

 8/17/17     JHB   9000    Review account, bonding issues, execute check (.1).       .10    435.00          43.50

 8/24/17     LAK   9000    Prepare Chapter 7 trustee status report.                  .70    205.00         143.50
 8/24/17     JHB   9000    Review, revise status report and review next steps        .20    435.00          87.00
                           to TFR.

 9/07/17     KMD   9000    Review/update trustee control chart as to                 .10    205.00          20.50
                           outstanding issues.

 9/08/17     JHB   9000    Review, revise fee materials; review open issues for      .10   435.00           43.50
                           Trustee Final Report.

 9/12/17     JHB   9000    Review account statements, log and reconciliation.        .10   435.00           43.50

 9/21/17     LAK   9000    Retrieve and distribute records abandonment order.        .10   205.00           20.50

 9/21/17     LAK   9000    Update and distribute forms 1 and 2.                      .40   205.00           82.00
10/02/17     JHB   9000    Review case, Trustee Final Report issues, case            .10   435.00           43.50
                           materials in preparation for group meeting.
10/03/17     JHB   9000    Meet with team to review open case issues, next          .20    435.00           87.00
                           steps to Trustee Final Report.

10/03/17     KMD   9000    Team meeting regarding status of case/outstanding        .10    205.00           20.50
                           issues.

10/06/17    LAK    9000    Review case docket to confirm chapter 1 1 filing         .20    205.00           41.00
                           date, absence of chapter 1 1 appointment, chapter 7
                           conversion date and appointment date of chapter 7
                           trustee.

10/06/17    JHB    9000    Torbert call, Jalbert emails regarding tax materials.    .30    435.00          130.50

10/10/17    JHB    9000    Torbert call, Jalbert emails regarding tax records,      .20    435.00           87.00
                           issues.

10/10/17    JHB    9000    Review bank statements, reconciliation and log.          .10    435.00          43.50



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10/10/17     KMD   9000    Review outstanding issues in case to move case           .20    205.00           41.00
                           forward.

10/17/17     JHB   9000    Review open issues, next steps regarding Trustee        .10     435.00          43.50
                           Final Report.

1 1/03/1 7   JHB   9000    Review case issues, next step for TFR, fee              .10     435.00          43.50
                           applications.

1 1/07/17    JHB   9000   Review bank statement, log and reconciliation            .10     435.00          43.50
                          materials, open TFR issues.

11/17/17     JHB   9000   Review open TFR issues, next steps.                      .20     435.00          87.00
1 1/24/1 7   JHB   9000   Review open case issues, next steps to TFR.              .10     435.00          43.50
12/01/17     KMD   9000   Review outstanding issues, update trustee control        .10     205.00          20.50
                          chart accordingly.

12/04/17     JHB   9000   Review open TFR issues, next steps.                      .10     435.00          43.50
12/04/17     JHB   9000   Revise fee materials; review open issues, next steps     .10     435.00          43.50
                          for TFR.

12/06/17     JHB   9000   Review bank statements, log and reconciliation.          .10     435.00          43.50
 1/02/18     JHB   9000   Review case issues, progress in preparation for          .10     435.00          43.50
                          1/3/18 meeting.

 1/03/18     JHB   9000   Group meeting, review case issues, next steps            .20     435.00          87.00
                          regarding TFR, annual report.

 1/03/18     KMD   9000   Team meeting to review status of case/outstanding        .10     205.00          20.50
                          issues.

1/05/18      JHB   9000   Review fee materials, open case issues.                  .10     435.00          43.50
1/10/18      JHB   9000   Review account statements, log and reconciliation,      .10     435.00           43.50
                          related distribution issues.

1/23/18      LAK   9000   Review file information and prepare updated forms       .30     205.00           61.50
                          1 and 2.

1/25/18      JHB   9000   Annual report issues.                                   .10     435.00           43.50
1/26/1 8     JHB   9000   Continued review of annual report, case materials.      .30     435.00          130.50
1/26/18      JHB   9000   Call, emails with remnant buyer counsel.                .20     435.00           87.00
1/29/18      JHB   9000   Continued emails with possible buyers of remnant        .20     435.00          87.00
                          assets.

1/30/18      JHB   9000   Final review of annual report materials.                .10     435.00          43.50
2/06/1 8     JHB   9000   Revise fee materials, review open TFR issues.           .10     435.00          43.50


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 2/08/18   LAK    9000   Provide Forms 1 and 2 to accountant for taxes.           .10    205.00           20.50

 2/08/18   JHB    9000   Review bank statement, log and reconciliation,           .10    435.00           43.50
                         related distribution issues.

 2/12/18   JHB    9000   Draft summary for TIR response, review related           .30    435.00          130.50
                         case materials.

 2/14/18   JHB    9000   Continued review of open recovery matters; checks        .40    435.00          174.00
                         for special counsel; review open TFR issues and
                         next steps.

2/24/1 8   JHB    9000   Review, execute tax returns and related VL emails.       .40    435.00         174.00

3/02/18    JHB    9000   Review open issues, next steps to TFR.                   .10    435.00          43.50

3/05/1 8   JHB    9000   Review, revise fee materials, review related TFR,        .10    435.00          43.50
                         distribution issues.

3/08/18    JHB    9000   Review account statements, log and reconciliation.       .10    435.00          43.50

3/09/18    JHB    9000   Continued attention to DOJ/trial issues, emails.         .30    435.00         130.50

3/09/18    KMD    9000   Review status of case/outstanding issues/next steps      .10    205.00          20.50
                         in anticipation of meeting with trustee.

3/13/18    JHB    9000   Review litigation status, recent pleadings, recovery     .30    435.00         130.50
                         prospects.

3/14/18    JHB    9000   Review open estate tax issues, materials, related        .20   435.00           87.00
                         check.

3/15/18    JHB    9000   Review open case issues, next steps for TFR.             .10   435.00           43.50

3/17/18    JHB    9000   Respond to creditor inquiries regarding case status,     .40   435.00          174.00
                         distribution and claim issues (2x).

3/17/18    JHB    9000   Further review of issues for criminal trial,             .30   435.00          130.50
                         appearance issues.

3/21/18    JHB    9000   Review case issues and strategies in preparation for     .20   435.00           87.00
                         team meeting.

3/21/18    JHB    9000   Review electronic bank statement, related TCMS           .10   435.00           43.50
                         issues.

3/22/1 8   LAK    9000   Determine case status and update form 1 .               .10    205.00           20.50

3/22/1 8   JHB    9000   Meet with team to review open case issues, next         .10    435.00           43.50
                         steps for TFR.

3/22/18    KMD    9000   Team meeting to review case status/next steps.          .10    205.00           20.50




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   Date     Tkpr   Task    Description                                              Hours      Rate        Amount

 3/28/18    JHB    9000    Review extensive pretrial motions and related             1.10    435.00          478.50
                           materials, assess recovery implications.

 4/02/18    JHB    9000    Review bank statements online, related                     .10    435.00           43.50
                           disbursement, deposit materials.

 4/02/18    JHB    9000   Review additional case materials, discovery issues,         .30    435.00          130.50
                          recovery prospects.

4/03/18     JHB    9000   Creditor inquiries, review related claim, distribution      .20    435.00           87.00
                          issues and materials.

4/09/18     JHB    9000   Review hard copy of bank statement, log and                 .10    435.00          43.50
                          reconciliation.

4/19/18     JHB    9000   Assess settlement implications for estate, review           .30    435.00         130.50
                          payment contingencies.

4/20/18     JHB    9000   Begin review of underlying case materials                  1.10    435.00         478.50
                          regarding claim, distribution, tax and TFR issues
                          (.8), related Jalbert emails (.3).

4/22/18     JHB    9000   Continue review of case materials and open issues.          .30   435.00          130.50
4/23/18    JHB     9000   Continue review of case materials, TFR and                 1.30   435.00          565.50
                          distribution issues and strategies, and related Jalbert
                          emails.

4/24/18    JHB     9000   Continued review of fee, case materials, TFR issues        1.10   435.00          478.50
                          and strategies, related claim, priority issues (.9);
                          related Jalbert emails (.2).

4/26/18    JHB     9000   TFR issues, strategies.                                     .20   435.00           87.00
4/27/18    JHB     9000   Further distribution issues and strategies, review of      .70    435.00          304.50
                          related case issues and materials; creditor inquiries.

4/29/18    JHB     9000   Further analysis, document review regarding TFR,           .30    435.00          130.50
                          distribution issues.

4/30/18    JHB     9000   Review open TFR issues, next steps.                        .20    435.00           87.00
5/01/18    JHB     9000   TFR issues, approval strategies.                           .30    435.00          130.50
5/03/18    JHB     9000   Continued attention to TFR issues, VNB funding             .30    435.00          130.50
                          and remaining case issues.

5/04/18    JHB     9000   Review open TFR, priority claim and lien issues,           .20    435.00           87.00
                          and strategies to address; review related fee
                          materials, distribution issues.




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 5/07/18    JHB     9000    Review additional accounting materials from              1.30    435.00         565.50
                            Attorney Gurfein, multiple emails with same,
                            review related settlement, approval issues.

 5/08/18    JHB     9000    Continued TFR analysis, next steps.                       ,20    435.00          87.00
 5/09/18    JHB    9000     Review bank statements, log and reconciliation;           .20    435.00          87.00
                            review open TFR issues, next steps.

5/14/18     JHB    9000     Review deposit, account issues, related emails with       .30    435.00         130.50
                            bank.

5/14/18     JHB    9000     Continued attention to TFR issues, next steps.            .20    435.00          87.00
5/17/18     JHB    9000     Continued attention to distribution, tax issues, next     .30    435.00         130.50
                            steps.

5/18/18     JHB    9000    Continued attention to open tax claim, TFR issues          .30   435.00          130.50
                           and next steps.

5/22/18     JHB    9000    Continued attention to distribution, tax, TFR issues,      .60   435.00          261.00
                           materials, strategies.

5/25/18     JHB    9000    Continue review of priority, distribution issues,          .70   435.00          304.50
                           materials and strategies (.4), related creditor
                           inquiries (2x) (.3).

5/28/18     JHB    9000    TFR issues, next steps, distribution and claims           .30    435.00          130.50
                           issues.

5/29/18    JHB     9000    Review open TFR, tax issues, next steps.                  .30    435.00          130.50
5/30/18    JHB     9000    Creditor inquiries regarding VNB settlement,              .80    435.00         348.00
                           distribution and priority issues (3x).

5/30/18    JHB     9000    Continued attention to TFR, tax issues.                   .30    435.00          130.50
6/01/18    JHB     9000    Continued creditor inquiries in response to               .60    435.00         261.00
                           settlement notice (multiple), review related priority,
                           distribution issues.

6/07/18    JHB     9000    Emails with potential buyer of remnant assets.            .30    435.00         130.50
6/08/18    JHB     9000    Continued attention to open case issues, related tax      .30    435.00         130.50
                           and TFR issues.

6/12/18    JHB     9000    Begin review of asset buyer materials; related            .90    435.00         391.50
                           emails with buyer, counsel (.6); further review of
                           related tax, TFR issues and next steps (.3).

6/14/18    JHB     9000    Deposit, UST issues and emails; continued attention       .30    435.00         130.50
                           to related TFR, distribution issues.




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 6/16/18     JHB    9000    Creditor inquiry regarding claim, distribution            .30    435.00          130.50
                            issues; assess open TFR issues.

 6/18/18     JHB   9000     Review bank statements, log and reconciliation,          .10     435.00          43.50
                            related disbursement issues.

 6/19/18     JHB   9000     Creditor inquiries regarding case, distribution          .20     435.00          87.00
                            issues; related TFR issues.

6/22/18      JHB   9000    Creditor inquiries (2x) regarding TFR, distribution       .30     435.00         130.50
                           issues and review related case, claim materials.

6/28/18      KMD   9000    Review status of case/outstanding issues, update          .10     205.00          20.50
                           trustee control chart accordingly.

6/29/18      JHB   9000    Continued attention to open TFR, tax issues, next         .20     435.00          87.00
                           steps.

7/03/18      JHB   9000    Review open case; TFR, Form 3 issues, related L.          .20    455.00           91.00
                           Keeler call, emails.

7/05/18      JHB   9000    Further attention to TFR, reporting issues.               .10    455.00           45.50
7/05/18      JHB   9000    Revise fee materials and address related TFR              .10    455.00           45.50
                           issues.

7/10/18      LAK   9000    Determine outstanding case issues and status of           .10    215.00           21.50
                           case.


7/10/1 8     JHB   9000    Team meeting to review TFR issues.                        .10    455.00           45.50
7/13/18      JHB   9000    Review open TFR, fee application issues and next         .20     455.00           91.00
                           steps.

7/16/18     JHB    9000    Creditor inquiries (2x) regarding case, distribution,    .40     455.00          182.00
                           priority issues (.3); review open TFR issues and
                           next steps (.1).

7/29/1 8    JHB    9000    Review open case issues, next steps to TFR.              .20     455.00           91.00
8/02/18     JHB    9000    Review bank statements (online and paper),               .20     455.00           91.00
                           reconciliation and log, open case issues; next steps
                           for TFR.

8/03/18     JHB    9000    Revise fee materials, review related case issues.        .10     455.00          45.50
8/03/18     JHB    9000    Review open TFR, tax issues, and related emails          .30     455.00         136.50
                           with Mr. Jalbert.

8/13/18     LAK    9000    Determine pro-rata bond payment; prepare check;          .20     215.00          43.00
                           letter to bonding company.

8/14/18     JHB    9000    TFR, fee application issues, next steps.                 .30     455.00         136.50



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 8/15/18     JHB    9000    Review bond issues; allocation; related check.             .10    455.00           45.50

 8/20/18     JHB    9000    Review open TFR issues, next steps.                        .20    455.00           91.00
 8/21/18     JHB    9000    Creditor inquiry regarding TFR, claim, priority            .30    455.00          136.50
                            issues (.2), and review related TFR, distribution
                            issues (.1).

 8/22/18     JHB   9000    Review open TFR issues, next steps.                        .10     455.00          45.50
 8/23/18     JHB   9000    Review Tull issues, related document issues.               .30     455.00         136.50
 8/27/18     KMD   9000    Review status of Estate records in storage.                .30     215.00          64.50
 8/29/18     JHB   9000    Continued attention to TFR issues, next steps.             .20     455.00          91.00
 9/05/18     JHB   9000    Assess subpoena issues, strategies to address.             .20     455.00          91.00
 9/05/18     JHB   9000    Review online bank statement, log and                      .10    455.00           45.50
                           reconciliation, case assessment.

 9/06/18     JHB   9000    Continued attention to open claim, distribution and        .30    455.00          136.50
                           related TFR issues and strategies.

 9/07/18     JHB   9000    Further emails, document review regarding open             .30    455.00          136.50
                           TFR, distribution issues.

 9/09/18     JHB   9000    Revise fee materials; assess TFR issues and next           .10    455.00           45.50
                           steps.

 9/09/18     JHB   9000    Continued attention to claim, distribution issues in       .30    455.00          136.50
                           preparation for TFR.

 9/10/18    JHB    9000    Continued attention to open TFR, claim and                 .60    455.00          273.00
                           distribution issues, materials, next steps.

 9/11/18    JHB    9000    Continued work on TFR issues including review of          1.10    455.00          500.50
                           case, claim materials, devise distribution strategies,
                           emails regarding same.

 9/13/18    JHB    9000    TFR issues; document production issues and                .80     455.00         364.00
                           strategies (Tull).

 9/29/18    JHB    9000    Review outstanding TFR, tax issues, next steps.           .20     455.00          91.00
 9/30/18    JHB    9000    Further attention to production issues.                   .10     455.00          45.50
10/01/18    JHB    9000    Review bank statement, log and reconciliation,            .20     455.00          91.00
                           open case, TFR issues.

10/01/18    JHB    9000    Emails, compliance issues regarding subpoena              .30     455.00         136.50
                           compliance.




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 10/04/18    JHB     9000    Review, revise fee materials; review next steps for      .10    455.00           45.50
                             TFR.

 10/08/18    JHB     9000    TFR issues, inquiry, next steps.                         .20    455.00          91.00
 10/09/18    JHB     9000    TFR issues.                                             .10     455.00          45.50
 10/12/18    JHB     9000    Continued attention to case wrap up, TFR issues         .60     455.00         273.00
                             including distribution issues and strategies, asset
                             and form amendments, fee application and priority
                             issues.

10/15/18     JHB    9000     Continued attention to distribution, TFR, priority      .60     455.00         273.00
                             issues and strategies, related review of case, tax
                             issues and materials.

10/16/18     JHB    9000     Review open TFR, distribution issues, next steps.       .10     455.00          45.50
10/18/18     JHB    9000     Review open subpoena, production issues, related        .30     455.00         136.50
                             emails, next steps.

10/23/18     LAK    9000    Review pacer docket and settlement agreements           1.00     215.00         215.00
                            filed and if claims allowed within same; enter
                            claims if appropriate; confirm deposits; check for
                            abandonments; continue to finalize form 1 .

10/24/18     LAK    9000    Continue review of pacer docket and settlement          1.00    215.00         215.00
                            agreements filed and if claims allowed within same;
                            enter claims if appropriate; confirm deposits; check
                            for abandonments; continue to finalize form 1 .

10/25/18     LAK    9000    Continue review of pacer docket and settlement         1.00     215.00         215.00
                            agreements filed and if claims allowed within same;
                            enter claims if appropriate; confirm deposits; check
                            for abandonments; continue to finalize form 1.

10/26/18    LAK     9000    Continue review of pacer docket and settlement         1.00     215.00         215.00
                            agreements filed and if claims allowed within same;
                            enter claims if appropriate; confirm deposits; check
                            for abandonments; continue to finalize form 1 .

10/29/18    LAK     9000    Continue review of pacer docket and settlement         1.00     215.00         215.00
                            agreements filed and if claims allowed within same;
                            enter claims if appropriate; confirm deposits; check
                            for abandonments; continue to finalize form 1 .

10/30/18    LAK     9000    Continue review of pacer docket and settlement         1.00     215.00         215.00
                            agreements filed and if claims allowed within same;
                            enter claims if appropriate; confirm deposits; check
                            for abandonments; continue to finalize form 1 .


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                                                                                            Mirick O'Connell

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    Date^^^JTkiir^Task^J^                                                           Hours       Rate        Amount

11/01/18   JHB    9000    Further review of open TFR, tax issues, next steps.          .20    455.00           91.00
11/02/18   JHB    9000   Review bank statements online, log and                        .20    455.00           91.00
                         reconciliation, open TFR issues and next steps to
                          case closure.

11/05/18   JHB    9000   Review, revise fee materials, review open case                .10    455.00          45.50
                         issues.

11/07/18   JHB    9000   Review new bank statement, deposit issues to                  .10    455.00          45.50
                         reflect account transition.

11/19/18   JHB    9000   Review open TFR issues, next steps.                           .20    455.00          91.00
11/21/18   JHB    9000   Review open case issues, next steps to TFR.                   .10    455.00          45.50
11/25/18   JHB    9000   Continued attention to open TFR, distribution issues          .20    455.00          91.00
                         and next steps.

11/27/18   JHB    9000   TFR, fee application issues, next steps.                      .30   455.00          136.50
12/02/18   JHB    9000   TFR, fee application issues.                                 .30    455.00          136.50
12/03/18   JHB    9000   Continued attention to fee application issues, TFR           .40    455.00          182.00
                         strategies.

12/04/18   JHB   9000    Review fee materials, open case issues.                      .10    455.00           45.50
12/05/18   JHB   9000    Continued attention to TFR, fee application issues,          .40    455.00          182.00
                         strategies.

12/07/18   LAK   9000    Link filed claims with scheduled creditors and              3.10    215.00          666.50
                         prepare and review forms 1 and 2, prepare proposed
                         distribution, prepare trustee's final report, notice of
                         final report, proposed order, declaration, assemble
                         bank statements and prepare email and letter to
                         Office of United States Trustee submitting trustee's
                         final report package for review.

                         Sub-Total of Services:                                    150.80               $ 53,295.00


                                       TOTAL SERVICES                                                  $ 53,295.00




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SUMMARY OF SERVICES


Name                                    Staff Level             Hours           Rate               Total
Joseph H. Baldiga                       PARTNER                  29.80     380.00              11,324.00
Joseph H. Baldiga                       PARTNER                  20.70     385.00               7,969.50
Joseph H. Baldiga                       PARTNER                   8.30     390.00               3,237.00
Joseph H. Baldiga                       PARTNER                   6.40     395.00               2,528.00
Joseph H. Baldiga                       PARTNER                   4.10     415.00               1,701.50
Joseph H. Baldiga                       PARTNER                   3.50     425.00               1,487.50
Joseph H. Baldiga                       PARTNER                 25.50      435.00              11,092.50
Joseph H. Baldiga                       PARTNER                  12.60     455.00              5,733.00
Gina B. O'Neil                          ASSOCIATE                 8.10     240.00               1,944.00
Gina B. O'Neil                          ASSOCIATE                  .10     245.00                 24.50
Laura A. Keeler                         PARALEGAL                2.10      180.00                378.00
Laura A. Keeler                         PARALEGAL                2.50      185.00                462.50
Laura A. Keeler                         PARALEGAL                2.00      190.00                380.00
Laura A. Keeler                         PARALEGAL                  .40     195.00                 78.00
Laura A. Keeler                         PARALEGAL                  .60    200.00                 120.00
Laura A. Keeler                         PARALEGAL                2.00     205.00                 410.00
Laura A. Keeler                         PARALEGAL                9.40     215.00               2,021.00
Kimberly M. DelleChiaie                 PARALEGAL                5.20      180.00                936.00
Kimberly M. DelleChiaie                 PARALEGAL                1.80      185.00                333.00
Kimberly M. DelleChiaie                 PARALEGAL                3.00      195.00                585.00
Kimberly M. DelleChiaie                 PARALEGAL                1.30     200.00                 260.00
Kimberly M. DelleChiaie                 PARALEGAL                1.10     205.00                 225.50
Kimberly M. DelleChiaie                 PARALEGAL                 .30     215.00                  64.50
TOTALS                                                         150.80                       $ 53,295.00




                                    TOTAL SERVICES AND DISBURSEMENTS                        $ 53,295.00




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